Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 1 of 708




        EXHIBIT B
 (A – 1 through A – 236)
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 2 of 708




                       A–1
                     Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 3 of 708


   A044
   (Rev. 11/07)                                      UNITED STATES DISTRICT COURT
                                                FOR THE NORTHERN DISTRICT/CALIFORNIA
                                                               INVOICE NO:      00005984
                                                                                         MAKE CHECKS PAYABLE TO:
    PATRICK N. DOWNES, ESQUIRE                                                    DIANE SKILLMAN
    LOEB&LOEB                                                                     OFFICIAL COURT REPORTER, USDC
    10100 SANTA MONICA BLVD.                                                      1301 CLAY STREET- SUITE 400-S
    SUITE2200                                                                     OAKLAND, CA 94612
    LOS ANGELES, CA 90067
    Phone:                                                                        Phone:



            0      CRIMINAL               lxl   CIVIL
                                                             IDATE ORDERED:
                                                                                01-30-2018
                                                                                                        I
                                                                                  Diane_ Skillman@cand.uscourls.gov
                                                                                                          DATE DELIVERED:
                                                                                                                            02-28-2018
  Case Style: C-15-1696 YGR, BUCHANAN, ET AL. v TATA CONSULTANCY SERVICES

                     ONE TRANSCRIPT OF PROCEEDINGS                               (EMAILED PDF         2/28)          1/29/18


                                 ORIGINAL                             1ST COPY                   2ND COPY                         TOTAL
  CATEGORY                                                                                                                       CHARGES
                         PAGES     PRICE          SUBTOTAL   PAGES     PRICE     SUBTOTAL    PAGES   PRICE       SUBTOTAL
  Ordinary                                                       23     0.90        20.70                                            20.70

  14-Day

  Expedited

  Daily

  Hourly

  Realtime

 Misc. Desc.                                                                                         MISC. CHARGES:

                                                                                                                   TOTAL:            20.70

                                                                               LESS DISCOUNT FOR LATE DELIVERY:

                                                                                                     TAX (If Applicable):

                                                                                       LESS AMOUNT OF DEPOSIT:

                                                                                                      TOTAL REFUND:

                                                                                                             TOTAL DUE:             $20.70
                                                 ADDITIONAL INFORMATION
   Full price may be charged only if the transcript is delivered within the required time frame. For example, if an orde1
for expedited transcript is not completed and delivered within seven (7) calendar days, payment would be at the
ordinary delivery rate.
                                                     CERTIFICATION
   I certify that the transcript fees charged and page format used comply with the requirements of this court and the
Judicial Confer~nce of the United States.
SIGNATURE:
                  jj_~~A1         ff.d/J~~
                                                                                                      I   DATE
                                                                                                                      03-02-2018
                   ..
(All prev1ous editions of th1s form are
cancelled and should be destroyed)
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 4 of 708




                       A–2
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 5 of 708


ST44 Rev. 04/18
Derived from A044 Rev. 04/18
                                          UNITED STATES DISTRICT COURT
                                     For the NORTHERN DISTRICT/CALIFORNIA
                                                       INVOICE NO.: 20186177
                                                                                   MAKE CHECKS PAYABLE TO:
 MICHELLE M. LAMAR, ESQUIRE                                                 DIANE E. SKILLMAN
 LOEB & LOEB                                                                OFFICIAL COURT REPORTER, USDC
 10100 SANTA MONICA BLVD.                                                   1301 CLAY STREET- SUITE 400-S
 SUITE 2200                                                                 OAKLAND, CA 94612
 LOS ANGELES, CA 90067                                                      Diane_Skillman@cand.uscourts.gov



                                               DATE ORDERED:                                    DATE DELIVERED:
 -      CRIMINAL               X CIVIL                         10-30-2018                                         10-30-2018
 In the matter of: C-15-1696 YGR, SLAIGHT, ET AL. v TATA CONSULTANCY SERVICES


                   ORIGINAL PLUS TWO TRANSCRIPTS (EMAILED 10/30)                                                  10/26/18




                               ORIGINAL                             1ST COPY                         2ND COPY                   TOTAL
 CATEGORY
                   PAGES        PRICE     SUBTOTAL     PAGES             PRICE    SUBTOTAL   PAGES      PRICE      SUBTOTAL    CHARGES

Ordinary
14-Day
Expedited
3-Day
Daily
Hourly                   48        7.25    348.00              48          1.20     57.60                                         405.60
Realtime
Misc.                                                                                                       Misc. Charges
                                                                                                                   Subtotal       405.60
                                                                                         Less Discount for Late Delivery
                                                                                                       Tax (If Applicable)
Date: 10-30-2018                   Check: 123074                                                Less Amount of Deposit            348.00
                                                                                                              Total Refund
                                                                                                                   Total Due       57.60
                                               ADDITIONAL INFORMATION
          Full price may be charged only if the transcript is delivered within the required time frame. For example, if an
order for expedited transcript is not completed and delivered within (7) calendar days, payment would be at the 14-day
delivery rate, and if not completed and delivered within 14 days, payment would be at the ordinary delivery rate.
                                                        CERTIFICATION
           I certify that the transcript fees charged and page format used comply with the requirements of this court and
the Judicial Conference of the United States.
SIGNATURE:                                                                         DATE:
                               ~t:~)L
                                  ,
                                                                    .J                                            10-30-2018
DISTRIBUTION:         TO PARTY (2 cop1es - 1 to be returned w1th payment)           COURT REPORTER           COURT REPORTER SUPERVISOR
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 6 of 708




                       A–3
                       Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 7 of 708


         ST44 Rev. 04/18
         Derived from A044 Rev. 04/18
                                                   UNITED STATES DISTRICT COURT
                                                 For the NORTHERN DISTRICT/CALIFORNIA

    ·-    MICHELLE M. LAMAR, ESQUIRE
                                                                INVOICE NO.: 20186191
                                                                                           MAKE CHECKS PAYABLE TO:
                                                                                    DIANE E. SKILLMAN
          LOEB&LOEB                                                                 OFFICIAL COURT REPORTER, USDC
          10100 SANTAMONICABLVD.                                                    1301 CLAY STREET- SUITE 400-S
          SUITE 2200                                                                OAKLAND, CA 94612
          LOS ANGELES, CA 90067                                                     Diane_Skillman@cand. uscourts.gov


                                                        DATE ORDERED:                               DATE DELIVERED:
          _CRIMINAL                     X CIVIL                         11-05-2018                                    11-28-2018
          In the matter of: C-15-1696 YGR, CHRISTOPHER SLAIGHT, ET AL. v TATA CONSULTANCY SERVICES

                     ORIGINAL PLUS ONE (TWO) TRANSCRIPT (REALTIME, PDF SPLIT)
                                    VOL. 1 - 12 - PAGES 1 - 1928




                                     ORIGINAL                            15TCOPY                          2ND COPY                  TOTAL
         CATEGORY
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.                          PAGES         PRICE    SUBTOTAL     PAGES       PRICE      SUBTOTAL   PAGES      PRICE      SUBTOTAL    CHARGES
         Ordinary
         14-Day
         Expedited
         3-Day
         Daily                1928         3.62 6979.36            959         1.20 1150.80         774        0.90      696.60      8826.76
         Hourly
         Realtime             1129         3.05 3443.45            666        1.15      765.90                                       4209.35
         Misc.                                                                                                 Misc. Charges
                                                                                                                       Subtotal      13036.11
                                                                                             Less Discount for Late Delivery
                                                                                                           Tax (If Applicable)
         Date: 11-05-2018                   Check: 123108                                           Less Amount of Deposit          21643.20
         Date: 12-26-2018                   Check: CASHIER'S CHECK                                               Total Refund        8607.09
                                                                                                                      Total Due          0.00
                                                        ADDITIONAL INFORMATION
                   Full price may be charged only if the transcript is delivered within the required time frame. For example, if an
         order for expedited transcript is not completed and delivered within (7) calendar days, payment would be at the 14-day
         delivery rate, and if not completed and delivered within 14 days, payment would be at the ordinary delivery rate.
                                                               CERTIFICATION
                   1certify that the transcript fees charged and page format used comply with the requirements of this court and
         the Judicial Conference of the United States.
         SIGNATUi(a •
                      IA./J _Li _.)
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                                                                                          DATE:    I    12-21-2018
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                                                                               COURT REPORTER
                              TO PARTY (2 coptes - 1 to be returned wtth payment)                     COURT REPORTER SUPERVISOR
       DISTRIBUTION:
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 8 of 708




                       A–4
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 9 of 708




                                                 UNITED STATES DJSTRICT COUnT
                                            FOR THE NORTHERN DISTRICT/CALIFORNIA
                                                             INVOICE NO;        OOOOS426
                                                                                                              ----------------~
    r-------------------------------~-----U~IAAtKECHECKSPAYABLETO:----

          PATRICK N. 00\llNES, ESQUIRE                                            DIANE SKILLMAN
          LOEB&LOEB                                                               OFFICIAL COURT REPORTER, USDC
          tOlOOSANTA MONICA RLVD.                                                 1301 CLAY STREB'T • SUITE 490-S
          SUITE2200                                                               OAKLAND. CA 94<512
          LOS ANOELES, CA 90067
          Pirone:                                                                 Phone:     f5H1)451·2930




         Case Style: C-15-1696YGR, STEVEN HElOT, ET AL vTATACONSULTANCY SERVICES

                      ORIGINAL PLUS ONE TRANSCRIPT (EMAILED PDF 9/24) 9/15/15


                              ORIGINAL                              1ST COPY                     2ND COPY                      TOTAL
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       Full piice may ~charged only if the transcript is delivefed within the r:e~lred time frame. For example, if an ordec
    for expediited transcript is not completed and delivered within seven (7) ~ar ~ys. payment would be at the
    ~din~~~!~m~·--------------------------------------------------------4
I                                                    CERTIFlCATlON
1   1cernf)' !hat !he transcript fees Charged and page form&t used comply With the requlremems of this court and the
1Judicial ConfE!fence of the United Sta~,
1
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 10 of 708




                        A–5
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 11 of 708




 United States District Court                                                                                                                            Date: 10/11/2017
 Northern District of California                                                                                                                Invoice Number: 20170110



 To:                                                                                        Make Checks Payable To:
 Loeb & Loeb LLP                                                                            Sarah Goekler, CSR, RMR, CRR
 Terry Garnett, Esq.                                                                        Official US Court Reporter
 10100 Santa Monica Road, Suite 2200                                                        EIN /Tax 10:XX-XXXXXXX
 Los Angeles, CA. 90067                                                                     1301 Clay Street, Suite 400-S
 Phone: (310) 282-2000                                                                      Oakland, CA, 94612
Email: tgarnett@loeb.com                                                                    Phone: (530) 941-2621
                                                                                            Email: sgoekler.csr@gmail.com



 Case Details:
Case Number: CV 15-1696                                                                     Proceeding Date: Oct 03, 2017
Case Title: Steve Heldt vs. Tata Consultancy Services                                       Courthouse: Oakland
Case Description: Motion Hearing                                                            Judge Hearing Case: YGR
Criminal or Civil: Civil



Transcripts:
Date Ordered: Oct 11, 2017



Charges:

   Page Type                                                  Page Count                                    Rate                          Sub-Total


   Daily Original                                            62                                             $6.05                         $375.10


   Daily 1st Copy                                            62                                             $1.20                         $74.40


   Daily 2nd Copy                                            124                                            $0.90                         $111.60




Total: $561.1 0
Amount Due: 5561.10



Notes
Full price may be charged only if the transcript is delivered w~hin the required time frame. For example, if an order for expedited transcrip1 is not completed and delivered
within (7) calendar days, payment would be   at the   14-day delivery rate, and if not completed and delivered within 14 days payment would be   at the ordinary delivery rate.

!sf Sarah Goekler
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 12 of 708




                        A–6
 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 13 of 708


                                                                  1

 1                               KATHERINE WYATT

 2                              826 NAVARONNE WAY

 3                            CONCORD, CA. 94518

 4                               COURT REPORTER

 5                             PHONE 925-212-5224

 6   JULY 25, 2018                 INVOICE NUMBER 7-12

 7

 8          TO: LOEB & LOEB

 9             10100 SANTA MONICA BOULEVARD

10             SUITE 2200

11             LOS ANGELES, CA. 90067

12   BUCHANAN V. TATA    YGR 15-1696

13    DEPOSIT RECEIVED   7-26-18 DELIVERED 7-26-18

14    HEARING DATE 7-17-18 (0&1 HOURLY) 71 PAGES @$7.25=$514.75

15    DEPOSIT $500

16   BALANCE DUE, PLEASE REMIT $14.75

17    I CERTIFY THAT THE FEE CHARGED AND THE PAGE FORMAT USED

18   CONFORM TO THE REGULATIONS OF THE JUDICIAL CONFERENCE OF

19   THE U.S. DISTRICT COURT.

20     /S/KATHY WYATT

21

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25
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 14 of 708




                        A–7
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 15 of 708

  A044
  (Rev. 11/07)                                  UNITED STATES DISTRICT COURT
                                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                         INVOICE NO:       20170140
                                                                                     MAKE CHECKS PAYABLE TO:
   Erin Smith                                                                JOAN MARIE COLUMBINI, CSR, RPR
   Loeb & Loeb                                                               Retired Official Court Reporter
   10100 Santa Monica Boulevard                                              1301 Canyonwood Court #1
   Suite 2200                                                                Walnut Creek, CA 94595
   Los Angeles, CA 90067
   Phone:                                                                    Phone:     (415) 255-6842


                                                                             joan.columbini.csr@gmail.com

           D     CRIMINAL            lx    CIVIL
                                                        IDATE ORDERED:
                                                                           06-27-2017
                                                                                                   I   DATE DELIVERED:
                                                                                                                         06-27-2017
 Case Style: 15-CV-1696, Heldt v Tata Consultancy
Transcript of FTR proceedings before the Honorable Sallie Kim
April 6, 2017


                                ORIGINAL                         1ST COPY                       2ND COPY                       TOTAL
 CATEGORY                         PRICE                                                                                       CHARGES
                        PAGES                SUBTOTAL   PAGES     PRICE     SUBTOTAL    PAGES    PRICE        SUBTOTAL

 Ordinary

 14-Day

 Expedited

 Daily

 Hourly                                                     38     1.20        45.60       38      0.90            34.20          79.80

 Realtime

 Misc. Desc.                                                                                     MISC. CHARGES:

                                                                                                                TOTAL:            79.80

                                                                          LESS DISCOUNT FOR LATE DELIVERY:

                                                                                                 TAX (If Applicable):

                                                                                   LESS AMOUNT OF DEPOSIT:

                                                                                                  TOTAL REFUND:

                                                                                                         TOTAL DUE:              $79.80

                                                  ADDITIONAL INFORMATION
   Full price may be charged only if the transcript is delivered within the required time frame. For example, if an order
for expedited transcript is not completed and delivered within seven (7) calendar days, payment would be at the
ordinary delivery rate.
                                                      CERTIFICATION
   I certify that the transcript fees charged and page format used comply with the requirements of this court and the
Judicial Conference of the United States.
SIGNATURE:                                                                                         I   DATE

                 .'
(All prev1ous editions of th1s form are
cancelled and should be destroyed)
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 16 of 708




                        A–8
                               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 17 of 708


     AO«
     (Rev. 11/07)                                                    UNITED STATES DISTRICT COURT
                                                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                                           INVOICE NO:            20180166
                                                                                                                            MAKE CHECKS PAYABLE TO:
      Patrick N. Downes, Esquire                                                                                    JOAN MARIE COLUMBINI, CSR, RPR
      Loeb &Loeb                                                                                                    Retired Official Court Reporter
      10100 Santa Monica Boulevard                                                                                  1301 Canyonwood Court #1
      Suite 2200                                                                                                    Walnut Creek, CA 94595
      Los Angeles, CA 90067
      Phone:                                                                                                        Phone:     (510) 367-3043


                                                                                                                    joan.columbini.csr@gmail.com

              D      CRIMINAL                                 lx    CIVIL
                                                                                           I
                                                                                           DATE ORDERED:
                                                                                                                  05-18-2018
                                                                                                                                             IDATE OEUVEREO:
                                                                                                                                                               05-29-2018
 Case Style: 15-CV-01696, Buchanan et al v Tata Consultancy, et al.
 Transcript of FTR proceedings before the Honorable Sallie Kim
 May 10, 2018



     CATEGORY
                                                  ORIGINAL _..                   ____..                1ST COPY                    2ND COPY                          TOTAL
                                          PAGES       PRICE                 SUBTOTAL      PAGES         PRICE      SUBTOTAL    PAGES       PRICE        SUBTOTAL    CHARGES

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                                                  ADDITIONAL INFORMATION
   Full price may be charged only if the transcript is delivered within the required time frame. For example, if an orde1
for expedited transcript is not completed and delivered within seven (7) calendar days, payment would be at the
ordinary delivery rate.
                                                     CERTIFICATION
   I certify that the transcript fees charged and page format used comply with the requirements of this court and the
Judicial Conference of the United States.
 SIGNATURE:                                                                                                                                  I   DATE

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 (All prev1ous ed1t1ons of th1s form are
 cancelled and should be destroyed)
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 18 of 708




                        A–9
        Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 19 of 708



     TORONTO COURT REPORTERS
     65 QlJ.een Street West
                                                                                                Invoice
     Suite 1410, Box 69                                                              Date            Invoice #
     Toronto, ON MSH 2M5
     Tel: 4 Hi~364-2065 Fax:416-364-6331                                           23/0812018           14680



        Invoice To
     Loeb & Loeb LLP
     Bernard R.. Given, Esq.,
     10100 SantaMonlcaBoul~
     Suite2200
     Los Angelos, CA 90067


                                           -                                                         Terms

                                                                                                Due on receipt

                            De$Q'iption                    Qty              Rate                     Amount
RE:BUCHANANET AL VS TATACONSULTANCY
AUGUST 101H, 2018
REPORTER: I<.A.RIN .JENKNER VIDEOORAPHER RON
ECKSTEIN

Transcript copy: 74 PAGES                                        74                  275                     203 ..50
Rough Draft: 65 PAGES                                            65                  1.35                     87.75
Exhibits: 49 PAGES                                               49                  0.75                     36.75

TRANSCRIPT AND EXHIBITS ORDERED IN ~ECTRONIC
FORMAT




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4Please make check payable in U.S. Funds EiN #98·0~64547              Subtotal                          SJzs.oo·
                                                                      HST                                    $0.00

                                                                      Total                             $328.00

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HSTNo.        106535198                                                                          (      $328.00


                                                                                                  '
            Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 20 of 708



Martha Ortiz

From:                           Barney Given
Sent:                           Friday, August 24, 2018 9:09AM
To:                             Martha Ortiz
                                Re: lata: Authorization needed - Invoice from Toronto Court Reporters - -- $328.00
Subject:
                                        ----·--=-
Yes and please put in for reimbursement

Sent from my iPhone

On Aug 24, 2018, at 11 :08 AM, Martha Ortiz <mortiz@loeb.com> wrote:

       Barney,

       Davonna was looking for the Jeevak Sharma Transcript yesterday.

       I called the reporting service and they asked for payment first before they send out via
       email.

       Will you authorize $328.00 on your credit card?




       From: Martha Ortiz
       Sent: Thursday, August 23, 2018 8:52 AM
       To: Barney Given <bgiven@loeb.com>
       Subject: Tata: Faxed Invoice from Toronto Court Reporters--- $328.00




       From: Barney Given
       Sent: Thursday, August 23, 2018 8:45AM
       To: Martha Ortiz <mortiz@loeb.com>
       Subject: Fwd: Corporate eFax message from "unknown" - 2 pagels)




       Sent from my iPhone

       Begin forwarded message:

              From: eFax Corporate <message@inbound.efax.com>
              Date: August 23,2018 at 8:21:25 AM PDT
              To: <bgiven@loeb.com>, <plavine@loeb.com>
              Subject: Corporate eFax message from "unknown" - 2 page(s)

                             This email originated from outside of Loeb's Network.

                                                        1
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 21 of 708




                      A – 10
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 22 of 708




                                                                                                            INVOICE
 TSG                          Worldwide - 24 Hours
                                   <&n>
                                      702-9580
                              www.tsgreporting.com
                                                                                                             DATE: 3/31/2016
                                                                                                          INVOICE# 031616-336759

REPORTING

Bill To:               Michelle La Mar Esq.
                       Loeb & Loeb LLP
                       10100 Santa Monica Boulevard
                       Suite 2200
                       Los Angeles, CA 90067



CASE:                  Steven Heldt, et al v. Tata Consultancy Services, Ltd.
WITNESS:               Jennifer Alkiewicz I Brian Andrillo
DATE:                  3/16/2016
LOCATION:              New York, NY

Billing Comments /Instructions:




     SHIP VIA               Overnight                 TERMS                    net30



                           SERVICES                                      #PAGES/QTY                 UNIT PRICE                AMOUNT

                  Certified Transcript                                           110                    $3.35                  $368.50
    Compressed I ASCII/ Word Index- Complimentary                                 2                    $45.00                   $0.00

                                                                                                   SUBTOTAL                    $368.50
                                                                                        SHIPPING & HANDLING                     $55.00
                                                                                                      TOTAL                    $423.50



           Please make all checks payable to: TSG Reporting, Inc.      Federal ID # XX-XXXXXXX
              Remit to: TSG Reporting, Inc. 747 Third Avenue, Suite 10A New York, NY 10017
      For prompt payment processing, please include the invoice# with your check. All balances in arrears will be assessed a late fee of
                          1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                               THANK YOU FOR YOUR BUSINESS!
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 23 of 708




                      A – 11
             Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 24 of 708



                                                                                                              INVOICE
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                                   (877) 702-9580
                              www.tsgreporting.com
                                                                                                               DATE: 3/31/2016
                                                                                                            INVOICE# 031716-336862




Bill To:               Michelle La Mar Esq.
                       Loeb & Loeb LLP
                       10100 Santa Monica Boulevard
                       Suite 2200
                       Los Angeles, CA 90067


CASE:                  Steven Heldt, et al v. Tata Consultancy Services, Ltd.
WITNESS:               Balaji Ganapathy
DATE:                  3/17/2016
LOCATION:              New York, NY

Billing Comments /Instructions:
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                           SERVICES                                        #PAGES/QTY                 UNIT PRICE              AMOUNT
                   Certified Transcript                                            63                     $3.35                $211.05
     Compressed I ASCII/Word Index- Complimentary                                   1                    $45.00                 $0.00

                                                                                                     SUBTOTAL                  $211.05
                                                                                          SHIPPING & HANDLING                   $55.00
                                                                                                        TOTAL                  $266.05


           Please make all checks payable to: TSG Reporting, Inc.      FederaiiD # XX-XXXXXXX
              Remit to: TSG Reporting, Inc. 747 Third Avenue, Suite 10A New York, NY 10017
      For prompt payment processing, please include the invoice #with your check. All balances in arrears will be assessed a late fee of
                          1.5% per month, not   to exceed the legal limit. If you have any questions, please call TSG.
                                                 THANK YOU FOR YOUR BUSINESS!
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 25 of 708




                      A – 12
           Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 26 of 708




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                             Worldwide - 24 Hours
                               (877) 702-9580
                             www.tsgreporting.com
                                                                                                           DATE: 2/12/2016
                                                                                                        INVOICE# 012716-335266




Bill To:              Michelle La Mar Esq.
                      Loeb & Loeb LLP
                      10100 Santa Monica Boulevard
                      Suite 2200
                      Los Angeles, CA 90067


CASE:                 Steven Heldt, et al v. Tata Consultancy Services, Ltd.
WITNESS:              Umesh Kumar
DATE:                 1/27/2016
LOCATION:             New Yor1<, NY

Billing Comments /Instructions:




     SHIP VIA               Overnight                TERMS                    net30


                           SERVICES                                     #PAGES/QTY                UNIT PRICE               AMOUNT
                     Certified Transcript                                      108                     $3.35                $361.80
    Compressed I ASCII/ Word Index - Complimentary                               1                    $45.00                 $0.00
         Exhibits - Scanned & Hyperlinked - B&W                                 26                    $0.25                  $6.50
 File Creation Fee - Hyperlinked Exhibits - Complimentary                        1                    $45.00                 $0.00

                                                                                                 SUBTOTAL                   $368.30
                                                                                      SHIPPING & HANDLING                    $55.00
                                                                                                    TOTAL                   $423.30


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                         1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 27 of 708




                      A – 13
           Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 28 of 708




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Bill To:              Michelle La Mar Esq.
                      Loeb & Loeb LLP
                      10100 Santa Monica Boulevard
                      Suite 2200
                      Los Angeles. CA 90067



CASE:                 Steven Heldt, et al v. Tata Consultancy Services, Ltd.
WITNESS:              Shyam Sundar Chinnari I Jeevak Sharma
DATE:                 1/28/2016
LOCATION:             New York, NY

Billing Comments /Instructions:




     SHIP VIA               Overnight               TERMS                    net30



                           SERVICES                                    #PAGES/QTY                UNIT PRICE               AMOUNT

                 -   Certified Transcript
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                                                                                                      $3.35
                                                                                                     $45.00
                                                                                                                           $345.05
                                                                                                                            $0.00
         Exhibits - Scanned & Hyperlinked - B&W                                1                     $0.25                  $0.25
 File Creation Fee - Hyperlinked Exhibits - Complimentary                       1                    $45.00                 $0.00

                                                                                                SUBTOTAL                  $345.30
                                                                                     SHIPPING & HANDLING                   $55.00
                                                                                                   TOTAL                  $400.30



           Please make all checks payable to: TSG Reporting, Inc.      FederaiiD #XX-XXXXXXX
              Remit to: TSG Reporting, Inc. 747 Third Avenue, Suite 10A New York, NY 10017
     For prompt payment processing, please indude the invoice# with your check. Nl balances in arrears will be assessed a late fee of
                        1.5% per month. not to exceed the legal limit. If you have any questions, please call TSG.
                                              THANK YOU FOR YOUR BUSINESS I




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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 29 of 708




                      A – 14
           Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 30 of 708




                                                                                                          INVOICE
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REPORTING
                             Worldwide - 24 Hours
                               (877) 702-9580
                             www.tsgreporting.com
                                                                                                           DATE: 3/15/2016
                                                                                                        INVOICE# 022616-336221




Bill To:              Midlelle La Mar Esq.
                      Loeb & Loeb LLP
                      10100 Santa Monica Boulevard
                      Suite 2200
                      Los Angeles, CA 90067



CASE:                 Steven Heldt, et al v. Tata Consultancy Services, Ltd.
WITNESS:              Amit Jindal (3086: Entity Unknown)
DATE:                 2/26/2016
LOCATION:             Washington, DC

Billing Comments /Instructions:




     SHIP VIA               Overnight                TERMS                    net 30



                           SERVICES                                     #PAGES/QTY                UNIT PRICE               AMOUNT

                  Certified Transcript                                          67                     $3.35                $224.45
    Compressed I ASCII/ Word Index- Complimentary                                1                    $45.00                 $0.00

                                                                                                  SUBTOTAL                  $224.45
                                                                                       SHIPPING & HANDLING                  $55.00
                                                                                                     TOTAL                  $279.45


           Please make all checks payable to: TSG Reporting, Inc.      FecleraiiD # XX-XXXXXXX
              Remit to: TSG Reporting, Inc. 747 Third Avenue, Suite 10A New York, NY 10017
     For prompt payment processing, please include the invoice# with your check. All balances in arrears will be assessed a late fee of
                         1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                               THANK YOU FOR YOUR BUSINESS!
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 31 of 708




                      A – 15
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 32 of 708


                                                          I am an invoice.                                                      Page 1 of 2
                                                      Take me to your accounts                      Invoice No.                 A 16090797
                                                        payable department.                         Invoice Date      September 30, 2016
Network Deposition Services, Inc.                                                                   Invoice Due         November 3, 2016
1800 Century Park East • Suite 150                                                                  Invoice Total                 3,530.80
Los Angeles, CA 90067
                                                                                                    Balance Due                        0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                   Loeb & Loeb LLP
                   Attention: Michelle M. La Mar, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Michelle M. La Mar, Esq.                                                           NDS            Client        Deposition
Deposition of    Christopher J. Slaight                                              Case No.       Job No.        Matter No.         Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTD                       4:15-cv-       180573 205625-10015            9-17-2016
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units             Price            Extended
         Rough ASCII                                                                       259      Pages                1.25       323.75
      - Transcript 0+1 - Business Litigation                                               259      Pages                4.75     1,230.25
      -Exhibit Copies                                                                      188      Pages                0.45        84.60
         Exhibits Bound Separately                                                            2     Volumes             10.00        20.00
         Technology and Litigation Support Package                                              1                       30.00        30.00
         Transcript Production, Processing and Binding                                          1                       40.00        40.00
          Delivery and Handling of Transcript Copy                                              1                       20.00        20.00
          Federal Code Compliance - Letters and Delivery                                        1                       20.00        20.00
       -Transcript video surcharge                                                         259      Pages                0.30        77.70
         Video Production and Processing                                                        1                       30.00        30.00

      NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.


Payment From
                                                                                     Invoice No.                                AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
                                                                                     Invoice Date                     September 30, 2016
10100 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                         November 3, 2016


Write notes or address changes below                                                 Total Due                                         0.00


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 33 of 708


                                                                                                                                            Page 2 of 2
                                                                                                             Invoice No.                    A 16090797
                                                                                                             Invoice Date      September 30, 2016
Network Deposition Services, Inc.                                                                            Invoice Due         November 3, 2016
See page 1 for contact information                                                                           Balance Due                              0.00

Noticing firm       Loeb & Loeb LLP - Los Angeles
Noticed by          Michelle M. La Mar, Esq.                                                                 NDS            Client           Deposition
Deposition of       Christopher J. Slaight                                                    Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTO                                4:15-cv-          180573 205625-10015            9-17-2016
                                                                                              01696-YGR
           Description of Service                                                               Quantity Units                     Price       Extended
           Synchronized videotaped proceeding 2 hour minimum                                             1                      395.00          395.00
           Synchronized videotaped proceeding additional hours                                       4.5     Hours              155.00          697.50
       - Weekend- Court reporter                                                                       6     Hours               45.00          270.00
           Court reporter hourly fee                                                                   6     Hours               45.00          270.00
           Videographer Parking                                                                          1                                       22.00

 Payments
Date            Payment details                                                               Cash                            Total cash      Applied to
received                                                                                      receipt no.                        receipt_    this invoice
                                                                                                                                                     -----
                                       ·---·   -~-------~--   ~~-   ~~-   -----------------                                                 -------


 10-19-2016 Check 109123                                                                      C165265                         3,530.80        3,530.80
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 34 of 708




                      A – 16
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 35 of 708


                                                          I am an invoice.                                                       Page 1 of 2
                                                      Take me to your accounts                      Invoice No.                  AXXXXXXXX
                                                        payable department.                         Invoice Date          October 5, 2016
Network Deposition Services, Inc.                                                                   Invoice Due         November 4, 2016
1800 Century Park East • Suite 150                                                                  Invoice Total                  2,970.75
Los Angeles, CA 90067
                                                                                                    Balance Due                         0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                   Loeb & Loeb LLP
                   Attention: Michelle M. La Mar, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
'------------------------------1 to any invoice over 30 days old.
Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by                                                                                          NDS            Client         Deposition
Deposition of Brian J. Buchanan                                                      Case No.       Job No.        Matter No.          Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                       4:15-cv-          180734 205625-10015          9-21-2016
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units                    Price      Extended
        ._Transcript 0+1 - Business Litigation                                             271      Pages                4.75      1,287.25
       ... Exhibit Copies                                                                  166 Pages                     0.45         74.70
        -color Exhibit Copies                                                                2 Pages                     1.00          2.00
         Exhibits Bound Separately                                                            2 Volumes                 10.00         20.00
         Waiting                                                                            0.9     Hours               45.00         40.50
         Technology and Litigation Support Package                                              1                       30.00         30.00
         Transcript Production, Processing and Binding                                          1                       40.00         40.00
         Delivery and Handling of Transcript Copy                                               1                       20.00         20.00
         Federal Code Compliance - Letters and Delivery                                      1                          20.00         20.00
        -Transcript video surcharge                                                        271 Pages                     0.30         81.30

      NOS invoice version 3.2   Detach lower portion and return Wlth your payment. Please do not staple check.

Payment From
                                                                                     Invoice No.                                 AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
                                                                                     Invoice Date                          October 5, 2016
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                         November 4, 2016


Write notes or address changes below                                                 Total Due                                          0.00

                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 36 of 708


                                                                                                              Page 2 of 2
                                                                                Invoice No.                   AXXXXXXXX
                                                                                Invoice Date         October 5, 2016
Network Deposition Services, Inc.                                               Invoice Due         November 4, 2016
See page 1 for contact information                                              Balance Due                          0.00

Noticing firm       Loeb & Loeb LLP - Los Angeles
Noticed by                                                                      NDS            Client          Deposition
Deposition of       Brian J. Buchanan                            Case No.       Job No.        Matter No.           Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTO   4:15-cv-          180734 205625-10015           9-21-2016
                                                                 01696-YGR
           Description of Service                                  Quantity Units                     Price      Extended
           Video Production and Processing                                1                         30.00          30.00
           Synchronized videotaped proceeding 2 hour minimum                1                     395.00          395.00
           Synchronized videotaped proceeding additional hours            6     Hours              155.00         930.00

 Payments
Date            Payment details                                  Cash                            Total cash     Applied to
received                                                         receipt no.                        receipt    this invoice
 10-26-2016 Check 109214                                         C165369                         2,970.75       2,970.75
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 37 of 708




                      A – 17
            Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 38 of 708




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                                  (877) 702-9580                                                              DATE: 1/31/2017
                                                                                                          -INVOICE# 012517-463836
                             www.tsqreporting.com
REPORTING

Bill To:              Michelle La Mar Esq.
                      Loeb & Loeb LLP
                      10100 Santa Monica Boulevard
                      Suite 2200
                      Los Angeles, CA 90067



CASE:                 Steven Heldt, et al v. Tata Consultancy Services, Ltd.
WITNESS:              Umesh Kumar I Balaji Ganapathy I Jeevak Sharma
DATE:                 112512017
LOCATION:             New York, NY

Billing Comments /Instructions:




     SHIP VIA               Overnight                 TERMS                    net30



                           SERVICES                                      # PAGES/QTY                UNIT PRICE                AMOUNT

            ·-        Certified Transcript                                       220                    $3.35                  $737.00
             Certified Transcript - 3 Day Delivery                               220                    $2.10                  $462.00
                       Rough Transcript                                          220                    $1.50                  $330.00
     Compressed I ASCII/ Word Index- Complimentary
-         Exhibits - Scanned & Hyperlinked - B&W
  File Creation Fee - Hyperlinked Exhibits- Complimentary
                                                                                  3
                                                                                 138
                                                                                  1
                                                                                                        $45.00
                                                                                                        $0.25
                                                                                                        $45.00
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                                                                                                                                $34.50
                                                                                                                                $0.00

                                                                                                   SUBTOTAL                   $1,563.50
                                                                                        SHIPPING & HANDLING                    $55.00
                                                                                                      TOTAL                   $1,618.50



           Please make all checks payable to: TSG Reporting, Inc.      FederaiiD # XX-XXXXXXX
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                          1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                               THANK YOU FOR YOUR BUSINESS!
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 39 of 708




                      A – 18
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 40 of 708


                                                           I am an invoice.                                                     Page 1 of 2
                                                       Take me to your accounts                   Invoice No.                   AXXXXXXXX
                                                         payable department.                      Invoice Date           March 13, 2017
Network Deposition Services, Inc.                                                                 Invoice Due             April 24, 2017
1800 Century Park East • Suite 150                                                                Invoice Total                   4,776.23
Los Angeles, CA. 90067
                                                                                                  Balance Due                          0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com



                   Loeb & Loeb LLP
                   Attention: Laura A. Wytsma, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.
Noticing firm          Loeb & Loeb LLP - Los Angeles
Noticed by             Laura A. Wytsma, Esq.                                                      NDS            Client          Deposition
Deposition of         Seyed Amir Masoudi -Volume 1                                   Case No.     Job No.        Matter No.           Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                       4:15-cv-         190184     205625-10015       3-9-2017
                                                                                     01696-YGR
          Description of Service                                                       Quantity Units                  Price       Extended
          Rough ASCII                                                                      246    Pages                1.25         307.50
     -·   Transcript 0+1 - Business Litigation                                             246    Pages                4.75       1'168.50
      -Exhibit Copies                                                                      159    Pages                0.45          71.55
       ' Color Exhibit Copies                                                                19   Pages                1.00          19.00
          Exhibits Bound Separately                                                           2   Volumes             10.00          20.00
          After 5 pm                                                                        0.1   Hours               45.00           4.50
          Reporter Parking                                                                    1                                      38.00
          Technology and Litigation Support Package                                           1                       30.00          30.00
          Transcript Production, Processing and Binding                                       1                       40.00          40.00
          Delivery and Handling of Transcript Copy                                            1                       20.00          20.00

      NDS invoice version 3.2   Detach lower port10n and return w1th your payment. Please do not staple check.

Payment From
                                                                                     Invoice No.                                AXXXXXXXX
Loeb & Loeb LLP
Attention: Laura A. Wytsma, Esq.
                                                                                     Invoice Date                        March 13, 2017
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                               April24, 2017


Write notes or address changes below                                                 Total Due                                         0.00


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 41 of 708


                                                                                                                  Page 2 of 2
                                                                                    Invoice No.               AXXXXXXXX
                                                                                    Invoice Date           March 13, 2017
Network Deposition Services, Inc.                                                   Invoice Due              April 24, 2017
See page 1 for contact information                                                  Balance Due                          0.00

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Laura A. Wytsma. Esq.                                              NDS            Client          Deposition
Deposition of Seyed Amir Masoudl -Volume 1                            Case No.      Job No.        Matter No.           Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO        4:15-cv-            190184   205625-10015       3-9-2017
                                                                      01696-YGR
           Description of Service                                       Quantity Units                    Price      Extended
           Next business day expedite (1 00%)- Business Litigation          246     Pages                4.75       1,168.50
           Federal Code Compliance - Letters and Delivery                      1                        20.00          20.00
       - Transcript video surcharge                                         246     Pages                0.30          73.80
           Video Production and Processing                                     1                        30.00          30.00
           Synchronized videotaped proceeding 2 hour minimum                   1                      395.00          395.00
           Synchronized videotaped proceeding additional hours             5.75     Hours              155.00         891.25
           Videotaped proceeding overtime after 5 pm                       0.25     Hours               52.50          13.13
           Conference Room                                                     1                                      425.00
       .   Exhibit Copies                                                     90    Pages                0.45          40.50
            Pages printed for attorney.
Payments
Date            Payment details                                       Cash                           Total cash Applied to
received                                                              receipt no.                       receiptthis invoice
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    4-5-2017 Check 112333                                             C171420                       4,776.23    4,776.23
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 42 of 708




                      A – 19
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 43 of 708


                                                          I am an invoice.                                                  Page 1 of 2
                                                      Take me to your accounts                    Invoice No.             AXXXXXXXX
                                                        payable department.                       Invoice Date         March 21, 2017
Network Deposition Services, Inc.                                                                 Invoice Due            May 1, 2017
1800 Century Park East • Suite 150                                                                Invoice Total              2,937.15
Los Angeles, CA 90067
                                                                                                  Balance Due                     0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                   Loeb & Loeb LLP
                   Attention: Laura A. Wytsma, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Laura A. Wytsma, Esq.                                                          NDS        Client             Deposition
Deposition of Nasser Nahshal -Volume 1                                               Case No.   Job No.    Matter No.               Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTO                       4:15-cv-       190463 205625-10015        3-17-2017
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units             Price        Extended
         Rough ASCII                                                                       151    Pages              1.25        188.75
        -Transcript 0+1 - Business Litigation                                              151    Pages              4.75       717.25
       -Exhibit Copies                                                                      23    Pages              0.45         10.35
         After 5 pm                                                                         0.5   Hours             45.00         22.50
         Waiting                                                                            1.1   Hours             45.00         49.50
         Reporter Parking                                                                     1                                   45.00
         Technology and Litigation Support Package                                            1                     30.00         30.00
         Transcript Production, Processing and Binding                                        1                     40.00         40.00
         Delivery and Handling of Transcripts                                                 1                     20.00         20.00


      NOS invoice version 3.2   Detach lower portion and return w1th your payment. Please do not staple check.

Payment From
                                                                                     Invoice No.                            AXXXXXXXX
Loeb & Loeb LLP
Attention: Laura A. Wytsma, Esq.
101 00 Santa Monica Boulevard                                                        Invoice Date                       March 21, 2017
Suite 2200
Los Angeles, CA 90067                                                                Late After                             May 1, 2017


Write notes or address changes below                                                 Total Due                                      0.00


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 44 of 708


                                                                                                                                             Page 2 of 2
                                                                                                     Invoice No.                             AXXXXXXXX
                                                                                                     Invoice Date                    March 21, 2017
Network Deposition Services, Inc.                                                                    Invoice Due                             May 1, 2017
See page 1 for contact information                                                                   Balance Due                                      0.00

Noticing firm       Loeb & Loeb LLP- Los Angeles
Noticed by          Laura A. Wytsma, Esq.                                                            NDS                    Client             Deposition
Deposition of       Nasser Nahshal - Volume 1                                        Case No.        Job No.                Matter No.              Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                       4:15-cv-              190463 205625-10015                   3-17-2017
                                                                                     01696-YGR
           Description of Service                                                      Quantity Units                               Price        Extended
           Delivery - Exhibits                                                                  1                                25.00              25.00
            Expedited delivery of exhibits from reporter to NOS.
           Next business day expedite (100%)- Business Litigation                          151       Pages                         4.75           717.25
        -Transcript video surcharge                                                        151       Pages                         0.30             45.30
           Video Production and Processing                                                    1                                   30.00             30.00
           Synchronized videotaped proceeding 2 hour minimum                                  1                                 395.00            395.00
           Synchronized videotaped proceeding additional hours                                3      Hours                      155.00            465.00
           Videotaped proceeding overtime after 5 pm                                        0.5      Hours                        52.50             26.25
        -Appearance fee - Full day                                                            1      Day                         90.00              90.00
           Delivery - Videography                                                             1                                  20.00              20.00
Payments
Date            Payment details                                                      Cash                                     Total cash        Applied to
received                            ·- -·. --· -·. -- ·-· ·--·
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  4-13-2017 Check 112459                                                             C171591                                 2,937.15           2,937.15
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 45 of 708




                      A – 20
           Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 46 of 708




                                                                                                            INV~CE
TSG                          Worldwide - 24 Hours
                               (877) 702-9580
                             www.tsgreporting.com
                                                                                                             DATE: 5f31/2017
                                                                                                          INVOICE# 051217-468649

REPORTING

Bill To:              Bernard R. Given II Esq.
                      Loeb & Loeb LLP
                      10100 Santa Monica Boulevard
                      Suite 2200
                      Los Angeles, CA 90067


CASE:
WITNESS:
DATE:
LOCATION:
                      Steven Heldt, et al v. Tata Consultancy Services, Ltd.
                      Dr. Edward P. Lazear
                      5/12/2017
                      Menlo Park, CA
                                                                                       (1       ~
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Billing Comments /Instructions:




     SHIP VIA               Overnight                 TERMS                    net 30


                           SERVICES                                      #PAGES/QTY                  UNIT PRICE               AMOUNT

  - Compressed I ASCII/
                  Certified Transcript
                         Word Index- Complimentary
                                                                                 107
                                                                                  1
                                                                                                        $3.35
                                                                                                       $45.00
                                                                                                                               $358.45
                                                                                                                                $0.00
          Exhibits- Scanned & Hyperlinked - B&W                                  73                     $0.25                  $18.25
          Exhibits - Scannep & Hyperlinked - Color                                9                     $1.50                   $13.50
  File Creation Fee - Hyperlinked Exhibits - Complimentary                        1                    $45.00                   $0.00

                                                                                                   SUBTOTAL                    $390.20
                                                                                        SHIPPING & HANDLING                     $55.00
                                                                                                      TOTAL                    $445.20


           Please make all checks payable to: TSG Reporting, Inc.      FederaiiD # XX-XXXXXXX
              Remit to: TSG Reporting, Inc. 747 Third Avenue, Suite 10A New York, NY 10017
      For prompt payment processing, please include the invoice #with your check. All balances in arrears will be assessed a late fee of
                          1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                               THANK YOU FOR YOUR BUSINESS!
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 47 of 708




                      A – 21
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 48 of 708


                                                          I am an invoice.                                                                Page 1 of 3
                                                      Take me to your accounts                      Invoice No.                      AXXXXXXXX
                                                        payable department.                         Invoice Date                  March 31, 2017
Network Deposition Services, Inc.                                                                   Invoice Due                    June 1, 2017
1800 Century Park East • Suite 150                                                                  Invoice Total                       4,042.66
Los Angeles, CA 90067
                                                                                                    Balance Due                            80.87
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com                                                       Payment Processing Information
r - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - , Corrected invoice

                   Loeb & Loeb LLP
                   Attention: Laura A. Wytsma, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Laura A. Wytsma, Esq.                                                              NDS              Client                     Video
Video            Jessica B. Wilson -Volume 1                                         Case No.       Job No.          Matter No.           Conferencing
Conference                                                                                                                                        Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                       4:15-cv-          190461        205625-1 0015           3-16-2017
                                                                                     01696-YGR
         Des<Eption of Service                                                       Quantity
                                                                 -- ----- -------+_ ___-.._ ___L -Units
                                                                                                   ----     -   --   ----   --
                                                                                                                                 Price       Extended
       - Transcript 0+1 - Business Litigation                                              135      Pages                    4.75             641.25
         Exhibit Copies                                                                     63      Pages                        0.45          28.35
         Color Exhibit Copies                                                                   1   Pages                        1.00           1.00
         After 5 pm                                                                         0.6     Hours                   45.00              27.00
         Waiting                                                                                1   Hours                   45.00              45.00
         Technology and Litigation Support Package                                              1                           30.00              30.00
         Transcript Production, Processing and Binding                                          1                           40.00              40.00
         Rough ASCII                                                                       135      Pages                        1.25         168.75
         Delivery and Handling of Transcripts                                                   1                           20.00              20.00

      NOS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.

Payment From
                                                                                     Invoice No.                                          AXXXXXXXX
Loeb & Loeb LLP
Attention: Laura A. Wytsma, Esq.
                                                                                     Invoice Date                                  March 31, 2017
10100 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                                          June 1, 2017


Write notes or address changes below                                                 Total Due                                                  80.87

                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 49 of 708


                                                                                                                                    Page 2 of 3
                                                                                               Invoice No.                          AXXXXXXXX
                                                                                               Invoice Date                      March 31, 2017
Network Deposition Services, Inc.                                                              Invoice Due                        June 1, 2017
See page 1 for contact information                                                             Balance Due                                    80.87

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Laura A. Wytsma, Esq.                                                        NDS                      Client                 Video
Video            Jessica   B. Wilson -Volume 1                         Case No.               Job No.                  Matter No.       Conferencing
Conference                                                                                                                                      Date
                                                                      - - - - - - - - -- - - - - - - - - - - - - - -   ----

Caption Christopher Slaight vs. Tata Consultancy Services, LTO         4:15-cv-                       190461           205625-1 0015       3-16-2017
                                                                       01696-YGR
                                                                      ----------                     --        - - - -----

         Description of Service                                            Quantity Units                                       Price      Extended
        -Transcript video surcharge                                               135          Pages                            0.30         40.50
         Video Production and Processing                                                1                                      30.00         30.00
          Synchronized videotaped proceeding 2 hour minimum                             1                                     395.00        395.00
          Synchronized videotaped proceeding additional hours                    3.25          Hours                          155.00        503.75
         Videotaped proceeding overtime after 5 pm                               0.75          Hours                           52.50         39.38
       - Appearance fee - Full day                                                      1      Day                            170.00        170.00
       .. Color Exhibit Copies                                                    136          Pages                            1.00        136.00
           Photocopies made at deposition.
         Transcript videoconference per page surcharge                            135          Pages                            0.30         40.50
         Videoconference hourly cost                                             4.75          Hours                          225.00      1,068.75
          Deposition location - Charlotte, NC
         Videoconference hourly after hour surcharge                             0.75          Hours                          100.00         75.00
          Deposition location - Charlotte, NC
         Videoconference hourly bridge I managed dial-out I gateway              4.75          Hours                           55.00        261.25
           Charlotte, NC
         Videoconference hourly bridge I managed dial-out I gateway              4.75          Hours                           55.00        261.25
           Los Angeles, CA
Date           Description                                                 Quantity Units                                       Price      Extended
    6-2-2017 Finance charge - 1 month                                                   1                                                      0.91
    7-2-2017 Finance charge- 2 months                                                   1                                                      0.93
    8-2-2017 Finance charge- 3 months                                                   1                                                      0.94
    9-2-2017 Finance charge- 4 months                                                   1                                                      0.96
  10-2-2017 Finance charge - 5 months                                                   1                                                      0.97
  11-2-2017 Finance charge - 6 months                                                   1                                                      0.98
  12-2-2017 Finance charge - 7 months                                                   1                                                      1.00
    1-2-2018 Finance charge- 8 months                                                   1                                                      1.01
    2-2-2018 Finance charge - 9 months                                                  1                                                      1.03
    3-2-2018 Finance charge - 10 months                                                 1                                                      1.05
    4-2-2018 Finance charge - 11 months                                                 1                                                      1.06
    5-2-2018 Finance charge- 12 months                                                  1                                                      1.08
    6-2-2018 Finance charge - 13 months                                                 1                                                      1.09
    7-2-2018 Finance charge- 14 months                                                  1                                                      1.11
    8-2-2018 Finance charge - 15 months                                                 1                                                      1.13
    9-2-2018 Finance charge - 16 months                                                 1                                                      1.14
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 50 of 708


                                                                                                                                       Page 3 of 3
                                                                                                    Invoice No.                    AXXXXXXXX
                                                                                                    Invoice Date                March 31, 2017
Network Deposition Services, Inc.                                                                   Invoice Due                  June 1, 2017
See page 1 for contact information                                                                  Balance Due                          80.87

 Date          Description                                                                Quantity Units                       Price      Extended
   10-2-2018 Finance charge - 17 months                                                         1                                                 1.16
   11-2-2018 Finance charge - 18 months                                                         1                                                 1.18
   12-2-2018 Finance charge- 19 months                                                          1                                                 1.20

 Payments
 Date          Payment details                                                          Cash                            Total cash        Applied to
 received
1-------    ----------   ------      --··-   -------·   -----   -----··-   --   ----
                                                                                     _receip_~~?·___   ----------   -----
                                                                                                                           receipt
                                                                                                                            ----------
                                                                                                                                         this invoice
                                                                                                                                          ----    -------


   7-17-2017 Check 114110                                                               C173475                         3,911.79         3,911.79
   11-7-2017 Check 116101                                                               C175223                         3,748.00                 50.00
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 51 of 708




                      A – 22
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 52 of 708


                                                          I am an invoice.                                                       Page 1 of 2
                                                      Take me to your accounts                      Invoice No.                   AXXXXXXXX
                                                        payable department.                         Invoice Date                July 10, 2017
Network Deposition Services, Inc.                                                                   Invoice Due           August 11, 2017
1800 Century Park East • Suite 150                                                                  Invoice Total                   1,922.25
Los Angeles, CA 90067
                                                                                                    Balance Due                          0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                   Loeb & Loeb LLP
                   Attention: Michelle M. La Mar, Esq.
                   101 00 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                  Make checks payable to Network Deposition
                                                                                          Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                          A service fee of 1.5% per month may be added
                                                                                          to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Michelle M. La Mar, Esq.                                                           NDS            Client          Deposition
Deposition of    Loran Peck ·Volume 1                                                Case No.       Job No.        Matter No.           Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                       4:15-cv-      192673 205625-10015               6-16-2017
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units            Price               Extended
        -..Transcript 0+1 - Business Litigation                                            170      Pages                4.75         807.50
       -Exhibit Copies                                                                      58      Pages                0.45          26.10
         Technology and Litigation Support Package                                              1                       30.00          30.00
         Transcript Production, Processing and Binding                                          1                       40.00          40.00
         Delivery and Handling of Transcript Copy                                               1                       20.00          20.00
         Federal Code Compliance - Letters and Delivery                                         1                       20.00          20.00
        -Transcript video surcharge                                                        170      Pages                0.30          51.00
         Video Production and Processing                                                        1                       30.00          30.00
         Synchronized videotaped proceeding 2 hour minimum                                      1                     395.00          395.00
         Synchronized videotaped proceeding additional hours                               1.75     Hours              155.00         271.25

      NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.


Payment From
                                                                                     Invoice No.                                  AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
                                                                                     Invoice Date                               July 10, 2017
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                           August 11, 2017


Write notes or address changes below                                                 Total Due                                           0.00


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 53 of 708


                                                                                                              Page 2 of 2
                                                                                Invoice No.                   AXXXXXXXX
                                                                                Invoice Date                July 10, 2017
Network Deposition Services, Inc.                                               Invoice Due           August 11, 2017
See page 1 for contact information                                              Balance Due                      0.00

Noticing firm       Loeb & Loeb LLP - Los Angeles
Noticed by          Michelle M. La Mar, Esq.                                    NDS            Client          Deposition
Deposition of       Loran Peck- Volume 1                         Case No.       Job No.        Matter No.           Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTO   4: 15-cv-         192673      205625-10015      6-16-2017
                                                                 01696-YGR
           Description of Service                                  Quantity Units                     Price      Extended
       .....Appearance fee- Full day                                        1   Day               175.00          175.00
Date            Description                                        Quantity Units                     Price      Extended
  8-12-2017 Finance charge- 1 month                                         1                                      27.99
  9-12-2017 Finance charge- 2 months                                        1                                      28.41
Payments
Date            Payment details                                  Cash                            Total cash     Applied to
received
----------
                                                                 receipt no.       -----   -
                                                                                                    receipt    this invoice
                                                                                                               ----------


 10-26-2017 Check 115953                                         C175017                       15,244.70        1,922.25
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 54 of 708




                      A – 23
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 55 of 708


                                                          I am an invoice.                                                        Page 1 of 2
                                                      Take me to your accounts                      Invoice No.                   AXXXXXXXX
                                                        payable department.                         Invoice Date           March 13, 2017
Network Deposition Services, Inc.                                                                   Invoice Due             April 24, 2017
1800 Century Park East • Suite 150                                                                  Invoice Total                    2,163.66
Los Angeles, CA 90067
                                                                                                    Balance Due                          0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com



                   Loeb & Loeb LLP
                   Attention: Laura A. Wytsma, Esq.
                   101 00 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Laura A. Wytsma, Esq.                                                              NDS            Client           Deposition
Deposition of    Stephen    Bradley -Volume 1                                        Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTD                       4: 15-cv-         190185      205625-10015      3-10-2017
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units                    Price       Extended
         Rough ASCII                                                                        97      Pages                1.25         121.25
       .... Transcript 0+1 - Business Litigation                                            97      Pages                4.75         460.75
       ' Exhibit Copies                                                                     72      Pages                0.45          32.40
         Waiting                                                                            1.1     Hours               45.00          49.50
         Technology and Litigation Support Package                                              1                       30.00          30.00
         Transcript Production, Processing and Binding                                          1                       40.00          40.00
         Delivery and Handling of Transcript Copy                                               1                       20.00          20.00
      .....__Transcript video surcharge                                                     97      Pages                0.30          29.10
         Video Production and Processing                                                        1                       30.00          30.00
         Synchronized videotaped proceeding 2 hour minimum                                      1                     395.00          395.00

      NOS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.

Payment From
                                                                                     Invoice No.                                  AXXXXXXXX
Loeb & Loeb LLP
Attention: Laura A. Wytsma, Esq.
                                                                                     Invoice Date                          March 13, 2017
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                                 April 24, 2017


Write notes or address changes below                                                 Total Due                                           0.00


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 56 of 708


                                                                                                               Page 2 of 2
                                                                                  Invoice No.              AXXXXXXXX
                                                                                  Invoice Date          March 13, 2017
Network Deposition Services, Inc.                                                 Invoice Due             April 24, 2017
See page 1 for contact information                                                Balance Due                         0.00

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Laura A. Wytsma, Esq.                                         NDS        Client                Deposition
Deposition of Stephen Bradley -Volume 1                             Case No.   Job No.    Matter No.                  Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO      4:15-cv-       190185 205625-10015           3-10-2017
                                                                    01696-YGR
           Description of Service                                     Quantity Units             Price            Extended
           Synchronized videotaped proceeding additional hours               2    Hours            155.00          310.00
           Next business day expedite (100%)- Business Litigation          97     Pages               4.75         460.75
Date            Description                                           Quantity Units                   Price      Extended
  4-25-2017 Finance charge - 1 month                                         1                                      29.68
  5-25-2017 Finance charge - 2 months                                        1                                      30.13
  6-25-2017 Finance charge - 3 months                                        1                                      30.58
  7-25-2017 Finance charge- 4 months                                         1                                      31.04
  8-25-2017 Finance charge- 5 months                                         1                                      31.50
  9-25-2017 Finance charge - 6 months                                        1                                      31.98

 Payments
Date            Payment details                                     Cash                          Total cash     Applied to
received                                                            receipt no.                      receipt    this invoice
 10-26-2017 Check 115953                                            C175017                      15,244.70       2,163.66
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 57 of 708




                      A – 24
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 58 of 708


                                                           I am an invoice.                                                        Page 1 of 2
                                                       Take me to your accounts                      Invoice No.                   AXXXXXXXX
                                                         payable department.                         Invoice Date           March 14, 2017
Network Deposition Services, Inc.                                                                    Invoice Due             April 24, 2017
1800 Century Park East • Suite 150                                                                   Invoice Total                    3,677.64
Los Angeles, CA 90067
                                                                                                     Balance Due                          0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                    Loeb & Loeb LLP
                    Attention: Laura A. Wytsma, Esq.
                    101 00 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                  Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Laura A. Wytsma, Esq.                                                               NDS            Client           Deposition
Deposition of Nobel Mandili -Volume 1                                                 Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                        4:15-cv-          190183      205625-10015       3-8-2017
                                                                                      01696-YGR
          Description of Service                                                        Quantity Units                    Price       Extended
          Rough ASCII                                                                       163      Pages                1.25         203.75
        -Transcript 0+1 -Business Litigation                                                163      Pages                4.75         774.25
       -Exhibit Copies                                                                      136      Pages                0.45          61.20
       ' Color Exhibit Copies                                                                 15     Pages                1.00          15.00
          Reporter Parking                                                                       1                                      38.00
          Technology and Litigation Support Package                                              1                       30.00          30.00
          Transcript Production, Processing and Binding                                          1                       40.00          40.00
          Delivery and Handling of Transcript Copy                                               1                       20.00          20.00
          Federal Code Compliance- Letters and Delivery                                          1                       20.00          20.00
          Next business day expedite (100%)- Business Litigation                            163      Pages                4.75         774.25

       NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.

Payment From
                                                                                      Invoice No.                                  AXXXXXXXX
Loeb & Loeb LLP
Attention: Laura A. Wytsma, Esq.
                                                                                      Invoice Date                          March 14, 2017
10100 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                 Late After                                 April 24, 2017


Write notes or address changes below                                                  Total Due                                           0.00


                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 59 of 708


                                                                                                                 Page 2 of 2
                                                                                   Invoice No.               AXXXXXXXX
                                                                                   Invoice Date           March 14, 2017
Network Deposition Services, Inc.                                                  Invoice Due              April 24, 2017
See page 1 for contact information                                                 Balance Due                        0.00

 Noticing firm    Loeb & Loeb LLP - Los Angeles
 Noticed by       Laura A. Wytsma, Esq.                                            NDS            Client          Deposition
 Deposition of    Nobel   Mandill -Volume 1                         Case No.       Job No.        Matter No.           Date
 Caption Christopher Slaight vs. Tata Consultancy Services, LTD     4:15-cv-          190183      205625-10015       3-8-2017
                                                                    01696-YGR
            Description of Service                                    Quantity Units                     Price      Extended
        ~Transcript     video surcharge                                   163      Pages                0.30          48.90
            Video Production and Processing                                    1                       30.00          30.00
            Synchronized videotaped proceeding 2 hour minimum                  1                     395.00          395.00
            Synchronized videotaped proceeding additional hours              4     Hours              155.00         620.00
            Videographer Parking                                               1                                      18.00
            Conference Room                                                    1                                     250.00
            Delivery - Exhibits                                                1                       25.00          25.00
             Expedited deliveruy of exhibits from reporter to NDS
 Date
f- -             ])es~r_ip-~()n .                                     Quantity Units           -------
                                                                                                         Price-· r-----
                                                                                                                     Extended
   4-25-2017 Finance charge - 1 month                                          1                                      50.45
   5-25-2017 Finance charge - 2 months                                         1                                      51.21
   6-25-2017 Finance charge- 3 months                                          1                                      51.98
   7-25-2017 Finance charge - 4 months                                         1                                      52.75
   8-25-2017 Finance charge - 5 months                                         1                                      53.55
   9-25-2017 Finance charge - 6 months                                         1                                      54.35
 Payments
 Date            Payment details                                    Cash                            Total cash     Applied to
 received                                                           receipt no.                        receipt    this invoice
  10-26-2017 Check 115953                                           C175017                       15,244.70        3,677.64
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 60 of 708




                      A – 25
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 61 of 708


                                                           I am an invoice.                                                         Page 1 of 2
                                                       Take me to your accounts                      Invoice No.                AXXXXXXXX
                                                         payable department.                         Invoice Date            March 29, 2017
Network Deposition Services, Inc.                                                                    Invoice Due                 May 24,2017
1800 Century Park East • Suite 150                                                                   Invoice Total                     5,214.74
Los .Angeles, C.A 90067
                                                                                                     Balance Due                           0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com



                    Loeb & Loeb LLP
                    Attention: Laura A. Wytsma, Esq.
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                  Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           .A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Laura A. Wytsma, Esq.                                                               NDS            Client                Video
Video            Dwight Giovanni - Volume 1                                           Case No.       Job No.        Matter No.      Conferencing
Conference                                                                                                                                  Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                        4:15-cv-            190457    205625-1 0015      3-15-2017
                                                                                      01696-YGR
                                                                                         --------- r···                                    -------


          Descripti<J_n__<Jf_Service -~---·--··-·-·         ··-
                                                                                        Quantity Units                     Price       Extended·-




          Rough ASCII                                                                       227      Pages                 1.25         283.75
        -Transcript 0+1 - Business Litigation                                               227      Pages                 4.75       1,078.25
       -Exhibit Copies                                                                       62      Pages                 0.45          27.90
          After 5 pm                                                                         1.2 Hours                   45.00           54.00
          Technology and Litigation Support Package                                              1                       30.00           30.00
          Transcript Production, Processing and Binding                                          1                       40.00           40.00
          Delivery and Handling of Transcripts                                                   1                       20.00           20.00
          7 business day expedite (40%)- Business Litigation                                227      Pages                 1.90         431.30
      - Transcript video surcharge                                                          227      Pages                 0.30          68.10

       NDS invoice version 3.2   Detach lower portion and return Wlth your payment. Please do not staple check.

Payment From
                                                                                      Invoice No.                                   AXXXXXXXX
Loeb & Loeb LLP
Attention: Laura A. Wytsma, Esq.
                                                                                      Invoice Date                           March 29, 2017
101 00 Santa Monica Boulevard
Suite 2200
Los Ahgeles, CA 90067                                                                 Late After                                  May 24, 2017


Write notes or address changes below                                                  Total Due                                            0.00

                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 62 of 708


                                                                                                                                                    Page 2 of 2
                                                                                                  Invoice No.                                       AXXXXXXXX
                                                                                                  Invoice Date                               March 29, 2017
Network Deposition Services, Inc.                                                                  Invoice Due                                  May 24,2017
See page 1 for contact information                                                                Balance Due                                           0.00

 Noticing firm    Loeb & Loeb LLP - Los Angeles
 Noticed by       Laura A. Wytsma, Esq.                                                           NDS                          Client                     Video
 Video            Dwight Giovanni -Volume 1                                Case No.               Job No.                      Matter No.           Conferencing
 Conference                                                                                                                                                 Date
                                                                         >-----------               ----    -------   --   I    -
 Caption Christopher Slaight vs. Tala Consultancy Services, LTD            4:15-cv-                     190457                 205625-10015            3-15-2017
                                                                           01696-YGR                                                         ----
                                                                           -···---   ----·-                                     ------~---




            Description of Service                                             Quantity Units                                           Price          Extended
            Video Production and Processing                                                   1                                        30.00              30.00
            Synchronized videotaped proceeding 2 hour minimum                                 1                                      395.00             395.00
            Synchronized videotaped proceeding additional hours                       3.75         Hours                             155.00             581.25
            Videotaped proceeding overtime after 5 pm                                 1.25         Hours                               52.50              65.63
      •     Appearance fee- Full day                                                          1    Day                               280.00             280.00
            Transcript videoconference per page surcharge                              227         Pages                                0.30              68.10
            Videoconference hourly cost                                               5.25         Hours                             225.00           1'181.25
             Deposition location - Raleigh, NC
            Videoconference hourly after hour surcharge                                 1.5        Hours                             100.00              150.00
             Deposition location - Raleigh, NC
            Videoconference hourly bridge I managed dial-out I gateway                5.25         Hours                               55.00            288.75
             Connection to Loeb & Loeb LLP
            Videoconference                                                                   1                                                           56.10
              Photocopies/Printing - Black and White
            Discount                                                                          1                                                         (288.75)
t-D_at_e____ ___ Description                   -   ----~-----~-    ----~   -
                                                                               ~ua!l!ity           Units
                                                                                                  -------   ------
                                                                                                                                         Price
                                                                                                                                             -----
                                                                                                                                                       Extended
   5-25-2017 Finance charge - 1 month                                                         1                                                           72.61
   6-25-2017 Finance charge- 2 months                                                         1                                                           73.70
   7-25-2017 Finance charge - 3 months                                                        1                                                           74.80
   8-25-2017 Finance charge - 4 months                                                        1                                                           75.93
   9-25-2017 Finance charge - 5 months                                                        1                                                           77.07

 Payments
 Date            Payment details                                           Cash                                                     Total cash         Applied to
 received                                                                  receipt no.                                                 receipt        this invoice
 10-26-2017 Check 115953                                                   C175017                                              15,244.70             5,214.74
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 63 of 708




                      A – 26
            Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 64 of 708


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                                                                                                             INVOICE
TSG                            Worldwide - 24 Hours
                                   (877) 702-9580
                              www.tsgreporting.com
                                                                                                              DATE: 5/16/2018
                                                                                                           INVOICE# 043018-651176
                                                                                                              JOB# 140908
REPORTING

Bill To:               Bernard R. Given II Esq.
                       Loeb & Loeb LLP
                       10100 Santa Monica Boulevard
                       Suite 2200
                       Los Angeles, CA 90067



CASE:                  Steven Heldt, et al v. Tata Consultancy Services, Ltd.
WITNESS:               Surya Kant
DATE:                  4/30/2018
LOCATION:              New York, NY

Billing Comments /Instructions:




     SHIP VIA                Overnight                 TERMS                    net30


                            SERVICES                                      #PAGES/QTY                 UNIT PRICE               AMOUNT
                       Certified Transcript                                       156                    $3.45                  $538.20
             Certified Transcnpt- Early AM Pages                                   16                    $1.25                   $20.00
                        Rough Transcript                                          156                    $1.50                  $234.00
     Compressed I ASCII/ Word Index- Complimentary                                  1                   $45.00                   $0.00
          Exhibits- Scanned & Hyperlinked - B&W                                   180                    $0.25                  $45.00
  File Creation Fee - Hyperlinked Exhibits - Complimentary                         1                    $45.00                   $0.00

                                                                                                    SUBTOTAL                   $837.20
                                                                                         SHIPPING & HANDLING                    $27.50
                                                                                                       TOTAL                   $864.70



           Please make all checks payable to: TSG Reporting, Inc.    FederaiiD # XX-XXXXXXX
              Remit by Mail to: TSG Reporting, Inc. PO Box 95568 Grapevine, TX 76099-9708
       For prompt payment processing, please include the invoice #with your check. All balances in arrears will be assessed a late fee of
                           1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                                 THANK YOU FOR YOUR BUSINESS!
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 65 of 708




                      A – 27
            Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 66 of 708




                                                                                                           INVOICE
omm
REPORTING
                             Worldwide - 24 Hours
                               (877) 702-9580
                             www.tsgreporting.com
                                                                                                            DATE: 5116/2018
                                                                                                         INVOICE# 043018-651177
                                                                                                            JOB# 140908




Bill To:              Bernard R. Given II Esq.
                      Loeb & Loeb LLP
                      10100 Santa Monica Boulevard
                      Suite 2200
                      Los Angeles, CA 90067


CASE:                 Steven Heldt, et al v. Tata Consultancy Services, Ltd.
WITNESS:              Surya Kant
DATE:                 ®12018.
LOCATION:             New York, NY

Billing Comments /Instructions:




     SHIP VIA        1-      Overnight                TERMS                    net30


                            SERVICES                                     #PAGES/QTY                UNIT PRICE                 AMOUNT
                          Certified - MPEG                                        5                    $50.00                  $250.00

                                                                                                 SUBTOTAL                     $250.00
                                                                                       SHIPPING & HANDLING                     $27.50
                                                                                                     TOTAL                    $277.50

           Please make all checks payable to: TSG Reporting, Inc.     FederaiiD # XX-XXXXXXX
              Remit by Mail to: TSG Reporting, Inc. PO Box 95568 Grapevine, TX 76099-9708
      For prompt payment processing, please Include the invoice #with your check. All balances in arrears will be assessed a late fee of
                           1.5% per month, not to exceed the legallimil If you have any questions, please call TSG.
                                                THANK YOU FOR YOUR BUSINESS!
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 67 of 708




                      A – 28
           Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 68 of 708




                                                                                                             INVOICE
omm
REPORTING
                              Worldwide - 24 Hours
                                (877) 702-9580
                              www.tsgreporting.com
                                                                                                              DATE: 5/25/2018
                                                                                                           INVOICE# 051118-651527
                                                                                                              JOB# 141794




Bill To:               Bernard R. Given II Esq.
                       Loeb & Loeb LLP
                       10100 Santa Monica Boulevard
                       Suite 2200
                       Los Angeles, CA 90067



CASE:                  Brian Buchanan, et al. v. Tata Consultancy Services, Ltd.
WITNESS:               Narasimhan Srinivasan
DATE:                  m"'112018
LOCATION:              New York, NY

Billing Comments /Instructions:




     SHIP VIA                Overnight                 TERMS                    net 30


                            SERVICES                                      #PAGES/QTY                 UNIT PRICE               AMOUNT

                     Certified Transcript                                         112                   $3.45                   $386.40
     Compressed I AScii I Word Index- Complimentary                                1                    $45.00                   $0.00
          Exhibits- Scanned & Hyperlinked- FJ&W                                   117                   $0.25                   $29.25
  File Creation Fee - Hyperlinked Exhibits- Complimentary                          1                    $45.00                   $0.00

                                                                                                    SUBTOTAL                    $415.65
                                                                                         SHIPPING & HANDLING                     $27.50
                                                                                                       TOTAL                    $443.15



           Please make all checks payable to: TSG Reporting, Inc.     FederaiiD # XX-XXXXXXX
              Remit by Mail to: TSG Reporting, Inc. PO Box 95568 Grapevine, TX 76099-9708
       For prompt payment processing, please include the invoice# with your check. All balances in arrears will be assessed a late fee of
                           1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                                 THANK YOU FOR YOUR BUSINESS!
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 69 of 708




                      A – 29
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 70 of 708


                                                          I am an invoice.                                                        Page 1 of 2
                                                      Take me to your accounts                      Invoice No.                   AXXXXXXXX
                                                        payable department.                         Invoice Date            April18, 2018
Network Deposition Services, Inc.                                                                   Invoice Due                 May 24,2018
1800 Century Park East • Suite 150                                                                  Invoice Total                   4,966.75
Los Angeles, CA. 90067
                                                                                                    Balance Due                          0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                   Loeb & Loeb LLP
                   Attention: Michelle M. La Mar, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm         Loeb & Loeb LLP - Los Angeles
Noticed by            Michelle M. La Mar, Esq.                                                      NDS            Client          Deposition
Deposition of         Thomas S. Mills- Volume 1                                      Case No.       Job No.        Matter No.           Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                       4:15-cv-          201412      205625-10015      4-11-2018
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units                    Price       Extended
       -Transcript 0+1 - Business Litigation                                               226      Pages                6.00       1,356.00
       -Exhibit Copies                                                                       53     Pages                0.55          29.15
         Reporter Parking                                                                     1                                        20.00
         Technology and Litigation Support Package                                            1                         35.00          35.00
         Transcript Production, Processing and Binding                                        1                         40.00          40.00
         Delivery and Handling of Transcript Copy                                             1                         25.00          25.00
         3 business day expedite (80%)- Business Litigation                                226      Pages                4.80       1,084.80
         Federal Code Compliance- Letters and Delivery                                        1                         35.00          35.00
       -Transcript video surcharge                                                         226      Pages                0.50         113.00
         Video Production and Processing                                                        1                       50.00          50.00

      NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.
                                                                                                                                   ---     ~


Payment From
                                                                                     Invoice No.                                  AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
                                                                                     Invoice Date                               April18, 2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                                 May 24,2018


Write notes or address changes below                                                 Total Due                                           0.00


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 71 of 708


                                                                                                                          Page 2 of 2
                                                                                           Invoice No.                AXXXXXXXX
                                                                                           Invoice Date             April 18, 2018
Network Deposition Services, Inc.                                                          Invoice Due              May 24,2018
See page 1 for contact information                                                         Balance Due                        0.00

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Michelle M. La Mar, Esq.                                                  NDS            Client           Deposition
Deposition of Thomas S. Mills - Volume 1                                    Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO              4:15-cv-          201412      205625-1 0015      4-11-2018
                                                                            01696-YGR
           Description of Service                                             Quantity Units                     Price       Extended
           Synchronized videotaped proceeding                                    7.25      Hours              175.00        1,268.75
           Videographer Parking                                                        1                                       13.00
           Delivery - Exhibits                                                         1                       30.00           30.00
            Expedited delivery of exhibits from reporter to NOS
       - Appearance fee- Full day                                                      1   Day                200.00          200.00
           Exhibit Copies                                                          31      Pages                 0.55          17.05
            Extra copy of exhibits 1 to 10 for the original transcript as
            they were returned to NOS
       .- On-site photocopying                                                         1                      300.00          300.00
            Prinitng of documents requested prior to start of deposition
           Conference Room                                                             1                                      350.00

 Payments
Date            Payment details                                             Cash                            Total cash      Applied to
received                                                                    receipt no.                        receipt     this invoice
  6-28-2018 Check 120674                                                    C183049                       13,593.45         4,966.75
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 72 of 708




                      A – 30
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 73 of 708


                                                          I am an invoice.                                                         Page 1 of 2
                                                      Take me to your accounts                       Invoice No.                   AXXXXXXXX
                                                        payable department.                          Invoice Date                May 24,2018
Network Deposition Services, Inc.                                                                    Invoice Due             June 23, 2018
1800 Century Park East • Suite 150                                                                   Invoice Total                    1,218.40
Los Angeles, CA 90067
                                                                                                     Balance Due                          0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                   Loeb & Loeb LLP
                   Attention: Catherine Schmidt, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Catherine Schmidt, Esq.                                                             NDS            Client           Deposition
Deposition of Darryl Stacy                                                            Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTD                        4: 15-cv-         202191      205625-10015      5-10-2018
                                                                                      01696-YGR
         Description of Service                                                         Quantity Units                    Price       Extended
         Rough ASCII                                                                        138      Pages                1.25         172.50
        -Transcript 0+1 - Business Litigation                                               138      Pages                5.25         724.50
        -Exhibit Copies                                                                      80      Pages                0.55          44.00
        --Color Exhibit Copies                                                                 2     Pages                1.50            3.00
         Exhibits Bound Separately                                                             2     Volumes             10.00          20.00
         Reporter Parking                                                                        1                                        9.00
         Technology and Litigation Support Package                                               1                       35.00          35.00
         Transcript Production, Processing and Binding                                           1                       40.00          40.00
          Delivery and Handling of Transcript Copy                                               1                       25.00          25.00
         Federal Code Compliance - Letters and Delivery                                          1                       20.00          20.00

      NDS invoice version 3.2   Detach lower portJ.on and return with your payment. Please do not staple check.
                                                                                                                                       - - ·:>{:

Payment From
                                                                                      Invoice No.                                  AXXXXXXXX
Loeb & Loeb LLP
Attention: Catherine Schmidt, Esq.
                                                                                      Invoice Date                               May 24,2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                 Late After                                 June 23, 2018


Write notes or address changes below                                                  Total Due                                           0.00


                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 74 of 708


                                                                                                                                   Page 2 of 2
                                                                                                    Invoice No.                AXXXXXXXX
                                                                                                    Invoice Date              May 24,2018
Network Deposition Services, Inc.                                                                   Invoice Due              June 23, 2018
See page 1 for contact information                                                                  Balance Due                           0.00

Noticing firm       Loeb & Loeb LLP - Los Angeles
Noticed by          Catherine Schmidt, Esq.                                                         NDS            Client           Deposition
Deposition of       Darryl Stacy                                                   Case No.         Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                     4:15-cv-              202191    205625-1 0015      5-10-2018
                                                                                   01696-YGR
           Description of Service                                                     Quantity Units                      Price       Extended
        .-Exhibit Copies                                                                   228       Pages                0.55         125.40
            Documents printed on day of deposition.
 Payments
Date            Payment details                                                    Cash                              Total cash     Applied to
received                                                                           _r(!ceipt!1()·                                  this invoice
                                                                                                                        receipt_ r------
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  6-28-2018 Check 120674                                                           C183049                         13,593.45         1,218.40
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 75 of 708




                      A – 31
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 76 of 708


                                                              I am an invoice.                                                                  Page 1 of 2
                                                          Take me to your accounts                                 Invoice No.                  AXXXXXXXX
                                                            payable department.                                    Invoice Date             May 15,2018
Network Deposition Services, Inc.                                                                                  Invoice Due             June 29, 2018
1800 Century Park East • Suite 150                                                                                 Invoice Total                  1,321.85
Los Angeles, CA. 90067
                                                                                                                   Balance Due                          0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                    Loeb & Loeb LLP
                    Attention: Michelle M. La Mar, Esq.
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                  Make checks payable to Network Deposition
                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                           A service fee of 1.5% per month may be added
.___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___.to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Michelle M. La Mar, Esq.                                                                          NDS        Client             Deposition
Deposition of Hesham Hafez                                                                        Case No.         Job No.    Matter No.              Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                                    4:15-cv-             202190 205625-1 0015         5-3-2018
                                                                                                  01696-YGR
            Description of Service                                                                   Quantity Units                     Price      Extended
      ...... Transcript 0+1 - Business Litigation                                                         176      Pages               5.75       1,012.00
        -Exhibit Copies                                                                                     27     Pages               0.55          14.85
            Technology and Litigation Support Package                                                         1                       35.00          35.00
            Transcript Production, Processing and Binding                                                     1                       40.00          40.00
            Delivery and Handling of Transcript Copy                                                          1                       25.00          25.00
            Federal Code Compliance - Letters and Delivery                                                    1                       20.00          20.00
        ,.,Appearance fee - Half day                                                                          1    Half day         175.00          175.00

 Payments
 Date             Payment details                                                                 Cash                             Total cash     Applied to
 received                                                                                         _r.eceipt n().                      receipt    this invoice
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       NDS invoice version 3.2      Detach lower portion and return w1th your payment. Please do not staple check.
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Payment From
                                                                                                  Invoice No.                                   AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
                                                                                                  Invoice Date                                May 15, 2018
10100 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                             Late After                               June 29, 2018


Write notes or address changes below                                                              Total Due                                             0.00


                                                                                                  Amount Enclosed

                                                                                                  Mail Payment To
                                                                                                  Network Deposition Services, Inc.
                                                                                                  1800 Century Park East
                                                                                                  Suite 150
                                                                                                  Los Angeles, CA 90067
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 77 of 708


                                                                                                   Page 2 of 2
                                                                      Invoice No.                  AXXXXXXXX
                                                                      Invoice Date             May 15,2018
Network Deposition Services, Inc.                                     Invoice Due             June 29, 2018
See page 1 for contact information                                    Balance Due                         0.00

Payments
Date           Payment details                          Cash                          Total cash     Applied to
received                                                receipt no.                      receipt    this invoice
  7-11-2018 Check 120783                                C183212                      13,218.55       1,321.85
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 78 of 708




                      A – 32
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 79 of 708


                                                           I am an invoice.                                                    Page 1 of 2
                                                       Take me to your accounts                      Invoice No.               AXXXXXXXX
                                                         payable department.                         Invoice Date          May 21, 2018
Network Deposition Services, Inc.                                                                    Invoice Due          June 20, 2018
1800 Century Park East • Suite 150                                                                   Invoice Total               1,217.10
Los .Angeles, C.A 90067
                                                                                                     Balance Due                      0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com



                    Loeb & Loeb LLP
                    Attention: Catherine Schmidt, Esq.
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                  Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           .A service fee of 1.5% per month may be added
1...----------------------------__J                                                        to any invoice over 30 days old.
Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Catherine Schmidt, Esq.                                                             NDS        Client          Deposition
Deposition of Douglas Wong                                                            Case No.       Job No.    Matter No.           Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTD                        4:15-cv-           203166 205625-10015      5-18-2018
                                                                                      01696-YGR
          Description of Service                                                        Quantity Units                 Price      Extended
        -Transcript 0+1 -Business Litigation                                                 95      Pages            5.25         498.75
        - Exhibit Copies                                                                      35     Pages            0.55          19.25
          Reporter Parking                                                                       1                                  30.00
          Technology and Litigation Support Package                                              1                   35.00          35.00
          Transcript Production, Processing and Binding                                          1                   40.00          40.00
          Delivery and Handling of Transcript Copy                                               1                   25.00          25.00
          Same business day expedite (11 0%)- Business Litigation                             95     Pages            5.78         549.10
          Federal Code Compliance - Letters and Delivery                                         1                   20.00          20.00




       NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.

Payment From
                                                                                      Invoice No.                              AXXXXXXXX
Loeb & Loeb LLP
Attention: Catherine Schmidt, Esq.
                                                                                      Invoice Date                           May 21, 2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                 Late After                          June 20, 2018


Write notes or address changes below                                                  Total Due                                       0.00


                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                      Network Deposition Services, Inc.
                                                                                      1800 Century Park East
                                                                                      Suite 150
                                                                                      Los Angeles, CA 90067
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 80 of 708


                                                                                                       Page 2 of 2
                                                                        Invoice No.                    AXXXXXXXX
                                                                        Invoice Date              May 21,2018
Network Deposition Services, Inc.                                       Invoice Due              June 20, 2018
See page 1 for contact information                                      Balance Due                           0.00

Payments
Date            Payment details                          Cash                            Total cash      Applied to
received
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   7-11-2018 Check 120783                                C183212                        13,218.55        1,217.10
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 81 of 708




                      A – 33
           Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 82 of 708




                              Worldwide - 24 Hours
                                                                                                                              I
                                (877) 702-9580                                                             DATE: 5/31/2017
                                                                                                        INVOICE# 051517-601540
                                     reporting.com



Bill To:              Michelle La Mar Esq.
                      Loeb & Loeb LLP
                      10100 Santa Monica Boulevard
                      Suite 2200
                      Los Angeles, CA 90067



CASE:                 Steven Heldt, eta! v. Tata Consultancy Services, Ltd.
WITNESS:              Jeevak Sharma (3086: Tata Consultancy Services)
DATE:                 5/15/2017
LOCATION:             Toronto, Canada

Billing Comments /Instructions:




     SHIP VIA               Overnight                TERMS                    net 30



                           SERVICES                                     # PAGES/QTY               UNIT PRICE               AMOUNT

                      Certified Transcript                                     189                    $3.95                 $746.55
     Compressed I ASCII! Word Index· c·:ornplimert:1ry                           1                    $45.00                  $0.00
          Exhibits - Scanned & Hyperlinked - B&W                                53                    $0.25                  $13.25
  File Creat1on Fee- Hyperlinked Exh1b1ts - Co-np!imenL1ry                       1                    $45.00                  $0.00
                                                                                        /I
                                                                              ~SUBTOTAL                                     $759.80
                                                                                                   & HANDLING               $55.00
                                                                                                        TOTAL               $814.80



           Please make all checks payable to: TSG Reporting, Inc.      FederaiiD # XX-XXXXXXX
              Remit to: TSG Reporting, Inc. 747 Third Avenue, Suite 10A New York, NY 10017
     For prompt payment processing, please include the invoice# with your check. All balances in arrears will be assessed a late fee of
                         1.5% per month, not to exceed the legal limit. If you have any questions. please call TSG.
                                               THANK YOU FOR YOUR BUSINESS!
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 83 of 708




                      A – 34
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 84 of 708


                                                          I am an invoice.                                                      Page 1 of 2
                                                      Take me to your accounts                    Invoice No.                   AXXXXXXXX
                                                        payable department.                       Invoice Date            April18, 2018
Network Deposition Services, Inc.                                                                 Invoice Due                 May 24,2018
1800 Century Park East • Suite 150                                                                Invoice Total                   2,460.05
Los Angeles, CA 90067
Phone (310) 557-3400 • (800) 788-2021                                                             Balance Due                          0.00
Fax (310) 557-3555 • networkdepo.com




                   Loeb & Loeb LLP
                   Attention: Terry D. Garnett, Esq.
                   101 00 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm         Loeb & Loeb LLP - Los Angeles
Noticed by            Terry D. Garnett, Esq.                                                      NDS            Client          Deposition
Deposition of         Dorothy Krampen - Volume 1                                     Case No.     Job No.        Matter No.           Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                       4:15-cv-         201416     205625-10015       4-9-2018
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units                  Price       Extended
        ·Transcript 0+1 - Business Litigation                                              183    Pages                6.25       1'143.75
        -Exhibit Copies                                                                     61    Pages                0.55          33.55
         Technology and Litigation Support Package                                            1                       35.00          35.00
         Transcript Production, Processing and Binding                                        1                       40.00          40.00
         Delivery and Handling of Transcript Copy                                             1                       25.00          25.00
         Federal Code Compliance - Letters and Delivery                                       1                       35.00          35.00
       ......_Transcript video surcharge                                                   183    Pages                0.50          91.50
         Video Production and Processing                                                      1                       50.00          50.00
         Synchronized videotaped proceeding                                               5.75    Hours             175.00        1,006.25



      NDS invoice version 3.2   Detach lower portlon and return w1th your payment. Please do not staple check.

Payment From
                                                                                     Invoice No.                                AXXXXXXXX
Loeb & Loeb LLP
Attention: Terry D. Garnett, Esq.
                                                                                     Invoice Date                             April18, 2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                               May 24,2018


Write notes or address changes below                                                 Total Due                                         0.00


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 85 of 708


                                                                                                   Page 2 of 2
                                                                      Invoice No.               AXXXXXXXX
                                                                      Invoice Date            April18, 2018
Network Deposition Services, Inc.                                     Invoice Due              May 24,2018
See page 1 for contact information                                    Balance Due                      0.00

 Payments
Date           Payment details                          Cash                          Total cash     Applied to
received                                                receipt no.                      receipt    this invoice
                          ----   ----·-·-----····                                                          ----


  6-28-2018 Check 120674                                C183049                      13,593.45       2,460.05
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 86 of 708




                      A – 35
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 87 of 708


                                                          I am an invoice.                                                   Page 1 of 2
                                                      Take me to your accounts                    Invoice No.              AXXXXXXXX
                                                        payable department.                       Invoice Date           April 18, 2018
Network Deposition Services, Inc.                                                                 Invoice Due             May 24,2018
1800 Century Park East • Suite 150                                                                Invoice Total                2,194.70
Los Angeles, CA 90067
                                                                                                  Balance Due                       0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                   Loeb & Loeb LLP
                   Attention: Patrick N. Downes, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm     Loeb & Loeb LLP - Los Angeles
Noticed by        Patrick N. Downes, Esq.                                                       NDS        Client              Deposition
Deposition of    Taylor   Russell ·Volume 1                                          Case No.   Job No.    Matter No.                Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                       4:15-cv-       201414 205625-10015          4-5-2018
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units             Price         Extended
         Rough ASCII                                                                       120    Pages              1.50        180.00
       .. Transcript 0+1 - Business Litigation                                             120    Pages              5.95        714.00
       ... Exhibit Copies                                                                  124    Pages              0.55         68.20
         Technology and Litigation Support Package                                            1                     35.00         35.00
         Transcript Production, Processing and Binding                                        1                     40.00         40.00
         Delivery and Handling of Transcript Copy                                             1                     25.00         25.00
         Federal Code Compliance - Letters and Delivery                                       1                     35.00         35.00
       · Transcript video surcharge                                                        120    Pages              0.50         60.00
         Video Production and Processing                                                      1                     50.00         50.00
         Synchronized videotaped proceeding                                                 4.5   Hours           175.00         787.50

      NDS invoice version 3.2   Detach lower portion and return w1th your payment. Please do not staple check.
                                                                                                                                   --   -~



Payment From
                                                                                     Invoice No.                             AXXXXXXXX
Loeb & Loeb LLP
Attention: Patrick N. Downes, Esq.
                                                                                     Invoice Date                        April 18, 2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                             May 24,2018


Write notes or address changes below                                                 Total Due                                      0.00


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 88 of 708


                                                                                                             Page 2 of 2
                                                                               Invoice No.                AXXXXXXXX
                                                                               Invoice Date             April 18, 2018
Network Deposition Services, Inc.                                              Invoice Due              May 24,2018
See page 1 for contact information                                             Balance Due                        0.00

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Patrick N. Downes, Esq.                                       NDS            Client          Deposition
Deposition of Taylor Russell -Volume 1                           Case No.      Job No.        Matter No.           Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTO   4:15-cv-         201414      205625-10015       4-5-2018
                                                                 01696-YGR
           Description of Service                                  Quantity Units                    Price      Extended
       -Appearance fee- Full day                                          1    Day               200.00          200.00
Payments
Date            Payment details                                  Cash                           Total cash     Applied to
received                                                         receipt no.                       receipt    this invoice
  6-28-2018 Check 120674                                         C183049                      13,593.45        2,194.70
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 89 of 708




                      A – 36
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 90 of 708


                                                           I am an invoice.                                                  Page 1 of 2
                                                       Take me to your accounts                    Invoice No.               AXXXXXXXX
                                                         payable department.                       Invoice Date             May 1, 2018
Network Deposition Services, Inc.                                                                  Invoice Due              June 4, 2018
1800 Century Park East • Suite 150                                                                 Invoice Total                1,864.05
Los .Angeles, C.A 90067
                                                                                                   Balance Due                      0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                    Loeb & Loeb LLP
                    Attention: Terry D. Garnett, Esq.
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                  Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           .A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Terry  D. Garnett, Esq.                                                         NDS        Client             Deposition
Deposition of    Bonnie Kottke                                                        Case No.   Job No.    Matter No.               Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTD                        4:15-cv-       201415 205625-10015        4-17-2018
                                                                                      01696-YGR
          Description of Service                                                        Quantity Units             Price        Extended
       ~Transcript         0+1 - Business Litigation                                        100    Pages             6.25        625.00
        -Exhibit Copies                                                                      21    Pages             0.55         11.55
          Technology and Litigation Support Package                                            1                    35.00         35.00
          Transcript Production, Processing and Binding                                        1                    40.00         40.00
          Delivery and Handling of Transcript Copy                                             1                    25.00         25.00
          Federal Code Compliance - Letters and Delivery                                      1                     35.00         35.00
       -Transcript video surcharge                                                          100 Pages                0.40         40.00
          Video Production and Processing                                                      1                    30.00         30.00
          Synchronized videotaped proceeding                                                 3.5 Hours             175.00        612.50
          Conference Room                                                                      1                                 120.00

       NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.

Payment From
                                                                                      Invoice No.                            AXXXXXXXX
Loeb & Loeb LLP
Attention: Terry D. Garnett, Esq.
                                                                                      Invoice Date                           May 1, 2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                 Late After                            June 4, 2018


Write notes or address changes below                                                  Total Due                                     0.00

                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 91 of 708


                                                                                                                                    Page 2 of 2
                                                                                                      Invoice No.                   AXXXXXXXX
                                                                                                      Invoice Date                  May 1, 2018
Network Deposition Services, Inc.                                                                     Invoice Due                 June 4, 2018
See page 1 for contact information                                                                    Balance Due                             0.00

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Terry D. Garnett, Esq.                                                               NDS            Client             Deposition
Deposition of Bonnie Kottke                                                            Case No.       Job No.        Matter No.              Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                         4:15-cv-          201415      205625-10015        4-17-2018
                                                                                       01696-YGR
           Description of Service                                                        Quantity Units                     Price        Extended
         - Appearance fee - Half day                                                              1   Half day          265.00             265.00
           Delivery- Exhibits                                                                     1                       25.00             25.00
Payments
Date            Payment details                                                        Cash                            Total cash        Applied to
received
 -   -----------          -------
                                                                                       receipt no.                        receipt       this invoice
                                                                 ~   -   -~--~~~----                                                -     ---------


     6-28-2018 Check 120674                                                            C183049                       13,593.45          1,864.05
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 92 of 708




                      A – 37
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 93 of 708


                                                          I am an invoice.                                                      Page 1 of 2
                                                      Take me to your accounts                    Invoice No.               AXXXXXXXX
                                                        payable department.                       Invoice Date              May 4, 2018
Network Deposition Services, Inc.                                                                 Invoice Due             June 29, 2018
1800 Century Park East • Suite 150                                                                Invoice Total                4,040.30
Los Angeles, CA 90067
Phone (310) 557-3400 • (800) 788-2021                                                             Balance Due                      0.00
Fax (310) 557-3555 • networkdepo.com



                   Loeb & Loeb LLP
                   Attention: Terry D. Garnett, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.
Noticing firm         Loeb & Loeb LLP - Los Angeles
Noticed by            Terry D. Garnett, Esq.                                                      NDS            Client           Deposition
Deposition of         Robert Scott -Volume 1                                         Case No.     Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                       4:15-cv-         201409     205625-10015      4-23-2018
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units                  Price       Extended
       ·-Transcript 0+1 - Business Litigation                                              341    Pages                5.75       1,960.75
       -Exhibit Copies                                                                     133 Pages                   0.55          73.15
         Exhibits Bound Separately                                                            2 Volumes               10.00          20.00
         Technology and Litigation Support Package                                            1                       35.00          35.00
         Transcript Production, Processing and Binding                                        1                       40.00          40.00
         Delivery and Handling of Transcript Copy                                             1                       25.00          25.00
         Federal Code Compliance- Letters and Delivery                                        1                       20.00          20.00
       -Transcript video surcharge                                                         341    Pages                0.40         136.40
         Video Production and Processing                                                      1                       30.00          30.00
         Synchronized videotaped proceeding                                                   8 Hours                175.00       1,400.00

      NOS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.
                                                                                                                                      - >€
Payment From
                                                                                     Invoice No.                                AXXXXXXXX
Loeb & Loeb LLP
Attention: Terry D. Garnett, Esq.
                                                                                     Invoice Date                               May 4, 2018
10100 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                               June 29, 2018


Write notes or address changes below                                                 Total Due                                         0.00

                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 94 of 708


                                                                                                             Page 2 of 2
                                                                               Invoice No.                   AXXXXXXXX
                                                                               Invoice Date                  May 4, 2018
Network Deposition Services, Inc.                                              Invoice Due              June 29, 2018
See page 1 for contact information                                             Balance Due                           0.00

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Terry  D. Garnett, Esq.                                       NDS            Client           Deposition
Deposition of Robert Scott - Volume 1                            Case No.      Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO   4:15-cv-         201409      205625-10015       4-23-2018
                                                                 01696-YGR
           Description of Service                                  Quantity Units                    Price      Extended
       - Appearance fee- Full day                                         1    Day               300.00           300.00
Payments
Date            Payment details                                  Cash                           Total cash      Applied to
received                                                         receipt no.                       receipt     this invoice
  7-11-2018 Check 120783                                         C183212                      13,218.55        4,040.30
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 95 of 708




                      A – 38
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 96 of 708


                                                           I am an invoice.                                                   Page 1 of 2
                                                       Take me to your accounts                    Invoice No.                AXXXXXXXX
                                                         payable department.                       Invoice Date            May 17,2018
Network Deposition Services, Inc.                                                                  Invoice Due           June 16, 2018
1800 Century Park East • Suite 150                                                                 Invoice Total              1,311.45
Los Angeles, CA 9006 7
                                                                                                   Balance Due                          0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                    Loeb & Loeb LLP
                    Attention: Michelle M. La Mar, Esq.
                    101 00 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                            Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                            A service fee of 1.5% per month may be added
                                                                                            to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Michelle M. La Mar, Esq.                                                        NDS        Client              Deposition
Deposition of    Lekisha Yvette Bailey                                                Case No.   Job No.    Matter No.                Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                        4:15-cv-       201413 205625-10015         5-15-2018
                                                                                      01696-YGR
          Descrig_tion of Service                                                       Quantity Units             Price         Extended
          Rough ASCII                                                                       108    Pages              1.25        135.00
        -Transcript 0+1 - Business Litigation                                               108    Pages              5.25        567.00
         -Exhibit Copies                                                                     22    Pages              0.55         12.10
          Reporter Parking                                                                     1                                        3.75
          Technology and Litigation Support Package                                            1                     35.00         35.00
          Transcript Production, Processing and Binding                                        1                     40.00         40.00
          Delivery and Handling of Original Transcript                                         1                     25.00         25.00
          Delivery and Handling of Transcript Copy                                             1                     25.00         25.00
          3 business day expedite (80%)- Business Litigation                                108    Pages              4.20        453.60
          Self addressed stamped return envelope                                               1                     15.00         15.00

       NOS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.
                                                                                                                                    -     ·~


Payment From
                                                                                      Invoice No.                             AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
                                                                                      Invoice Date                           May 17, 2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                 Late After                          June 16, 2018


Write notes or address changes below                                                  Total Due                                         0.00

                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 97 of 708


                                                                                                                     Page 2 of 2
                                                                                  Invoice No.                     AXXXXXXXX
                                                                                  Invoice Date                   May 17,2018
Network Deposition Services, Inc.                                                 Invoice Due                   June 16, 2018
See page 1 for contact information                                                Balance Due                            0.00

Payments
Date           Payment details                                      Cash                              Total cash        Applied to
received                                                            receipt no.                          receipt       this invoice
  7-11-2018 Check 120783                                            C183212                          13,218.55              207.35
  7-11-2018 Check 120783                                            C183212                          13,218.55             1,311.45
Refunds
Date AP        Refund details                                       $applied      Refunded           Total check       $of refund
created                                                             toAP          on check              amount          on check
       --                            ..   ---~---~---·-----------    - -                  --   ---   -------   - - 1----       -   -----


  7-11-2018 Payment to us in error                                     207.35         44752              207.35             207.35
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 98 of 708




                      A – 39
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 99 of 708


                                                           I am an invoice.                                                    Page 1 of 2
                                                       Take me to your accounts                      Invoice No.               AXXXXXXXX
                                                         payable department.                         Invoice Date          May 25,2018
Network Deposition Services, Inc.                                                                    Invoice Due          June 24, 2018
1800 Century Park East • Suite 150                                                                   Invoice Total                 938.55
Los Angeles, CA 90067
                                                                                                     Balance Due                      0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                    Loeb & Loeb LLP
                    Attention: Bernard R. Given, II, Esq.
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                            Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                            A service fee of 1.5% per month may be added
                                                                                            to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Bernard R. Given, II, Esq.                                                          NDS        Client          Deposition
Deposition of David Neumark, Ph.D.                                                    Case No.       Job No.    Matter No.           Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTO                        4:15-cv-           202806 205625-10015      5-14-2018
                                                                                      01696-YGR
          Description of Service                                                        Quantity Units                 Price      Extended
       -Transcript 0+1 - Expert/Technical                                                    59      Pages            5.40         318.60
          Exhibit Copies                                                                       9     Pages            0.55           4.95
          Reporter Parking                                                                       1                                  35.00
          Technology and Litigation Support Package                                              1                   35.00          35.00
          Transcript Production, Processing and Binding                                          1                   40.00          40.00
          Delivery and Handling of Transcript Copy                                               1                   25.00          25.00
          Federal Code Compliance - Letters and Delivery                                         1                   20.00          20.00
          Conference Room                                                                        1                                 460.00




       NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.
~-

Payment From
                                                                                      Invoice No.                              AXXXXXXXX
Loeb & Loeb LLP
Attention: Bernard R. Given, II, Esq.
                                                                                      Invoice Date                           May 25,2018
10100 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                 Late After                          June 24, 2018


Write notes or address changes below                                                  Total Due                                       0.00


                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
             Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 100 of 708


                                                                                                                                          Page 2 of 2
                                                                                                 Invoice No.                              AXXXXXXXX
                                                                                                 Invoice Date                        May 25,2018
Network Deposition Services, Inc.                                                                Invoice Due                        June 24, 2018
See page 1 for contact information                                                               Balance Due                                     0.00

Payments
Date           Payment details                                              Cash                                            Total cash      Applied to
received                                                                    ~receipt   no. __                                  r~eie_t_    this invoice
                      -----------    -- - - - - - - - - - - - - - - - - -                       ------ --   ----- - -   -                 f------~--


  7-27-2018 Check 121220                                                    C183404                                         1,534.05          938.55
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 101 of 708




                      A – 40
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 102 of 708


                                                          I am an invoice.                                                      Page 1 of 2
                                                      Take me to your accounts                    Invoice No.                   AXXXXXXXX
                                                        payable department.                       Invoice Date            April 16, 2018
Network Deposition Services, Inc.                                                                 Invoice Due              May 24,2018
1800 Century Park East • Suite 150                                                                Invoice Total                   4,264.30
Los Angeles, CA. 90067
Phone (310) 557-3400 • (800) 788-2021                                                             Balance Due                         0.00
Fax (310) 557-3555 • networkdepo.com




                   Loeb & Loeb LLP
                   Attention: Michelle M. La Mar, Esq.
                   101 00 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm     Loeb & Loeb LLP - Los Angeles
Noticed by        Michelle M. La Mar, Esq.                                                      NDS              Client          Deposition
Deposition of     Donna Gomez                                                        Case No.   Job No.          Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                       4:15-cv-       201461       205625-10015     4-13-2018
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units                  Price       Extended
       , Transcript 0+1 -Business Litigation                                               320    Pages                5.75       1,840.00
       ., Exhibit Copies                                                                   126    Pages                0.55          69.30
          Exhibits Bound Separately                                                           2   Volumes             10.00          20.00
         Technology and Litigation Support Package                                            1                       35.00          35.00
         Transcript Production, Processing and Binding                                        1                       40.00          40.00
          Delivery and Handling of Transcript Copy                                            1                       25.00          25.00
          Next business day expedite (100%)- Business Litigation                           320    Pages                5.75       1,840.00
         Federal Code Compliance - Letters and Delivery                                       1                       35.00          35.00
       -Transcript video surcharge                                                         320    Pages                0.50         160.00
       -Appearance fee- Full day                                                              1   Day               200.00          200.00

      NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.

Payment From
                                                                                     Invoice No.                                AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
101 00 Santa Monica Boulevard                                                        Invoice Date                          April 16, 2018
Suite 2200
Los Angeles, CA 90067                                                                Late After                            May 24,2018


Write notes or address changes below                                                 Total Due                                        0.00


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
             Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 103 of 708


                                                                                                 Page 2 of 2
                                                                     Invoice No.                 AXXXXXXXX
                                                                     Invoice Date           April16, 2018
Network Deposition Services, Inc.                                    Invoice Due             May 24,2018
See page 1 for contact information                                   Balance Due                        0.00

 Payments
Date           Payment details                         Cash                         Total cash     Applied to
received                                               receipt no.                     receipt    this invoice
    8-6-2018 Check 121342                              C183554                      4,264.30       4,264.30
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 104 of 708



 ~~~Network
                                                           I am an invoice.                                                       Page 1 of 2
                                                       Take me to your accounts                      Invoice No.                  AXXXXXXXX
 ~~~-~   DEPOSITION SERVICES                             payable department.                         Invoice Date               April 16, 2018
Network Deposition Services, Inc.                                                                    Invoice Due                May 16, 2018
1800 Century Park East • Suite 150                                                                   Invoice Total                    3,677.76
Los Angeles, CA. 90067
                                                                                                     Balance Due                      3,677.76
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo. om




                    Loeb & Loeb LLF
                    Attention: Michele M. La Mar, Esq.
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                            Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                            A service fee of 1.5% per month may be added
L..------------+--------------------' to any invoice over 30 days old.
Noticing firm    Loeb & Loeb LLP Los Angeles
Noticed by       Michelle  M. LaMa, Esq.                                                             NDS           Client           Deposition
Deposition of Donna Gomez                                                             Case No.       Job No.       Matter No.            Date
Caption Christopher Slaight vs. Tata :onsultancy Services, LTO                        4:15-cv-          201461     205625-10015       4-13-2018
                                                                                      01696-YGR
          Description of Service                                                        Quantity Units                   Price       Extended
          Video Production and Processing                                                        1                      50.00           50.00
           Synchronized videotaped proceeding                                              8.25      Hours            175.00         1,443.75
           On-site photocopying                                                                  1                   1,800.00        1,800.00
             Printing, delivery and binding of documents requested before
             start of deposition
           Delivery - Videography                                                                                       20.00           20.00
Date              Description                                                           Quantity Units                   Price       Extended
  5-17-2018 Finance charge -           11   month                                              1                                        49.71
  6-17-2018 Finance charge- 2 months                                                             1                                      50.45
  7-17-2018 Finance charge-            ~months                                                 1                                        51.21

       NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.
                                 ----------------------------


Payment From
                                                                                      Invoice No.                                 AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
101 00 Santa Monica Boulevard                                                         Invoice Date                              April16, 2018
Suite 2200
Los Angeles, CA 90067                                                                 Late After                                May 16, 2018


WI rite notes or address change below                                                 Total Due                                      3,677.76


                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 105 of 708


 ~~~                                                                                    Page 2 of 2

 ~-~
 ~ ~
           Network
           DEPOSITION   SERVICE~
                                                                    Invoice No.
                                                                    Invoice Date
                                                                                        AXXXXXXXX
                                                                                      April 16, 2018
Network Deposition Services, Inc.                                   Invoice Due        May 16,2018
See page 1 for contact information                                  Balance Due             3,677.76

Date           Description                                Quantity Units           Price   Extended
  8-17-2018 Finance charge- 4 months                           1                              51.98
  9-17-2018 Finance charge - 5 months                          1                              52.76
 10-17-2018 Finance charge- 6 months                           1                              53.55
 11-17-2018 Finance charge - 7 months                           1                             54.35




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                                     _,
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 106 of 708




                      A – 41
           Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 107 of 708




                                                                                                                INVOICE
TSG                              Worldwide - 24 Hours
                                   (877) 702-9580
                                 www.tsgreporting.com
                                                                                                                  DATE: 5/25/2016
                                                                                                               INVOICE# 051116-651526
                                                                                                                  JOB# 141794
REPORTING

Bill To:                    Bernard R. Given II Esq.
                            Loeb & Loeb LLP
                            10100 Santa Monica Boulevard
                            Suite 2200
                            Los Angeles, CA 90067



CASE:                       Brian Buchanan, et al. v. Tata Consultancy Services, Ltd.
WITNESS:                    Narasimhan Srinivasan
DATE:                       5/11/2018         -
LOCATION:                   New York, NY

Billing Comments /Instructions:




     SHIP VIA                    Overnight                TERMS                     net 30


                                SERVICES                                      #PAGES/QTY                 UNIT PRICE           AMOUNT

                        Videosynch I Tape                                              2                    $125.00            $250.00

                 ........            .,
               Certified - MPEG - Complimentary                                        2                    $50.00              $0.00

                                                                                                        SUBTOTAL               $250.00
                                                                                             SHIPPING & HANDLING               $27.50
                                                                                                           TOTAL               $277.50

           Please make all checks payable to: TSG Reporting, Inc.    FederaiiD # XX-XXXXXXX
              Remit by Mail to: TSG Reporting, Inc. PO Box 95568 Grapevine, TX 76099-9708
       For prompt payment processing, please include the invoice# with your check. All balances in arrears will be assessed a late fee of
                               1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                                    THANK YOU FOR YOUR BUSINESS!
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 108 of 708




                      A – 42
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 109 of 708


                                                          I am an invoice.                                                        Page 1 of 2
                                                      Take me to your accounts                      Invoice No.               AXXXXXXXX
                                                        payable department.                         Invoice Date           March 17, 2017
Network Deposition Services, Inc.                                                                   Invoice Due                   May 1, 2017
1800 Century Park East • Suite 150                                                                  Invoice Total                    3,524.57
Los Angeles, CA 90067
                                                                                                    Balance Due                          0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com



                   Loeb & Loeb LLP
                   Attention: Patrick N. Downes, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Patrick  N. Downes, Esq.                                                           NDS            Client           Deposition
Deposition of    David   Neumark,   Ph.D. - Volume 1                                 Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                       4:15-cv-          190350      205625-10015      3-15-2017
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units                    Price       Extended
         Rough ASCII                                                                       202      Pages                1.25         252.50
      ·-Transcript 0+1 -Expert/Technical                                                   202      Pages                4.90         989.80
      ._Exhibit Copies                                                                     168      Pages                0.45          75.60
       -color Exhibit Copies                                                                  4     Pages                1.00            4.00
         Technology and Litigation Support Package                                              1                       30.00          30.00
         Transcript Production, Processing and Binding                                          1                       40.00          40.00
         Delivery and Handling of Transcripts                                                   1                       20.00          20.00
         2 business day expedite (90%)- Expert/Technical                                   202      Pages                4.41         890.82
      ....... Transcript video surcharge                                                   202      Pages                0.30          60.60
         Video Production and Processing                                                        1                       30.00          30.00

      NOS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.

Payment From
                                                                                     Invoice No.                                  AXXXXXXXX
Loeb & Loeb LLP
Attention: Patrick N. Downes, Esq.
                                                                                     Invoice Date                          March 17, 2017
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                                   May 1, 2017


Write notes or address changes below                                                 Total Due                                           0.00


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
                 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 110 of 708


                                                                                                                     Page 2 of 2
         Network
          DEPOSITION SERVICES
                                                                                          Invoice No.
                                                                                          Invoice Date
                                                                                                                     AXXXXXXXX
                                                                                                                  March 17, 2017
Network Deposition Services, Inc.                                                         Invoice Due                    May 1, 2017
See page 1 for contact information                                                        Balance Due                            0.00

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Patrick N. Downes, Esq.                                                  NDS            Client            Deposition
Deposition of David Neumark, Ph.D. -Volume 1                               Case No.       Job No.        Matter No.             Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTO             4:15-cv-          190350      205625-1 0015       3-15-2017
                                                                           01696-YGR
            Description of Service                                           Quantity Units                     Price       Extended
            Synchronized videotaped proceeding 2 hour minimum                         1                      395.00           395.00
            Synchronized videotaped proceeding additional hours                 4.75      Hours              155.00           736.25
Payments
Date              Payment details                                          Cash                            Total cash    Applied to
received
      --------             .          ---   -   ----------   -------   .
                                                                           receipt no. r-- ---                receiet _ this invoice
                               -~--                                        ····--------           -                         ---   ---   -----


    5-3-2017 Check 112898                                                  C172056                         3,524.57         3,524.57
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 111 of 708




                      A – 43
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 112 of 708


                                                          I am an invoice.                                                   Page 1 of 2
                                                      Take me to your accounts                    Invoice No.               AXXXXXXXX
                                                        payable department.                       Invoice Date           June 15, 2017
Network Deposition Services, Inc.                                                                 Invoice Due             July 17,2017
1800 Century Park East • Suite 150                                                                Invoice Total                5,266.67
Los Angeles, CA 90067
Phone (310) 557-3400 • (800) 788-2021
                                                                                                  Balance Due                  5,266.67
Fax (310) 557-3555 • networkdepo.com                                                       Payment Processing Information
                                                                                           CASE DISMISSED 10/27/17.


                   Loeb & Loeb LLP
                   Attention: Davonna Brockman
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm     Loeb & Loeb LLP - Los Angeles
Noticed by       Michelle  M. La Mar, Esq.                                                      NDS        Client              Deposition
Deposition of    Salah   Bedeiwi  -Volume 1                                          Case No.   Job No.    Matter No.                Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTO                       4:15-cv-       192675 205625-1 0015         6-7-2017
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units             Price         Extended
       -Transcript 0+1 - Business Litigation                                               286    Pages              4.75       1,358.50
       - Exhibit Copies                                                                     60    Pages              0.45          27.00
       -Color Exhibit Copies                                                                 24   Pages              1.00          24.00
         Waiting                                                                            0.9   Hours             45.00          40.50
         Technology and Litigation Support Package                                            1                     30.00          30.00
         Transcript Production, Processing and Binding                                        1                     40.00          40.00
         Delivery and Handling of Transcripts                                                 1                     20.00          20.00
         6 business day expedite (50%)- Business Litigation                                286    Pages              2.38        680.68
       ...... Transcript video surcharge                                                   286    Pages              0.30          85.80
         Video Production and Processing                                                      1                     30.00          30.00

      NOS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.
                                                                                                                                 ---   ·~



Payment From
                                                                                     Invoice No.                             AXXXXXXXX
Loeb & Loeb LLP
Attention: Davonna Brockman
101 00 Santa Monica Boulevard                                                        Invoice Date                        June 15, 2017
Suite 2200
Los Angeles, CA 90067                                                                Late After                             July 17, 2017


Write notes or address changes below                                                 Total Due                                  5,266.67


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
             Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 113 of 708




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                                                                                                              Page 2 of 2
                                                                                Invoice No.                AXXXXXXXX
                                                                                Invoice Date            June 15, 2017
Network Deposition Services, Inc.                                               Invoice Due              July 17, 2017
See page 1 for contact information                                              Balance Due                   5,266.67

Noticing firm      Loeb & Loeb LLP - Los Angeles
Noticed by         Michelle M. La Mar, Esq.                                     NDS            Client          Deposition
Deposition of      Salah Bedeiwi ·Volume 1                       Case No.       Job No.        Matter No.           Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD   4:15-cv-          192675      205625-10015       6-7-2017
                                                                 01696-YGR
          Description of Service                                  Quantity Units                     Price       Extended
          Synchronized videotaped proceeding 2 hour minimum                 1                     395.00          395.00
          Synchronized videotaped proceeding additional hours           4       Hours             155.00          620.00
       -Court reporter hourly fee                                      5.5      Hours               65.00         357.50
          Conference Room                                                   1                                     380.00
Date            Description                                       Quantity Units                     Price       Extended
  7-18-2017 Finance charge -1 month                                         1                                      61.33
  8-18-2017 Finance charge - 2 months                                       1                                      62.25
  9-18-2017 Finance charge- 3 months                                    1                                          63.19
 10-18-2017 Finance charge- 4 months                                        1                                      64.14
 11-18-2017 Finance charge- 5 months                                        1                                      65.10
 12-18-2017 Finance charge- 6 months                                        1                                      66.07
  1-18-2018 Finance charge- 7 months                                        1                                      67.07
  2-18-2018 Finance charge- 8 months                                        1                                      68.07
  3-18-2018 Finance charge - 9 months                                       1                                      69.09
  4-18-2018 Finance charge -10 months                                       1                                      70.13
  5-18-2018 Finance charge - 11 months                                      1                                      71.18
  6-18-2018 Finance charge -12 months                                       1                                      72.25
  7-18-2018 Finance charge -13 months                                       1                                      73.33
  8-18-2018 Finance charge -14 months                                       1                                      74.43
  9-18-2018 Finance charge -15 months                                       1                                      75.55
 10-18-2018 Finance charge -16 months                                       1                                      76.68
 11-18-2018 Finance charge - 17 months                                      1                                      77.83
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 114 of 708




                      A – 44
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 115 of 708


                                                          I am an invoice.                                                        Page 1 of 2
                                                      Take me to your accounts                      Invoice No.                    AXXXXXXXX
                                                        payable department.                         Invoice Date                  July 7, 2017
Network Deposition Services, Inc.                                                                   Invoice Due            August 8, 2017
1800 Century Park East • Suite 150                                                                  Invoice Total                    3,206.00
Los Angeles, CA 90067
                                                                                                    Balance Due                           0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com



                   Loeb & Loeb LLP
                   Attention: Patrick N. Downes, Esq.
                   101 00 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Patrick N. Downes, Esq.                                                            NDS            Client           Deposition
Deposition of    Steven   Webber                                                     Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                       4:15-cv-          192669 205625-10015             6-9-2017
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units                     Price       Extended
       - Transcript 0+1 - Business Litigation                                              235      Pages                4.75        1'116.25
         Exhibit Copies                                                                    105      Pages                0.45           47.25
         After 5 pm                                                                         0.3     Hours               45.00           13.50
         Waiting                                                                            1.3     Hours               45.00           58.50
         Technology and Litigation Support Package                                              1                       30.00           30.00
         Transcript Production, Processing and Binding                                          1                       40.00           40.00
         Delivery and Handling of Transcript Copy                                               1                       20.00           20.00
         Federal Code Compliance - Letters and Delivery                                         1                       20.00           20.00
         Transcript video surcharge                                                        235      Pages                0.30           70.50
         Video Production and Processing                                                        1                       30.00           30.00

      NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.

Payment From
                                                                                     Invoice No.                                  AXXXXXXXX
Loeb & Loeb LLP
Attention: Patrick N. Downes, Esq.
                                                                                     Invoice Date                                 July 7, 2017
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                             August 8, 2017


Write notes or address changes below                                                 Total Due                                            0.00


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 116 of 708


                                                                                                            Page 2 of 2
                                                                                Invoice No.                 AXXXXXXXX
                                                                                Invoice Date                July 7, 2017
Network Deposition Services, Inc.                                               Invoice Due          August 8, 2017
See page 1 for contact information                                              Balance Due                         0.00

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Patrick N. Downes, Esq.                                        NDS        Client             Deposition
Deposition of Steven Webber                                      Case No.       Job No.    Matter No.              Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTD   4:15-cv-           192669 205625-1 0015         6-9-2017
                                                                 01696-YGR
           Description of Service                                  Quantity Units                   Price       Extended
           Synchronized videotaped proceeding 2 hour minimum                1                   395.00           395.00
           Synchronized videotaped proceeding additional hours            7     Hours           155.00         1,085.00
           Conference Room                                                1                                      280.00
Payments
Date            Payment details                                  Cash                          Total cash      Applied to
received                                                         receipt no.                      receipt     this invoice
  7-28-2017 Check 114334                                         C173670                       4,814.12        3,206.00
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 117 of 708




                      A – 45
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 118 of 708


                                                          I am an invoice.                                                        Page 1 of 2
                                                      Take me to your accounts                      Invoice No.                   AXXXXXXXX
                                                        payable department.                         Invoice Date            April 13, 2018
Network Deposition Services, Inc.                                                                   Invoice Due                 May 16, 2018
1800 Century Park East • Suite 150                                                                  Invoice Total                    4,459.69
Los Angeles, CA 90067
                                                                                                    Balance Due                      4,459.69
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                   Loeb & Loeb LLP
                   Attention: Michelle M. La Mar, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Michelle M. La Mar, Esq.                                                           NDS            Client           Deposition
Deposition of PauiP.Devenny                                                          Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                       4:15-cv-          201463      205625-10015       4-2-2018
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units                    Price       Extended
         Rough ASCII                                                                       277      Pages                1.50         415.50
       -Transcript 0+1 - Business Litigation                                               277      Pages                5.50       1,523.50
       - Exhibit Copies                                                                     74      Pages                0.55          40.70
        -color Exhibit Copies                                                                19     Pages                1.50          28.50
         Technology and Litigation Support Package                                              1                       35.00          35.00
         Transcript Production, Processing and Binding                                          1                       40.00          40.00
         Delivery and Handling of Transcript Copy                                               1                       25.00          25.00
      .-- Transcript video surcharge                                                       277      Pages                0.40         110.80
         Video Production and Processing                                                        1                       30.00          30.00
         Synchronized videotaped proceeding 2 hour minimum                                      1                     395.00          395.00

      NOS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.

Payment From
                                                                                     Invoice No.                                  AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
                                                                                     Invoice Date                               April 13, 2018
10100 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                                 May 16, 2018


Write notes or address changes below                                                 Total Due                                       4,459.69


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
             Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 119 of 708


                                                                                                        Page 2 of 2
                                                                              Invoice No.            AXXXXXXXX
                                                                              Invoice Date         April13, 2018
Network Deposition Services, Inc.                                             Invoice Due          May 16,2018
See page 1 for contact information                                            Balance Due                 4,459.69

Noticing firm     Loeb & Loeb LLP - Los Angeles
Noticed by        Michelle M. La Mar, Esq.                                    NDS        Client          Deposition
Deposition of     PauiP.Devenny                                    Case No.   Job No.    Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO     4:15-cv-       201463 205625-10015      4-2-2018
                                                                   01696-YGR
          Description of Service                                     Quantity Units             Price      Extended
          Synchronized videotaped proceeding additional hours             4   Hours          155.00         620.00
       --Appearance fee - Full day                                        1   Day            300.00         300.00
       - Exhibit Copies                                                 826   Pages            0.55         454.30
          Documents printed at depo location for Loeb & Loeb LLP
Date           Description                                          Quantity Units              Price      Extended
  5-17-2018 Finance charge -1 month                                       1                                  60.27
  6-17-2018 Finance charge- 2 months                                      1                                  61.18
  7-17-2018 Finance charge- 3 months                                      1                                  62.10
  8-17-2018 Finance charge -4 months                                      1                                  63.03
  9-17-2018 Finance charge- 5 months                                      1                                  63.97
 10-17-2018 Finance charge- 6 months                                      1                                  64.93
 11-17-2018 Finance charge- 7 months                                      1                                  65.91
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 120 of 708




                      A – 46
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 121 of 708


                                                           I am an invoice.                                                      Page 1 of 2
                                                       Take me to your accounts                   Invoice No.                    AXXXXXXXX
                                                         payable department.                      Invoice Date         October 16, 2018
Network Deposition Services, Inc.                                                                 Invoice Due        November 15, 2018
1800 Century Park East • Suite 150                                                                Invoice Total                    1, 780.31
Los Angeles, CA 90067
Phone (310) 557-3400 • (800) 788-2021                                                             Balance Due                      1, 780.31
Fax (310) 557-3555 • networkdepo.com



                   Loeb & Loeb LLP
                   Attention: Terry D. Garnett, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm          Loeb & Loeb LLP - Los Angeles
Noticed by            Terry D. Garnett, Esq.                                                      NDS            Client           Deposition
Deposition of          Chad Cooper                                                   Case No.     Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                       4:15-cv-         207062     205625-1 0015     10-10-2018
                                                                                     01696-YGR
          Description of Service                                                       Quantity Units                   Price       Extended
       ... Transcript 0+1 - Business Litigation                                            111    Pages                 5.25         582.75
        -Exhibit Copies                                                                      64 Pages                   0.65          41.60
       -Color Exhibit Copies                                                                 12   Pages                 1.50          18.00
         Waiting                                                                              1   Hours               45.00           45.00
          Reporter Parking                                                                    1                                       14.50
         Technology and Litigation Support Package                                            1                       50.00           50.00
         Transcript Production, Processing and Binding                                        1                       40.00           40.00
          Delivery and Handling of Transcripts                                                1                       25.00           25.00
         5 business day expedite (60%)- Business Litigation                                111    Pages                 3.15         349.65


      NOS invoice version 3.2   Detach lower portion and return w1th your payment. Please do not staple check.

Payment From
                                                                                     Invoice No.                                 AXXXXXXXX
Loeb & Loeb LLP
Attention: Terry D. Garnett, Esq.
                                                                                     Invoice Date                       October 16, 2018
10100 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                      November 15, 2018


Write notes or address changes below                                                 Total Due                                     1,780.31


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
             Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 122 of 708




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                                                                                                          Page 2 of 2
                                                                                Invoice No.               AXXXXXXXX
                                                                                Invoice Date     October 16, 2018
Network Deposition Services, Inc.                                               Invoice Due    November 15, 2018
See page 1 for contact information                                              Balance Due                 1,780.31

 Noticing firm      Loeb & Loeb LLP - Los Angeles
 Noticed by         Terry D. Garnett, Esq.                                      NDS        Client          Deposition
Deposition of       Chad Cooper                                  Case No.       Job No.    Matter No.           Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTD   4:15-cv-           207062 205625-10015     10-10-2018
                                                                 01696-YGR
          Description of Service                                  Quantity Units                  Price      Extended
          Delivery- Exhibits                                            1                       30.00          30.00
           Expedited delivery of exhibits from reporter to NOS
          Conference Room                                               1                                     295.00
        _Court reporter hourly fee                                     3.5      Hours           75.00         262.50
 Date            Description                                      Quantity Units                  Price      Extended
 11-16-2018 Finance charge- 1 month                                         1                                  26.31
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 123 of 708




                      A – 47
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 124 of 708


                                                          I am an invoice.                                                    Page 1 of 2
                                                      Take me to your accounts                      Invoice No.           AXXXXXXXX
                                                        payable department.                         Invoice Date     October 19, 2018
Network Deposition Services, Inc.                                                                   Invoice Due     November 18, 2018
1800 Century Park East • Suite 150                                                                  Invoice Total            2,066.59
Los Angeles, CA 90067
Phone (310) 557-3400 • (800) 788-2021                                                               Balance Due              2,066.59
Fax (310) 557-3555 • networkdepo.com



                   Loeb & Loeb LLP
                   Attention: Michelle M. La Mar, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Terry D. Garnett, Esq.                                                             NDS        Client          Deposition
Deposition of Speak Williams                                                         Case No.       Job No.    Matter No.           Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                       4:15-cv-           207058 205625-10015     10-16-2018
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units                 Price      Extended
        'Transcript 0+1 - Business Litigation                                              152      Pages             5.50        836.00
       ,. Exhibit Copies                                                                   117      Pages             0.65         76.05
         Reporter Parking                                                                       1                                  13.00
         Technology and Litigation Support Package                                              1                    50.00         50.00
         Transcript Production, Processing and Binding                                          1                    40.00         40.00
          Delivery and Handling of Original Transcript                                          1                    55.00         55.00
          Delivery and Handling of Transcript Copy                                              1                    25.00         25.00
          Next business day expedite (1 00%) - Business Litigation                         152      Pages             5.50        836.00
       '-Appearance fee- Full day                                                               1   Day              75.00         75.00


      NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.
                                                                                                                                    -- >€
Payment From
                                                                                     Invoice No.                              AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
                                                                                     Invoice Date                     October 19, 2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                     November 18, 2018


Write notes or address changes below                                                 Total Due                                  2,066.59


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
             Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 125 of 708


                                                                                                        Page 2 of 2
                                                                              Invoice No.               AXXXXXXXX
                                                                              Invoice Date     October 19, 2018
Network Deposition Services, Inc.                                             Invoice Due    November 18, 2018
See page 1 for contact information                                            Balance Due                 2,066.59

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Terry D. Garnett, Esq.                                       NDS        Client          Deposition
Deposition of Speak Williams                                      Case No.    Job No.    Matter No.           Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO    4:15-cv-        207058 205625-10015     10-16-2018
                                                                  01696-YGR
          Description of Service                                   Quantity Units               Price      Extended
          Delivery- Exhibits                                             1                    30.00          30.00
           Expedited delivery of exhibits from reporter to NXDS
Date           Description                                         Quantity Units               Price      Extended
 11-19-2018 Finance charge - 1 month                                     1                                   30.54
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 126 of 708




                      A – 48
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 127 of 708


                                                           I am an invoice.                                                                    Page 1 of 2
                                                       Take me to your accounts                                Invoice No.                     AXXXXXXXX
                                                         payable department.                                   Invoice Date            October 22, 2018
Network Deposition Services, Inc.                                                                              Invoice Due        November 21, 2018
1800 Century Park East • Suite 150                                                                             Invoice Total                     1,542.06
Los Angeles, CA 90067
Phone (310) 557-3400 • (800) 788-2021                                                                          Balance Due                       1 ,542.06
Fax (310) 557-3555 • networkdepo.com




                    Loeb & Loeb LLP
                    Attention: Davonna Brockman
                    101 00 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                               Make checks payable to Network Deposition
                                                                                                        Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                                        A service fee of 1.5% per month may be added
......_-----------------------------1                                                                   to any invoice over 30 days old.
Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Terry  D. Garnett, Esq.                                                                       NDS            Client            Deposition
Deposition of    George Boguslaw                                                                  Case No.     Job No.        Matter No.             Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTD                                    4:15-cv-         207061     205625-10015       10-18-2018
                                                                                                  01696-YGR
          Description of Service                                                                    Quantity Units                     Price      Extended
         -Transcript 0+1 - Business Litigation                                                          124    Pages                   5.25        651.00
        -Exhibit Copies                                                                                   95   Pages                   0.65         61.75
          Technology and Litigation Support Package                                                        1                       50.00            50.00
          Transcript Production, Processing and Binding                                                    1                       40.00            40.00
           Delivery and Handling of Transcripts                                                            1                       25.00            25.00
          2 business day expedite (90%)- Business Litigation                                            124    Pages                   4.73        586.52
           Delivery- Exhibits                                                                              1                       30.00            30.00
             Expedited delivery of exhibits from reporter to NDS
        "Appearance fee - Half day                                                                         1   Half day            75.00            75.00
Date              De~cription                                                                     .... Qllantity -Units                Price      Extended
-·                                                                       --~---·
                                                                                   -- -   --~--                    -------   --~---·




       NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.

Payment From
                                                                                                  Invoice No.                                  AXXXXXXXX
Loeb & Loeb LLP
Attention: Davonna Brockman
                                                                                                  Invoice Date                         October 22, 2018
10100 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                             Late After                      November 21, 2018


Write notes or address changes below                                                              Total Due                                      1,542.06


                                                                                                  Amount Enclosed

                                                                                                  Mail Payment To
                                                                                                  Network Deposition Services, Inc.
                                                                                                  1800 Century Park East
                                                                                                  Suite 150
                                                                                                  Los Angeles, CA 90067
             Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 128 of 708


                                                                                            Page 2 of 2
                                                                   Invoice No.              AXXXXXXXX
                                                                   Invoice Date    October 22, 2018
Network Deposition Services, Inc.                                  Invoice Due    November 21, 2018
See page 1 for contact information                                 Balance Due                1,542.06

Date           Description                               Quantity Units             Price      Extended
 11-22-2018 Finance charge - 1 month                           1                                 22.79
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 129 of 708




                      A – 49
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 130 of 708


                                                          I am an invoice.                                                    Page 1 of 2
                                                      Take me to your accounts                    Invoice No.                 AXXXXXXXX
                                                        payable department.                       Invoice Date       October 22, 2018
Network Deposition Services, Inc.                                                                 Invoice Due     November 21, 2018
1800 Century Park East • Suite 150                                                                Invoice Total                 2,306.59
Los Angeles, CA 90067
Phone (310) 557-3400 • (800) 788-2021                                                             Balance Due                   2,306.59
Fax (310) 557-3555 • networkdepo.com



                   Loeb & Loeb LLP
                   Attention: Davonna Brockman
                   101 00 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Terry D. Garnett. Esq.                                                           NDS        Client            Deposition
Deposition of James Timothy Jordan                                                   Case No.     Job No.    Matter No.             Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTO                       4:15-cv-         207059 205625-1 0015      10-19-2018
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units                 Price      Extended
        -Transcript 0+1 - Business Litigation                                              179    Pages              5.25         939.75
       -Exhibit Copies                                                                     120    Pages              0.65          78.00
         Technology and Litigation Support Package                                            1                     50.00          50.00
         Transcript Production, Processing and Binding                                        1                     40.00          40.00
          Delivery and Handling of Transcript Copy                                            1                     25.00          25.00
         Next business day expedite (100%)- Business Litigation                            179    Pages              5.25         939.75
         Federal Code Compliance - Letters and Delivery                                       1                     20.00          20.00
         Delivery - Exhibits                                                                  1                     30.00          30.00
            Expedited delivery of exhibits from reporter to NOS
       -Appearance fee- Full day                                                              1   Day             150.00          150.00

      NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.

Payment From
                                                                                     Invoice No.                              AXXXXXXXX
Loeb & Loeb LLP
Attention: Davonna Brockman
                                                                                     Invoice Date                    October 22, 2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                    November 21, 2018


Write notes or address changes below                                                 Total Due                                  2,306.59


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
             Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 131 of 708


                                                                                            Page 2 of 2
                                                                   Invoice No.              AXXXXXXXX
                                                                   Invoice Date    October 22, 2018
Network Deposition Services, Inc.                                  Invoice Due    November 21, 2018
See page 1 for contact information                                 Balance Due                2,306.59

 Date          Description                               Quant:i!Y_ Units           Price      Extended
 11-22-2018 Finance charge - 1 month                           1                                 34.09
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 132 of 708




                      A – 50
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 133 of 708


                                                          I am an invoice.                                                    Page 1 of 2
                                                      Take me to your accounts                      Invoice No.               AXXXXXXXX
                                                        payable department.                         Invoice Date     October 26, 2018
Network Deposition Services, Inc.                                                                   Invoice Due     November 25, 2018
1800 Century Park East • Suite 150                                                                  Invoice Total               1,861.71
Los Angeles, CA 90067
                                                                                                    Balance Due                  1,861.71
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                   Loeb & Loeb LLP
                   Attention: Davonna Brockman
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Terry D. Garnett, Esq.                                                             NDS        Client           Deposition
Deposition of John Goodwin                                                           Case No.       Job No.    Matter No.            Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTO                       4:15-cv-           207060 205625-10015     10-22-2018
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units                 Price      Extended
       ... Transcript 0+1 - Business Litigation                                            103      Pages             5.75        592.25
        -Exhibit Copies                                                                     48      Pages             0.65         31.20
         Technology and Litigation Support Package                                              1                    50.00         50.00
         Transcript Production, Processing and Binding                                          1                    40.00         40.00
         Delivery and Handling of Transcripts                                                   1                    25.00         25.00
         Next business day expedite (100%)- Business Litigation                            103      Pages             5.25        540.75
         Delivery - Exhibits                                                                    1                    30.00         30.00
            Delivery of expedite exhibits to NOS.
         Conference Room                                                                        1                                 425.00
       / Appearance fee - Half day                                                              1 Half day          100.00        100.00

      NOS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.
                                                                                                                             -----~



Payment From
                                                                                     Invoice No.                              AXXXXXXXX
Loeb & Loeb LLP
Attention: Davonna Brockman
                                                                                     Invoice Date                     October 26, 2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                     November 25, 2018


Write notes or address changes below                                                 Total Due                                   1,861.71

                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
             Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 134 of 708


                                                                                            Page 2 of 2
                                                                   Invoice No.              AXXXXXXXX
                                                                   Invoice Date    October 26, 2018
Network Deposition Services, Inc.                                  Invoice Due    November 25, 2018
See page 1 for contact information                                 Balance Due             1,861.71

Date           Description                               Quantity Units             Price      Extended
 11-26-2018 Finance charge - 1 month                           1                                 27.51
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 135 of 708




                      A – 51
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 136 of 708


                                                          I am an invoice.                                                     Page 1 of 2
                                                      Take me to your accounts                      Invoice No.           AXXXXXXXX
                                                        payable department.                         Invoice Date     October 31, 2018
Network Deposition Services, Inc.                                                                   Invoice Due     November 30, 2018
1800 Century Park East • Suite 150                                                                  Invoice Total            2,385.30
Los Angeles, CA 90067
Phone (310) 557-3400 • (800) 788-2021                                                               Balance Due                  2,385.30
Fax (310) 557-3555 • networkdepo.com




                   Loeb & Loeb LLP
                   Attention: Erin M. Smith, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
'-------------------------------J to any invoice over 30 days old.
Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Erin M. Smith, Esq.                                                                NDS        Client           Deposition
Deposition of KimWaysack                                                             Case No.       Job No.    Matter No.            Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTO                       4:15-cv-           207674 205625-1 0015     10-24-2018
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units                  Price      Extended
       ._Transcript 0+1 - Business Litigation                                              191      Pages             5.25       1,002.75
       -Exhibit Copies                                                                       91     Pages             0.65          59.15
      _Color Exhibit Copies                                                                  13     Pages             1.50          19.50
          Reporter Parking                                                                    1                                     12.00
         Technology and Litigation Support Package                                            1                      50.00          50.00
         Transcript Production, Processing and Binding                                        1                      40.00          40.00
          Delivery and Handling of Transcripts                                                1                      25.00          25.00
         5 business day expedite (60%)- Business Litigation                                191      Pages             3.15         601.65
          Delivery- Exhibits                                                                    1                    30.00          30.00
           Expedited delivery of exhibits from reporter to NDS

      NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.

Payment From
                                                                                     Invoice No.                               AXXXXXXXX
Loeb & Loeb LLP
Attention: Erin M. Smith, Esq.
                                                                                     Invoice Date                     October 31, 2018
10100 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                     November 30, 2018


Write notes or address changes below                                                 Total Due                                   2,385.30


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
             Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 137 of 708


                                                                                                       Page 2 of 2
                                                                             Invoice No.               AXXXXXXXX
                                                                             Invoice Date     October 31, 2018
Network Deposition Services, Inc.                                            Invoice Due    November 30, 2018
See page 1 for contact information                                           Balance Due                 2,385.30

Noticing firm      Loeb & Loeb LLP - Los Angeles
Noticed by         Erin M. Smith, Esq.                                       NDS        Client          Deposition
Deposition of      KimWaysack                                    Case No.    Job No.    Matter No.           Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTO   4:15-cv-        207674 205625-10015     10-24-2018
                                                                 01696-YGR
          Description of Service                                  Quantity Units               Price      Extended
          Conference Room                                               1                                  360.00
       -Appearance fee - Full day                                       1    Day            150.00         150.00
Date            Description                                       Quantity Units               Price      Extended
  12-1-2018 Finance charge -1 month                                     1                                   35.25
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 138 of 708




                      A – 52
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 139 of 708


                                                          I am an invoice.                                                  Page 1 of 2
                                                      Take me to your accounts                    Invoice No.               AXXXXXXXX
                                                        payable department.                       Invoice Date      November 1, 2018
Network Deposition Services, Inc.                                                                 Invoice Due       December 1, 2018
1800 Century Park East • Suite 150                                                                Invoice Total                1,997.77
Los Angeles, CA 90067
                                                                                                  Balance Due                  1,997.77
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                   Loeb & Loeb LLP
                   Attention: Davonna Brockman
                   101 00 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Erin M. Smith, Esq.                                                            NDS        Client             Deposition
Deposition of    Frances Mae Greitl                                                  Case No.   Job No.    Matter No.               Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                       4:15-cv-       207056 205625-10015       10-23-2018
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units             Price        Extended
          Rough ASCII                                                                      193    Pages              1.50        289.50
       -Transcript 0+1 - Business Litigation                                               193    Pages              5.25      1,013.25
       -Exhibit Copies                                                                       78   Pages              0.65         50.70
       -£olor Exhibit Copies                                                                 23   Pages              1.50         34.50
          Reporter Parking                                                                    1                                   30.00
         Technology and Litigation Support Package                                            1                     50.00         50.00
         Transcript Production, Processing and Binding                                        1                     40.00         40.00
          Delivery and Handling of Transcripts                                                1                     25.00         25.00
         7 business day expedite (40%)- Business Litigation                                193 Pages                 2.10       405.30


      NOS invoice version 3.2   Detach lower portlon and return wtth your payment. Please do not staple check.

Payment From
                                                                                     Invoice No.                            AXXXXXXXX
Loeb & Loeb LLP
Attention: Davonna Brockman
                                                                                     Invoice Date                   November 1, 2018
10100 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                     December 1, 2018


Write notes or address changes below                                                 Total Due                                 1,997.77

                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
             Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 140 of 708


                                                                                                        Page 2 of 2
                                                                             Invoice No.                AXXXXXXXX
                                                                             Invoice Date     November 1, 2018
Network Deposition Services, Inc.                                            Invoice Due      December 1, 2018
See page 1 for contact information                                           Balance Due                  1,997.77

Noticing firm      Loeb & Loeb LLP - Los Angeles
Noticed by         Erin M. Smith, Esq.                                       NDS        Client           Deposition
Deposition of      Frances Mae Greitl                            Case No.    Job No.    Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO   4:15-cv-        207056 205625-1 0015     10-23-2018
                                                                 01696-YGR
         Description of Service                                   Quantity Units               Price       Extended
          Delivery- Exhibits                                            1                     30.00          30.00
           Expedited delivery of exhibits from reporter to NOS
Date            Description                                       Quantity Units               Price       Extended
  12-2-2018 Finance charge - 1 month                                    1                                    29.52
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 141 of 708




                      A – 53
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 142 of 708


                                                          I am an invoice.                                                      Page 1 of 2
                                                      Take me to your accounts                    Invoice No.                AXXXXXXXX
                                                        payable department.                       Invoice Date             Apri116, 2018
Network Deposition Services, Inc.                                                                 Invoice Due              May 24,2018
1800 Century Park East • Suite 150                                                                Invoice Total                 5,338.08
Los Angeles, CA 90067
Phone (310) 557-3400 • (800) 788-2021
                                                                                                  Balance Due                   5,338.08
Fax (310) 557-3555 • networkdepo.com



                   Loeb & Loeb LLP
                   Attention: Michelle M. La Mar, Esq.
                   101 00 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm         Loeb & Loeb LLP - Los Angeles
Noticed by            Michelle M. La Mar, Esq.                                                    NDS            Client           Deposition
Deposition of         Hannah T. Russo - Volume 1                                     Case No.     Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                       4:15-cv-         201460     205625-10015      4-10-2018
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units                   Price      Extended
       - Transcript 0+1 - Business Litigation                                              359    Pages                6.00       2,154.00
      ..._Exhibit Copies                                                                     51   Pages                0.55          28.05
         Exhibits Bound Separately                                                            2 Volumes               10.00          20.00
         Reporter Parking                                                                     1                                      20.00
         Technology and Litigation Support Package                                            1                       35.00          35.00
         Transcript Production, Processing and Binding                                        1                       40.00          40.00
         Delivery and Handling of Transcript Copy                                             1                       25.00          25.00
         3 business day expedite (80%)- Business Litigation                                359 Pages                   4.80       1,723.20
         Federal Code Compliance - Letters and Delivery                                       1                       35.00          35.00
       ·-Transcript video surcharge                                                        359    Pages                0.50         179.50

      NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.
:}<---

Payment From
                                                                                     Invoice No.                                AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
101 00 Santa Monica Boulevard                                                        Invoice Date                             April 16, 2018
Suite 2200
Los Angeles, CA 90067                                                                Late After                               May 24,2018


Write notes or address changes below                                                 Total Due                                     5,338.08

                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
             Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 143 of 708


                                                                                                              Page 2 of 2
                                                                                Invoice No.               AXXXXXXXX
                                                                                Invoice Date            April16, 2018
Network Deposition Services, Inc.                                               Invoice Due             May 24,2018
See page 1 for contact information                                              Balance Due                  5,338.08

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Michelle M. La Mar, Esq.                                       NDS            Client          Deposition
Deposition of Hannah T. Russo ·Volume 1                          Case No.       Job No.        Matter No.           Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTO   4:15-cv-          201460      205625-10015      4-10-2018
                                                                 01696-YGR
         Description of Service                                   Quantity Units                     Price       Extended
        -Appearance fee - Full day                                          1   Day               200.00          200.00
          Conference Room                                                   1                                     350.00
Date           Description                                        Quantity Units                     Price       Extended
  5-25-2018 Finance charge - 1 month                                        1                                      72.15
  6-25-2018 Finance charge - 2 months                                       1                                      73.23
  7-25-2018 Finance charge - 3 months                                       1                                      74.33
  8-25-2018 Finance charge - 4 months                                       1                                      75.44
  9-25-2018 Finance charge - 5 months                                       1                                      76.57
 10-25-2018 Finance charge - 6 months                                       1                                      77.72
 11-25-2018 Finance charge - 7 months                                       1                                      78.89
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 144 of 708


                                                             I am an invoice.                                                        Page 1 of 2
        Networ
         DEPOSITION SERVICE
                                                         Take me to your accounts
                                                           payable department.
                                                                                                       Invoice No.
                                                                                                       Invoice Date
                                                                                                                                 AXXXXXXXX
                                                                                                                               April 16, 2018
Network Deposition Services, Inc.                                                                      Invoice Due             May 16,2018
1800 Century Park East • Suite 150                                                                     Invoice Total                 2,563.18
Los Angeles, CA 90067
Phone (310) 557-3400 • (800) 788-2021
                                                                                                       Balance Due                   2,563.18
Fax (310) 557-3555 • networkdepo. om




                    Loeb & Loeb LL =>
                    Attention: Michele M. La Mar, Esq.
                    10100 Santa Me nica Boulevard
                    Suite 2200
                    Los Angeles, CP. 90067                                                   Make checks payable to Network Deposition
                                                                                             Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                             A service fee of 1.5% per month may be added
'---------------.+-------------------' to any invoice over 30 days old.
Noticing firm    Loeb & Loeb LLP Los Angeles
Noticed by       Michelle  M. La M~ r, Esq.                                                            NDS            Client           Deposition
Deposition of Hannah T. Russc -Volume 1                                                 Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                          4:15-cv-          201460      205625-10015      4-10-2018
                                                                                        01696-YGR
          Description of Service                                                          Quantity Units                    Price       Extended
          Video Production and =>rocessing                                                         1                       50.00           50.00
       -Synchronized             videota~   ed proceeding                                     8.5      Hours             175.00        1,487.50
          Videographer Parking                                                                     1                                       22.00
       ... On-site photocopying                                                                    1                     750.00          750.00
            Printing, delivery and binding of documents requested before
            start of deposition
Date              Description                                                             Quantity Units                    Price       Extended
  5-17-2018 Finance charge - ~ month                                                            1                                          34.64
  6-17-2018 Finance charge-                 g months                                            1                                          35.16
  7-17-2018 Finance charge-~ months                                                                1                                       35.69

       NDS invoice version 3.2     Detad lower portion and return with your payment. Please do not staple check.
                                            -------------------------                                                              ----·>g
Payment From
                                                                                        Invoice No.                                  AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
                                                                                        Invoice Date                               April 16, 2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                  Late After                                  May 16, 2018


Write notes or address            change~    below                                     Total Due                                        2,563.18


                                                                                       Amount Enclosed

                                                                                       Mail Payment To
                                                                                       Network Deposition Services, Inc.
                                                                                       1800 Century Park East
                                                                                       Suite 150
                                                                                       Los Angeles, CA 90067
             Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 145 of 708



 ~·~Network
                                                                                          Page 2 of 2
                                                                   Invoice No.         AXXXXXXXX
 ·-·    DEPOSITION SERVICE                                         Invoice Date      April16, 2018
Network Deposition Senrices, Inc.                                  Invoice Due       May 16,2018
See page 1 for contact information                                 Balance Due            2,563.18

Date           Description                               Quantity Units           Price      Extended
  8-17-2018 Finance charge-'~ months                          1                                36.22
  9-17-2018 Finance charge-~: months                           1                               36.77
 10-17-2018 Finance charge - H months                         1                                37.32
 11-17-2018 Finance charge -7 months                           1                               37.88
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 146 of 708




                      A – 54
           Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 147 of 708




                                                                                                            INVOICE
TSG                          Worldwide - 24 Hours
                               (8TI) 702-9580
                             www. tsgreporting.com
                                                                                                             DATE: 4/18/2017
                                                                                                          INVOICE # 033117-600624

REPORTING

Bill To:              Bernard R. Given II Esq.
                      Loeb & Loeb LLP
                      10100 Santa Monica Boulevard
                      Suite 2200
                      Los Angeles, CA 90067



CASE:                 Steven Heldt, et al v. Tata Consultancy Services, Ltd.
WITNESS:              George Edward Anderson
DATE:                 3/31/2017
LOCATION:             Los Angeles, CA

Billing Comments /Instructions:




     SHIP VIA               Overnight                 TERMS                    net30


                           SERVICES                                      # PAGES/QTY                UNIT PRICE               AMOUNT

-                    Certified Transcript
                      Rough Transcript
                                                                                 175
                                                                                 175
                                                                                                        $3.35
                                                                                                        $1.50
                                                                                                                              $586.25
                                                                                                                              $262.50
     Compressed I ASCII/ Word Index- Complimentary                                1                    $45.00                   $0.00
,
          Exhibits- Scanned & Hypertinked- B&W                                   185                   $0.25                   $46.25
  File Creation Fee- Hypertinked Exhibits- Complimentary                          1                    $45.00                  $0.00

                                                                                                   SUBTOTAL                   $895.00
                                                                                        SHIPPING & HANDLING                    $55.00
                                                                                                      TOTAL                   $950.00


         Please make all checks payable to: TSG Reporting, Inc.                                  FederaiiD # XX-XXXXXXX
             Remit to: TSG Reporting, Inc. 747 Third Avenue, Suite 10A New York, NY 10017
      For prompt payment processing, please include the invoice # with your check. All balances in arrears wm be assessed a late fee of
                          1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                               THANK YOU FOR YOUR BUSINESS!
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 148 of 708




                      A – 55
          Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 149 of 708



     TORONTO COURT REPORTERS
     65 Ql.l.een Street West
                                                                                                Invoice
     Suite 1410. Box 69                                                              Date          Invoice#
     Toronto, ON MSH 2M5
     Tel: 416-364-2065 Fax:416-364-6331                                            23/0W.O 18          14680



        Invoice To
     Lotb & Loeb LL.P
     BemiU'd R. Given, Esq.,
      10100 Santa Monica Boole~
      Suite2200
      Los Angeles, CA 90067


                                                                                                   Terms

                                                                                                Due on receipt

                             Dewiption                     Qty              Rate                  Amount
RE: BUCHANANET AL VS TATACONSULT}\,NCY
AUGUST lOTI{, 2018
REPORTER: KARIN .JENKNER VIDEOGRAPHER RON
ECKSTEIN

Tr8IISCript copy: 74 PAGES                                       74                  2.75                  203 •.50
Rough Draft: 65 PAGES                                            65                  1.35                   87.75
Exhibits: 49 PAGES                                               49                  0.75                   36.75

TRANSCRIPT AND EXHIBITS ORDRREP IN ~ECTRONIC
FORMAT




4Please make check payable in U.S. Funds EIN #98-0~64547
                                                                      Subtotal                          SJzs.oo·
                                                                      HST                                  $0.00

                                                                      Total                             $328.00

                                                                      Payments/Credits                     so.oo
 HST No.      106535198                                               Balance Due               7       SJzs.oo       D
             Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 150 of 708



Martha Ortiz

From:                            Barney Given
Sent:                            Friday, August 24, 2018 9:09AM
To:                              Martha Ortiz
Subject:                         Re: Tata: Authorization needed - Invoice from Toronto Court Reporters - -- $328.00
                                         -----·---=--
Yes and please put in for reimbursement

Sent from my iPhone

On Aug 24, 2018, at 11 :08 AM, Martha Ortiz <mortiz@loeb.com> wrote:

              .
        Bamcv ,

        Davonna was looking for the Jeevak Sharma Transcript yesterday.

        I called the reporting service and they asked for payment first before they send out via
        email.

        Will you authorize $328.00 on your credit card?



        From: Martha Ortiz
        Sent: Thursday, August 23, 2018 8:52AM
        To: Barney Given <bgiven@loeb.com>
        Subject: Tata: Faxed Invoice from Toronto Court Reporters--- $328.00




        From: Barney Given
        Sent: Thursday, August 23, 2018 8:45AM
        To: Martha Ortiz <mortiz@loeb.com>
        Subject: Fwd: Corporate eFax message from "unknown" - 2 page(s)




        Sent from my iPhone

        Begin forwarded message:

               From: eFax Corporate <message@inbound.efax.com>
               Date: August 23,2018 at 8:21:25 AM PDT
               To: <bgiven@loeb.com>, <plavine~loeb.com>
               Subject: Corporate eFax message from "unknown" - 2 page(s)

                              This email originated from outside of Loeb's Network.

                                                         1
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 151 of 708




                      A – 56
            Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 152 of 708




                                                                                                          INVOICE
omm
REPORTING
                             Worldwide - 24 Hours
                               (877) 702-9580
                             www.tsgreporting.com
                                                                                                           DATE: 2112/2016
                                                                                                        INVOICE# 012716-335266




Bill To:              Michelle La Mar Esq.
                      Loeb & Loeb LLP
                      10100 Santa Monica Boulevard
                      Suite 2200
                      Los Angeles. CA 90067



CASE:                 Steven Heldt, et al v. Tata Consultancy Services, Ltd.
WITNESS:              Umesh Kumar
DATE:                 1/27/2016
LOCATION:             New Yor1<, NY

Billing Comments /Instructions:




     SHIP VIA               Overnight                TERMS                    net 30



                           SERVICES                                     #PAGES/QTY                UNIT PRICE               AMOUNT
                     Certified Transcript                                       108                    $3.35                $361.80
    Compressed I ASCII/ Word Index - Complimentary                               1                    $45.00                 $0.00
         Exhibits - Scanned & Hyperlinked - B&W                                 26                     $0.25                 $6.50
 File Creation Fee - Hyperlinked Exhibits- Complimentary                         1                    $45.00                 $0.00

                                                                                                  SUBTOTAL                  $368.30
                                                                                       SHIPPING & HANDLING                  $55.00
                                                                                                     TOTAL                  $423.30



           Please make all checks payable to: TSG Reporting, Inc.      FederaiiD # XX-XXXXXXX
              Remit to: TSG Reporting, Inc. 747 Third Avenue, Suite 10A New York, NY 10017
     For prompt payment processing, please include the invoice# with your check. All balances in arrears will be assessed a late fee of
                         1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                               THANK YOU FOR YOUR BUSINESS!
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 153 of 708




                      A – 57
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 154 of 708


                                                          I am an invoice.                                                     Page 1 of 2
                                                      Take me to your accounts                      Invoice No.                AXXXXXXXX
                                                        payable department.                         Invoice Date    September 30, 2016
Network Deposition Services, Inc.                                                                   Invoice Due      November 3, 2016
1800 Century Park East • Suite 150                                                                  Invoice Total                3,530.80
Los Angeles, CA 90067
                                                                                                    Balance Due                       0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                    Loeb & Loeb LLP
                    Attention: Michelle M. La Mar, Esq.
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                  Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           .-\service fee of 1.5% per month may be added
L..-------------------------------1 to any invoice over 30 days old.
Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Michelle M. La Mar, Esq.                                                           NDS        Client           Deposition
Deposition of Christopher J. Slaight                                                 Case No.       Job No.    Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                        4:15-cv-          180573 205625-1 0015      9-17-2016
                                                                                      01696-YGR
          Description of Service                                                        Quantity Units                 Price      Extended
          Rough ASCII                                                                      259      Pages             1.25         323.75
      -Transcript 0+1 -Business Litigation                                                 259      Pages             4.75       1,230.25
      -Exhibit Copies                                                                      188      Pages             0.45          84.60
          Exhibits Bound Separately                                                           2     Volumes          10.00          20.00
          Technology and Litigation Support Package                                             1                    30.00          30.00
          Transcript Production, Processing and Binding                                         1                    40.00          40.00
          Delivery and Handling of Transcript Copy                                              1                    20.00          20.00
          Federal Code Compliance - Letters and Delivery                                        1                    20.00          20.00
       -Transcript video surcharge                                                         259      Pages             0.30          77.70
          Video Production and Processing                                                       1                    30.00          30.00

       NDS invoice version 3.2   Detach lower portwn and return w1th your payment. Please do not staple check.
)< - - -- - --

Payment From
                                                                                      Invoice No.                              AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
                                                                                      Invoice Date                  September 30, 2016
10100 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                 Late After                      November 3, 2016


Write notes or address changes below                                                  Total Due                                       0.00


                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles. CA 90067
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 155 of 708


                                                                                                                              Page 2 of 2
                                                                                             Invoice No.                      A 16090797
                                                                                             Invoice Date         September 30, 2016
Network Deposition Services, Inc.                                                            Invoice Due            November 3, 2016
See page 1 for contact information                                                           Balance Due                             0.00

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Michelle M. La Mar, Esq.                                                    NDS            Client             Deposition
Deposition of Christopher J. Slaight                                          Case No.       Job No.        Matter No.              Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                4:15-cv-          180573      205625-10015         9-17-2016
                                                                              01696-YGR
           Description of Service                                               Quantity Units                       Price       Extended
           Synchronized videotaped proceeding 2 hour minimum                             1                        395.00          395.00
           Synchronized videotaped proceeding additional hours                       4.5     Hours                155.00          697.50
        • Weekend - Court reporter                                                       6   Hours                  45.00         270.00
           Court reporter hourly fee                                                     6   Hours                  45.00         270.00
           Videographer Parking                                                          1                                         22.00
Payments
Date            Payment details                                               Cash                               Total cash     Applied to
received                                                                      receipt no.                        --~~eie_t_    this invoice
-----·-·--··-----                 -----------~-------~-      --------------                          ----- ---                ·--------~--




 10-19-2016 Check 109123                                                      C165265                            3,530.80       3,530.80
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 156 of 708




                      A – 58
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 157 of 708


                                                          I am an invoice.                                                    Page 1 of 2
        Network
         DEPOSITION SERVICES
                                                      Take me to your accounts
                                                        payable department.
                                                                                                     Invoice No.
                                                                                                     Invoice Date
                                                                                                                              AXXXXXXXX
                                                                                                                          October 5, 2016
Network Deposition Services, Inc.                                                                    Invoice Due         November 4, 2016
1800 Century Park East • Suite 150                                                                   Invoice Total              2,970.75
Los Angeles, CA 90067
Phone (310) 557-3400 • (800) 788-2021                                                                Balance Due                              0.00
Fax (31 0) 557-3555 • networkdepo.com



                    Loeb & Loeb LLP
                    Attention: Michelle M. La Mar, Esq.
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                  Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by                                                                                           NDS            Client              Deposition
Deposition of Brian J. Buchanan                                                       Case No.       Job No.        Matter No.               Date
Caption Christopher Slaight vs. Tata Consultancy Services. LTO                        4:15-cv-          180734      205625-1 0015        9-21-2016
                                                                                      01696-YGR
          Description of Service                                                        Quantity Units                     Price         Extended
         '-Transcript 0+1 - Business Litigation                                            271       Pages                4.75          1,287.25
        .... Exhibit Copies                                                                166       Pages                 0.45            74.70
        -color Exhibit Copies                                                                 2      Pages                 1.00              2.00
          Exhibits Bound Separately                                                           2      Volumes             10.00             20.00
          Waiting                                                                           0.9      Hours               45.00             40.50
          Technology and Litigation Support Package                                              1                       30.00             30.00
          Transcript Production, Processing and Binding                                       1                          40.00             40.00
          Delivery and Handling of Transcript Copy                                            1                          20.00             20.00
          Federal Code Compliance - Letters and Delivery                                      1                          20.00             20.00
        -Transcript video surcharge                                                        271       Pages                 0.30            81.30

       NOS invoice version 3.2   Detach lower pornon and return with your payment. Please do not staple check.
                                                                                                                                    -    --    ~



Payment From
                                                                                      Invoice No.                                   AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
                                                                                      Invoice Date                          October 5, 2016
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                 Late After                          November 4, 2016


Write notes or address changes below                                                  Total Due                                               0.00


                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 158 of 708


                                                                                                                Page 2 of 2
                                                                                 Invoice No.              AXXXXXXXX
                                                                                 Invoice Date         October 5, 2016
Network Deposition Services, Inc.                                                Invoice Due         November 4, 2016
See page 1 for contact information                                               Balance Due                     0.00

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by                                                                       NDS            Client            Deposition
Deposition of Brian J. Buchanan                                  Case No.        Job No.        Matter No.             Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD   4:15-cv-           180734      205625-1 0015      9-21-2016
                                                                 01696-YGR
           Description of Service                                  Quantity Units                      Price       Extended
           Video Production and Processing                                  •I                       30.00           30.00
           Synchronized videotaped proceeding 2 hour minimum                1                       395.00          395.00
           Synchronized videotaped proceeding additional hours            6      Hours              155.00          930.00

 Payments
Date            Payment details                                  Cash                             Total cash      .Applied to
received                                                         receipt no.                         receipt     this invoice
 10-26-2016 Check 109214                                         C165369                          2,970.75        2,970.75
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 159 of 708




                      A – 59
             Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 160 of 708




                             Worldwide -      Hours
                                                                                                            IN OICE
                               (877) 702-95BC                                                                DATE: 1/31/2017
                                                                                                          INVOICE# 012517-463836
                             www. tsgreport; ng.com
REPORTIN

Bill To:               Michelle La Mar Esq.
                       Loeb & Loeb LLP
                       10100 Santa Monica Boulevard
                       Suite 2200
                       Los Angeles, CA 90067



CASE:                 Steven Heldt, et al v. Tata Consultancy Services, Ltd.
WITNESS:              Umesh Kumar I Balaji Ganapathy I Jeevak Sharma
DATE:                 1/25/2017
LOCATION:             New York, NY

Billing Comments /Instructions:




     SHIP VIA               Overnight                 TERMS                    net 30



                           SERVICES                                      # PAGES/QTY                UNIT PRICE                AMOUNT

            ·-        Certified Transcript                                       220                    $3.35                 $737.00
             Certified Transcript- 3 Day Delivery                                220                    $2.10                 $462.00
                       Rough Transcript                                          220                    $1.50                 $330.00
      Compressed I ASCII/ Word Index- Complimentary                               3                     $45.00                 $0.00
-         Exhibits- Scanned & Hyperlinked- B&W
  File Creation Fee- Hyperlinked Exhibits- Complimentary
                                                                                 138
                                                                                  1
                                                                                                        $0.25
                                                                                                        $45.00
                                                                                                                               $34.50
                                                                                                                               $0.00

                                                                                                   SUBTOTAL                  $1,563.50
                                                                                        SHIPPING & HANDLING                   $55.00
                                                                                                      TOTAL                  $1,618.50



           Please make all checks payable to: TSG Reporting, Inc.      FederaiiD # XX-XXXXXXX
              Remit to: TSG Reporting, Inc. 747 Third Avenue, Suite 10A New York, NY 10017
      For prompt payment processing, please include the invoice #with your check. All balances in arrears will be assessed a late fee of
                          1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                               THANK YOU FOR YOUR BUSINESS!
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 161 of 708




                      A – 60
                 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 162 of 708


                                                          I am an invoice.                                                  Page 1 of 2
                                                      Take me to your accounts                    Invoice No.               AXXXXXXXX
                                                        payable department.                       Invoice Date         March 13, 2017
Network Deposition Services, Inc.                                                                 Invoice Due            April 24, 2017
1800 Century Park East • Suite 150                                                                Invoice Total                4,776.23
Los .Angeles, C.A 90067
                                                                                                  Balance Due                       0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (31 0) 557-3555 • networkdepo.com




                   Loeb & Loeb LLP
                   Attention: Laura A. Wytsma, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           .A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Laura A. Wytsma, Esq.                                                          NDS        Client             Deposition
Deposition of Seyed Amir Masoudi -Volume 1                                           Case No.   Job No.    Matter No.               Date
Caption Christopher Slaight vs. Tata Consultancy Services. LTO                       4:15-cv-       190184 205625-10015         3-9-2017
                                                                                     01696-YGR
          Description of Service                                                       Quantity Units             Price        Extended
          Rough ASCII                                                                      246    Pages              1.25        307.50
     -·   Transcript 0+1 - Business Litigation                                             246    Pages              4.75      1,168.50
      - Exhibit Copies                                                                     159    Pages              0.45         71.55
       ' Color Exhibit Copies                                                                19   Pages              1.00         19.00
          Exhibits Bound Separately                                                           2   Volumes           10.00         20.00
          After 5 pm                                                                        0.1   Hours             45.00          4.50
          Reporter Parking                                                                    1                                   38.00
          Technology and Litigation Support Package                                           1                     30.00         30.00
          Transcript Production, Processing and Binding                                       1                     40.00         40.00
          Delivery and Handling of Transcript Copy                                            1                     20.00         20.00

      NOS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.


Payment From
                                                                                     Invoice No.                            AXXXXXXXX
Loeb & Loeb LLP
Attention: Laura A. Wytsma, Esq.
                                                                                     Invoice Date                      March 13, 2017
10100 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                          April 24, 2017


Write notes or address changes below                                                 Total Due                                      0.00


                                                                                     Amount Enclosed

                                                                                     Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
                   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 163 of 708


                                                                                                                                  Page 2 of 2
                                                                                               Invoice No.                     AXXXXXXXX
                                                                                               Invoice Date                 March 13, 2017
Network Deposition Services, Inc.                                                              Invoice Due                   April 24, 2017
See page 1 for contact information                                                             Balance Due                             0.00

 Noticing firm    Loeb & Loeb LLP - Los Angeles
 Noticed by       Laura A. Wytsma, Esq.                                                        NDS              Client               Deposition
 Deposition of Seyed Amir Masoudi - Volume 1                                   Case No.        Job No.          Matter No.                Date
 Caption Christopher Slaight vs. Tata Consultancy Services, LTD                4:15-cv-             190184      205625-10015             3-9-2017
                                                                               01696-YGR
             Description of Service                                              Quantity Units                           Price        Extended
             Next business day expedite (1 00%)- Business Litigation                  246      Pages                     4.75         1 '168.50
             Federal Code Compliance - Letters and Delivery                               1                            20.00              20.00
        - Transcript video surcharge                                                  246      Pages                     0.30             73.80
             Video Production and Processing                                              1                            30.00              30.00
             Synchronized videotaped proceeding 2 hour minimum                            1                          395.00             395.00
             Synchronized videotaped proceeding additional hours                      5.75     Hours                 155.00             891.25
             Videotaped proceeding overtime after 5 pm                                0.25     Hours                   52.50              13.13
             Conference Room                                                              1                                             425.00
         .   Exhibit Copies                                                             90     Pages                     0.45             40.50
              Pages printed for attorney.
 Payments
 Date              Payment details                                             Cash                                Total cash         Applied to
 received                                                                      receipt~_:_ -------------- -----------------------
                                                                                                                     receipt       this invoice
- - - - - - - - - - - - - - - - - - - --   ---------~----·--··-·---   ··-···                                                      ----·- --- ----- -
     4-5-2017 Check 112333                                                     C171420                            4,776.23            4,776.23
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 164 of 708




                      A – 61
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 165 of 708


                                                           I am an invoice.                                                        Page 1 of 2
                                                       Take me to your accounts                      Invoice No.                   AXXXXXXXX
                                                         payable department.                         Invoice Date           March 21, 2017
Network Deposition Services, Inc.                                                                    Invoice Due                   May 1, 2017
1800 Century Park East • Suite 150                                                                   Invoice Total                    2,937.15
Los Angeles, C.A 90067
                                                                                                     Balance Due                          0.00
Phone (31 0) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com



                    Loeb & Loeb LLP
                    Attention: Laura A. Wytsma, Esq.
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                            Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                            A service fee of 1.5% per month may be added
                                                                                            to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Laura A. Wytsma, Esq.                                                               NDS            Client           Deposition
Deposition of Nasser Nahshal ·Volume 1                                                Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                        4:15-cv-          190463      205625-10015      3-17-2017
                                                                                      01696-YGR
          Description of Service                                                        Quantity Units                    Price       Extended
          Rough ASCII                                                                       151      Pages                1.25         188.75
        -Transcript 0+1 • Business Litigation                                               151      Pages                4.75         717.25
       -Exhibit Copies                                                                       23      Pages                0.45          10.35
          After 5 pm                                                                         0.5     Hours               45.00          22.50
          Waiting                                                                            1.1     Hours               45.00          49.50
          Reporter Parking                                                                       1                                      45.00
          Technology and Litigation Support Package                                              1                       30.00          30.00
          Transcript Production, Processing and Binding                                          1                       40.00          40.00
          Delivery and Handling of Transcripts                                                   1                       20.00          20.00


       NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.

Payment From
                                                                                      Invoice No.                                  AXXXXXXXX
Loeb & Loeb LLP
Attention: Laura A. Wytsma, Esq.
                                                                                      Invoice Date                          March 21, 2017
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                 Late After                                   May 1, 2017


Write notes or address changes below                                                  Total Due                                           0.00


                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 166 of 708


                                                                                                                                                               Page 2 of 2
                                                                                                                        Invoice No.                            AXXXXXXXX
                                                                                                                        Invoice Date                  March 21, 2017
Network Deposition Services, Inc.                                                                                       Invoice Due                            May 1, 2017
See page 1 for contact information                                                                                      Balance Due                                    0.00

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Laura A. Wytsma, Esq.                                                                                  NDS               Client                 Deposition
Deposition of Nasser Nahshal- Volume 1                                                                  Case No.        Job No.           Matter No.                  Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                                          4: 15-cv-             190463      205625-1 0015            3-17-2017
                                                                                                        01696-YGR
           Description of Service                                                                         Quantity Units                            Price         Extended
           Delivery - Exhibits                                                                                     1                             25.00               25.00
              Expedited delivery of exhibits from reporter to NOS.
           Next business day expedite (1 00%)- Business Litigation                                            151       Pages                      4.75             717.25
        -Transcript video surcharge                                                                           151       Pages                      0.30              45.30
           Video Production and Processing                                                                         1                             30.00               30.00
           Synchronized videotaped proceeding 2 hour minimum                                                       1                           395.00               395.00
           Synchronized videotaped proceeding additional hours                                                   3      Hours                  155.00               465.00
           Videotaped proceeding overtime after 5 pm                                                           0.5      Hours                    52.50               26.25
        -Appearance fee- Full day                                                                                  1    Day                      90.00               90.00
           Delivery - Videography                                                                                  1                             20.00               20.00

 Payments
Date             Payment details                                                                        Cash                                     Total cash       Applied to
received                                                                                                receipt no.                         _____ _ r~~eip£_     this invoice
-----------   --·--·------· · - - - - - -   --------------------------------------------------------~   ~------        t-------------------
  4-13-2017 Check 112459                                                                                C171591                              2,937.15            2,937.15
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 167 of 708




                      A – 62
            Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 168 of 708




                                                                                                             INV?ICE
TSG                           Worldwide - 24 Hours
                                (877) 702-9580
                              www.tsgreporting.com
                                                                                                              DATE: 5f31/2017
                                                                                                           INVOICE# 051217-468649

REPORTING

Bill To:               Bernard R. Given II Esq.
                       Loeb & Loeb LLP
                       10100 Santa Monica Boulevard
                       Suite 2200
                       Los Angeles, CA 90067



CASE:
WITNESS:
DATE:
LOCATION:
                       Steven Heldt. et al v. Tata Consultancy Services, Ltd.
                       Dr. Edward P. Lazear
                       5/12/2017
                       Menlo Park, CA
                                                                                        (j       ~
                                                                                                  I

Billing Comments /Instructions:




       SHIP VIA              Overnight                 TERMS                    net 30


                            SERVICES                                      #PAGES /QTY                 UNIT PRICE              AMOUNT

  ·-                Certified Transcript                                          107                     $3.35                 $358.45
    Compressed I ASCII/ Word Index- Complimentary                                  1                     $45.00                  $0.00
         Exhibits- Scanned & Hyper1inked- B&W                                     73                      $0.25                 $18.25
         Exhibits- Scannep & Hyperlinked- Color                                    9                      $1.50                  $13.50
 File Creation Fee - Hyperlinked Exhibits - Complimentary                          1                     $45.00                  $0.00

                                                                                                    SUBTOTAL                   $390.20
                                                                                         SHIPPING & HANDLING                    $55.00
                                                                                                       TOTAL                   $445.20


           Please make all checks payable to: TSG Reporting, Inc.      FederaiiD # XX-XXXXXXX
              Remit to: TSG Reporting, Inc. 747 Third Avenue, Suite 10A New York, NY 10017
       For prompt payment processing, please include the invoice #with your check. All balances in arrears will be assessed a late fee of
                           1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                                THANK YOU FOR YOUR BUSINESS!
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 169 of 708




                      A – 63
                    Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 170 of 708


                                                           I am an invoice.                                                                  Page 1 of 3
                                                       Take me to your accounts                            Invoice No.                       AXXXXXXXX
                                                         payable department.                               Invoice Date           March 31, 2017
Network Deposition Services, Inc.                                                                          Invoice Due              June 1, 2017
1800 Century Park East • Suite 150                                                                         Invoice Total                4,042.66
Los 1\ngeles, C\ 90067
                                                                                                           Balance Due                                    80.87
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com                                                             Payment Processing Information
r--------------------------------, Corrected invoice

                     Loeb & Loeb LLP
                     Attention: Laura A. Wytsma, Esq.
                     10100 Santa Monica Boulevard
                     Suite 2200
                     Los Angeles, CA 90067                                                       Make checks payable to Network Deposition
                                                                                                 Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                                 .A service fee of 1.5% per month may be added
L-------------------------------1 to any invoice over 30 days old.
Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Laura A. Wytsma, Esq.                                                                     NDS            Client                   Video
Video            Jessica B. Wilson -Volume 1                                                Case No.       Job No.        Matter No.         Conferencing
Conference                                                                                                                                           Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                              4: 15-cv-         190461      205625-10015               3-16-2017
               -------~----------------~----~--------       ----~---~-----------
                                                                                            01696-YGR
                                                                                            ------------.-       ----    ------     -   ------ -- . - --- --·. -------
          Description of Service
          -------   ---------~----                     --- ------------------------- ----
                                                                                              Quanti tv Units
                                                                                            --------~---  ---------- - -
                                                                                                                                 Price
                                                                                                                              -~--------
                                                                                                                                                     Extended
                                                                                                                                             ------------
       - Transcript 0+1 - Business Litigation                                                    135       Pages                4. 75                  641.25
          Exhibit Copies                                                                          63       Pages                0.45                     28.35
          Color Exhibit Copies                                                                         1 Pages                  1.00                        1.00
          After 5 pm                                                                              0.6      Hours               45.00                     27.00
          Waiting                                                                                      1   Hours               45.00                     45.00
          Technology and Litigation Support Package                                                    1                       30.00                      30.00
          Transcript Production, Processing and Binding                                            1                           40.00                     40.00
          Rough ASCII                                                                            135 Pages                      1.25                   168.75
          Delivery and Handling of Transcripts                                                         1                       20.00                      20.00

       NOS invoice version 3.2   Detach lower port10n and return wtth your payment. Please do not staple check.

Payment From
                                                                                            Invoice No.                                       AXXXXXXXX
Loeb & Loeb LLP
Attention: Laura A. Wytsma, Esq.
                                                                                            Invoice Date                           March 31,2017
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                       Late After                                     June 1, 2017


Write notes or address changes below                                                        Total Due                                                      80.87

                                                                                            Amount Enclosed

                                                                                            Mail Payment To
                                                                                            Network Deposition Services, Inc.
                                                                                            1800 Century Park East
                                                                                            Suite 150
                                                                                            Los Angeles, CA 90067
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 171 of 708


                                                                                                                                                              Page 2 of 3
                                                                                                                     Invoice No.                              AXXXXXXXX
                                                                                                                     Invoice Date                      March 31, 2017
Network Deposition Services, Inc.                                                                                    Invoice Due                             June1,2017
See page 1 for contact information                                                                                   Balance Due                                   80.87

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Laura A. Wytsma, Esq.                                                                               NDS                  Client                    Video
Video            Jessica   B. Wilson -Volume 1                                                Case No.               Job No.              Matter No.          Conferencing
Conference                                                                                                                                                            Date
                                                                                             -----·----·-·------ -- --· --- ·-·----   ~   -------·-   -~-·    - · - - - - ·-·--

Caption Christopher Slaight vs. Tata Consultancy Services, LTD                                4:15-cv-                     190461 205625-1 0015     3-16-2017
                                                                                              01696-YGR
                                                                                             f------ _, - ·---- -·-····· ----------------- .. - --------------
          -·   ----   ~------   ·- --   -----------------------------------~--------------                                                    --~----




          Description of Service                                                                  Quantity Units                                      Price       Extended
         -Transcript video surcharge                                                                     135          Pages                           0.30           40.50
          Video Production and Processing                                                                      1                                 30.00               30.00
          Synchronized videotaped proceeding 2 hour minimum                                                    1                               395.00               395.00
          Synchronized videotaped proceeding additional hours                                           3.25          Hours                    155.00               503.75
          Videotaped proceeding overtime after 5 pm                                                     0.75          Hours                      52.50                39.38
        -Appearance fee- Full day                                                                              1      Day                      170.00               170.00
        ·· Color Exhibit Copies                                                                          136          Pages                           1.00          136.00
               Photocopies made at deposition.
          Transcript videoconference per page surcharge                                                  135          Pages                           0.30           40.50
          Videoconference hourly cost                                                                   4.75          Hours                    225.00            1,068.75
               Deposition location - Charlotte, NC
          Videoconference hourly after hour surcharge                                                   0.75          Hours                    100.00                75.00
            Deposition location- Charlotte, NC
          Videoconference hourly bridge I managed dial-out I gateway                                    4.75          Hours                      55.00              261.25
               Charlotte, NC
          Videoconference hourly bridge I managed dial-out I gateway                                    4.75          Hours                      55.00              261.25
               Los Angeles, CA
 Date             Description                                                                     Quantity Units                                      Price       Extended
    6-2-2017 Finance charge - 1 month                                                                          1                                                       0.91
    7-2-2017 Finance charge- 2 months                                                                          1                                                       0.93
    8-2-2017 Finance charge- 3 months                                                                          1                                                       0.94
    9-2-2017 Finance charge- 4 months                                                                          1                                                       0.96
   10-2-2017 Finance charge - 5 months                                                                         1                                                       0.97
   11-2-2017 Finance charge- 6 months                                                                          1                                                        0.98
   12-2-2017 Finance charge- 7 months                                                                          1                                                        1.00
    1-2-2018 Finance charge- 8 months                                                                          1                                                        1.01
    2-2-2018 Finance charge - 9 months                                                                         1                                                        1.03
    3-2-2018 Finance charge - 10 months                                                                        1                                                        1.05
    4-2-2018 Finance charge - 11 months                                                                        1                                                        1.06
    5-2-2018 Finance charge - 12 months                                                                        1                                                        1.08
    6-2-2018 Finance charge - 13 months                                                                        1                                                        1.09
    7-2-2018 Finance charge- 14 months                                                                         1                                                        1.11
    8-2-2018 Finance charge - 15 months                                                                        1                                                        1'13
    9-2-2018 Finance charge- 16 months                                                                         1                                                        1.14
                   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 172 of 708


                                                                                                               Page 3 of 3
                                                                             Invoice No.                       AXXXXXXXX
                                                                             Invoice Date              March 31, 2017
Network Deposition Services, Inc.                                            Invoice Due                  June 1, 2017
See page 1 for contact information                                           Balance Due                             80.87

Date               Description                                   Quantity Units                      Price        Extended
  10-2-2018 Finance charge - 17 months                                   1                                            1.16
  11-2-2018 Finance charge - 18 months                                   1                                            1.18
  12-2-2018 Finance charge - 19 months                                   1                                            1.20

Payments
Date               Payment details                             Cash                            Total cash        Applied to
received                                                       r~c~p.!_E_o._ - - - - - - - - - ~~-re_~ifl!__    this invoice
                                                                                                               --------   ----
--~-------------                     --·~·-------·-·--------




  7-17-2017 Check 114110                                       C173475                         3,911.79          3,911.79
  11-7-2017 Check 116101                                       C175223                         3,748.00             50.00
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 173 of 708




                      A – 64
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 174 of 708


                                                           I am an invoice.                                                         Page 1 of 2
                                                       Take me to your accounts                      Invoice No.                    AXXXXXXXX
                                                         payable department.                         Invoice Date                July 10, 2017
Network Deposition Services, Inc.                                                                    Invoice Due           August 11, 2017
1800 Century Park East • Suite 150                                                                   Invoice Total                1,922.25
Los .Angeles, C.A 90067
                                                                                                     Balance Due                              0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com



                    Loeb & Loeb LLP
                    Attention: Michelle M. La Mar, Esq.
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                  Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           .A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Michelle  M. La Mar, Esq.                                                           NDS            Client           Deposition
Deposition of    Loran   Peck-   Volume 1                                             Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTO                        4:15-cv-          192673      205625-1 0015      6-16-2017
                                                                                      01696-YGR
          Description of Service                                                        Quantity Units                     Price       Extended
         --Transcript 0+1 - Business Litigation                                             170      Pages                4.75          807.50
        -Exhibit Copies                                                                       58     Pages                 0.45          26.10
          Technology and Litigation Support Package                                              1                       30.00           30.00
          Transcript Production, Processing and Binding                                          1                       40.00           40.00
          Delivery and Handling of Transcript Copy                                               1                       20.00           20.00
          Federal Code Compliance - Letters and Delivery                                         1                       20.00           20.00
        -Transcript video surcharge                                                         170      Pages                 0.30          51.00
          Video Production and Processing                                                        1                       30.00           30.00
          Synchronized videotaped proceeding 2 hour minimum                                      1                      395.00          395.00
           Synchronized videotaped proceeding additional hours                              1.75     Hours              155.00          271.25

       NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.
                                                                                                                                          -    ~

Payment From
                                                                                      Invoice No.                                   AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
101 00 Santa Monica Boulevard                                                         Invoice Date                                July 10, 2017
Suite 2200
Los Angeles, CA 90067                                                                 Late After                            August 11, 2017


Write notes or address changes below                                                  Total Due                                               0.00


                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
                      Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 175 of 708


                                                                                                                                                          Page 2 of 2
                                                                                                                           Invoice No.                    AXXXXXXXX
                                                                                                                           Invoice Date                July 10, 2017
Network Deposition Services, Inc.                                                                                          Invoice Due           August 11, 2017
See page 1 for contact information                                                                                         Balance Due                           0.00

 Noticing firm           Loeb & Loeb LLP - Los Angeles
 Noticed by              Michelle M. La Mar, Esq.                                                                          NDS            Client            Deposition
Deposition of            Loran Peck- Volume 1                                                              Case No.        Job No.        Matter No.             Date
r~-.:~-
 vapuvu       Christopher Slaight vs. Tata Consultancy SerJices, LTD                                       4:15-cv-           192673      205625-1 0015      6-16-2017
                                                                                                           01696-YGR
              Description of Service                                                                          Quantity Units                     Price       Extended
            -Appearance fee - Full day                                                                                1    Day                175.00          175.00
Date                  Description                                                                             Quantity Units                     Price       Extended
  8-12-2017 Finance charge - 1 month                                                                                  1                                        27.99
  9-12-2017 Finance charge - 2 months                                                                                 1                                        28.41

 Payments
Date                  Payment details                                                                      Cash                      Total cash      Applied to
received
       --     ----   -----------------·----~-------~---·--     . ···--·------ ---·--   --~---~   ~--~~--
                                                                                                           ~r~-c~ipt no.     ----- ~-E:~eip~_      this invoice
                                                                                                                                                - -----·-
 10-26-2017 Check 115953                                                                                   C175017                  15,244.70        1,922.25
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 176 of 708




                      A – 65
                 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 177 of 708


                                                         I am an invoice.                                                         Page 1 of 2
        Network
        DEPOSITION SERVICES
                                                     Take me to your accounts
                                                       payable department.
                                                                                                    Invoice No.
                                                                                                    Invoice Date
                                                                                                                              AXXXXXXXX
                                                                                                                           March 13, 2017
Network Deposition Services, Inc.                                                                   Invoice Due             April 24, 2017
1800 Century Park East • Suite 150                                                                  Invoice Total                 2,163.66
Los Angeles, CA 90067
                                                                                                    Balance Due                       0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (31 0) 557-3555 • networkdepo.com



                   Loeb & Loeb LLP
                   Attention: Laura A. Wytsma, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                  Make checks payable to Network Deposition
                                                                                          Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                          A service fee of 1.5% per month may be added
                                                                                          to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Laura A. Wytsma, Esq.                                                              NDS            Client           Deposition
Deposition of    Stephen    Bradley - Volume 1                                       Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTD                       4:15-cv-          190185      205625-10015      3-10-2017
                                                                                     01696-YGR
         Description of Service                                                        Quantitv Units                    Price       Extended
          Rough ASCII                                                                       97      Pages                1.25         121.25
       ..... Transcript 0+1 - Business Litigation                                           97      Pages                4.75         460.75
       .... Exhibit Copies                                                                  72      Pages                0.45           32.40
         Waiting                                                                           1.1      Hours               45.00           49.50
         Technology and Litigation Support Package                                              1                       30.00            30.00
         Transcript Production, Processing and Binding                                          1                       40.00           40.00
         Delivery and Handling of Transcript Copy                                               1                       20.00           20.00
      -...Transcript video surcharge                                                        97      Pages                0.30           29.10
         Video Production and Processing                                                        1                       30.00            30.00
         Synchronized videotaped proceeding 2 hour minimum                                      1                     395.00          395.00

      NOS invoice version 3.2   Detach lower portwn and return Wlth your payment. Please do not staple check.
                                                                                                                                       ··-·-·

Payment From
                                                                                     Invoice No.                                  AXXXXXXXX
Loeb & Loeb LLP
Attention: Laura A. Wytsma, Esq.
                                                                                     Invoice Date                          March 13, 2017
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                                 April 24, 2017


Write notes or address changes below                                                 Total Due                                              0.00


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 178 of 708


                                                                                                                  Page 2 of 2
                                                                                   Invoice No.                AXXXXXXXX
                                                                                   Invoice Date            March 13, 2017
Network Deposition Services, Inc.                                                  Invoice Due              April 24, 2017
See page 1 for contact information                                                 Balance Due                           0.00

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Laura A. Wytsma, Esq.                                             NDS            Client           Deposition
Deposition of Stephen Bradley· Volume 1                             Case No.       Job No.        Matter No.            Dare
Caption Christopher Slaight vs. Tala Consultancy Services, LTO      4:15-cv-          190185      205625-1 0015      3-10-2017
                                                                    01696-YGR
           Description of Service                                     Quantity Units                     Price       Extended
           Synchronized videotaped proceeding additional hours               2     Hours              155.00          310.00
           Next business day expedite (100%)- Business Litigation          97      Pages                4.75          460.75
Date            Description                                           Quantity Units                     Price       Extended
  4-25-2017 Finance charge - 1 month                                           1                                       29.68
  5-25-2017 Finance charge - 2 months                                          1                                       30.13
  6-25-2017 Finance charge - 3 months                                          1                                       30.58
  7-25-2017 Finance charge - 4 months                                          1                                       31.04
  8-25-2017 Finance charge - 5 months                                          1                                       31.50
  9-25-2017 Finance charge - 6 months                                          1                                       31.98
Payments
Date            Payment details                                     Cash                            Total cash      Applied to
received                                                            receipt no.                        receipt     this invoice
 10-26-2017 Check 115953                                            C175017                       15,244.70         2,163.66
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 179 of 708




                      A – 66
                 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 180 of 708


                                                          I am an invoice.                                                         Page 1 of 2
        Network
        DEPOSITION SERVICES
                                                      Take me to your accounts
                                                        payable department.
                                                                                                    Invoice No.
                                                                                                    Invoice Date
                                                                                                                               AXXXXXXXX
                                                                                                                            March 14, 2017
Network Deposition Services, Inc.                                                                   Invoice Due              April 24, 2017
1800 Century Park East • Suite 150                                                                  Invoice Total                  3,677.64
Los Angeles, CA 90067
                                                                                                    Balance Due                        0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (31 0) 557-3555 • networkdepo.com




                   Loeb & Loeb LLP
                   Attention: Laura A. Wytsma, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Laura A. Wytsma, Esq.                                                              NDS            Client           Deposition
Deposition of Nobel Mandili • Volume 1                                               Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTD                       4:15-cv-          190183      205625-1 0015       3-8-2017
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units                     Price       Extended
         Rough ASCII                                                                       163      Pages                 1.25         203.75
       -Transcript 0+1 - Business Litigation                                               163      Pages                4.75          774.25
       '-Exhibit Copies                                                                    136      Pages                 0.45          61.20
       ' Color Exhibit Copies                                                                15     Pages                 1.00          15.00
         Reporter Parking                                                                       1                                       38.00
         Technology and Litigation Support Package                                              1                       30.00           30.00
         Transcript Production, Processing and Binding                                          1                       40.00           40.00
         Delivery and Handling of Transcript Copy                                               1                       20.00           20.00
         Federal Code Compliance - Letters and Delivery                                         1                       20.00           20.00
         Next business day expedite (100%)- Business Litigation                            163      Pages                 4.75         774.25

      NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.

Payment From
                                                                                     Invoice No.                                   AXXXXXXXX
Loeb & Loeb LLP
Attention: Laura A. Wytsma, Esq.
                                                                                     Invoice Date                           March 14, 2017
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                                 April 24, 2017


Write notes or address changes below                                                 Total Due                                            0.00

                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
                 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 181 of 708


                                                                                                                Page 2 of 2
                                                                                  Invoice No.                   AXXXXXXXX
                                                                                  Invoice Date           March 14, 2017
Network Deposition Services, Inc.                                                 Invoice Due              April 24, 2017
See page 1 for contact information                                                Balance Due                        0.00

 Noticing firm      Loeb & Loeb LLP - Los Angeles
 Noticed by         Laura A. Wytsma, Esq.                                         NDS            Client          Deposition
Deposition of       Nobel Mandili - Volume 1                       Case No.       Job No.        Matter No.           Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD     4:15-cv-          190183      205625-10015       3-8-2017
                                                                   01696-YGR
           Description of Service                                    Quantity Units                    Price       Extended
        ~Transcript    video surcharge                                   163      Pages                0.30          48.90
           Video Production and Processing                                    1                       30.00          30.00
           Synchronized videotaped proceeding 2 hour minimum                  1                      395.00         395.00
           Synchronized videotaped proceeding additional hours                4   Hours              155.00         620.00
           Videographer Parking                                               1                                      18.00
           Conference Room                                                    1                                     250.00
           Delivery- Exhibits                                                 1                       25.00          25.00
            Expedited deliveruy of exhibits from reporter to NDS

 Date ~~___ Q_:~~r_i,p_ti_on~~~-----------··--------~---~~------ _ Quantity Unit~~~r--~--~rice                     Extended
  4-25-2017 Finance charge- 1 month                                           1                                      50.45
  5-25-2017 Finance charge- 2 months                                          1                                      51.21
  6-25-2017 Finance charge - 3 months                                         1                                      51.98
  7-25-2017 Finance charge - 4 months                                         1                                      52.75
  8-25-2017 Finance charge- 5 months                                          1                                      53.55
  9-25-2017 Finance charge - 6 months                                         1                                      54.35

 Payments
Date             Payment details                                   Cash                            Total cash     Applied to
received                                                           receipt no.                        receipt    this invoice
 10-26-2017 Check 115953                                           C175017                       15,244.70        3,677.64
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 182 of 708




                      A – 67
                    Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 183 of 708


                                                            I am an invoice.                                                           Page 1 of 2
                                                        Take me to your accounts                         Invoice No.               AXXXXXXXX
                                                          payable department.                            Invoice Date           March 29, 2017
Network Deposition Services, Inc.                                                                        Invoice Due             May 24,2017
1800 Century Park East • Suite 150                                                                       Invoice Total                5,214.74
Los Angeles, CA 90067
                                                                                                         Balance Due                      0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (31 0) 557-3555 • networkdepo.com



                      Loeb & Loeb LLP
                      Attention: Laura A. Wytsma, Esq.
                      10100 Santa Monica Boulevard
                      Suite 2200
                      Los Angeles, CA 90067                                                    Make checks payable to Network Deposition
                                                                                               Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                               A service fee of 1.5% per month may be added
                                                                                               to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Laura A. Wytsma, Esq.                                                                   NDS            Client               Video
Video            Dwight Giovanni - Volume 1                                               Case No.       Job No.        Matter No.     Conferencing
Conference                                                                                                                                     Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                            4:15-cv-          190457      205625-10015      3-15-2017
          -   -   ---------------------   -------~--~~~-------   ---·----------- ------
                                                                                          01696-YGR
          Description of Service _________________________ -~-------- ______Q_t:anti_!I _l]_n_i__t_s__~+----~--
                                                                                                              Price              ---
                                                                                                                                          Extended
                                                                                                                                       -~~~-
                                                                                                                                               ----
          Rough ASCII                                                                          227       Pages                1.25         283.75
        -Transcript 0+1 - Business Litigation                                                  227       Pages                4.75       1,078.25
       -Exhibit Copies                                                                          62       Pages                0.45             27.90
          After 5 pm                                                                            1.2      Hours               45.00             54.00
          Technology and Litigation Support Package                                                  1                       30.00             30.00
          Transcript Production, Processing and Binding                                              1                       40.00             40.00
          Delivery and Handling of Transcripts                                                       1                       20.00             20.00
          7 business day expedite (40%)- Business Litigation                                   227       Pages                1.90         431.30
      - Transcript video surcharge                                                             227       Pages                0.30             68.10

       NDS invoice version 3.2    Detach lower portion and return with your payment. Please do 11ot staple check.
                                                                                                                                                  ~
Payment From
                                                                                          Invoice No.                                  AXXXXXXXX
Loeb & Loeb LLP
Attention: Laura A. Wytsma, Esq.
                                                                                          Invoice Date                          March 29, 2017
101 00 Santa Monica Boulevard
Suite 2200
Los Ahgeles, CA 90067                                                                     Late After                                 May 24, 2017


Write notes or address changes below                                                      Total Due                                             0.00

                                                                                          Amount Enclosed

                                                                                          Mail Payment To
                                                                                          Network Deposition Services, Inc.
                                                                                          1800 Century Park East
                                                                                          Suite 150
                                                                                          Los Angeles, CA 90067
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 184 of 708


                                                                                                                                 Page 2 of 2
          Network
          DEPOSITION SERVICES
                                                                                                   Invoice No.
                                                                                                   Invoice Date
                                                                                                                                 AXXXXXXXX
                                                                                                                          March 29, 2017
Network Deposition Services, Inc.                                                                  Invoice Due                 May 24,2017
See page 1 for contact information                                                                 Balance Due                           0.00

Noticing firm      Loeb & Loeb LLP - Los Angeles
Noticed bv         Laura A. Wytsma, Esq.                                                           NDS            Client               Video
                   Dwight Giovanni -Volume 1                                        Case No.       Job No.        Matter No.     Conferencing
Video
                                                                                  h                                                      "a•~

                                                                                                                                 ----:=
Conference

Caption     -:-:~-:~-o;:i:~s~;~;~:~:~ta~~~~~~~~~~~~~s:~~::~· L~T--D----------~- 1~-]~-?!~J~,~~~.O.S~ ~~7;
            Video Production and Processing                                                    1                       30.00           30.00
            Synchronized videotaped proceeding 2 hour minimum                                  1                      395.00          395.00
            Synchronized videotaped proceeding additional hours                          3.75      Hours              155.00          581.25
            Videotaped proceeding overtime after 5 pm                                    1.25      Hours               52.50           65.63
      •     Appearance fee- Full day                                                           1   Day               280.00          280.00
            Transcript videoconference per page surcharge                                 227      Pages                0.30           68.10
            Videoconference hourly cost                                                  5.25      Hours             225.00        1,181.25
             Deposition location- Raleigh, NC
            Videoconference hourly after hour surcharge                                    1.5     Hours              100.00          150.00
             Deposition location- Raleigh, NC
            Videoconference hourly bridge I managed dial-out I gateway                   5.25      Hours               55.00          288.75
             Connection to Loeb & Loeb LLP
            Videoconference                                                                    1                                       56.10
             Photocopies/Printing - Black and White
            Discount                                                                           1                                     (288.75)

_p_a_re___ ~_ Q~s_c~ip~~:m_       ~~- __ ~~--~~~ -------~--~-------- ____Qua!l~ity_ ~!l~t~- ___________ ~ ~~-- ~r_i_ce_f-_E:x~t~!lcle<l_
  5-25-2017 Finance charge - 1 month                                                                                                   72.61
  6-25-2017 Finance charge - 2 months                                                          1                                       73.70
  7-25-2017 Finance charge- 3 months                                                           1                                       74.80
   8-25-2017 Finance charge - 4 months                                                         1                                       75.93
   9-25-2017 Finance charge- 5 months                                                          1                                       77.07

 Payments
 Date           Payment details                                                     Cash                            Total cash      Applied to
 received                                                                           receipt no.                        receipt     this invoice
 10-26-2017 Check 115953                                                            C175017                       15,244.70        5,214.74
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 185 of 708




                      A – 68
             Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 186 of 708

                                                                                           :JC6 '~5 .. {Oats-
                                                                                                             INVOICE
TSG                            Worldwide - 24 Hours
                                   (877) 702-9580
                              www.tsgreporting.com
                                                                                                              DATE: 5/16/2018
                                                                                                           INVOICE# 043018-651176
                                                                                                              JOB# 140908
REPORTING

Bill To:               Bernard R. Given II Esq.
                       Loeb & Loeb LLP
                       10100 Santa Monica Boulevard
                       Suite 2200
                       Los Angeles, CA 90067



CASE:                  Steven Heldt, et al v. Tala Consultancy Services, Ltd.
WITNESS:               Surya Kant
DATE:                  4/30/2018
LOCATION:              New York, NY

Billing Comments /Instructions:




     SHIP VIA                Overnight                 TERMS                    net 30


                            SERVICES                                      # PAGES/QTY                UNIT PRICE               AMOUNT
                       Certified Transcript                                       156                    $3.45                 $538.20
             Certified Transcnpt - Early AM Pages                                  16                    $1.25                 $20.00
                        Rough Transcript                                          156                    $1.50                 $234.00
     Compressed I ASCII/ Word Index- Complimentary                                  1                   $45.00                  $0.00
          Exhibits- Scanned & Hyperlinked- B&W                                    180                    $0.25                 $45.00
  File Creation Fee - Hyperlinked Exhibits - Complimentary                          1                   $45.00                  $0.00

                                                                                                    SUBTOTAL                   $837.20
                                                                                         SHIPPING & HANDLING                   $27.50
                                                                                                       TOTAL                   $864.70



           Please make all checks payable to: TSG Reporting, Inc.    FederaiiD # XX-XXXXXXX
              Remit by Mail to: TSG Reporting, Inc. PO Box 95568 Grapevine, TX 76099-9708
       For prompt payment processing, please include the invoice #with your check. All balances in arrears will be assessed a late fee of
                           1.5% per month. not to exceed the legal limit. If you have any questions, please call TSG.
                                                 THANK YOU FOR YOUR BUSINESS!
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 187 of 708




                      A – 69
            Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 188 of 708




                                                                                                            INVOICE
TSG                            Worldwide - 24 Hours
                                   can> 1o2-9sao
                              www.tsgreporting.com
                                                                                                              DATE: 5/25/2018
                                                                                                           INVOICE # 051118-651527
                                                                                                              JOB# 141794
REPORTING

Bill To:               Bernard R. Given II Esq.
                       Loeb & Loeb LLP
                       10100 Santa Monica Boulevard
                       Suite 2200
                       Los Angeles, CA 90067



CASE:                  Brian Buchanan, et al. v. Tata Consultancy Services, Ltd.
WITNESS:               Narasimhan Srinivasan
DATE:                  m,12u1s
LOCATION:              New York, NY

Billing Comments /Instructions:




     SHIP VIA                Overnight                 TERMS                    net 30


                            SERVICES                                      #PAGES/QTY                 UNIT PRICE               AMOUNT

                     Certified Transcript                                         112                    $3.45                 $386.40
     Compressed I ASCii/ Word Index- Complimentary                                 1                    $45.00                  $0.00
          Exhibits- Scanned & Hyperlinked- 'O&W                                   117                    $0.25                  $29.25
  File Creation Fee - Hyperlinked Exhibits - Complimentary                         1                    $45.00                  $0.00

                                                                                                    SUBTOTAL                   $415.65
                                                                                         SHIPPING & HANDLING                    $27.50
                                                                                                       TOTAL                   $443.15



           Please make all checks payable to: TSG Reporting, Inc.    FederaiiD # XX-XXXXXXX
              Remit by Mail to: TSG Reporting, Inc. PO Box 95568 Grapevine, TX 76099-9708
       For prompt payment processing, please include the invoice# with your check. All balances in arrears will be assessed a late fee of
                           1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                                 THANK YOU FOR YOUR BUSINESS!
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 189 of 708




                      A – 70
                 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 190 of 708


                                                         I am an invoice.                                                         Page 1 of 2
                                                     Take me to your accounts                       Invoice No.                   AXXXXXXXX
                                                       payable department.                          Invoice Date                April 18, 2018
Network Deposition Services, Inc.                                                                   Invoice Due                 May 24,2018
1800 Century Park East • Suite 150                                                                  Invoice Total                     4,966.75
Los Angeles, CA 90067
                                                                                                    Balance Due                           0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com



                   Loeb & Loeb LLP
                   Attention: Michelle M. La Mar, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                  Make checks payable to Network Deposition
                                                                                          Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                          A service fee of 1.5% per month may be added
                                                                                          to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Michelle M. La Mar, Esq.                                                           NDS            Client           Deposition
Deposition of Thomas S. Mills -Volume 1                                              Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                       4:15-cv-          201412      205625-10015       4-11-2018
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units                    Price       Extended
        -Transcript 0+1 -Business Litigation                                              226       Pages                6.00        1,356.00
       ·-Exhibit Copies                                                                     53      Pages                0.55           29.15
         Reporter Parking                                                                       1                                       20.00
         Technology and Litigation Support Package                                              1                       35.00           35.00
         Transcript Production, Processing and Binding                                          1                       40.00           40.00
         Delivery and Handling of Transcript Copy                                               1                       25.00           25.00
         3 business day expedite (80%)- Business Litigation                               226       Pages                4.80        1,084.80
         Federal Code Compliance - Letters and Delivery                                         1                       35.00          . 35.00
       --Transcript video surcharge                                                       226       Pages                0.50          113.00
         Video Production and Processing                                                        1                       50.00           50.00

      NDS invoice version 3.2   Detach lower poruon and return wtth your payment. Please do not staple check.

Payment From
                                                                                     Invoice No.                                  AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
                                                                                     Invoice Date                               April 18, 2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                                 May 24, 2018


Write notes or address changes below                                                 Total Due                                            0.00


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 191 of 708


                                                                                                                        Page 2 of 2
                                                                                           Invoice No.                  AXXXXXXXX
                                                                                           Invoice Date            April 18, 2018
Network Deposition Services, Inc.                                                          Invoice Due              May 24,2018
See page 1 for contact information                                                         Balance Due                      0.00

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Michelle M. La Mar, Esq.                                                  NDS        Client             Deposition
Deposition of    Thomas S. Mills - Volume 1                                 Case No.       Job No.    Matter No.               Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD              4:15-cv-           201412 205625-1 0015       4-11-2018
                                                                            01696-YGR
           Description of Service                                             Quantity Units                    Price      Extended
           Synchronized videotaped proceeding                                    7.25      Hours            175.00        1,268.75
           Videographer Parking                                                        1                                     13.00
           Delivery - Exhibits                                                         1                      30.00          30.00
            Expedited delivery of exhibits from reporter to NOS
       - Appearance fee - Full day                                                     1   Day              200.00          200.00
           Exhibit Copies                                                           31     Pages               0.55          17.05
            Extra copy of exhibits 1 to 10 for the original transcript as
            they were returned to NDS
       .- On-site photocopying                                                         1                    300.00          300.00
            Prinitng of documents requested prior to start of deposition
           Conference Room                                                             1                                    350.00
Payments
Date            Payment details                                             Cash                           Total cash     Applied to
received                                                                    receipt no.                       receipt    this invoice
  6-28-2018 Check 120674                                                    C183049                       13,593.45       4,966.75
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 192 of 708




                      A – 71
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 193 of 708


                                                           I am an invoice.                                                          Page 1 of 2
                                                       Take me to your accounts                       Invoice No.                    AXXXXXXXX
                                                         payable department.                          Invoice Date                May 24,2018
Network Deposition Services, Inc.                                                                     Invoice Due              June 23, 2018
1800 Century Park East • Suite 150                                                                    Invoice Total                    1,218.40
Los Angeles, CA. 90067
                                                                                                      Balance Due                           0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                    Loeb & Loeb LLP
                    Attention: Catherine Schmidt, Esq.
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                            Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                            A. service fee of 1.5% per month may be added
                                                                                            to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Catherine Schmidt, Esq.                                                              NDS            Client           Deposition
Deposition of    Darryl Stacy                                                          Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                         4:15-cv-      202191          205625-1 0015      5-10-2018
                                                                                       01696-YGR
          Description of Service                                                         Quantity Units                     Price       Extended
          Rough ASCII                                                                        138      Pages                 1.25         172.50
        -Transcript 0+1 - Business Litigation                                                138      Pages                 5.25         724.50
         -Exhibit Copies                                                                      80      Pages                 0.55          44.00
        -..color Exhibit Copies                                                                 2     Pages                 1.50           3.00
          Exhibits Bound Separately                                                             2     Volumes             10.00           20.00
          Reporter Parking                                                                        1                                        9.00
          Technology and Litigation Support Package                                               1                       35.00           35.00
          Transcript Production, Processing and Binding                                           1                       40.00           40.00
          Delivery and Handling of Transcript Copy                                                1                       25.00           25.00
          Federal Code Compliance - Letters and Delivery                                          1                       20.00           20.00

       NDS invoice version 3.2   Detach lower por1:1on and return Wlth your payment. Please do not staple check.
~-

Payment From
                                                                                       Invoice No.                                   AXXXXXXXX
Loeb & Loeb LLP
Attention: Catherine Schmidt, Esq.
                                                                                       Invoice Date                                May 24, 2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                  Late After                                 June 23, 2018


Write notes or address changes below                                                   Total Due                                            0.00


                                                                                       Amount Enclosed

                                                                                      Mail Payment To
                                                                                      Network Deposition Services, Inc.
                                                                                      1800 Century Park East
                                                                                      Suite 150
                                                                                      Los Angeles, CA 90067
                   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 194 of 708


                                                                                                                    Page 2 of 2
                                                                                      Invoice No.                   AXXXXXXXX
                                                                                      Invoice Date                May 24,2018
Network Deposition Services, Inc.                                                     Invoice Due              June 23, 2018
See page 1 for contact information                                                    Balance Due                               0.00

Noticing firm           Loeb & Loeb LLP - Los Angeles
              '
Noticed by              Catherine Schmidt, Esq.                                       NDS            Client           Deposition
Deposition of           Darryl Stacy                                     Case No.     Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD           4:15-cv-        202191      205625-10015       5-10-2018      1

                                                                         01696-YGR
           Description of Service                                         Quantity Units                    Price       Extended
         --Exhibit Copies                                                       228   Pages                0.55          125.40
              Documents printed on day of deposition.
 Payments
Date               Payment details                                       Cash                          Total cash      .Applied to
received
--       ····---- ····---                                        ---
                                                                     _r:~eipt no._    ------~       ---~~~_.!_        this invoice
                                                                                                                    ~---·----




     6-28-2018 Check 120674                                              C183049                     13,593.45         1,218.40
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 195 of 708




                      A – 72
                 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 196 of 708


                                                           I am an invoice.                                                     Page 1 of 2
             Network
             DEPOSITION SERVICES
                                                       Take me to your accounts
                                                         payable department.
                                                                                                   Invoice No.
                                                                                                   Invoice Date
                                                                                                                                AXXXXXXXX
                                                                                                                            May 15, 2018
Network Deposition Services, Inc.                                                                  Invoice Due             June 29, 2018
1800 Century Park East • Suite 150                                                                 Invoice Total                1,321.85
Los _-\ngeles, CA 90067
                                                                                                   Balance Due                      0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                    Loeb & Loeb LLP
                    Attention: Michelle M. La Mar, Esq.
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                  Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm          Loeb & Loeb LLP - Los Angeles
Noticed by             Michelle M. La Mar, Esq.                                         NDS              Client                Deposition
Deposition of          Hesham Hafez                                     Case No.        Job No.          Matter No.                   Date
                                                                       1 - - - - - - - + - = - - - - - - j i - - - - - · - - ---·-----..·--·-
Caption Christopher Slaight vs. Tala Consultancy Services, LTD          4:15-cv-            202190 205625-10015                   5-3-2018
        ___ ... -------·----~---------~------------·-·-----t-=0--'-1:;_69:.c:6_-Y...:.G=--R--'-+----f-----+- ---------···-·
         I2,e_sc_rifJtio_n of Service                                     Quantity Units                             Price ---·····-------
                                                                                                                                 Extended
      ...r   Transcript 0+1 - Business Litigation                                          176     Pages               5.75       1,012.00
         - Exhibit Copies                                                                    27    Pages               0.55          14.85
             Technology and Litigation Support Package                                        1                       35.00          35.00.
             Transcript Production, Processing and Binding                                    1                       40.00          40.00
             Delivery and Handling of Transcript Copy                                         1                       25.00          25.00
             Federal Code Compliance - Letters and Delivery                                   1                       20.00          20.00
         - Appearance fee - Half day                                                          1    Half day          175.00         175.00

Payments
Date              Payment details                                                    Cash                          Total cash     Applied to
received                                                                             receipt no.                      receipt    this invoice

       NOS invoice version 3.2   Detach lower poruon and return w1th your payment. Please do not staple check.
                                                                                                                                          ~

Payment From
                                                                                     Invoice No.                                AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
                                                                                     Invoice Date                           May15,2018
10100 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                            June 29, 2018


\Vrite notes or address changes below                                                Total Due                                         0.00


                                                                                     Amount Enclosed

                                                                                     Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 197 of 708


                                                                                                  Page 2 of 2
         Network
         DEPOSITION SERVICES
                                                                        Invoice No.
                                                                        Invoice Date
                                                                                                  AXXXXXXXX
                                                                                                 May 15, 2018
Network Deposition Services, Inc.                                       Invoice Due             June 29, 2018
See page 1 for contact information                                      Balance Due                        0.00

 Payments
Date                  Payment details                     Cash                          Total cash    Applied to
received                                                  receipt no.                      re~eipt   this invoice
  . . ·--··----------
                 -   -~-~--------                                                                           ----~--




  7-11-2018 Check 120783                                  C183212                      13,218.55     1,321.85
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 198 of 708




                      A – 73
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 199 of 708


                                                          I am an invoice.                                                  Page 1 of 2
        Network
        DEPOSITION SERVICES
                                                      Take me to your accounts
                                                        payable department.
                                                                                                  Invoice No.
                                                                                                  Invoice Date
                                                                                                                           AXXXXXXXX
                                                                                                                          May 21, 2018
Network Deposition Services, Inc.                                                                 Invoice Due            June 20, 2018
1ROO Century Park East • Suite 150                                                                Invoice Total               1,217.10
Los c\ngeles, CA 90067
                                                                                                  Balance Due                     0.00
Phone (310) 557-3400 • (800) 788-2021
fax (310) 557-3555 • networkdepo.com




                   Loeb & Loeb LLP
                   Attention: Catherine Schmidt, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   11ake checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
'---------------------------------1 to any invoice over 30 days old.
Noticing firm     Loeb & Loeb LLP - Los Angeles
Noticed by       Catherine Schmidt, Esq.                                                        NDS         Client            Deposition
Deposition of     Douglas Wong                                                       Case No.   Job No.     Matter No.              Dare
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                       4:15-cv-       203166 205625-1 0015       5-18-2018
                                                                                     01696-YGR
         - - - ·--- -·.   ------------------------~--·
                                                                                                       - - 1--
         Description of Service                                                        Quantity Units     . -----
                                                                                                                   Price       Extended
        -Transcript 0+1 - Business Litigation                                               95    Pages              5.25       498.75
        - Exhibit Copies                                                                     35   Pages              0.55         19.25
         Reporter Parking                                                                     1                                   30.00
         Technology and Litigation Support Package                                            1                     35.00         35.00
         Transcript Production, Processing and Binding                                        1                     40.00         40.00
         Delivery and Handling of Transcript Copy                                             1                     25.00         25.00
         Same business day expedite (11 0%)- Business Litigation                             95   Pages              5.78        549.10
         Federal Code Compliance - Letters and Delivery                                       1                     20.00         20.00




      NOS invoice version 3.2   Detach lower portton and return wtth your payment. Please do not staple check.

Payment From
                                                                                     Invoice No.                            AXXXXXXXX
Loeb & Loeb LLP
Attention: Catherine Schmidt, Esq.
                                                                                     Invoice Date                         May 21, 2018
10100 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                          June 20, 2018


\\!rite notes or address changes below                                               Total Due                                      0.00

                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 200 of 708

                                                                                                               Page 2 of 2
        Network
           DEPOSITION SERVICES
                                                                                  Invoice No.
                                                                                  Invoice Date
                                                                                                               AXXXXXXXX
                                                                                                           May 21,2018
Network Deposition Services, Inc.                                                 Invoice Due             June 20, 2018
Sec page 1 for contact information                                                Balance Due                         0.00

 Payments
Date           Payment details                                      Cash                          Total cash     Applied to
rccciYcd                                             ~   -   -~
                                                                  . receipt no.                      receipt    this invoice
  7-11-2018 Check 120783                                          C183212                        13,218.55       1,217.10
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 201 of 708




                      A – 74
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 202 of 708




                                 Wo:l6wide - 24 Hours
                                   (377 702-9580                                                                      DATE: 5/31/2017
                                                                                                                   INVOICE# 051517-601540
                                 wwvd      ortinq.com



    Bill To:              Michelle La Mar Esq.
                          Loeb & Loeb LLP
                          101 00 Santa Monica Boulevard
                          Suite 2200
                          Los Angeles, CA 90067



    CASE:                 Steven Heldt, et al v. Tata Consult.ancy Services, Ltd.
    WITNESS:              Jeevak Sharma (3086: Tata Consultancy Services)
    DATE:                 5/15/2017
    LOCATION:             Toronto, Canada

    Billing Comments /Instructions:




         SHIP VIA               Overnight                TERMS                    net 30



                               SERVICES                                  I # PAGES I QTY                     UNIT PRICE         AMOUNT
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                         Certified Transcnpt                                       189                            $3.95          $746.55
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              Exhibits- Scanned & Hyperlinked - B&W                                53                              $0.25         $13.25
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               Please make all checks payable to: TSG Reporting, Inc.      FederaliD # XX-XXXXXXX
                  Remit to: TSG Reporting, Inc. 747 Third Avenue, Suite 10A New York, NY 10017
         For prompt payment processing. please Include the invoice# with your check. All balances in arrears will be assessed a late fee of
                             1.5% per month. not to exceed the legal limit. If you have any questions. please call TSG.
                                                   THANK YOU FOR YOUR BUSINESS!
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 203 of 708




                      A – 75
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 204 of 708


                                                           I am an invoice.                                                  Page 1 of 2
                                                       Take me to your accounts                    Invoice No.               AXXXXXXXX
                                                         payable department.                       Invoice Date          Apri118, 2018
Network Deposition Services, Inc.                                                                  Invoice Due            May 24,2018
1800 Century Park East o Suite 150                                                                 Invoice Total                2,460.05
Los Angeles, CA 90067
                                                                                                   Balance Due                      0.00
Phone (310) 557-3400 o (800) 788-2021
Fax (310) 557-3555 o networkdepo.com




                    Loeb & Loeb LLP
                    Attention: Terry D. Garnett, Esq.
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                  Make checks payable to Network Deposition
                                                                                           Services, Inc. o Our tax ID #is XX-XXXXXXX. o
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm     Loeb & Loeb LLP - Los Angeles
Noticed by       Terry  D. Garnett, Esq.                                                         NDS        Client             Deposition
Deposition of     Dorothy  Krampen - Volume 1                                         Case No.   Job No.    Matter No.               Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                        4:15-cv-       201416 205625-1 0015        4-9-2018
                                                                                      01696-YGR
          Description of Service                                                        Quantity Units             Price        Extended
         ~Transcript       0+1 - Business Litigation                                        183    Pages             6.25      1 '143.75
         -Exhibit Copies                                                                     61    Pages             0.55         33.55
          Technology and Litigation Support Package                                            1                    35.00         35.00
          Transcript Production, Processing and Binding                                        1                    40.00         40.00
          Delivery and Handling of Transcript Copy                                             1                    25.00         25.00
          Federal Code Compliance - Letters and Delivery                                       1                    35.00         35.00
       '-Transcript video surcharge                                                         183    Pages             0.50         91.50
          Video Production and Processing                                                      1                    50.00         50.00
          Synchronized videotaped proceeding                                               5.75    Hours           175.00      1,006.25



       NOS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.


Payment From
                                                                                      Invoice No.                            AXXXXXXXX
Loeb & Loeb LLP
Attention: Terry D. Garnett, Esq.
                                                                                      Invoice Date                       April18, 2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                 Late After                            May 24, 2018


Write notes or address changes below                                                  Total Due                                     0.00


                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                      Network Deposition Services, Inc.
                                                                                      1800 Century Park East
                                                                                      Suite 150
                                                                                      Los Angeles, CA 90067
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 205 of 708


                                                                                                             Page 2 of 2
                                                                             Invoice No.                 AXXXXXXXX
                                                                             Invoice Date              April 18, 2018
Network Deposition Services, Inc.                                            Invoice Due               May 24,2018
See page 1 for contact information                                           Balance Due                         0.00

Payments
Date           Payment details                           Cash                                 Total cash        .Applied to
                                                    - - _!~r:c=i£.1:_110._
received                                                                                          receipt      this invoice
   ---------------                                                           -------~      ---------'-----   -·~-----·-···----




  6-28-2018 Check 120674                                    C183049                         13,593.45           2,460.05
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 206 of 708




                      A – 76
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 207 of 708


                                                           I am an invoice.                                                        Page 1 of 2
                                                       Take me to your accounts                      Invoice No.                   AXXXXXXXX
                                                         payable department.                         Invoice Date            April 18, 2018
Network Deposition Services, Inc.                                                                    Invoice Due                 May 24,2018
1800 Century Park East • Suite 150                                                                   Invoice Total                   2,194.70
Los Angeles, CA 90067
                                                                                                     Balance Due                          0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                    Loeb & Loeb LLP
                    Attention: Patrick N. Downes, Esq.
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                  Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Patrick N. Downes, Esq.                                                             NDS            Client           Deposition
Deposition of Taylor Russell -Volume 1                                                Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                        4:15-cv-           201414     205625-10015       4-5-2018
                                                                                      01696-YGR
          Description of Service                                                        Quantity Units                    Price       Extended
          Rough ASCII                                                                       120      Pages                1.50         180.00
        "Transcript 0+1 - Business Litigation                                               120      Pages                5.95         714.00
        ' Exhibit Copies                                                                    124      Pages                0.55          68.20
          Technology and Litigation Support Package                                              1                       35.00          35.00
          Transcript Production, Processing and Binding                                        1                         40.00          40.00
          Delivery and Handling of Transcript Copy                                               1                       25.00          25.00
          Federal Code Compliance - Letters and Delivery                                         1                       35.00          35.00
        · Transcript video surcharge                                                        120      Pages                0.50          60.00
          Video Production and Processing                                                        1                       50.00          50.00
          Synchronized videotaped proceeding                                                 4.5     Hours              175.00         787.50

       NDS invoice version 3.2   Detach lower portlon and return w1th your payment. Please do not staple check.

Payment From
                                                                                      Invoice No.                                  AXXXXXXXX
Loeb & Loeb LLP
Attention: Patrick N. Downes, Esq.
                                                                                      Invoice Date                               April 18, 2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                 Late After                                 May 24,2018


Write notes or address changes below                                                  Total Due                                           0.00

                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 208 of 708


                                                                                                              Page 2 of 2
                                                                                Invoice No.                AXXXXXXXX
                                                                                Invoice Date             April18, 2018
Network Deposition Services, Inc.                                               Invoice Due              May 24,2018
See page 1 for contact information                                              Balance Due                       0.00

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Patrick N. Downes, Esq.                                        NDS            Client          Deposition
Deposition of Taylor Russell -Volume 1                           Case No.       Job No.        Matter No.           Date
Caption Christopher Slaight vs. Tala Consultancy Setvices, LTD   4: 15-cv-         201414      205625-10015       4-5-2018
                                                                 01696-YGR
           Description of Service                                  Quantity Units                     Price      Extended
       ·-Appearance fee - Full day                                          1   Day               200.00          200.00
Payments
Date            Payment details                                  Cash                            Total cash     Applied to
received                                                         receipt no.                        receipt    this invoice
  6-28-2018 Check 120674                                         C183049                       13,593.45        2,194.70
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 209 of 708




                      A – 77
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 210 of 708


                                                           I am an invoice.                                                         Page 1 of 2
                                                       Take me to your accounts                      Invoice No.                    AXXXXXXXX
                                                         payable department.                         Invoice Date                   May 1, 2018
Network Deposition Services, Inc.                                                                    Invoice Due                  June 4, 2018
1800 Century Park East • Suite 150                                                                   Invoice Total                     1,864.05
Los .Angeles, C.A 90067
                                                                                                     Balance Due                           0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (31 0) 557-3555 • networkdepo.com




                    Loeb & Loeb LLP
                    Attention: Terry D. Garnett, Esq.
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                  Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           i\ service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Terry D. Garnett, Esq.                                                              NDS            Client            Deposition
Deposition of Bonnie Kottke                                                           Case No.       Job No.        Matter No.             Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                        4:15-cv-          201415      205625-1 0015      4-17-2018
                                                                                      01696-YGR
          Description of Service                                                        Quantity Units                     Price       Extended
       • Transcript 0+1 - Business Litigation                                               100      Pages                6.25          625.00
        -Exhibit Copies                                                                      21      Pages                 0.55          11.55
          Technology and Litigation Support Package                                              1                       35.00           35.00
          Transcript Production, Processing and Binding                                          1                       40.00           40.00
          Delivery and Handling of Transcript Copy                                               1                       25.00           25.00
          Federal Code Compliance - Letters and Delivery                                         1                       35.00           35.00
       -Transcript video surcharge                                                          100      Pages                 0.40          40.00
          Video Production and Processing                                                        1                       30.00           30.00
          Synchronized videotaped proceeding                                                 3.5     Hours              175.00          612.50
          Conference Room                                                                        1                                      120.00

       NOS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.

Payment From
                                                                                      Invoice No.                                   AXXXXXXXX
Loeb & Loeb LLP
Attention: Terry D. Garnett, Esq.
                                                                                      Invoice Date                                  May 1, 2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                 Late After                                   June 4, 2018


Write notes or address changes below                                                  Total Due                                            0.00


                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                      Network Deposition Services, Inc.
                                                                                      1800 Century Park East
                                                                                      Suite 150
                                                                                      Los Angeles, CA 90067
                      Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 211 of 708


                                                                                                                                                                    Page 2 of 2
                                                                                                                                     Invoice No.                    AXXXXXXXX
                                                                                                                                     Invoice Date                   May 1, 2018
Network Deposition Services, Inc.                                                                                                    Invoice Due                 June 4, 2018
See page 1 for contact information                                                                                                   Balance Due                                  0.00

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Terry D. Garnett, Esq.                                                                                              NDS            Client            Deposition
Deposition of    Bonnie Kottke                                                                                   Case No.            Job No.        Matter No.             Date
Caption Christopher Slaight vs. Tata Consultancy Services. LTD                                                   4:15 .. cv-            201415      205625-10015         ""   "'""' '"'""'"
                                                                                                                                                                         ~-1/-~U        10

                                                                                                                 01696-YGR
             Description of Service                                                                                 Quantity Units                         Price        Extended
        - Appearance fee - Half day                                                                                            1     Half day          265.00                 265.00
              Delivery- Exhibits                                                                                               1                         25.00                 25.00

Payments
Date                  Payment details                                                                            Cash                                 Total cash       Applied to
received
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  6-28-2018 Check 120674                                                                                         C183049                            13,593.45          1,864.05
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 212 of 708




                      A – 78
                 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 213 of 708


                                                         I am an invoice.                                                         Page 1 of 2
                                                     Take me to your accounts                       Invoice No.                   AXXXXXXXX
                                                       payable department.                          Invoice Date                  May 4, 2018
Network Deposition Services, Inc.                                                                   Invoice Due             June 29, 2018
1800 Century Park East • Suite 150                                                                  Invoice Total                4,040.30
Los Angeles, CA 90067
                                                                                                    Balance Due                          0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com



                   Loeb & Loeb LLP
                   Attention: Terry D. Garnett, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                  Make checks payable to Network Deposition
                                                                                          Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                          A service fee of 1.5% per month may be added
                                                                                          to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Terry D. Garnett, Esq.                                                             NDS            Client           Deposition
Deposition of Robert Scott -Volume 1                                                 Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                       4:15-cv-          201409      205625-10015      4-23-2018
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units                    Price       Extended
       ·-Transcript 0+1 - Business Litigation                                              341      Pages                5.75        1,960.75
       - Exhibit Copies                                                                    133      Pages                0.55          73.15
         Exhibits Bound Separately                                                            2 Volumes                 10.00          20.00
         Technology and Litigation Support Package                                              1                       35.00          35.00
         Transcript Production, Processing and Binding                                          1                       40.00          40.00
         Delivery and Handling of Transcript Copy                                               1                       25.00          25.00
         Federal Code Compliance - Letters and Delivery                                         1                       20.00          20.00
       -Transcript video surcharge                                                         341      Pages                0.40         136.40
         Video Production and Processing                                                        1                       30.00          30.00
         Synchronized videotaped proceeding                                                     8   Hours              175.00        1,400.00

      NOS invoice version 3.2   Detach lower portion and return w1th your payment. Please do not staple check.

Payment From
                                                                                     Invoice No.                                  AXXXXXXXX
Loeb & Loeb LLP
Attention: Terry D. Garnett, Esq.
                                                                                     Invoice Date                                 May 4, 2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                                 June 29, 2018


Write notes or address changes below                                                 Total Due                                           0.00

                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 214 of 708


                                                                                                           Page 2 of 2
                                                                                Invoice No.                AXXXXXXXX
                                                                                Invoice Date               May 4, 2018
Network Deposition Services, Inc.                                               Invoice Due              June 29, 2018
See page 1 for contact information                                              Balance Due                        0.00

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Terry  D. Garnett, Esq.                                        NDS            Client          Deposition
Deposition of    Robert   Scott- Volume 1                        Case No.       Job No.        Matter No.           Date
Caption Christopher Slaight vs. Tata Consultancy Services. LTO   4:15-cv-          201409      205625-1 0015    4-23-2018
                                                                 01696-YGR
           Description of Service                                  Quantity Units                     Price     Extended
       - Appearance fee - Full day                                          1   Day                300.00         300.00
Payments
Date            Payment details                                  Cash                            Total cash     Applied to
received                                                         receipt no.                        receipt    this invoice
  7-11-2018 Check 120783                                         C183212                       13,218.55       4,040.30
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 215 of 708




                      A – 79
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 216 of 708


                                                          I am an invoice.                                                         Page 1 of 2
                                                      Take me to your accounts                       Invoice No.               AXXXXXXXX
                                                        payable department.                          Invoice Date             May 17, 2018
Network Deposition Services, Inc.                                                                    Invoice Due             June 16, 2018
1800 Century Park East • Suite 150                                                                   Invoice Total                1,311.45
Los Angeles, CA 9006 7
                                                                                                     Balance Due                       0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                    Loeb & Loeb LLP
                    Attention: Michelle M. La Mar, Esq.
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                  Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           .-\ service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm     Loeb & Loeb LLP - Los Angeles
Noticed by       Michelle M. La Mar, Esq.                                                            NDS            Client           Deposition
Deposition of     Lekisha Yvette Bailey                                               Case No.       Job No.        Matter No.             Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTO                        4: 15-cv-       201413 205625-1 0015            5-15-2018
                                                                                      01696-YGR
          Description of Service                                                         Quantity Units             Price             Extended
          Rough ASCII                                                                       108      Pages                1.25         135.00
        -Transcript 0+1 - Business Litigation                                               108      Pages                5.25         567.00
        -Exhibit Copies                                                                      22      Pages                0.55          12.10
          Reporter Parking                                                                       1                                        3.75
          Technology and Litigation Support Package                                              1                       35.00          35.00
          Transcript Production, Processing and Binding                                          1                       40.00          40.00
          Delivery and Handling of Original Transcript                                           1                       25.00          25.00
          Delivery and Handling of Transcript Copy                                               1                       25.00          25.00
          3 business day expedite (80%)- Business Litigation                                108      Pages                4.20         453.60
          Self addressed stamped return envelope                                                 1                       15.00           15.00

       NDS invoice version 3.2   Detach lower port!on and return wtth your payment. Please do not staple check.
~   -------




Payment From
                                                                                      Invoice No.                                  AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
                                                                                      Invoice Date                               May 17,2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                 Late After                                 June 16, 2018


Write notes or address changes below                                                  Total Due                                           0.00

                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                      Network Deposition Services, Inc.
                                                                                      1800 Century Park East
                                                                                      Suite 150
                                                                                      Los Angeles, CA 90067
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 217 of 708


                                                                                                                Page 2 of 2
                                                                              Invoice No.                       AXXXXXXXX
                                                                              Invoice Date                  May 17, 2018
Network Deposition Services, Inc.                                             Invoice Due                  June 16, 2018
See page 1 for contact information                                            Balance Due                                  0.00

Payments
Date           Payment details                                  Cash                            Total cash         Applied to
received                                                        receipt no.                        receipt        this invoice
  7-11-2018 Check 120783                                        C183212                       13,218.55               207.35
  7-11-2018 Check 120783                                        C183212                       13,218.55             1,311.45
Refunds
Date AP        Refund details                                   $applied      Refunded        Total check          $of refund
created                                                         toAP          on check             amount           on     check
                                                                                                                     . - -·--- ---
---~-----~
                                     ------··--···-------~--   ---··--·---                  ----------------- - - -
  7-11-2018 Payment to us in error                                  207.35        44752           207.35              207.35
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 218 of 708




                      A – 80
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 219 of 708


                                                           I am an invoice.                                                    Page 1 of 2
                                                       Take me to your accounts                      Invoice No.            AXXXXXXXX
                                                         payable department.                         Invoice Date          May 25,2018
Network Deposition Services, Inc.                                                                    Invoice Due          June 24, 2018
1800 Century Park East • Suite 150                                                                   Invoice Total               938.55
Los Angeles, CA 90067
                                                                                                     Balance Due                   0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                    Loeb & Loeb LLP
                    Attention: Bernard R. Given, II, Esq.
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                            Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                            A service fee of 1.5% per month may be added
                                                                                            to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Bernard R. Given, II, Esq.                                                          NDS        Client          Deposition
Deposition of David Neumark, Ph.D.                                                    Case No.       Job No.    Matter No.           Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                        4: 15-cv-          202806 205625-10015      5-14-2018
                                                                                      01696-YGR
          Description of Service                                                        Quantity Units                 Price      Extended
        -Transcript 0+1 -Expert/Technical                                                     59     Pages            5.40         318.60
           Exhibit Copies                                                                      9     Pages            0.55           4.95
           Reporter Parking                                                                      1                                  35.00
          Technology and Litigation Support Package                                              1                   35.00          35.00
          Transcript Production, Processing and Binding                                          1                   40.00          40.00
           Delivery and Handling of Transcript Copy                                              1                   25.00          25.00
           Federal Code Compliance - Letters and Delivery                                        1                   20.00          20.00
          Conference Room                                                                        1                                 460.00




       NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.

Payment From
                                                                                      Invoice No.                              AXXXXXXXX
Loeb & Loeb LLP
Attention: Bernard R. Given, II, Esq.
101 00 Santa Monica Boulevard                                                         Invoice Date                           May 25, 2018
Suite 2200
Los Angeles, CA 90067                                                                 Late After                          June 24, 2018


Write notes or address changes below                                                  Total Due                                       0.00


                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 220 of 708


                                                                                                                      Page 2 of 2
                                                                                          Invoice No.                 AXXXXXXXX
                                                                                          Invoice Date             May 25,2018
Network Deposition Services, Inc.                                                         Invoice Due             June 24, 2018
See page 1 for contact information                                                        Balance Due                         0.00

Payments
Date           Payment details                                              Cash                         Total cash     Applied to
re_c~e~d~------------·------·-··-·-·--------~---~--~~~--~~~~--1-r__e__c_e~ip.._t~n__o_.    ___ ~---- ______rece~l?~- __Qli~_irwoice_
 7-27-2018 Check 121220                                          C183404                                 1,534.05          938.55
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 221 of 708




                      A – 81
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 222 of 708


                                                          I am an invoice.                                                        Page 1 of 2
                                                      Take me to your accounts                     Invoice No.                    AXXXXXXXX
                                                        payable department.                        Invoice Date             April 16, 2018
Network Deposition Services, Inc.                                                                  Invoice Due               May 24,2018
1800 Century Park East • Suite 150                                                                 Invoice Total                 4,264.30
Los .Angeles, C.A 90067
                                                                                                   Balance Due                           0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                    Loeb & Loeb LLP
                    Attention: Michelle M. La Mar, Esq.
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                  Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           .A service fee of 1.5% per month may be added
L-------------------------------J to any invoice over 30 days old.
Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Michelle M. La Mar, Esq.                                                        NDS              Client            Deposition
Deposition of    Donna Gomez                                                          Case No.   Job No.          Matter No.              Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                        4:15-cv-       201461       205625-1 0015      4-13-2018
                                                                                      01696-YGR
          Description of Service                                                        Quantity Units                   Price       Extended
       - Transcript 0+1 - Business Litigation                                               320    Pages                 5.75       1,840.00
       _, Exhibit Copies                                                                    126    Pages                 0.55          69.30
          Exhibits Bound Separately                                                            2   Volumes             10.00           20.00
          Technology and Litigation Support Package                                            1                       35.00           35.00
          Transcript Production, Processing and Binding                                        1                       40.00           40.00
          Delivery and Handling of Transcript Copy                                             1                       25.00           25.00
          Next business day expedite (100%)- Business Litigation                            320    Pages                 5.75       1,840.00
          Federal Code Compliance - Letters and Delivery                                       1                       35.00           35.00
       -Transcript video surcharge                                                          320    Pages                 0.50         160.00
       -Appearance fee- Full day                                                               1   Day                200.00          200.00

       NOS invoice version 3.2   Detach lower portion and return w1th your payment. Please do not staple check.


Payment From
                                                                                      Invoice No.                                 AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
                                                                                      Invoice Date                           April16, 2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                 Late After                                May 24, 2018


Write notes or address changes below                                                  Total Due                                          0.00


                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                      Network Deposition Services, Inc.
                                                                                      1800 Century Park East
                                                                                      Suite 150
                                                                                      Los Angeles, CA 90067
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 223 of 708


                                                                                                  Page 2 of 2
                                                                      Invoice No.                 AXXXXXXXX
                                                                      Invoice Date           April 16, 2018
Network Deposition Services, Inc.                                     Invoice Due             May 24,2018
See page 1 for contact information                                    Balance Due                        0.00

Payments
Date           Payment details                          Cash                         Total cash     Applied to
received                                                receipt no.                     receipt    this invoice
    8-6-2018 Check 121342                               C183554                      4,264.30       4,264.30
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 224 of 708



 ~~~Network
                                                           I am an invoice.                                                       Page 1 of 2
                                                       Take me to your accounts                      Invoice No.                  AXXXXXXXX
 ~~~-~   DEPOSITION SERVICES                             payable department.                         Invoice Date               April 16, 2018
Network Deposition Services, Inc.                                                                    Invoice Due                May 16, 2018
1800 Century Park East • Suite 150                                                                   Invoice Total                    3,677.76
Los Angeles, CA. 90067
                                                                                                     Balance Due                      3,677.76
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo. om




                    Loeb & Loeb LLF
                    Attention: Michele M. La Mar, Esq.
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                            Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                            A service fee of 1.5% per month may be added
L..------------+--------------------' to any invoice over 30 days old.
Noticing firm    Loeb & Loeb LLP Los Angeles
Noticed by       Michelle  M. LaMa, Esq.                                                             NDS           Client           Deposition
Deposition of Donna Gomez                                                             Case No.       Job No.       Matter No.            Date
Caption Christopher Slaight vs. Tata :onsultancy Services, LTO                        4:15-cv-          201461     205625-10015       4-13-2018
                                                                                      01696-YGR
          Description of Service                                                        Quantity Units                   Price       Extended
          Video Production and Processing                                                        1                      50.00           50.00
           Synchronized videotaped proceeding                                              8.25      Hours            175.00         1,443.75
           On-site photocopying                                                                  1                   1,800.00        1,800.00
             Printing, delivery and binding of documents requested before
             start of deposition
           Delivery - Videography                                                                                       20.00           20.00
Date              Description                                                           Quantity Units                   Price       Extended
  5-17-2018 Finance charge -           11   month                                              1                                        49.71
  6-17-2018 Finance charge- 2 months                                                             1                                      50.45
  7-17-2018 Finance charge-            ~months                                                 1                                        51.21

       NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.
                                 ----------------------------


Payment From
                                                                                      Invoice No.                                 AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
101 00 Santa Monica Boulevard                                                         Invoice Date                              April16, 2018
Suite 2200
Los Angeles, CA 90067                                                                 Late After                                May 16, 2018


WI rite notes or address change below                                                 Total Due                                      3,677.76


                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 225 of 708


 ~~~                                                                                    Page 2 of 2

 ~-~
 ~ ~
           Network
           DEPOSITION   SERVICE~
                                                                    Invoice No.
                                                                    Invoice Date
                                                                                        AXXXXXXXX
                                                                                      April 16, 2018
Network Deposition Services, Inc.                                   Invoice Due        May 16,2018
See page 1 for contact information                                  Balance Due             3,677.76

Date           Description                                Quantity Units           Price   Extended
  8-17-2018 Finance charge- 4 months                           1                              51.98
  9-17-2018 Finance charge - 5 months                          1                              52.76
 10-17-2018 Finance charge- 6 months                           1                              53.55
 11-17-2018 Finance charge - 7 months                           1                             54.35




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                                     _,
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 226 of 708




                      A – 82
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 227 of 708


                                                          I am an invoice.                                                         Page 1 of 2
                                                      Take me to your accounts                       Invoice No.                   AXXXXXXXX
                                                        payable department.                          Invoice Date           March 17, 2017
Network Deposition Services, Inc.                                                                    Invoice Due                   May 1, 2017
1800 Century Park East • Suite 150                                                                   Invoice Total                    3,524.57
Los Angeles, CA 90067
                                                                                                     Balance Due                          0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (31 0) 557-3555 • networkdepo.com



                    Loeb & Loeb LLP
                    Attention: Patrick N. Downes, Esq.
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                  Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
L------------------------------1 to any invoice over 30 days old.
Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Patrick N. Downes, Esq.                                                             NDS            Client           Deposition
Deposition of David Neumark, Ph.D. - Volume 1                                         Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                        4:15-cv-          190350      205625-10015      3-15-2017
                                                                                      01696-YGR
          Description of Service                                                        Quantity Units                    Price       Extended
          Rough ASCII                                                                       202      Pages                1.25         252.50
      ·-Transcript 0+1 -Expert/Technical                                                    202      Pages                4.90         989.80
      --Exhibit Copies                                                                      168      Pages                0.45          75.60
       -color Exhibit Copies                                                                   4     Pages                1.00            4.00
          Technology and Litigation Support Package                                              1                       30.00          30.00
          Transcript Production, Processing and Binding                                          1                       40.00          40.00
          Delivery and Handling of Transcripts                                                   1                       20.00          20.00
          2 business day expedite (90%)- Expert/Technical                                   202      Pages                4.41         890.82
      --- Transcript video surcharge                                                        202      Pages                0.30          60.60
          Video Production and Processing                                                        1                       30.00          30.00

       NDS invoice version 3.2   Detach lower portlon and return wtth your payment. Please do not staple check.

Payment From
                                                                                      Invoice No.                                  AXXXXXXXX
Loeb & Loeb LLP
Attention: Patrick N. Downes, Esq.
                                                                                      Invoice Date                          March 17, 2017
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                 Late After                                   May1,2017


Write notes or address changes below                                                  Total Due                                           0.00


                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                      Network Deposition Services, Inc.
                                                                                      1800 Century Park East
                                                                                      Suite 150
                                                                                      Los Angeles, CA 90067
                 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 228 of 708


                                                                                                                                                           Page 2 of 2
                                                                                                                Invoice No.                           AXXXXXXXX
                                                                                                                Invoice Date                       March 17, 2017
Network Deposition Services, Inc.                                                                               Invoice Due                               May 1, 2017
See page 1 for contact information                                                                              Balance Due                                       0.00

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Patrick N. Downes, Esq.                                                                        NDS                  Client                    Deposition
Deposition of David Neumark, Ph.D. -Volume 1                                                    Case No.        Job No.              Matter No.                     Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                                  4:15-cv-               190350        205625-1 0015                3-15-2017
                                                                                                01696-YGR
           Description of Service                                                                  Quantity Units                                Price           Extended
           Synchronized videotaped proceeding 2 hour minimum                                               1                                395.00                 395.00
           Synchronized videotaped proceeding additional hours                                         4.75     Hours                       155.00                 736.25
 Payments
Date             Payment details                                                                Cash                                     Total cash           Applied to
received                                                                                        _r_e<:~~~-()~_ -----                  - ____!~<:_e!p_t_ ------··-···--·-invoice
                                                                                                                                                            this
        ------     -~--
                          ------- ·-·------   ··----~--~-~----------------------   ----------                          ···------·---·                                         ---
    5-3-2017 Check 112898                                                                        C172056                                 3,524.57               3,524.57
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 229 of 708




                      A – 83
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 230 of 708


                                                          I am an invoice.                                                         Page 1 of 2
                                                      Take me to your accounts                       Invoice No.                   AXXXXXXXX
                                                        payable department.                          Invoice Date            June 15, 2017
Network Deposition Services, Inc.                                                                    Invoice Due                 July 17, 2017
1800 Century Park East • Suite 150                                                                   Invoice Total                   5,266.67
Los Angeles, CA 90067
                                                                                                     Balance Due                     5,266.67
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com                                                       Payment Processing Information
. . . . . - - - - - - - - - - - - - - - - - - - - - - - - - - . C A S E DISMISSED 10/27/17.


                    Loeb & Loeb LLP
                    Attention: Davonna Brockman
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                            Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                            A service fee of 1.5% per month may be added
L---------------------------------1 to any invoice over 30 days old.
 Noticing firm    Loeb & Loeb LLP - Los Angeles
 Noticed by       Michelle M. La Mar, Esq.                                                           NDS            Client           Deposition
 Deposition of    Salah   Bedeiwi -Volume 1                                           Case No.       Job No.        Matter No.            Date
 Caption Christopher Slaight vs. Tata Consultancy Services, LTO                       4:15-cv-          192675      205625-10015       6-7-2017
                                                                                      01696-YGR
          Description of Service                                                        Quantity Units                    Price       Extended
        -Transcript 0+1 - Business Litigation                                               286      Pages                4.75       1,358.50
        - Exhibit Copies                                                                     60      Pages                0.45          27.00
        -Color Exhibit Copies                                                                24      Pages                1.00          24.00
          Waiting                                                                            0.9     Hours               45.00          40.50
          Technology and Litigation Support Package                                              1                       30.00          30.00
          Transcript Production, Processing and Binding                                          1                       40.00          40.00
          Delivery and Handling of Transcripts                                                   1                       20.00          20.00
          6 business day expedite (50%)- Business Litigation                                286      Pages                2.38         680.68
        ..._Transcript video surcharge                                                      286      Pages                0.30          85.80
          Video Production and Processing                                                        1                       30.00          30.00

       NOS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.

Payment From
                                                                                      Invoice No.                                  AXXXXXXXX
Loeb & Loeb LLP
Attention: Davonna Brockman
                                                                                      Invoice Date                               June 15, 2017
10100 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                 Late After                                 July 17, 2017


Write notes or address changes below                                                  Total Due                                       5,266.67


                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                      Network Deposition Services, Inc.
                                                                                      1800 Century Park East
                                                                                      Suite 150
                                                                                      Los Angeles, CA 90067
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 231 of 708


                                                                                                             Page 2 of 2
                                                                                Invoice No.                AXXXXXXXX
                                                                                Invoice Date            June 15, 2017
Network Deposition Services, Inc.                                               Invoice Due              July 17, 2017
See page 1 for contact information                                              Balance Due                   5,266.67

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Michelle M. La Mar, Esq.                                       NDS            Client         Deposition
Deposition of Salah Bedeiwi -Volume 1                            Case No.       Job No.        Matter No.          Date
Caption Christopher S!aight vs. Tata Consultancy Services, LTD   4:15-cv-          192675 205625-10015           6-7-2017
                                                                 01696-YGR
          Description of Service                                  Quantity Units                     Price      Extended
          Synchronized videotaped proceeding 2 hour minimum                 1                     395.00         395.00
          Synchronized videotaped proceeding additional hours           4       Hours              155.00        620.00
       -Court reporter hourly fee                                      5.5      Hours               65.00        357.50
          Conference Room                                                   1                                    380.00
Date           Description                                        Quantity Units                     Price      Extended
  7-18-2017 Finance charge- 1 month                                         1                                     61.33
  8-18-2017 Finance charge - 2 months                                       1                                     62.25
  9-18-2017 Finance charge - 3 months                                       1                                     63.19
 10-18-2017 Finance charge - 4 months                                       1                                     64.14
 11-18-2017 Finance charge- 5 months                                        1                                     65.10
 12-18-2017 Finance charge - 6 months                                       1                                     66.07
  1-18-2018 Finance charge - 7 months                                       1                                     67.07
  2-18-2018 Finance charge - 8 months                                       1                                     68.07
  3-18-2018 Finance charge - 9 months                                       1                                     69.09
  4-18-2018 Finance charge -10 months                                       1                                     70.13
  5-18-2018 Finance charge - 11 months                                      1                                     71.18
  6-18-2018 Finance charge - 12 months                                      1                                     72.25
  7-18-2018 Finance charge -13 months                                       1                                     73.33
  8-18-2018 Finance charge - 14 months                                      1                                     74.43
  9-18-2018 Finance charge- 15 months                                       1                                     75.55
 10-18-2018 Finance charge -16 months                                       1                                     76.68
 11-18-2018 Finance charge -17 months                                       1                                     77.83
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 232 of 708




                      A – 84
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 233 of 708


                                                           I am an invoice.                                                        Page 1 of 2
                                                       Take me to your accounts                      Invoice No.                   AXXXXXXXX
                                                         payable department.                         Invoice Date                 July 7, 2017
Network Deposition Services, Inc.                                                                    Invoice Due            August 8, 2017
1800 Century Park East • Suite 150                                                                   Invoice Total                    3,206.00
Los Angeles, CA 90067
                                                                                                     Balance Due                          0.00
Phone (310) 557-3400 • (800) 788-2021
Fax (31 0) 557-3555 • networkdepo.com




                    Loeb & Loeb LLP
                    Attention: Patrick N. Downes, Esq.
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                  Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Patrick N. Downes, Esq.                                                             NDS            Client           Deposition
Deposition of Steven Webber                                                           Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                        4:15-cv-          192669      205625-10015       6-9-2017
                                                                                      01696-YGR
          Description of Service                                                        Quantity Units                    Price       Extended
       - Transcript 0+1 - Business Litigation                                               235      Pages                4.75       1,116.25
          Exhibit Copies                                                                    105      Pages                0.45          47.25
          After 5 pm                                                                         0.3     Hours               45.00           13.50
          Waiting                                                                            1.3     Hours               45.00          58.50
          Technology and Litigation Support Package                                              1                       30.00          30.00
          Transcript Production, Processing and Binding                                          1                       40.00          40.00
          Delivery and Handling of Transcript Copy                                               1                       20.00          20.00
          Federal Code Compliance - Letters and Delivery                                         1                       20.00          20.00
          Transcript video surcharge                                                        235      Pages                0.30          70.50
          Video Production and Processing                                                        1                       30.00           30.00

       NOS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.

Payment From
                                                                                      Invoice No.                                  AXXXXXXXX
Loeb & Loeb LLP
Attention: Patrick N. Downes, Esq.
                                                                                      Invoice Date                                 July 7, 2017
10100 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                 Late After                             August 8, 2017


Write notes or address changes below                                                  Total Due                                           0.00

                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                      Network Deposition Services, Inc.
                                                                                      1800 Century Park East
                                                                                      Suite 150
                                                                                      Los Angeles, CA 90067
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 234 of 708


                                                                                                              Page 2 of 2
                                                                                Invoice No.                   AXXXXXXXX
                                                                                Invoice Date                  July 7, 2017
Network Deposition Services, Inc.                                               Invoice Due            August 8, 2017
See page 1 for contact information                                              Balance Due                           0.00

Noticing firm       Loeb & Loeb LLP - Los Angeles
Noticed by          Patrick N. Downes, Esq.                                     NDS            Client           Deposition
Deposition of       Steven Webber                                Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTO   4:15-cv-       192669 205625-10015                6-9-2017
                                                                 01696-YGR
           Description of Service                                  Quantity Units             Price               Extended
           Synchronized videotaped proceeding 2 hour minimum                1                     395.00           395.00
           Synchronized videotaped proceeding additional hours            7     Hours              155.00        1,085.00
           Conference Room                                                  1                                      280.00

 Payments
Date            Payment details                                  Cash                            Total cash      .Applied to
received                                                         receipt no.                        receipt     this invoice
  7-28-2017 Check 114334                                         C173670                        4,814.12         3,206.00
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 235 of 708




                      A – 85
                 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 236 of 708


                                                          I am an invoice.                                                         Page 1 of 2
        Network
          DEPOSITION SERVICES
                                                      Take me to your accounts
                                                        payable department.
                                                                                                    Invoice No.
                                                                                                    Invoice Date
                                                                                                                                  AXXXXXXXX
                                                                                                                                April 13, 2018
Network Deposition Services, Inc.                                                                   Invoice Due                 May 16, 2018
1800 Century Park East • Suite 150                                                                  Invoice Total                     4,459.69
Los Angeles, CA 90067
                                                                                                    Balance Due                       4,459.69
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                   Loeb & Loeb LLP
                   Attention: Michelle M. La Mar, Esq.
                   101 00 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Michelle M. La Mar, Esq.                                                           NDS            Client           Deposition
Deposition of PauiP.Devenny                                                          Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                       4:15-cv-          201463      205625-1 0015       4-2-2018
                                                                                     01696-YGR
          Description of Service                                                       Quantity Units                     Price       Extended
          Rough ASCII                                                                      277      Pages                 1.50         415.50
       -Transcript 0+1 - Business Litigation                                               277      Pages                 5.50       1,523.50
       - Exhibit Copies                                                                      74     Pages                 0.55          40.70
       -Color Exhibit Copies                                                                 19     Pages                 1.50          28.50
          Technology and Litigation Support Package                                             1                       35.00           35.00
          Transcript Production, Processing and Binding                                         1                       40.00           40.00
          Delivery and Handling of Transcript Copy                                              1                       25.00           25.00
      ~   Transcript video surcharge                                                       277      Pages                 0.40         110.80
          Video Production and Processing                                                       1                       30.00           30.00
          Synchronized videotaped proceeding 2 hour minimum                                     1                      395.00          395.00

      NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.
                                                                                                                                      - - >€
Payment From
                                                                                     Invoice No.                                   AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
10100 Santa Monica Boulevard                                                         Invoice Date                               April 13, 2018
Suite 2200
Los Angeles, CA 90067                                                                Late After                                 May 16, 2018


Write notes or address changes below                                                 Total Due                                       4,459.69


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 237 of 708


                                                                                                                 Page 2 of 2
        Network
        DEPOSITION SERVICES
                                                                                   Invoice No.
                                                                                   Invoice Date
                                                                                                             AXXXXXXXX
                                                                                                           April13, 2018
Network Deposition Services, Inc.                                                  Invoice Due             May 16, 2018
See page 1 for contact information                                                 Balance Due                  4,459.69

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Michelle M. La Mar, Esq.                                          NDS            Client          Deposition
Deposition of PauiP.Devenny                                         Case No.       Job No.        Matter No.           Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD      4:15-cv-          201463      205625-10015       4-2-2018
                                                                    01696-YGR
          Description of Service                                     Quantity Units                     Price       Extended
          Synchronized videotaped proceeding additional hours              4       Hours             155.00          620.00
       -Appearance fee- Full day                                               1   Day               300.00          300.00
       - Exhibit Copies                                                  826       Pages                0.55         454.30
           Documents printed at depo location for Loeb & Loeb LLP
Date           Description                                           Quantity Units                     Price       Extended
  5-17-2018 Finance charge -1 month                                            1                                      60.27
  6-17-2018 Finance charge - 2 months                                          1                                      61.18
  7-17-2018 Finance charge - 3 months                                          1                                      62.10
  8-17-2018 Finance charge - 4 months                                          1                                      63.03
  9-17-2018 Finance charge - 5 months                                          1                                      63.97
 10-17-2018 Finance charge - 6 months                                          1                                      64.93
 11-17-2018 Finance charge - 7 months                                          1                                      65.91
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 238 of 708




                      A – 86
                 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 239 of 708


                                                          I am an invoice.                                                    Page 1 of 2
                                                      Take me to your accounts                      Invoice No.               AXXXXXXXX
                                                        payable department.                         Invoice Date     October 16, 2018
Network Deposition Services, Inc.                                                                   Invoice Due     November 15, 2018
1800 Century Park East • Suite 150                                                                  Invoice Total            1,780.31
Los Angeles, CA. 90067
Phone (310) 557-3400 • (800) 788-2021                                                               Balance Due                 1,780.31
Fax (310) 557-3555 • networkdepo.com




                   Loeb & Loeb LLP
                   Attention: Terry D. Garnett, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Terry D. Garnett, Esq.                                                             NDS        Client          Deposition
Deposition of Chad Cooper                                                            Case No.       Job No.    Matter No.           Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                       4:15-cv-           207062 205625-10015     10-10-2018
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units                 Price      Extended
       - Transcript 0+1 - Business Litigation                                              111      Pages             5.25        582.75
        -Exhibit Copies                                                                      64 Pages                 0.65         41.60
       - Color Exhibit Copies                                                                12     Pages             1.50         18.00
         Waiting                                                                                1   Hours            45.00         45.00
         Reporter Parking                                                                       1                                  14.50
         Technology and Litigation Support Package                                              1                    50.00         50.00
         Transcript Production, Processing and Binding                                          1                    40.00         40.00
         Delivery and Handling of Transcripts                                                   1                    25.00         25.00
          5 business day expedite (60%)- Business Litigation                               111      Pages             3.15        349.65



      NDS invoice version 3.2   Detach lower portion and return w1th your payment. Please do not staple check.
)<-

Payment From
                                                                                     Invoice No.                              AXXXXXXXX
Loeb & Loeb LLP
Attention: Terry D. Garnett, Esq.
                                                                                     Invoice Date                     October 16, 2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                     November 15, 2018


Write notes or address changes below                                                 Total Due                                  1,780.31


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 240 of 708


                                                                                                           Page 2 of 2
                                                                                Invoice No.                AXXXXXXXX
                                                                                Invoice Date      October 16, 2018
Network Deposition Services, Inc.                                               Invoice Due    November 15, 2018
See page 1 for contact information                                              Balance Due                   1,780.31

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Terry D. Garnett, Esq.                                         NDS        Client           Deposition
Deposition of Chad Cooper                                        Case No.       Job No.    Matter No.            Date
                                                                                                                     -tn ""'n-to
Caption Christopher Slaight vs. Tata Consultancy Services, LTD   4:15-cv-           207062 205625-1 0015     .jf'\
                                                                                                             IV-tV-LU 10

                                                                 01696-YGR
          Description of Service                                   Quanti tv Units                Price       Extended
          Delivery- Exhibits                                                1                    30.00               30.00
           Expedited delivery of exhibits from reporter to NOS
          Conference Room                                                   1                                    295.00
       - Court reporter hourly fee                                      3.5     Hours            75.00           262.50
Date           Description                                         Quantity Units                 Price       Extended
 11-16-2018 Finance charge - 1 month                                        1                                        26.31
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 241 of 708




                      A – 87
                 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 242 of 708


                                                          I am an invoice.                                                    Page 1 of 2
                                                      Take me to your accounts                      Invoice No.               AXXXXXXXX
                                                        payable department.                         Invoice Date     October 19, 2018
Network Deposition Services, Inc.                                                                   Invoice Due     November 18, 2018
1800 Century Park East • Suite 150                                                                  Invoice Total            2,066.59
Los Angeles, CA 90067
Phone (310) 557-3400 • (800) 788-2021                                                               Balance Due                 2,066.59
Fax (310) 557-3555 • networkdepo.com



                   Loeb & Loeb LLP
                   Attention: Michelle M. La Mar, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing flrm    Loeb & Loeb LLP - Los Angeles
Noticed by       Terry D. Garnett, Esq.                                                             NDS        Client          Deposition
Deposition of Speak Williams                                                         Case No.       Job No.    Matter No.           Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                       4:15-cv-           207058 205625-10015     10-16-2018
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units                 Price      Extended
        'Transcript 0+1 - Business Litigation                                              152      Pages             5.50        836.00
       ' Exhibit Copies                                                                    117      Pages             0.65         76.05
         Reporter Parking                                                                       1                                  13.00
         Technology and Litigation Support Package                                              1                    50.00         50.00
         Transcript Production, Processing and Binding                                          1                    40.00         40.00
         Delivery and Handling of Original Transcript                                           1                    55.00         55.00
         Delivery and Handling of Transcript Copy                                               1                    25.00         25.00
         Next business day expedite (1 00%)- Business Litigation                           152      Pages             5.50        836.00
       "-Appearance fee- Full day                                                               1   Day              75.00         75.00



      NDS invoice version 3.2   Detach lower portion and return w1th your payment. Please do not staple check.

Payment From
                                                                                     Invoice No.                              AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
                                                                                     Invoice Date                     October 19,2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                     November 18, 2018


Write notes or address changes below                                                 Total Due                                  2,066.59


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 243 of 708


                                                                                                         Page 2 of 2
                                                                                 Invoice No.             AXXXXXXXX
                                                                                 Invoice Date       October 19, 2018
Network Deposition Services, Inc.                                                Invoice Due       November 18, 2018
See page 1 for contact information                                               Balance Due                2,066.59

Noticing firm     Loeb & Loeb LLP - Los Angeles
Noticed by        Terry D. Garnett, Esq.                                         NDS            Client        Deposition
Deposition of     Speak Williams                                  Case No.       Job No.        Matter No.         Date
Caption  Christopher Slaight vs. Tala Consultancy Services, LTD   4:15-cv-       207058 205625-1 00 15        10-16-2018
                                                                  01696-YGR
         Description of Service                                     Quantity Units             Price           Extended
          Delivery - Exhibits                                                1                       30.00       30.00
           Expedited delivery of exhibits from reporter to NXDS
Date           Description                                         Quantity Units                     Price    Extended
 11-19-2018 Finance charge - 1 month                                         1                                   30.54
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 244 of 708




                      A – 88
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 245 of 708


                                                            I am an invoice.                                                              Page 1 of 2
                                                        Take me to your accounts                            Invoice No.                   AXXXXXXXX
                                                          payable department.                               Invoice Date        October 22, 2018
Network Deposition Services, Inc.                                                                           Invoice Due        November 21,2018
1800 Century Park East • Suite 150                                                                          Invoice Total               1,542.06
Los Angeles, CA 90067
Phone (310) 557-3400 • (800) 788-2021                                                                       Balance Due                      1,542.06
Fax (310) 557-3555 • networkdepo.com




                    Loeb & Loeb LLP
                    Attention: Davonna Brockman
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                         Make checks payable to Network Deposition
                                                                                                  Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                                  A service fee of 1.5% per month may be added
                                                                                                  to any invoice over 30 days old.

Noticing firm     Loeb & Loeb LLP - Los Angeles
Noticed by       Terry  D. Garnett, Esq.                                                                    NDS            Client           Deposition
Deposition of    George    Boguslaw                                                         Case No.        Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTD                              4:15-cv-           207061      205625-10015      10-18-2018
                                                                                            01696-YGR
          Description of Service                                                               Quantity Units                     Price      Extended
         ~Transcript        0+1 -Business Litigation                                               124      Pages                 5.25         651.00
        -Exhibit Copies                                                                                95   Pages                 0.65          61.75
          Technology and Litigation Support Package                                                     1                       50.00           50.00
          Transcript Production, Processing and Binding                                                 1                       40.00           40.00
          Delivery and Handling of Transcripts                                                          1                       25.00           25.00
          2 business day expedite (90%)- Business Litigation                                       124      Pages                 4.73         586.52
          Delivery - Exhibits                                                                           1                       30.00           30.00
             Expedited delivery of exhibits from reporter to NDS
        '"Appearance fee - Half day                                                                     1   Half day            75.00           75.00
!=Ja~e_____ !?~~cr_ip_!ion _____________ - - - - - - - - - - - - - - - - - - - - - - - - r - - - __Q~f1tity Units      ________P_n_-c_e_I--__E-~t~_nd<:d

       NOS 1nvoice version 3.2   Detach lower portion and return Wlth your payment. Please do not staple check.

Payment From
                                                                                            Invoice No.                                   AXXXXXXXX
Loeb & Loeb LLP
Attention: Davonna Brockman
                                                                                            Invoice Date                          October 22, 2018
10100 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                       Late After                         November 21, 2018


Write notes or address changes below                                                        Total Due                                        1,542.06

                                                                                            Amount Enclosed

                                                                                           Mail Payment To
                                                                                           Network Deposition Services, Inc.
                                                                                           1800 Century Park East
                                                                                           Suite 150
                                                                                           Los Angeles, CA 90067
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 246 of 708


                                                                                       Page 2 of 2
                                                                  Invoice No.          AXXXXXXXX
                                                                  Invoice Date    October 22, 2018
Network Deposition Services, Inc.                                 Invoice Due    November 21, 2018
See page 1 for contact information                                Balance Due             1,542.06

Date           Description                               Quantity Units            Price   Extended
 11-22-2018 Finance charge - 1 month                          1                              22.79
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 247 of 708




                      A – 89
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 248 of 708


                                                           I am an invoice.                                                         Page 1 of 2
                                                       Take me to your accounts                      Invoice No.                    AXXXXXXXX
                                                         payable department.                         Invoice Date        October 22, 2018
Network Deposition Services, Inc.                                                                    Invoice Due        November 21 1 2018
1800 Century Park East • Suite 150                                                                   Invoice Total               2,306.59
Los Angeles, CA 90067
Phone (310) 557-3400 • (800) 788-2021
                                                                                                     Balance Due                      2,306.59
Fax (310) 557-3555 • networkdepo.com



                    Loeb & Loeb LLP
                    Attention: Davonna Brockman
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                            Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                            A service fee of 1.5% per month may be added
                                                                                            to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Terry D. Garnett, Esq.                                                              NDS            Client           Deposition
Deposition of James Timothy Jordan                                                    Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTD                        4:15-cv-          207059      205625-1 0015     10-19-2018
                                                                                      01696-YGR
          Description of Service                                                        Quantity Units                     Price       Extended
        -Transcript 0+1 - Business Litigation                                               179      Pages                 5.25         939.75
        -Exhibit Copies                                                                     120      Pages                 0.65          78.00
          Technology and Litigation Support Package                                              1                       50.00           50.00
          Transcript Production, Processing and Binding                                          1                       40.00           40.00
          Delivery and Handling of Transcript Copy                                               1                       25.00           25.00
          Next business day expedite (100%)- Business Litigation                            179      Pages                 5.25         939.75
          Federal Code Compliance- Letters and Delivery                                          1                       20.00           20.00
          Delivery - Exhibits                                                                    1                       30.00           30.00
             Expedited delivery of exhibits from reporter to NOS
       -Appearance fee- Full day                                                                 1   Day                150.00          150.00

       NDS invo1ce version 3.2   Detach lower portion and return with your payment. Please do not staple check.

Payment From
                                                                                      Invoice No.                                   AXXXXXXXX
Loeb & Loeb LLP
Attention: Davonna Brockman
                                                                                      Invoice Date                         October 22, 2018
10100 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                 Late After                        November21, 2018


Write notes or address changes below                                                  Total Due                                       2,306.59


                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 249 of 708


                                                                                        Page 2 of 2
                                                                   Invoice No.          AXXXXXXXX
                                                                   Invoice Date    October 22, 2018
Network Deposition Services, Inc.                                  Invoice Due    November 21, 2018
See page 1 for contact information                                 Balance Due             2,306.59

Date           Description                                Quantity Units            Price   Extended
 11-22-2018 Finance charge - 1 month                           1                              34.09
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 250 of 708




                      A – 90
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 251 of 708


                                                          I am an invoice.                                                         Page 1 of 2
                                                      Take me to your accounts                       Invoice No.             AXXXXXXXX
                                                        payable department.                          Invoice Date       October 26, 2018
Network Deposition Services, Inc.                                                                    Invoice Due       November 25, 2018
1800 Century Park East • Suite 150                                                                   Invoice Total              1,861.71
Los .Angeles, C.A 90067
Phone (310) 557-3400 • (800) 788-2021                                                                Balance Due                     1,861.71
Fax (310) 557-3555 • networkdepo.com




                    Loeb & Loeb LLP
                    Attention: Davonna Brockman
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                            Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                            A service fee of 1.5% per month may be added
                                                                                            to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Terry D. Garnett, Esq.                                                              NDS            Client          Deposition
Deposition of John Goodwin                                                            Case No.       Job No.        Matter No.           Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                        4: 15-cv-         207060      205625-10015     10-22-2018
                                                                                      01696-YGR
           Description of Service                                                       Quantity Units                    Price       Extended
        -Transcript 0+1 - Business Litigation                                               103      Pages                5.75         592.25
        -Exhibit Copies                                                                      48      Pages                0.65          31.20
           Technology and Litigation Support Package                                             1                       50.00          50.00
           Transcript Production, Processing and Binding                                         1                       40.00          40.00
           Delivery and Handling of Transcripts                                                  1                       25.00          25.00
           Next business day expedite (100%)- Business Litigation                           103      Pages                5.25         540.75
           Delivery - Exhibits                                                                   1                       30.00          30.00
             Delivery of expedite exhibits to NOS.
           Conference Room                                                                       1                                     425.00
       ~   Appearance fee - Half day                                                             1 Half day             100.00         100.00

       NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.

Payment From
                                                                                      Invoice No.                                  AXXXXXXXX
Loeb & Loeb LLP
Attention: Davonna Brockman
                                                                                      Invoice Date                        October 26, 2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                 Late After                        November 25, 2018


Write notes or address changes below                                                  Total Due                                       1,861.71

                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 252 of 708


                                                                                           Page 2 of 2
        Network
        DEPOSITION SERVICES
                                                                  Invoice No.
                                                                  Invoice Date
                                                                                           AXXXXXXXX
                                                                                  October 26, 2018
Network Deposition Services, Inc.                                 Invoice Due    November 25, 2018
See page 1 for contact information                                Balance Due                1,861.71

Date           Description                               Quantity Units            Price      Extended
 11-26-2018 Finance charge - 1 month                          1                                 27.51
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 253 of 708




                      A – 91
                 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 254 of 708


                                                          I am an invoice.                                                      Page 1 of 2
                                                      Take me to your accounts                      Invoice No.                 AXXXXXXXX
                                                        payable department.                         Invoice Date         October 31, 2018
Network Deposition Services, Inc.                                                                   Invoice Due       November 30, 2018
1800 Century Park East • Suite 150                                                                  Invoice Total                 2,385.30
Los Angeles, CA 90067
Phone (310) 557-3400 • (800) 788-2021                                                               Balance Due                   2,385.30
Fax (310) 557-3555 • networkdepo.com




                   Loeb & Loeb LLP
                   Attention: Erin M. Smith, Esq.
                   10100 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                  Make checks payable to Network Deposition
                                                                                          Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                          .-\ service fee of 1.5% per month may be added
                                                                                          to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Erin M. Smith, Esq.                                                                NDS            Client        Deposition
Deposition of    KimWaysack                                                          Case No.       Job No.        Matter No.         Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTO                       4:15-cv-       207674 205625-10015           10-24-2018
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units             Price            Extended
       ._Transcript 0+1 - Business Litigation                                              191      Pages                5.25     1,002.75
       -Exhibit Copies                                                                      91      Pages                0.65        59.15
      _Color Exhibit Copies                                                                  13     Pages                1.50        19.50
          Reporter Parking                                                                      1                                    12.00
         Technology and Litigation Support Package                                              1                       50.00        50.00
         Transcript Production, Processing and Binding                                          1                       40.00        40.00
         Delivery and Handling of Transcripts                                                   1                       25.00        25.00
         5 business day expedite (60%) -Business Litigation                                191      Pages                3.15       601.65
         Delivery - Exhibits                                                                    1                       30.00        30.00
            Expedited delivery of exhibits from reporter to NDS

      NDS invoice version 3.2   Detach lower portion and return with your payment. Please do not staple check.


Payment From
                                                                                     Invoice No.                                AXXXXXXXX
Loeb & Loeb LLP
Attention: Erin M. Smith, Esq.
                                                                                     Invoice Date                        October 31,2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                        November 30, 2018


Write notes or address changes below                                                 Total Due                                    2,385.30


                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                    Network Deposition Services, Inc.
                                                                                    1800 Century Park East
                                                                                    Suite 150
                                                                                    Los Angeles, CA 90067
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 255 of 708


                                                                                                             Page 2 of 2
                                                                                Invoice No.                  AXXXXXXXX
                                                                                Invoice Date         October 31, 2018
Network Deposition Services, Inc.                                               Invoice Due       November 30, 2018
See page 1 for contact information                                              Balance Due                    2,385.30

Noticing fum       Loeb & Loeb LLP - Los Angeles
Noticed by         Erin M. Smith, Esq.                                          NDS            Client         Deposition
Deposition of      Kim Waysack                                   Case No.       Job No.        Matter No.          Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTD   4:15-cv-       207674 205625-10015            10-24-2018
                                                                 01696-YGR
          Description of Service                                   Quantity Units             Price             Extended
          Conference Room                                                   1                                    360.00
       -Appearance fee - Full day                                           1   Day               150.00         150.00
Date           Description                                        Quantity Units                     Price      Extended
  12-1-2018 Finance charge -1 month                                         1                                     35.25
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 256 of 708




                      A – 92
                 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 257 of 708


                                                          I am an invoice.                                                   Page 1 of 2
        Network
        DEPOSITION SERVICES
                                                      Take me to your accounts
                                                        payable department.
                                                                                                  Invoice No.
                                                                                                  Invoice Date
                                                                                                                             AXXXXXXXX
                                                                                                                    November 1, 2018
Network Deposition Services, Inc.                                                                 Invoice Due       December 1, 2018
1800 Century Park East • Suite 150                                                                Invoice Total                1,997.77
Los Angeles, CA 90067
                                                                                                  Balance Due                  1,997.77
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                   Loeb & Loeb LLP
                   Attention: Davonna Brockman
                   101 00 Santa Monica Boulevard
                   Suite 2200
                   Los Angeles, CA 90067                                                   Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
                                                                                           to any invoice over 30 days old.

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Erin M. Smith, Esq.                                                              NDS        Client           Deposition
Deposition of Frances Mae Greitl                                                     Case No.     Job No.    Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                       4:15-cv-         207056 205625-1 0015     10-23-2018
                                                                                     01696-YGR
         Description of Service                                                        Quantity Units                Price      Extended
         Rough ASCII                                                                       193    Pages              1.50        289.50
       -Transcript 0+1 - Business Litigation                                               193    Pages              5.25      1,013.25
       -Exhibit Copies                                                                       78   Pages              0.65         50.70
       -color Exhibit Copies                                                                 23   Pages              1.50         34.50
         Reporter Parking                                                                     1                                   30.00
         Technology and Litigation Support Package                                            1                     50.00         50.00
         Transcript Production, Processing and Binding                                        1                     40.00         40.00
         Delivery and Handling of Transcripts                                                 1                     25.00         25.00
         7 business day expedite (40%)- Business Litigation                                193    Pages              2.10        405.30


      NDS invoice version 3.2   Detach lower portion and return Wlth your payment. Please do not staple check.
~------



Payment From
                                                                                     Invoice No.                             AXXXXXXXX
Loeb & Loeb LLP
Attention: Davonna Brockman
                                                                                     Invoice Date                   November 1, 2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                Late After                     December 1, 2018


Write notes or address changes below                                                 Total Due                                 1,997.77

                                                                                     Amount Enclosed

                                                                                    Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 258 of 708


                                                                                                         Page 2 of 2
                                                                                Invoice No.              AXXXXXXXX
                                                                                Invoice Date        November 1, 2018
Network Deposition Services, Inc.                                               Invoice Due         December 1, 2018
See page 1 for contact information                                              Balance Due                1,997.77

Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Erin M. Smith, Esq.                                            NDS            Client        Deposition
Deposition of    Frances Mae Greitl                              Case No.       Job No.        Matter No.         Date
Caption Christopher Slaight vs. Tala Consultancy Services, LTO   4:15-cv-       207056 205625-1 0015         10-23-2018
                                                                 01696-YGR
          Description of Service                                   Quantity Units             Price           Extended
          Delivery - Exhibits                                               1                       30.00       30.00
           Expedited delivery of exhibits from reporter to NOS
Date           Description                                        Quantity Units                     Price    Extended
  12-2-2018 Finance charge - 1 month                                        1                                   29.52
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 259 of 708




                      A – 93
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 260 of 708


                                                          I am an invoice.                                                          Page 1 of 2
        Network
         DEPOSITION SERVICES
                                                      Take me to your accounts
                                                        payable department.
                                                                                                     Invoice No.
                                                                                                     Invoice Date
                                                                                                                                AXXXXXXXX
                                                                                                                              April 16, 2018
Network Deposition Services, Inc.                                                                    Invoice Due              May 24,2018
1800 Century Park East • Suite 150                                                                   Invoice Total                  5,338.08
Los Angeles, CA 90067
                                                                                                     Balance Due                    5,338.08
Phone (310) 557-3400 • (800) 788-2021
Fax (310) 557-3555 • networkdepo.com




                    Loeb & Loeb LLP
                    Attention: Michelle M. La Mar, Esq.
                    10100 Santa Monica Boulevard
                    Suite 2200
                    Los Angeles, CA 90067                                                  Make checks payable to Network Deposition
                                                                                           Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                           A service fee of 1.5% per month may be added
L-------------------------------l to any invoice over 30 days old.
Noticing firm    Loeb & Loeb LLP - Los Angeles
Noticed by       Michelle M. La Mar, Esq.                                                            NDS            Client           Deposition
Deposition of Hannah T. Russo - Volume 1                                              Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO                        4:15-cv-          201460      205625-1 0015      4-10-2018
                                                                                      01696-YGR
          Description of Service                                                        Quantity Units                     Price       Extended
       - Transcript 0+1 - Business Litigation                                               359      Pages                6.00        2,154.00
       ...._Exhibit Copies                                                                   51      Pages                 0.55          28.05
          Exhibits Bound Separately                                                            2     Volumes             10.00           20.00
          Reporter Parking                                                                       1                                       20.00
          Technology and Litigation Support Package                                              1                       35.00           35.00
          Transcript Production, Processing and Binding                                          1                       40.00           40.00
          Delivery and Handling of Transcript Copy                                               1                       25.00           25.00
          3 business day expedite (80%)- Business Litigation                                359      Pages                4.80        1,723.20
          Federal Code Compliance - Letters and Delivery                                         1                       35.00           35.00
       ·-Transcript video surcharge                                                         359      Pages                 0.50         179.50

       NOS invoice version 3.2   Detach lower portlon and return w1th your payment. Please do not staple check.

Payment From
                                                                                      Invoice No.                                   AXXXXXXXX
Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
                                                                                      Invoice Date                               April16, 2018
10100 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                 Late After                                 May 24,2018


Write notes or address changes below                                                  Total Due                                        5,338.08


                                                                                      Amount Enclosed

                                                                                     Mail Payment To
                                                                                     Network Deposition Services, Inc.
                                                                                     1800 Century Park East
                                                                                     Suite 150
                                                                                     Los Angeles, CA 90067
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 261 of 708


                                                                                                               Page 2 of 2
                                                                                Invoice No.                AXXXXXXXX
                                                                                Invoice Date             April 16, 2018
Network Deposition Services, Inc.                                               Invoice Due              May 24,2018
See page 1 for contact information                                              Balance Due                    5,338.08

Noticing firm      Loeb & Loeb LLP - Los Angeles
Noticed by         Michelle M. La Mar, Esq.                                     NDS            Client           Deposition
Deposition of      Hannah T. Russo • Volume 1                    Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTO   4: 15-cv-         201460      205625-1 0015      4-10-2018
                                                                 01696-YGR
          Description of Service                                  Quantity Units                      Price       Extended
        -Appearance fee - Full day                                          1   Day                200.00          200.00
          Conference Room                                                   1                                      350.00
Date            Description                                       Quantity Units                      Price       Extended
  5-25-2018 Finance charge - 1 month                                        1                                       72.15
  6-25-2018 Finance charge - 2 months                                       1                                       73.23
  7-25-2018 Finance charge - 3 months                                       1                                       74.33
  8-25-2018 Finance charge - 4 months                                       1                                       75.44
  9-25-2018 Finance charge- 5 months                                        1                                       76.57
 10-25-2018 Finance charge - 6 months                                       1                                       77.72
 11-25-2018 Finance charge - 7 months                                       1                                       78.89
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 262 of 708


                                                             I am an invoice.                                                        Page 1 of 2
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         DEPOSITION SERVICE
                                                         Take me to your accounts
                                                           payable department.
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                                                                                                       Invoice Date
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                                                                                                                               April 16, 2018
Network Deposition Services, Inc.                                                                      Invoice Due             May 16,2018
1800 Century Park East • Suite 150                                                                     Invoice Total                 2,563.18
Los Angeles, CA 90067
Phone (310) 557-3400 • (800) 788-2021
                                                                                                       Balance Due                   2,563.18
Fax (310) 557-3555 • networkdepo. om




                    Loeb & Loeb LL =>
                    Attention: Michele M. La Mar, Esq.
                    10100 Santa Me nica Boulevard
                    Suite 2200
                    Los Angeles, CP. 90067                                                   Make checks payable to Network Deposition
                                                                                             Services, Inc. • Our tax ID #is XX-XXXXXXX. •
                                                                                             A service fee of 1.5% per month may be added
'---------------.+-------------------' to any invoice over 30 days old.
Noticing firm    Loeb & Loeb LLP Los Angeles
Noticed by       Michelle  M. La M~ r, Esq.                                                            NDS            Client           Deposition
Deposition of Hannah T. Russc -Volume 1                                                 Case No.       Job No.        Matter No.            Date
Caption Christopher Slaight vs. Tata Consultancy Services, LTD                          4:15-cv-          201460      205625-10015      4-10-2018
                                                                                        01696-YGR
          Description of Service                                                          Quantity Units                    Price       Extended
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       -Synchronized             videota~   ed proceeding                                     8.5      Hours             175.00        1,487.50
          Videographer Parking                                                                     1                                       22.00
       ... On-site photocopying                                                                    1                     750.00          750.00
            Printing, delivery and binding of documents requested before
            start of deposition
Date              Description                                                             Quantity Units                    Price       Extended
  5-17-2018 Finance charge - ~ month                                                            1                                          34.64
  6-17-2018 Finance charge-                 g months                                            1                                          35.16
  7-17-2018 Finance charge-~ months                                                                1                                       35.69

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Loeb & Loeb LLP
Attention: Michelle M. La Mar, Esq.
                                                                                        Invoice Date                               April 16, 2018
101 00 Santa Monica Boulevard
Suite 2200
Los Angeles, CA 90067                                                                  Late After                                  May 16, 2018


Write notes or address            change~    below                                     Total Due                                        2,563.18


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                                                                                       Network Deposition Services, Inc.
                                                                                       1800 Century Park East
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             Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 263 of 708



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See page 1 for contact information                                 Balance Due            2,563.18

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  8-17-2018 Finance charge-'~ months                          1                                36.22
  9-17-2018 Finance charge-~: months                           1                               36.77
 10-17-2018 Finance charge - H months                         1                                37.32
 11-17-2018 Finance charge -7 months                           1                               37.88
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 264 of 708




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            Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 265 of 708




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                       Loeb & Loeb LLP
                       10100 Santa Monica Boulevard
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                       Los Angeles, CA 90067



CASE:                 Steven Heidt, et al v. Tata Consultancy Services, Ltd.
WITNESS:              George Edward Anderson
DATE:                 3/31/2017
LOCATION:             Los Angeles, CA

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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 266 of 708




                      A – 95
       Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 267 of 708




Summitt Reprographics
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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 269 of 708




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       Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 270 of 708




Summitt Reprographics

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       ATrN:ryan meshell




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Summitt
From:                                            Ryan M!:!~·ll <nneshell@loeb.com >
Sent                                             TtJesd<~y,   June 30,2015 4:24PM
To:                                              S11mmitt; <:r<ug yahoo
Subject                                          NEW PROJECT- 205625·10015 Tata America re Heldt



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Ryao Meshell
litigation StJ pport Analyst
310.282-2265


Ryan Meshell
Liti9_ation Support Analyst
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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 272 of 708




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      Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 273 of 708




Summitt Reprographics

2029 Century Park East #4420
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Summitt                                                                                                                   .\ Vl '-f I D~
From:                                     Ryan Meshell <rmeshell@loeb.com>
Sent:                                     Tuesday, July 14, 2015 4:20 PM
To:                                       Virginia Briseno; craig yahoo; Summitt
Subject                                   RUSH PRINT REQUEST- 205625-10015 Tata America re Heldt



Craig,

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Ryan Meshell
Litigation Support Analyst
310-282-2265

Ryan Meshell
Uti ation Support Analyst

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                      A – 98
      Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 276 of 708




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From:                                      Ryan Meshell <rmeshf!ll@loeb.com>
Setlt                                      Tuesday, July 07, 2015 12:16 PM
To:                                        craig yahoo; Summitt
Subject                                    RUSH PltOJECTH • 205625-10015 TataAmerica re Heldt


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litigation Support A11alyst
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      Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 279 of 708




Summitt Reprographics

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    SUmmitt
    Erom:                                        Ryan MesheU <rmeshell@loeb.com ~
    Sent                                         Monday, July 06, 2015 10:32 AM
    To:                                          Summitt craig yahoo
    SUbject:                                     NEW PROJECT- 205625-10015 Tala America re Heldt


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      Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 282 of 708




Summitt Reprographics
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      SUITE2200
      LOS ANGELES, CA 90067
      ATTN:ryan meshcll




                                                                                  CLIENT I              REP

                                                                                205625-10015            cs
        QUANTITY                                DffiCRIPTION                                   AMOUNT


                    8,304 tiff/ocr                                                                      581.28T
                          Sales Tax                                                                      52.32




                                                                    I   Total                       $633.60
WE UNDERSTAND THAT SOME LAW FIRMS PASS THE BILLS THROUGH TO THEIR
CLIENTS, HOWEVER, THE SUMMflT CUE NT REMAINS RESPONSIBLE TO J>AY
INVOICES BILLED TO THEM.
TAX [0#XX-XXXXXXX
WE NOW ACCEI'I' VISA/MASTERCARD/AMEX
            Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 283 of 708




 Summitt

 From:                                         Ryan Meshell .;rmeshelt@loeb.c:om>
Sent:                                          Monday, Juty 13, 2015 8:50 PM
 To:                                           craig yahoo; Summitt
Subject                                        NEW PROJECT 205625,10015 Tata America re Heldt


Client/Matter: 205625-10075 Tata America re Heldt
Starting Control Number. H0043n
Volume: H003
Extracted Text/OCR: Yes
Export format: Single-pag~ Tiff Images & multi-page TEXT files for searching with OAT & OPT files for Relativllty
Import.
Delivery format: FTP site
Endor:s:e Images:?: No.
Custodians:
When do I need it?: the afternoon tomorrow 7/14/2015
Where to find this?: In a RAR file on FTP site in this directory;                       /Incoming Jobs from LOEB to Sl.lmmltt/2015 JOBS/07
JUlY JOBS/07-13·2015

Convert these native files into single-page TIFF format with Relativity load files. Please paginate on a page level.
Please OCR (or extract text) for doruments & export as multi-page TEKT files for Relativltv import {reference the text
file's location in the OAT fife). Please DEDUPLICATE all files globallv across the entire set from within the set now &
also deduplicating across the previoustv processed data in the last two ~umes HOOl & H002; Colfect as much
metadata as vou can using Loeb's firm specs. No Excel nff page cut off needed if there are !Illy. Pacific Time Zone.

Please call or email me with any quenrons.



Ryan Meshell
litigation Support Analyst
310·282-2265

Ryan Meshell
~:~:-~port Analyst
1Qf00 ~onlea fllvd . &.Ill<:> 2:?00 1~ NI!Jlllos. CA 00007
Direct Dial: 310.282.~fl'al!: 31(lQ1~~5f E·matlr fW!!I#!!lll£i4!~
los Angeles I NCIW YOfl< I Chbgo I Naslwillllf Waah'"g;loo· oc r BtiiJing I Hong Kong I~~.!!



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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 284 of 708




                    A – 101
      Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 285 of 708




 Summitt Reprographics

 2029 Century Park East #4420
                                                                                                  Invoice
 Los Angeles, CA 90067-8051                                                            DATE          INVOICE#
 (310-788-3481)
                                                                                     10/9/2ffi5       89458
 CRAIGSOMMERSTElN®YAHOO.COM


         SILL TO

       LOEB&LOEB
       10100SANTAMONICA BLVD.
       SUITE2200
       LOS ANGELES, CA 90067
       ATTN :virginia briseno




                                                                                     CUENT#                REP

                                                                                   205625-10015            cs
         QUANTITY                                  DESCRIPTION                                    AMOUNf



                     1,278 tiff/ocr                                                                        115.02T
                     1,385 blowbacks                                                                       124.65T
                           Sales Tax                                                                        21.57




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                                                                       I   Total                      $261.24
WE UNDERSTAND THAT SOME LAW FIR.\15 PASS THE BILLS THl~OUGH TO THEIR
CLIENTS, HOWEVER, 'fHE SUMMITI CLJENT REMAINS l{ESPONSrBLE TO PAY
INVOICES BitLED TO THEM.
TAX 10#XX-XXXXXXX
WE NOW ACCEPT VISA/MASTERCARD/AMEX
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 286 of 708




                    A – 102
      Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 287 of 708




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Su~ Reprographics
2029 Century Park East #4420
                                                                                                  Invoice
Los Angeles, CA 90067-8051                                                                DATE       INVOICE#
                                                                                           '
(310-788-3481)
                                                                                     10/12/2015       89471
CRAIGSOMMERSTEIN®YAHOO.COM

        BILL TO

      LOEB&LOEB
      10100 SANTA MONICA BLVD.
      SUITE2200
      LOS ANGELES, CA 90067
      ATIN:virginia briseno




                                                                                      CLIENT#              REP


                                                                                   205625-10015            cs
        QUANTITY                                  DESCRIPTION                                     AMOUNT



                    1,278 tiff/elabel/print                                                                204.48T
                          Sales Tax                                                                         18.40




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                                                                      I   Total                        $222.88
WE UNDERSTAND 1HAT SOME I.AW FIRMS PASS THE BILLS TiiROUGH TO THEIR
CLIENTS, HOWE\'£}{, THE SUMMITT CLIENT REMAINS RESPONSIBLE TO PAY
INVOICES BILLED TO THEM.
TAX ID#XX-XXXXXXX
WE NOW ACCEPT VISA/MASTERCARD/AMEX
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 288 of 708




                    A – 103
        Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 289 of 708




~Si:iii'lmitt Reprographics
                                                                                                       Invoice
 2029 Century Park East 114420
 Los Angeles, CA 90067-8051                                                                     DATE      INVOICE#
                                                                                                 '
 (310-788-3481)
                                                                                         10/12/2015        89472
 Cl~IGSOMMERSTEIN®YAHOO.COM



          BILL TO

       LOEB&LOEB
       10100 SANTA MONICA BLVD.
       SUITE2200
       LOS ANGELES, CA 90067
       ATTN:virginia briseno




                                                                                          CUENT t               REP

                                                                                        205625-10015            cs
         QUANTITY                                DESCR1PTION                                           AMOUNT



                      1,339 blowbacks                                                                           107.12T
                        910 11 X 17                                                                             318.50T
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WE UNDERSTAND 1HAT SOME LAW FIRMS PASS THE BILLS THROUGH TO THEIR
CLIENTS, HOWEVER, 1HE SUMMITT CUENT REMAINS RESPONSIBLE TO PAY
INVOICES BILLED TO THEM.
TAX 10#XX-XXXXXXX
WE NOW ACCEPT VISAJMASTERCARD/AMEX
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 290 of 708




                    A – 104
      Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 291 of 708




 Summitt Reprographics

 2029 Century Park East #4420
                                                                                                  Invoice
 Los Angeles, CA 90067-8051
 {310-788-3481)
                                                                                       -DATE         INVOICE#


                                                                                     10/12/2015       89480
 CRAIGSOMMERSTEJN®YAHOO.COM

         BILL TO

       LOEB&LOEB
       10100 SANTA MONICA BLVD.
       SUITE2200
       LOS ANGELES, CA 90067
       ATTN:virginia briseno




                                                                                     CLIENT#               REP

                                                                                   205625-10015            cs
         QUANTITY                                  DESCRIPTION                                    AMOUNT



                       454 11 X 17                                                                         158.90T
                           Sales Tax                                                                        14.30




                                                                       I   Total                      $173.20
WE UNDERSTAND lliAT SOME LAW FIRMS PASS TilE BILLS THROUGH TO TIIEIR
CLIENTS, HOWEVER, THE SUMMITI CLIENT REMAINS RESPONSIBLE TO PAY
INVOICES BILLED TO THEM.
TAX 10#XX-XXXXXXX
WE NOW ACCEPT VISA/MASTERCAim/AMEX
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 292 of 708




                    A – 105
     Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 293 of 708




Summitt Reprographics

2029 Century Park East #4420
                                                                                                  Invoice
Los Angeles, CA 90067-8051                                                             DATE         INVOICE#
(310-788-3481)
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CRAIGSOMMERSTEIN®YAHOO.COM


        !!ILL TO

      LOEB&LOEB
      10100SANTAMONICA BLVD.
      SUITE2200
      LOS ANGELES, CA 90067
      ATTN:virginia briseno




                                                                                     CLITh'T #            REP


                                                                                   205625-10015           cs
        QU.ANTITY                                  DFSCRIPTJON                                   AMOUNT



                      913 print                                                                            82.171
                          Sales Tax                                                                         7.40




                                                                       I   Total                      $89.57
WE UNDERSfAND TIIA T SOME LAW FIRMS PASS THE BILLS TIIROUGH TO THEIR
CLIEJ\I"TS, HOWEVER. THE SUMMITT CUENT REMAINS RESPONSffiLE TO PAY
INVOICES Bll.LED TO 1HEM.
TAX 10#XX-XXXXXXX
WE NOW ACCEPT VISAJMASTERCARD/AMEX
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 294 of 708




                    A – 106
      Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 295 of 708




 Summitt Reprographics

2029 Century Park East #4420
                                                                                                         Invoice
Los Angeles, CA 90067-8051                                                                        DATE      INVOICEt
(310-788-3481)
                                                                                         10/26/2015          1:!9643
CRAIGSOMMERSTEIN®Y AHOO.COM

        BILL TO

      LOEB&LOEB
      10100 SANTA MONICA BLVD.
      SUITE2200
      LOS ANGELES, CA 90067
      ATTN:VIRGINIA BRISENO




                                                                                          CLIENT#                 REP


                                                                                       205625-10015               cs
        QUANTITY                                  DESCRIPrlON                                            AMOUNT



                      697 ELABEL/PRINT COLOR                                                                      453.05T
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WE UNDERSTAND '!HAT SOME LAW FIRMS PASS THE BILLS THROUGH TO THEIR
CLIENTS, HOWEVER, THE SUMMm CLIENT RF.MAINS RESPONSIBLE TO PAY
INVOICES BILLED TO THEM.
TAX lD#XX-XXXXXXX
WE NOW ACCEPTVISA/MASTERCARD/MIEX
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 296 of 708




                    A – 107
    Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 297 of 708




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 Summitt Repr6graphics

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 Los A:ngeles, CA 90067-8051
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      · LOBB &: LOEB
       10100 SANTA MONICA BLVO.
       SUITE 2200
       LOS ANGELES, CA !10067
       A'ITN':VIRGINIA BlUSENO




                         9,663 TIFF/OCR                                                                                                      676.41'1'
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TAX~
W! NOW ACCEPT VISA/MASl'ERCAIW/AMEX
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 298 of 708




                    A – 108
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 299 of 708




                CDS
                COMPLETE DISCOVERY SOURCE

      345 Park Avenue   I New York, NY   10154
                                                                      I N V 0 I C E
                                                                                                                NUMBER
                                                                                                                070234



                                                                    For billing inquiries, please call (212) 813-7000

      P: 212.813.7000 IF: 212.354.6626                                               Tax ID: XX-XXXXXXX
      'A'WVI.CDSLega!.com



                               BILL TO                                                  SHIP TO

               LOEB & LOEB LLP                                            LOEB & LOEB, LLP
               10100 SANTA MONICA BLVD,STE200                             345 PARK AV. 18TH FL
               LOS ANGELES, CALIFORNIA 90067                              NEW YORK, NY 10154

               ATTN: JEFF GOLDMAN                                         ACCT-No: LOE100



-
      CDS JOB-No                I   ORDER DATE                  REQUESTED BY            I            ATTORNEY
    NYR201603000024                  03/11/16                 Ryan Meshell
                                I                                                       I
               CLIENT MATTER NUMBER                                               CASE NAME
                  205625-10015                                             Tat a Amer1ca re Heldt


    QUANTITY                UNIT                            PARTICULARS                 UNIT PRICE          AMOUNT


           1            Per Hour                 Manual Labor                                35.00               35.00
       3877             Per Page                 Blowbacks (TIFF)                             0.05              193.85




                                                                                       ORDER TOTAL              228.85
                                                                                           FREIGHT
                                                                                            OTHERS
                                                                                         SALES TAX               20.31

    PAYMENT TERMS: NET 30 DAYS                                                   *   INVOICE TOTAL              249.16

    ACH Information:                                                       Wiring Information:
    First Republic Bank                                                    First Republic Bank
    ABA: 321081669                                                         ABA: 321081669
    Acct No: 80003050242                                                   Acct No: 80003050242
                                                                           Swift Code: FRBBUS6S


                                                           CUSTOMER COPY
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 300 of 708




                    A – 109
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 301 of 708


                                                                                      Please remit to:
                                                                                     iDiscover, LLC
                                                                                     2049 Century Park East
                                                                                     Suite 4370
                                                                                                                      Invoice
                                                                                     Los Angeles, CA 90067
                                                                                     Tax 10:XX-XXXXXXX

 Electronic Discovery & Litigation Support Services

   Bill To:                                                                              Ship To:
Loeb & Loeb                                                                            Loeb & Loeb
101 00 Santa Monica Blvd.                                                              10100 Santa Monica Blvd.
Suite 2200                                                                             Suite 2200
Los Angeles, CA 90067                                                                  Los Angeles, CA 90067




Questions? please call: (310) 556·7777, or email ap@idiscoverglobal.com




                         Case Name: Tata America re: Heldt

                         Instructions I Description: " Loeb          I 205625-10012 I Excel
                         prints. "

         416             Black & White 11 x 17                                                                 0.35           145.60T
           2             Technician Charge Per Hour- Form tting Excels                                        50.00            100.00
                         California Sales Tax                                                                 9.00%            13.10




                                                                                                             _,




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1 .5% per month.                                                                      Sub Total       $258.70


                                                                                                      Payments/Credits                  $0.00
               Thank you for choosing iDiscover!
          Did you know iDI"over 11/so provides forensic d11t11 ond eDiscovety services?
     Since 2007, /Discover has provided mission<ritical eDiscovery support for all types of complex    Balance Due                $258.70
  cases. For a complete list of all iDiscover products and services, go to: www.ldlscoverglobDI.com


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                                         Tel: (310) 556-77771 Fax: (310) 556-8686        I www.ldiscoverglobal.com
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 302 of 708




                    A – 110
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 303 of 708


                                                                                      Please remit to:
                                                                                      iDiscover, LLC
                                                                                      2049 Century Park East
                                                                                      Suite 4370
                                                                                                                      Invoice
                                                                                      Los Angeles, CA 90067
                                                                                      Tax1D:XX-XXXXXXX

 Electronic Discovery & Litigation Support Services

   Bill To:                                                                               Ship To:
Loeb & Loeb                                                                            Loeb & Loeb
101 00 Santa Monica Blvd.                                                              10100 Santa Monica Blvd.
Suite 2200                                                                             Suite 2200
Los Angeles, CA 90067                                                                  Los Angeles, CA 90067




Questions? please call: (310) 556-7777, or email ap@idiscoverglobal.com




                         Case Name: lata America re Heldt

          15             Media:Hard Drive                                                                   175.00         2,625.00T
                           - 15x 2TB Hard Drives

                         Misc:Shipping Charge                                                               1, 5.01         115.01
                           - FedEx Charges
                         California Sales Tax                                                               9.00%           236.25




Payment Terms: Client agrees to pay ail amounts due w1thin the terms indicated on the invoice. late
payments accrue interest at 1.5% per month.                                                                    Sub Total       $2,976.26


                                                                                                       Payments/Credits              $0.00
               Thank you for choosing iDisc:over!
           Dill you know /D/f(orcr aiJO prorldcs [orcnJI' ctaCil llnd cDI"ov•ry setVices?
     Since 2007, /Discover has provided mission-critical eDiscovery support for all types of complex   Balance Due             $2,976.26
  cases. For a complete list of all /Discover products and services, go to: www.idiseov•'flobt~l.com


                                                          e 2016 iDiscover, LLC. All rights reserved.
                                          Tel: (310) 556-7777    I Fax: (310) 556-8686 I www.idiscoverglobal.com
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 304 of 708




                    A – 111
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 305 of 708



 Summitt Reprographics

 2029 Century Park East #4420
                                                                                             Invoice
 Los Angeles, CA 90067-8051                                                          DATE       INVOICE#
 (310-788-3481)
                                                                                 3/11/2016       91352
 CRAIGSOMMERSTE!N(wYAHOO.COM


         BILL TO

       LOEB&LOEB
       10100 SANTA MONICA BLVD.
       SUITE2200
       LOS ANGELES, CA 90067
       A TIN: VIRGINIA BRISENO




                                                                                 CLIENT#              REP

                                                                              205626-10015            cs
        QUANTITY                                 DESCRIPTION                                 AMOUNT



                     7,183 PRINT                                                                      646.47f
                           Sales Tax                                                                   58.18




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WE UNDERSTAND TIIAT SOME LAW FIRMS PASS THE BILLS lHROUGH TO THEIR
CLIENTS, HOWEVER, THE SUMMITT CLIENT REMAINS RESPONSIBLE TOPAY
INVOICES BILLED TO TIIEM.
TAX ID/195-4473644
WE NOW ACCEPT VISA/MASTERCARD/AMEX
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 306 of 708




                    A – 112
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 307 of 708



 Summitt Reprographics

 2029 Century Park East 114420
                                                                                                    Invoice
 Los Angeles, CA 90067-8051                                                               DATE           INVOICE#
 (310-788-3481)
                                                                                        3/16/2016         91414
 CRAIGSOMMERSfEIN(Il>YAHOO.COM


         BILL 1D

       LOEB&LOEB
       10100 SANTA MONICA BLVD.
       SUITE 2200
       LOS ANGELES, CA 90067
       ATTN: virginia briseno




                                                                                        CLIENT#              REP

                                                                                   205625-10015              cs
         QUANTITY                                DESCRIPTION                                        AMOUNT




                     6,966 COLOR prints                                                                   3,831.30T
                     3,751 print                                                                            337.59T
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WE UNDERSTAND 1HAT SOME LAW FIRMS PASS THE BILLS THROUGH TO THEIR
CLIENTS, HOWEVER, THE SUMMITI CLIENT REMAINS RESPONSffiLE TO PAY
INVOICES BILLED TO THEM.
TAX 10#XX-XXXXXXX
WE NOW ACCEPT VISA/MASTERCARD/AMEX
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 308 of 708




                    A – 113
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 309 of 708



                                                                                         Please remit to:
                                                                                         iDiscover, LLC
                                                                                         2049 Century Park East
                                                                                         Suite 4370
                                                                                                                        Invoice
                                                                                         Los Angeles, CA 90067
                                                                                         Tax ID: XX-XXXXXXX

 Electronic Discovery & Litigation Support Services

   Bill To:                                                                                  Ship To:
Loeb & Loeb                                                                               Loeb & Loeb
10100 Santa Monica Blvd.                                                                  101 00 Santa Monica Blvd.
Suite 2200                                                                                Suite 2200
Los Angeles, CA 90067                                                                     Los Angeles, CA 90067




Questions? please call: (310) 556-7777. or email ap@idiscoverglobal.com




                          Case Name: Tata America re Heldt

                          Instructions I Description: " Loeb 1 205625-10012 1 CD
                          Prints."

       14,456             Blowback Slip Sheet per Document                                                       0.11         1,590.16T
                          California Sales Tax                                                                  9.00%          143.11




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1 .5% per month.                                                                      Sub Total       $1,733.27

                                                                                                          Payments/Credits            $0.00
                Thonk you for choosing iDiscover!
           llld you know 1111~'""'" tll~o 'rovidfii/O,..n!li' ""'" •nfl fllll"o"•ry llfltvl"'"
     Since 2007, /Discover has provided mission-critical eDiscovery support for all types of complex      Balance Due             $1.733.27
  cases. For a complete list of all /Discover products and services. go to: WWIIII.idiscov•,..lobol.com


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                                           Tel; (310)   ss&n77 I Fax; (310) 556-8686 I www.idiscoverglobal.com
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 310 of 708




                    A – 114
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 311 of 708



                                                                                         Please remit to:
                                                                                         iDiscover, LLC
                                                                                         2049 Century Park East
                                                                                         Suite 4370
                                                                                                                        Invoice
                                                                                         Los Angeles, CA 90067
                                                                                         Taxl0:XX-XXXXXXX

 Electronic Discovery & Litigation Support Services

   Bill To:                                                                                  Ship To:
                                                                                                                                     --   -~---



Loeb & Loeb                                                                               Loeb & Loeb
10100 Santa Monica Blvd.                                                                  10100 Santa Monica Blvd.
Suite 2200                                                                                Suite 2200
Los Angeles, CA 90067                                                                     Los Angeles, CA 90067




Questions? please call: (310) 556·7777. or email ap@idiscoverglobal.com




                         Case Name: Tata America re Heldt

       11,927            Blowback: Blowback- Slip Sheet per Document                                            0.11          1,311.97T
                            - Blowback- Slip Sheet per Document

        3.19             Processing:Full Tiff Processing Per GB (Compressed)                                   350.00         1,116.50
                            - Includes meta data fields, text extraction with native links
                         & image creation: Volume H01 0 & H011

          3              Forensics:Forensics Data Extraction                                                   250.00          750.00
                             -Normalized Lotus Notes Email Container Files to
                         Restored Email Messages and Assemble Reconstituted PST
                         Files for Delivery
                         California Sales Tax                                                                   9.00%          118.08




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                       Sub Total       $3,296.55


                                                                                                          Payments/Credits              $0.00
               Thank you for choosing IDiscover!
          Did you know IDiscov•r also provides forensic data and eDiscovery servlcrs?
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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 312 of 708




                    A – 115
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 313 of 708

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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 314 of 708




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                             Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 315 of 708




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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 316 of 708




                    A – 117
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 317 of 708



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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 318 of 708




                    A – 118
                 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 319 of 708




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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 320 of 708




                    A – 119
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 321 of 708




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                    A – 120
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 323 of 708




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                    A – 121
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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 326 of 708




                    A – 122
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'f- HOST_DATA100          Relativity Data Hosting                                                                              8.03          $10.00                       $80.30
'f HOST_SUP1 00                 Relativity Technical Support                                                                   6.00         $125.00                      $750.00
·f. HOST_USER100                Relativity User Access                                                                         2.00          $75.00                      $150.00
   FOR_CULL 100                 Forensic Culling                                                                               1.50         $250.00                      $375.00
   EDD_NFP100                   Native File Processing                                                                         1.80         $100.00                      $180.00
   EDD_TIFF100                  Tiff Conversion                                                                              1,056.00        $0.020                       $21.12
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                                                         Routing: 051400549
                                                         Account: 2000024611088
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 328 of 708




                    A – 123
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     8201 Greensboro Drive Suite 717
     Mclean, VA 22102                                                                                              Page                       1 /1
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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 330 of 708




                    A – 124
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 331 of 708


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Please make your check payable to:                    ACH Instructions:
LDiscovery, LLC dba KrolLDiscovery                    LDiscovery, LLC dba KrolLDiscovery
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Mclean, VA 22102-3810                                 1753 Pinnacle Drive
                                                      Mclean, VA 22102
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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 332 of 708




                    A – 125
        Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 333 of 708




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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 334 of 708




                    A – 126
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 335 of 708




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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 336 of 708




                    A – 127
        Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 337 of 708




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                    A – 128
        Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 339 of 708




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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 340 of 708




                    A – 129
         Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 341 of 708




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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 342 of 708




                    A – 130
         Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 343 of 708




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                    A – 131
        Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 345 of 708




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                    A – 132
         Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 347 of 708




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                    A – 133
         Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 349 of 708



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                    A – 134
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                    A – 135
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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 354 of 708




                    A – 136
      Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 355 of 708




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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 356 of 708




                    A – 137
      Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 357 of 708




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                    A – 138
       Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 359 of 708




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                    A – 139
      Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 361 of 708




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                    A – 140
       Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 363 of 708




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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 364 of 708




                    A – 141
      Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 365 of 708




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                    A – 142
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 367 of 708
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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 368 of 708




                    A – 143
             Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 369 of 708



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Sent:                                      Tuesday, May 15, 2018 10:20 AM
To:                                        Summitt Reprographics; craigsommerstein@yahoo.com
Cc:                                        Lauren Williams
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with a slip sheet and rubber band-maybe folder name on the slip sheet? 19K documents. One set. Thx.



Patrick N. Downes

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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 371 of 708




                    A – 144
    Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 372 of 708




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TAX IDf95-i473644
WI! NOW ACCill'T VfSA/MASTBRCARD/AMI!X
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 373 of 708




                    A – 145
   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 374 of 708




  Summitt Reprographics

  2029 Century Park East #4420
                                                                                                   Invoice
  Los Angeles, CA 90067-8051                                                            DATB           INVOICE I
  (310-788-\3481)
                                                                                       5/6/2018        102388
  CRAIGSOMMERSTEINt9YAHOO.COM

          BILL TO

       LOEB&LOEB
       lOlOOSANTAMONfCA BLVD.
       SUITE2200
       LOS ANGELES, CA 90067
       AITN: DAVONNA BROCKMAN




                                                                                      CL!IlNTI              RBP

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                     2,184 COPIES                                                                           196.56T
                       120 COLOR COPIES                                                                      66.00T
                       306 TABS                                                                              76.50T
                         6 3 RING BINDERS                                                                    72.00T
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                                                                        I   Total                      $450.11
WE UNDBRSTAND TI-IAT 50MB LAW FIRMS PASS THB BILLS THROUGH TO 'IHl!IR
CLlBNTS, HOWEVI!R, 'IHE SUMMITI' CLlllNT RBMAINS RESPONSffiLE TO PAY
INVOICES BILLED TO 'IHHM.
TAX (0195-4.473644
WI! NOW ACCEPTVISNMASTI!RCARD/AMEX
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 375 of 708




                    A – 146
   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 376 of 708
                                                                     -----------                          ~   --~~--




  Summitt Reprographics
 2029 Century Park East 14420
                                                                                                 Invoice
 Los Angeles, CA 90067-8051                                                           DATil         INVOICE#
 (310-788-3481)
                                                                                    6/5/2018         102798
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         BILL TO

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       10100 SANTA MONICA BLVD.
       SUITE2200
       LOS ANGELFS, CA 90067
       ATTN: DAVONNA BROCKMAN




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        QUANTITY                                   Dl!SCRIP110N                                  AMOUNT


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                      102 TABS                                                                                25.50T
                        2 3 RING BINDERS                                                                      24.00T
                           Sales Tax                                                                          11.27




                                                                      I   Total                      $129.89
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CLffiNTS, HOWEVER, THE SUMMITT CUENTREMAINS RESPONSIDLE TO PAY
INVOICES BILLED TO THEM.
TAX !0#XX-XXXXXXX
WI! NOW ACCJ!PTVISA!MASTERCARD/AMEX
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 377 of 708




                    A – 147
   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 378 of 708




  Summitt Reprographics
  2029 Century Pork East 114420
                                                                                                     Invoice
  Los Angeles, CA 90067-8051                                                                DATE          INVOICE I
  (310-788-3481)
                                                                                         5/14/2018        102496
  CRAIGSOMMERSTEINOYAHOO.COM

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        SUITE2200
        LOS ANGELES, CA 90067
        ATIN: davonna brockman




                                                                                          CLIENT I            RBI'

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         QUANTITY                                    DFSCRII'TION                                    AMOUNT



                      5,058 PRINT                                                                             455.22T
                            Sales Tax                                                                          43.25




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WE UNDERSTAND TI-IAT SOME LAW FIRMS PASS 'IHE BILLS THROUGH TO 'IHEffi
CLIENTS, HOWEVER, THE SUMMITT CLIENT REMAINS RESPONSIDLE TO PAY
INVOICES BILLED TO THHM.
TAX 10195-4473644
WE NOW ACCEPTVISA/MASTERCARD[AMEX
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 379 of 708




                    A – 148
                         Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 380 of 708
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                                                                                                                               Invoice
K[)iscivery
8201 Greensboro Drive Suite 300
Mclean, VA 22102                                                                                                               Page                               1/1
                                                                                                                               Invoice                            057235
                                                                                                                               Date                               5/31/2018


 Phone (703) 288-3380                Fax (703) 288-3801                               www. KLDiscovery .com


 Bill To:             Loeb & Loeb, LLP                                                         Ship To:               Loeb & Loeb, LLP
                      Ryan Meshell                                                                                    Ryan Meshell
                      10100 Santa Monica Blvd, 21st Floor                                                             10100 Santa Monica Blvd, 21st Floor
                      Los Angeles CA 90067                                                                            Los Angeles CA 90067




 LDiscovery is now LDfscovery, LLC dba KLDiscovery
Please note our Bank Account, Wire Transfer (ABA Routing),
ACH Account and EIN numbers are all unchanged,
All inquiries regarding this can be directed to AR.LD@KroiLDiscovery.com.

                                                                                                       ·-                                                                  -                  ----·--.
[·--Client M--;tter/CustomerPO
                                                                I      Customer ID
                                                                                           I       Salesperson JD
                                                                                                                               I   Shipping Method                I        Payment Terms
I                        205625 10015 TCS ULT
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~OST_DATA100                         Relativity Data Hosting                                                                                          10.07           $10.00                $100.70
<ftosT_SUP1     oo                   Relativity Technical Support                                                                                     1.60        $125.00                   $200.00
[HOST_USER100                        Relativity User Access                                                                                           5.00            $75.00                $375.00
EDD_NFP100                           Native File Processing                                                                                           0.16        $110.00                    $17.60
EDD_TIFFGB1 00                       Production Tiffing (GB)                                                                                          0.16        $250.00                    $40.00

~DD    BRAN100
                                     Pages Endorsed                                                                                                   75.00           $0.010                  $0.75
EDD_LABOR100                         Production Technical Labor                                                                                       1.00        $125.00                   $125.00
EDD_LABOR100                         Production Technical Labor                                                                                       1.00        $125.00                   $125.00
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                                                                                                                                                              Subtotal                      $984.05
                                                                                                                                                             Sales Tax                        $0.00
                                                                                                                                                                 Total                      $984.05
                                                                                                                                                      Payments/Credits                        $0.00
                                                                                                                                                          Balance Due                       $984.05

ACH Instructions:                                                    Remittance Address:                                                  Overnight Address:
LDiscovery, LLC dba KLDiscovery                                      LDISCOVERY, LLC                                                      LDISCOVERY, LLC
Wells Fargo Bank                                                     PO BOX 603692                                                        Lockbox Services (603692)
1753 Pinnacle Drive                                                  Charlotte, NC 28260-3692                                             1525 West W. T. Harris Blvd. - 2C2
Mclean, VA 22102                                                                                                                          Charlotte, NC 28262
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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 381 of 708




                    A – 149
              Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 382 of 708




                iDISCOVER
                                                                                                         Please remit to:
                                                                                                         iDiscover, LLC
                                                                                                         2049 Century Park East
                                                                                                         Suite 4370
                                                                                                                                             Invoice
                Built           spc>('d, .fro: the ground up.                                            Los /l.n~~eles, CA 90067
                                                                                                         lax ID: XX-XXXXXXX

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Loeb & Loeb                                                                                               Loeb & Loeb
1 01 00 Santa Monica Blvd.                                                                                10100 Santa Monica Blvd.
Suite 2200                                                                                                Suite 2200
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                           Case Name: Tata America re Heldt

                           Instructions/Descriptions: 1 Box. Copy x5. 5 copies (if there
                           are multiple pages, please staple), 4 copies in manila folders
                           & 1 copy in 3-ring binder (side #'d tabs). Please also print
                           four copies ofTCS021913 on 11 x 17 paper and tape pages
                           together to view columns on one sheet.

          121              Bates Labeling                                                                                             0.06       7.26T
         1.490             Heavy Litigation                                                                                           0.17      253.30T
          121              Insert Exhibit Tabs                                                                                        0.25      30.25T
           16              Blowback Oversize Black & White (per sqft.)                                                                0.35       5.60T
          121              File Folder- No Acco                                                                                       1.00      121.00T
          0.5              Hand Labor Project                                                                                        35.00       '17.50
                           California Sales Tax                                                                                      9.00%       37.57




Payment Terms: Client dl~· ~u.J.: lo pay dll amounts due wit 1li!l tl1e   tf"·-~,;~; lndiCi:-.t(·~d   on tt!e invo!re. Lr.:te
pnyonerH~ DC( rue Flterest dt 1.~!% pel" rnon;_h.                                                                                                    $472.48

                                                                                                                                                          $0.00
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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 383 of 708




                    A – 150
                   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 384 of 708




                   iDISCOVER
                                                                                                     Please remit to:
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  Electronic Discovery & Litigation Support Services



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101 00 Santa Monica Blvd.                                                                             1 01 00 Santa Monica Blvd.
Suite 2200                                                                                            Suite 2200
Los Angeles, CA 90067                                                                                 Los Angeles, CA 90067




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                              Case Name: Tata America re Heldt

                             Instructions/Descriptions: Docs from FTP BBx1 slipsheet per
                             doc. More request BBx2.

           3,989              Blowback Slip Sheet per Document                                                                    0.11      438.79T
                              California Sales Tax                                                                               9.00%       39.49




Pilyment Terms: Client c:u!~ •. ,w tn pc?ty all <Jmounts du~ wd.n· 1 ti·Je u:::·n-, ~ 'lld!G\i.H~ nr. t C1 •nvoicc. L' tc
p;.:y:tH:'nts accrue interesl at   1.~)%   per month.                                                                                           $478.28


                                                                                                                                                      $0.00
                    Thank you for choosing iDiscover!
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  cases. For a complete list of all /Discover products and services, go to: www.ldlscoverglobol.com


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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 385 of 708




                    A – 151
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 386 of 708



                                                                                     Please remit to:
                                                                                     iDiscover, LLC
                                                                                     2049 Century Park East
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                                                                                     Los Angeles, CA 90067
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Suite 2200                                                                            Suite 2200
Los Angeles, CA 90067                                                                 Los Angeles, CA 90067




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                        Case Name: Tata America re Heldt

                        job Numbers: CC26068, CC26213, CC26229

          0             Hosting:Monthly User Fees                                                           85.00              0.00
                          - CC26229: Monthly User Fees- May 2016

      33.607            Hosting:Monthly Hosting Fee                                                          10.00            336.07
                          - CC26229: Monthly Hosting Fee- May 2016

        1.25            Hosting:3rd Party Data Loading (Hourly)                                             150.00            187.50
                           - CC26068: 3rd Party Data Loading (Hourly): VOL0001
                        (H01 0, H012, H013 and H015)

        71.1            Forensics:Forensic Data Extraction                                                  300.00           21,330.00
                          - CC26213: Forensic Acquisition of 85 Computers
                          - CC26213: Isolated & Extracted Lotus Notes Email
                        Container Files from Forensic Images; Performed Conversion
                        Activities to Create Reconstituted PST Files
                          - CC26213: Isolated & Extracted Specified Non-Lotus
                        Notes Email Container Files from Forensic Images      ~~~




                                                                                  o't.
Payment Terms; Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                      Sub Total

                                                                                                       Payments/Credits
               Thank you for choosing iDiscover!
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  cases. For a complete list of oil/Discover products and services, go to: www.ldlscoverglobal.com
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                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 387 of 708



                                                                                         Please remit to:
                                                                                         iDiscover, LLC
                                                                                         2049 Century Park East
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                                                                                                                        Invoice
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    Loeb & Loeb                                                                           Loeb & Loeb
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    Los Angeles, CA 90067                                                                 Los Angeles, CA 90067




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             20             Forensics:Forensic Reports                                                          300.00            6,000.00
                               - CC26213: Mounted Forensic Images to Assemble File
                            Type Summary Reports, Directory Tree Reports, and
                            Associated Documentation
                               - CC26213: Performed Requested Searching and Filtering
                            of Grievance


-            21              Media:Hard Drive
                               - CC26213: 21 Hard Drives
                                                                                                                175.00            3,675.00T



                            Misc:Shipping Charge                                                                394.99             394.99
                              - CC26213: Shipping Charge
                            California Sales Tax                                                                9.00%              330.75




    Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
    payments accrue interest at 1.5% per month.                                                                       Sub Total      $32,254.31

                                                                                                           Payments/Credits                  $0.00
                   Thank you for choosing iDiscover!
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      cases. For a complete list of all I Discover products and services, go to: www.idiscoverglobal.com
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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 388 of 708




                    A – 152
           -
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 389 of 708



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                                                                                     Please remit to:
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                                                                                     2049 Century Park East
                                                                                     Suite 4370
                                                                                                                     Invoice
              Built for speed, from the ground up.                                   Los Angeles, CA 90067
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lCS America Head office                                                                10100 Santa Monica Blvd.
101 Park Avenue, 26th Floor                                                            Suite 2200
New York, NY 10178                                                                     Los Angeles, CA 90067




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                        Case Name: lata America re Heldt

                        job Numbers: CC26164, CC26265, CC26359, CC26381,
                        CC26476,CC26479,CC26500,CC26520,CC26523,CC26527,
                        CC26550,CC26556,CC26562,CC26585,CC26679,CC26703,
                        CC26811

         10        ~ Hosting: Monthly User Fees                                                              85.00      850.00
                           - CC26811: Monthly User Fees- june 2016
                           - dbrockman@loeb.com; esmith@loeb.com;
                        mlamar@loeb.com; mloeppert@loeb.com;
                        pdownes@loeb.com; pkrieger@loeb.com;
                        ppham@loeb.com; tbutler@loeb.com; tkennedy@loeb.com;
                        wrichmond@loeb.com

      303.724           Hosting:Monthly Hosting Fee                                                          10.00      3,037.24
                          - CC26811: Monthly Hosting Fee- june 2016

                         Hosting: IN                                                                        350.00      350.00
                           - CC26556: All-Inclusive Pricing (IN) Per GB: lAH003




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payments accrue interest at 1.5% per month.



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              - Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 390 of 708

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                                                                                     iDiscover, LLC
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New York, NY 10178                                                                     Los Angeles, CA 90067




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          2          f   Hosting:OUT                                                                               250.00       500.00
                           - CC26562: All-Inclusive Pricing (OUT) Per GB: 061716
                         TCS011565-TCS012006
                           · CC26585: All-Inclusive Pricing (OUT) Per GB: 062016
                         TCS012007-TCS012106

        0.75             Hosting:3rd Party Data Loading (Hourly)                                                   150.00       112.50
                +          - CC26476: 3rd Party Data Loading (Hourly): VOL01

        2.74
                  -      Processing: Full Tiff Processing Per GB (Compressed)
                           - CC26523: Includes metadata fields, text extraction with
                         native links & image creation: TCSPROD_20160614
                                                                                                                   350.00       959.00




        2.12      ..._   Processing: Full Tiff Processing Per GB (Uncompressed)                                    350.00       742.00
                           - CC26550: Includes metadata fields, text extraction with
                         native links & image creation: No custodian- Volume 061616
                         TCS008451 -TCS011564

       119.51            Processing:Native File Processing Per GB (Filtered Size)                                  200.00      23,902.00
                            - CC26164: Native File Processing Per GB (Filtered
                         Size):TAH001, TAH002, TAH004




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           -   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 391 of 708

                                                                                     Please remit to:
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              iDISCOVER
              Built for                                   ground up.
                                                                                     iDiscover, LLC
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                                                                                     Los Angeles, CA 90067
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Electronic Discovery & Litigation Support Services



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TCS America Head office                                                               10100 Santa Monica Blvd.
101 Park Avenue, 26th Floor                                                           Suite 2200
New York, NY 10178                                                                    Los Angeles, CA 90067




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        80.9            Processing: Native File Processing Per GB (Uncompressed)                           200.00      16,180.00
                          - CC26381: Includes metadata fields & text extraction with
                        native links: TAH005
                           - CC26381: Includes metadata fields & text extraction with
                        native links: TAH006

          5             Processing:iDiscover Minimum Charge                                                 50.00       250.00
                          - CC26679: Includes metadata fields, text extraction with
                        native links & image creation: 062416 TCS0121 07-
                        TCS012108
                          - CC26265: Includes metadata fields, text extraction with
                        native links & image creation: H017
                          - CC26500: Includes metadata fields, text extraction with
                        native links & image creation: H019
                           - CC26527: Includes metadata fields, text extraction with
                        native links & image creation: No custodian- Volume 061516
                        TCS007544-TCS008450
                           - CC26479: Includes metadata fields, text extraction with
                        native links & image creation: No custodian -Volume H018

                        Processing: Technician Charge Per Hour                                              50.00        50.00
                          - CC26359: Technician Charge Per Hour: Customization of
                        GBAMS and Grievance Excels worksheets




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payments accrue interest at 1.5% per month.



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            -  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 392 of 708

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             Built for speed, from
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                                                                                     Los Angeles, CA 90067
                                                                                     Tax ID: XX-XXXXXXX

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New York, NY 10178                                                                     Los Angeles, CA 90067




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       529.67            Processing: Data Ingestion per GB                                                  45.00      23,835.15
                           - CC26381: Includes Data Filtering, De-Nisting,
                         Dedupication & Reporting:
                           - CC26164: Includes Data Filtering, De-Nisting,
                         Dedupication & Reporting: TAH001, TAH002, TAH004

       16,818            Blowback:Biowback- Slip Sheet per Document                                          0.11      1,849.98T
                            - CC26476: Blowback - Slip Sheet per Document
                            - CC26703: Blowback - Slip Sheet per Document
                         California Sales Tax                                                               9.00%       166.50




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                               $72,784.37


                                                                                                                                 $0.00
                Thank you for choosing iDiscover!
          Did you know iDiscover olso provides forensic data and eDiscovery services?
     Since 2007, iDiscover has provided mission-critical eDiscovery support for all types of complex                      $72,784.37
  cases. For a complete list of all iDiscover products and services, go to: www.idiscoverglobal.com
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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 393 of 708




                    A – 153
            -
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 394 of 708



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Questions? please call: (310) 556-7777, or email ap@idiscoverglobal.com




                        Case Name: Tata America re Heldt

                        job Number: CC26439, CC26757, CC26821, CC26875,
                        CC26906,CC26948,CC26973,CC27247,CC27256,CC27271,
                        CC27307

         10         ~   Hosting: Monthly User Fees                                                           85.00       850.00
                           -CC27307: Monthly User Fees- july 2016
                           -dbrockman@loeb.com; esmith@loeb.com;
                        mlamar@loeb.com; mloeppert@loeb.com;
                        pdownes@loeb.com; pkrieger@loeb.com;
                        ppham@loeb.com; tbutler@loeb.com; tkennedy@loeb.com;
                        wrichmond@loeb.com

       517.57            Hosting:Monthly Hosting Fee                                                          10.00      5,175.70
                           -CC27307: Monthly Hosting Fee -july 2016




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.



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          4         y.._   Hosting:OUT                                                                            250.00      1,000.00
                             -CC26757: All-Inclusive Pricing          (OUT) Per GB: 063016
                           TCS012109-TCS021899
                             -CC26821: All-Inclusive Pricing          (OUT) Per GB: 070116
                           TCS012109-TCS012109
                             -CC26973: All-Inclusive Pricing          (OUT) Per GB: 071216
                           TCS02190 1 - TCS021906
                             -CC26757: All-Inclusive Pricing          (OUT) Per GB: REDO-
                           070716 TCS01211 0- TCS021900

        0.25       )(      Hosting:Professional Services                                                          50.00         12.50
                             -CC26948: Professional Services: Created new fields and
                           updated coding layout.

     2,201.62              Processing: Data Ingestion per GB                                                      45.00       99,072.90
                             -CC26439: Includes Data Filtering, De-Nisting,
                           Dedupication & Reporting:

       139.31
                   -       Processing:Native File Processing Per GB (Filtered Size)
                              -CC26439: Native File Processing Per GB (Filtered
                           Size):Selected custodians- Andrillo, Chinnari, Kumar,
                                                                                                                  200.00      27,862.00



                           Mackenzie, Malladi, Seetharaman, Sharma, Srinivasan,
                           Venugopalan




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          4             Processing:iDiscover Minimum Charge                                                  50.00        200.00
                          -CC26875: Includes metadata fields, text extraction                  with
                        native links & image creation: 070116 TCS0121 09-
                        TCS012109
                          -CC26821: Includes metadata fields, text extraction                  with
                        native links & image creation: TAH007
                          -CC27256: Includes metadata fields, text extraction                  with
                        native links & image creation: TAH007A
                          -CC26973: Includes metadata fields, text extraction                  with
                        native links & image creation: TAH008

       137.5            Forensics-Reports                                                                    300.00      41,250.00
                            -Isolated and Extracted 610 Lotus Notes Email Container
                        Files from 83 Forensic Images; Performed Conversion
                        Activities to Create Reconstituted PST Files for Delivery

        53.3            Forensics-Reports                                                                    300.00      15,990.00
                          -Isolated 115 Lotus Notes Email Container Files for 109
                        Custodians from Internally Collected Data; Performed
                        Conversion Activities to Create Reconstituted PST Files for
                        Delivery

        38.7            Forensics-Reports                                                                    300.00      11,610.00
                          -Isolated & Extracted Specified Non-Lotus Notes Email
                        Container Files from 83 Forensic Images


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                        15.2              Forensics-Forensic Data Extraction                                           300.00        4,560.00
                                            -Forensic Acquisition of 16 Computers

                        28.5              Forensics-Reports                                                             300.00       8,550.00
                                             -Isolated and Extracted Lotus Notes Email Container Files
                                          from 16 Forensic Images; Performed Conversion Activities to
                                          Create Reconstituted PST Files for Delivery

                        12.7              Forensics-Reports                                                             300.00       3,810.00
                                            -Isolated & Extracted Specified Non-Lotus Notes Email
                                          Container Files from 16 Forensic Images


                                I
                                          Media-Hard Drive                                                             5,600.00      5,600.00T
                                            -32 Remote Collection Kits- High Capacity

                        .<          'f-   Mise-Courier Charge                                                           655.18        655.18
                    I                       -Shipping
                ;

            I
                                          Mise-Courier Charge                                                           231.86        231.86
    I
        I
                                            -Shipping
I


~~                                  f--   Misc:Federal Express
                                             -CC26439: Federal Express: Shipping Original Media to
                                                                                                                        65.78         65.78

                             "'-,         Client: 776871756971
                                    ~     California Sales Tax                                                          9.00o/o       504.00


Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                                            $226,999.92


                                                                                                                                                $0.00
                                Thank you for choosing iDiscover!
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           Since 2007, iDiscover has provided mission-critical eDiscovery support for all types of complex                             $226,999.92
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                    A – 154
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 399 of 708



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New York, NY 10178                                                                     Suite 2200
                                                                                       Los Angeles, CA 90067




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                        Case Name: Tata America re Heldt

                         Instructions/Descriptions: Loeb           1   Tata America    1   3rd Party
                         Load.

        434              Blowback Slip Sheet per Document                                                     0.11      47.74T
                         CA Sales Tax                                                                        8.75%       4.18




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                                  $51.92


                                                                                                                                 $0.00
               Thank you for choosing iDiscover!
           Did you know iDiscover also provides forensic data and eDiscovery services?
     Since 2007, iDiscover has provided mission-critical eDiscavery support far all types of camp/ex                         $51.92
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                    A – 155
            -  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 401 of 708

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                                                                                       Los Angeles, CA 90067




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                        Case Name: Tata America re Heldt

                        Instructions/Descriptions: Loeb            I   Tata America    1   Prints.

        266             Blowback Slip Sheet per Document                                                      0.11      29.26T
        0.5             Hosting Fee                                                                          50.00       25.00
                        CA Sales Tax                                                                         8.75%        2.56




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                                  $56.82


                                                                                                                                 $0.00
               Thonk you for choosing iDiscover!
           Did you know iDiscover also provides forensic dato and eDiscovery services?
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                    A – 156
           -
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 403 of 708



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                        Case Name: Tata America re Heldt

                        Instructions/Description: Loeb           1   Tata America     I   DVD to Print

      24,428            Blowback Slip Sheet per Document                                                         0.11      2,687.08T
          1             iDiscover Minimum Charge- Includes metadata fields, text                                50.00        50.00
                        extraction with native links and image creation
                        CA Sales Tax                                                                           8.75%        235.12




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                                    $2,972.20


                                                                                                                                     $0.00
               Thonk you for choosing iDiscover!
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                    A – 157
            -  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 405 of 708

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                                                                                                                     Invoice
            iDISCOVER
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                                                                                     iDiscover, LLC
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Electronic Discovery & Litigation Support Services



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New York, NY 10178                                                                     Suite 2200
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                         Case Name: lata America re Heldt

                         Instructions/Descriptions: Loeb           1   lata America    1   DVD to
                         Print

       10,391           Blowback Slip Sheet per Document                                                      0.11      1,143.01T
         14             4 Inch Binder Full View                                                              19.50       273.00T
                        iDiscover Minimum Charge- Includes metadata fields, text                             50.00        50.00
                        extraction with native links and image creation
                        CA Sales Tax                                                                         8.75%       123.90




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. late
payments accrue interest at 1.5% per month.                                                                                 $1,589.91


                                                                                                                                  $0.00
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                    A – 158
           -
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 407 of 708



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                        Case Name: Tata America re Heldt

                        Job Number: CC27690, CC27904, CC27913, CC27953,
                        CC27966,CC28028,CC28031,CC28037,CC28066,CC28070,
                        CC28080,CC28081,CC28105,CC28116,CC28117,CC28120,
                        CC28155,CC28170,CC28195,CC28212,CC28260,CC28294,
                        CC28298,CC28321,CC28324,CC28393,CC28401,CC28441

      921.814       'f... Hosting:Monthly Hosting Fee                                                        10.00      9,218.14
                           - CC28441: Monthly Hosting Fee - Sept 2016

         15        J(   Hosting: Monthly User Fees                                                           85.00      1,275.00
                           - CC28441: Monthly User Fees- Sept 2016
                           - arsampat@loeb.com; axparseghian@loeb.com;
                        dbrockman@loeb.com; esmith@loeb.com;
                        jrjohnson@loeb.com; kacalvin@loeb.com;
                        mlamar@loeb.com' mloeppert@loeb.com;
                        pdownes@loeb.com;
                        pkrieger@loeb.com; ppham@loeb.com; tbutler@loeb.com;
                        tkennedy@loeb.com; vbriseno@loeb.com;
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          7         ;:>'( Hosting:OUT                                                                       250.00      1,750.00
                          - CC28321: All-Inclusive Pricing (OUT) Per GB: 092716
                        TCS029666-TCS029666
                          - CC27953: All-Inclusive Pricing (OUT) Per GB: 090716
                        TCS021907-TCS021912
                          - CC28031: All-Inclusive Pricing (OUT) Per GB: 091216
                        TCS021913-TCS021915
                          - CC28081: All-Inclusive Pricing (OUT) Per GB: 091516
                        TCS021916-TCS029648
                          - CC28117: All-Inclusive Pricing (OUT) Per GB: 091516
                        TCS029649-TCS029657
                          - CC28195: All-Inclusive Pricing (OUT) Per GB: 092016
                        TCS029658-TCS029664
                          - CC28212: All-Inclusive Pricing (OUT) Per GB: 092116
                        TCS029665-TCS029665

      310.195           Hosting: IN                                                                         200.00      62,039.00
                          - CC27904: All-Inclusive Pricing (IN) Per GB: TATA001
                          - CC28260: All-Inclusive Pricing ( IN ) Per GB: Volume
                        TATA002- Custodians; Ganapathy, Balaji; Kumar, Umesh
                          - CC28260: All-Inclusive Pricing ( IN ) Per GB: Volume
                        TATA003- Custodians; Sharma, jevak; Shobitha, Hannah;
                        Tripathi, Chinmay
                          - CC28070: All-Inclusive Pricing (IN) Per GB: TAH014




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                                                                                     Tax ID: XX-XXXXXXX

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                        Hosting:3rd Party Data Loading (Hourly)                                            150.00      150.00
                          - CC28028: 3rd Party Data Loading (Hourly): Loaded data
                        provided by client

         4.5            Hosting:Professional Services                                                       50.00      225.00
                           - CC28401: Professional Services: Created reviewer
                        statistics report.
                            - CC28324: Professional Services: Exported and renamed
                        excel files to match order of client saved search, placing the
                        files in custodian level folders. Date=20160928
                            - CC28324: Professional Services: Exported and renamed
                        excel files to match order of client saved search.
                        Date=20160927
                            - CC27966: Professional Services: Updated prefix for
                        control numbering for documents from TCS001




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. late
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Questions? please calf: (310) 556-7777, or email ap@idiscoverglobal.com




          9             Processing:iDiscover Minimum Charge                                                 50.00       450.00
                          - CC28037: Includes metadata fields, text extraction with
                        native links & image creation: Custodian TCS- Volume
                        TAH013
                          - CC28116: Includes metadata fields, text extraction with
                        native links & image creation: Custodian TCS- Volume
                        TAH017
                          - CC28195: Includes metadata fields, text extraction with
                        native links & image creation: Custodian TCS- Volume
                        TAH019
                          - CC28294: Includes metadata fields, text extraction with
                        native links & image creation: Custodian TCS- Volume
                        TAH021
                          - CC27953: Includes metadata fields, text extraction with
                        native links & image creation: TAH011
                          - CC28031: Includes metadata fields, text extraction with
                        native links & image creation: TAH012
                          - CC28080: Includes metadata fields, text extraction with
                        native links & image creation: TAH015
                          - CC281 OS: Includes meta data fields, text extraction with
                        native links & image creation: TAH016
                          - CC281 OS: Includes metadata fields, text extraction with
                        native links & image creation: TAH016

                        002-Hard Drive                                                                      175.00      175.00T
                          - Media-Hard Drive

Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.



               Thonk you for choosing iDiscover!
          Did you know iDiscover also provides forensic data and eDiscovery services?
     Since 2007, iDiscover has provided mission-critical eDiscovery support for all types of camp/ex
  cases. For a complete list of all iDiscover products and services, go to: www.idiscoverglobol.com
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                                          Tel: (310) 556-7777    I Fax: (310) 556-8686 I www.idiscoverglobal.com
            -   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 411 of 708



            iDISCOVER
                                                                                     Please remit to:
                                                                                     iDiscover, LLC
                                                                                     2049 Century Park East
                                                                                     Suite 4370
                                                                                                                     Invoice
               Built for speed, from                                     up.         Los Angeles, CA 90067
                                                                                     TaxiD:XX-XXXXXXX

Electronic Discovery & Litigation Support Services



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101 Park Avenue, 26th Floor                                                            Suite 2200
New York, NY 10178                                                                     Los Angeles, CA 90067




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        10.7              001-Forenisc per Hour                                                             300.00      3,210.00
                           - Forensics-Forensic Data Extraction

         3.2              001-Forenisc per Hour                                                             300.00      960.00
                            - Forensics-Forensic Data Extraction

                    y..   003-Shipping                                                                      94.72        94.72
                            - Mise-Courier Charge
                          California Sales Tax                                                              9.00%        15.75




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                                $79,562.61


                                                                                                                                   $0.00
                Thonk you for choosing iDiscover!
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     Since 2007, iDiscover has provided mission-critical eDiscovery support for all types of complex                       $79,562.61
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                    A – 159
             -   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 413 of 708

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 101 Park Avenue, 26th Floor                                                            Suite 2200
 New York, NY 10178                                                                     Los Angeles, CA 90067




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                         Case Name: Tata America re Heldt

                         job Number: CC28292, CC28435, CC28508, CC28550,
                         CC28672,CC28889,CC28912,CC29000

          16
                     "   Hosting: Monthly User Fees
                            - CC29000: Monthly User Fees - Oct 2016
                            - arsampat@loeb.com; axparseghian@loeb.com;
                                                                                                              85.00       1,360.00



                         dbrockman@loeb.com
                         esmith@loeb.com; jjbafohmanin@loeb.com;
                         jrjohnson@loeb.com; kacalvin@loeb.com
                         mlamar@loeb.com; mloeppert@loeb.com;
                         pdownes@loeb.com; pkrieger@loeb.com
                         ppham@loeb.com; tbutler@loeb.com; tkennedy@loeb.com;
                         vbriseno@loeb.com
                         wrichmond@loeb.com

      1,029.687      ''(v Hosting:Monthly Hosting Fee                                                          10.00      10,296.87
                            - CC29000: Monthly Hosting Fee- Oct 2016

        10.611           Hosting: OUT                                                                         250.00      2,652.75
                           - CC28672: All-Inclusive Pricing (OUT) Per GB: 102116
                         TCS029667- TCS215081




 Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
 payments accrue interest at 1.5% per month.



                 Thank you for choosing iDiscover!
           Did you know iDiscover olso provides forensic dotoond eDiscovery services?
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                         Hosting: IN
                          - CC28292: All-Inclusive Pricing (IN) Per GB: Kowuri

          6             Hosting: Professional Services                                                            50.00       300.00
                          - CC28550: Professional Services: Added security to
                        specific folders
                          - CC28912: Professional Services: Exported native files for
                        two custodians: 2nd TCS Custodians\Kowuri, Suresh and
                        TCS Custodians\Mackenzie, Sarajane
                          - CC28435: Professional Services: Moved documents to
                        custodian folders and subfoldered based on privilege search
                        terms.

                        Processing:iDiscover Minimum Charge                                                       50.00        50.00
                          - CC28889: Includes metadata fields, text extraction with
                        native links & image creation: TATA005

       535.04            Processing: Data Ingestion per GB                                                        45.00      24,076.80
                           - CC28508: Includes Data Filtering, De-Nisting,
                         Dedupication & Reporting:
                           - CC28292: Includes Data Filtering, De-Nisting,
                         Dedupication & Reporting: Kowuri

                        Media:Hard Drive                                                                          160.00     160.00T
                         - CC28912: Hard Drive
                        California Sales Tax                                                                      9.00%        14.40

Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                                     $44,544.82


                                                                                                                                       $0.00
                Thonk you for choosing iDiscover!
          Did you know iDiscover olso provides forensic data and eDiscovery services?
     Since 2007, iDiscover has provided mission-critical eDiscovery support for all types of complex                            $44,544.82
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                    A – 160
            -
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 416 of 708



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                         Case Name: lata America re Heldt

                        job Number: CC28968, CC28988, CC29072, CC29125,
                        CC29243,CC29255,CC29270,CC29290,CC29309,CC29350,
                        CC29366,CC29394,CC29406,CC29412,CC29413,CC29468,
                        CC29568

         28         Y:.. Hosting: Monthly User Fees                                                         85.00      2,380.00
                           - CC29568: Monthly User Fees- Nov 2016
                           - akshah@loeb.com; arsampat@loeb.com;
                        axparseghian@loeb.com
                        bkwong@loeb.com' blcavanaugh@loeb.com;
                        dbrockman@loeb.com; esmith@loeb.com
                        gxchen@loeb.com; ixtalleyrand@loeb.com;
                        jamcclain@loeb.com; jjbafohmanin@loeb.com
                        jrjohnson@loeb.com; jxporecha@loeb.com;
                        kacalvin@loeb.com; kdwhitfield@loeb.com
                        lwilliams@loeb.com; mjpowell@loeb.com;
                        mlamar@loeb.com; mloeppert@loeb.com
                        pdownes@loeb.com; pkrieger@loeb.com;
                        ppham@loeb.com; rmeshell@loeb.com
                        tbutler@loeb.com; tkennedy@loeb.com;
                        tmadolph@loeb.com; vbriseno@loeb.com
                        wrichmond@loeb.com


Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.



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                      for speed, from the ground up.                                 Los Angeles, CA 90067
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New York, NY 10178                                                                    Los Angeles, CA 90067




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                        Hosting:Monthly Hosting Fee
                         - CC29568: Monthly Hosting Fee -Nov 2016

         4.8            Hosting:OUT                                                                        250.00      1,200.00
                          - CC29406: All-Inclusive Pricing (OUT) Per GB: 112816
                        TCS029667-TCS179342

       73.54            Hosting: IN                                                                        200.00      14,708.00
                          - CC29394:      All-Inclusive Pricing ( IN ) Per GB:
                          - CC29412:      All-Inclusive Pricing ( IN ) Per GB: Andrillo, Brian
                          - CC29350:      All-Inclusive Pricing ( IN ) Per GB: Heather
                        Axelrod
                          - CC29309:      All-Inclusive Pricing (IN) Per GB: TATA007

         4.5            Hosting:Professional Services                                                       50.00       225.00
                          - CC29468: Professional Services: Created 'Axelrod H'
                        batch set and batched documents based on search term and
                        custodian criteria.
                          - CC29366: Professional Services: Exported Natives for 3
                        requested searches.
                          - CC29468: Professional Services: Tagged Documents and
                        Created Saved searches for 7 long search strings
                          - CC29255: Professional Services: Updated specific STR,
                        updated STR, and moved documents to specific folders.
                          - CC29243: Professional Services: Updated user rights for
                        the power user group.

Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.



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        530             Blowback: Blowback- Slip Sheet per Document                                                0.11      58.30T
                          - CC29290: Blowback- Slip Sheet per Document
                        California Sales Tax                                                                      9.00%       5.25




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                                    $32,640.32


                                                                                                                                      $0.00
               Thank you for choosing iDiscover!
           Did you know iDiscover also provides forensic data and eDiscovery services?
     Since 2007, iDiscover has provided mission-critical eDiscovery support for all types of complex                           $32,640.32
  cases. For a complete list of all iDiscover products and services, go to: www.idiscoverglobal.com
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                    A – 161
           -   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 420 of 708

                                                                                     Please remit to:
                                                                                                                     Invoice
            iDISCOVER
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                                                                                     iDiscover, LLC
                                                                                     2049 Century Park East
                                                                                     Suite 4370
                                                                                     Los Angeles, CA 90067
                                                                                     TaxiD:XX-XXXXXXX

Electronic Discovery & Litigation Support Services



Tata Consultancy Services Limited                                                     Loeb & Loeb
101 Park Avenue, 26th Floor                                                           101 00 Santa Monica Blvd.
New York, NY 10178                                                                    Suite 2200
                                                                                      Los Angeles, CA 90067




Questions? please call: (310) 556-7777, or email ap@idiscoverglobal.com




                        Case Name: Tata America re Heldt

                        Instructions/Description: Loeb           I Tata America I Documents
                        to Print

         526            Blowback - Loose no Breaks                                                           0.11       57.86T
                        iDiscover Minimum Charge- Includes metadata fields, text                             50.00       50.00
                        extraction with native links and image creation
                        CA Sales Tax                                                                        8.75%        5.06




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                                     $112.92


                                                                                                                                  $0.00
               Thank you for choosing iDiscover!
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     Since 2007, iDiscover has provided mission-critical eDiscovery support for all types of complex                            $112.92
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                    A – 162
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 422 of 708



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                        Case Name: Tata America re Heldt

                        Instructions/Description: Loeb           I Tata America I Hot Docs
                        Printing

       1,693            Blowback Slip Sheet per Document                                                     0.11      186.23T
                        CA Sales Tax                                                                        8.75%       16.30




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payments accrue interest at 1.5% per month.                                                                                 $202.53


                                                                                                                                 $0.00
               Thank you for choosing iDiscover!
           Did you know /Discover olso provides forensic doto ond eDiscovery services?
     Since 2007, iDiscover has provided mission-critical eDiscavery support far all types of complex                        $202.53
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                    A – 163
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 424 of 708



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                        Case Name: Tata America re Heldt

                        job Number: CC29487, CC29628, CC29630, CC29709,
                        CC29712,CC29724,CC29757,CC29763,CC29791,CC29809,
                        CC29810,CC29811,CC29815,CC29822,CC29870,CC29884,
                        CC29961,CC29973,CC29985,CC30076




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payments accrue interest at 1.5% per month.



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New York, NY 10178                                                                    Los Angeles, CA 90067




Questions? please call: (310) 556-7777, or email ap@idiscoverglobal.com




                        Hosting:Monthly User Fees
                           - CC30076: Monthly User Fees- Dec 2016
                           - akshah@loeb.com; arsampat@loeb.com;
                        axparseghian@loeb.com
                        bkwong@loeb.com; blcavanaugh@loeb.com;
                        dbrockman@loeb.com; dykrol@loeb.com
                        ededwards@loeb.com; esmith@loeb.com;
                        gxchen@loeb.com; ixtalleyrand@loeb.com
                        jamcclain@loeb.com; jjbafohmanin@loeb.com;
                        jrjohnson@loeb.com; jsrosenberg@loeb.com
                        jxporecha@loeb.com; kacalvin@loeb.com;
                        kdwhitfield@loeb.com; klcrowder@loeb.com
                        lwilliams@loeb.com; mjpowell@loeb.com;
                        mlamar@loeb.com; mloeppert@loeb.com
                        pdownes@loeb.com; pkrieger@loeb.com;
                        ppham@loeb.com; rmeshell@loeb.com
                        tbutler@loeb.com; tkennedy@loeb.com;
                        tmadolph@loeb.com; vbriseno@loeb.com
                        wrichmond@loeb.com; zwrosenberg@loeb.com;
                        zxborjian@loeb.com

     3,038.468    'f.   Hosting:Monthly Hosting Fee                                                         10.00      30,384.68
                         - CC30076: Monthly Hosting Fee- Dec 2016




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. late
payments accrue interest at 1.5% per month.



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                                                                                     Please remit to:
                                                                                     iDiscover, LLC
                                                                                     2049 Century Park East
                                                                                     Suite 4370
                                                                                                                    Invoice
            Built for speed, from the ground up.                                     Los Angeles, CA 90067
                                                                                     Taxl0:XX-XXXXXXX

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New York, NY 10178                                                                    Los Angeles, CA 90067




Questions? please call: (310) 556-7777, or email ap@idiscoverglobal.com




     52.2872       X Hosting: OUT                                                                          250.00      13,071.80
                          - CC29815: All-Inclusive Pricing (OUT)              Per GB: 122016
                        TCSLTD000179343-TCSLTD000203792
                          - CC29815: All-Inclusive Pricing (OUT)              Per GB: 122316
                        TCSLTD000203793-TCSLTD000617942
                          - CC29884: All-Inclusive Pricing (OUT)              Per GB: 122316
                        TCSLTD000617943-TCSLTD000625716
                          - CC29815: All-Inclusive Pricing (OUT)              Per GB: 122816
                        TCSLTD000625717-TCSLTD001396831

      141.515           Hosting: IN                                                                        200.00      28,303.00
                         - CC29822: All-Inclusive Pricing (IN) Per GB: TATA011
                         - CC29822: All-Inclusive Pricing (IN) Per GB: TATA012




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
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                                                                                     iDiscover, LLC
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                                                                                                                    Invoice
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                                                                                     Tax ID: XX-XXXXXXX

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TCS America Head office                                                               10100 Santa Monica Blvd.
101 Park Avenue, 26th Floor                                                           Suite 2200
New York, NY 10178                                                                    Los Angeles, CA 90067




Questions? please call: (310) 556-7777, or email ap@idiscoverglobal.com




         10             Hosting:Professional Services                                                       50.00      500.00
                           - CC29724: Professional Services
                           - CC29763: Professional Services
                           - CC29961: Professional Services: Applied public tags to
                        documents returned by 7 client saved searches and updated
                        client provided spreadsheet for custodian hits.
                           - CC29791: Professional Services: Batching of documents
                           - CC29811: Professional Services: Created 3 TCS custodian
                        saved searches using client provided criteria.
                           - CC29630: Professional Services: Created 'Andrillo B'
                        batch set and batched documents based on search term and
                        custodian criteria.
                           - CC29985: Professional Services: Created batch sets and
                        review batches; Ambika G, Jindall A and Kumar U.
                           - CC29809: Professional Services: Created batches
                           - CC29487: Professional Services: Created 'Galicki B' batch
                        set and batched documents based on search term and
                        custodian criteria.
                           - CC29757: Professional Services: Created 'Shobitha,
                        Hannah Modified' batch set and batched documents based
                        on search term and custodian criteria.
                           - CC29709: Professional Services: Created 'Shyam Chinnari
                        7 Strings' batch set and batched documents based on search
                        term and custodian criteria.




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.



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            -  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 428 of 708

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                    ""-   Hard Drive                                                                         150.00      150.00T
                           - CC29815: Hard Drive

       2,094              Blowback - Staple/Clip per Document                                                 0.13       272.22T
                            - CC29973: Blowback- Staple/Clip per Document

                          Misc:Federal Express                                                               55.07        55.07
                            - CC29815: Federal Express
                          California Sales Tax                                                               9.00%        38.00




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5o/o per month.                                                                              $75,664.77


                                                                                                                                   $0.00
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                    A – 164
           -    Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 430 of 708

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                        Case Name: Tata America re Heldt

                        Instructions/Description: Loeb           1   Tata America     I   Hot Docs
                        Printing

       12,971           Blowback Slip Sheet per Document                                                        0.11      1,426.81T
                        CA Sales Tax                                                                           8.75%        124.85




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                                   $1,551.66


                                                                                                                                  $0.00
                Thonk you for choosing iDiscover!
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                    A – 165
           -   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 432 of 708

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                        Case Name: Tata America re Heldt

                        job Number: CC29977, CC29999, CC30024, CC30042,
                        CC30051,CC30180,CC30187,CC30206,CC30251,CC30260,
                        CC30280,CC30309,CC30332,CC30344,CC30345,CC30374,
                        CC30389,CC30421,CC30454,CC30485,CC30573

         34      '>G    Hosting:Monthly User Fees                                                                 85.00      2,890.00
                           - CC30573: Monthly User Fees -jan 2017
                           - akshah@loeb.com; arsampat@loeb.com;
                        axparseghian@loeb.com; bkwong@loeb.com
                        blcavanaugh@loeb.com; dbrockman@loeb.com,
                        dykrol@loeb.com, ededwards@loeb.com
                        esmith@loeb.com, gxchen@loeb.com,
                        ixtalleyrand@loeb.com, jamcclain@loeb.com
                        ]bafohmanin@loeb.com, jrjohnson@loeb.com,
                        jsrosenberg@loeb.com, jxporecha@loeb.com
                        kacalvin@loeb.com, kdwhitfield@loeb.com,
                        klcrowder@loeb.com, lwilliams@loeb.com
                         mjpowell@loeb.com, mlamar@loeb.com,
                         mloeppert@loeb.com, pdownes@loeb.com
                         pkrieger@loeb.com, ppham@loeb.com, rmeshell@loeb.com,
                        tmadolph@loeb.com
                        vbriseno@loeb.com, wrichmond@loeb.com,
                        zwrosenberg@loeb.com, zxborjian@loeb.com

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    5,079.855      'f   Hosting:Monthly Hosting Fee                                                         10.00      50,798.55
                         - CC30573: Monthly Hosting Fee -jan 2017

      122.385       ')< Hosting:OUT                                                                        250.00      30,596.25
                          - CC29977: All-Inclusive Pricing (OUT)              Per GB: 010417
                        TCSLTD001396832-TCSLTD001462689
                          - CC29999: All-Inclusive Pricing (OUT)              Per GB: 010417
                        TCSLTD001462690-TCSLTD001462721
                          - CC29977: All-Inclusive Pricing (OUT)              Per GB: 010917
                        TCSLTD001462721 -TCSLTD003070661
                          - CC30024: All-Inclusive Pricing (OUT)              Per GB: 011017
                        TCSLTD003070662-TCSLTD003607316
                          - CC30260: All-Inclusive Pricing (OUT)              Per GB: 011717
                        TCSLTD001462721 -TCSLTD003463393




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          5              Hosting:Professional Services                                                        50.00        250.00
                            - CC30187: Professional Services: Created batches
                            - CC30421: Professional Services: Created jindal LCA'
                         batch set.
                            - CC30042: Professional Services: Created 'Kowuri Review
                         2' batch set and batched documents based on search term
                         and custodian criteria.
                            - CC30332: Professional Services: Created 'Kumar LCA'
                         batch set.
                            - CC30344: Professional Services: Created 'Shobitha LCA'
                         batch set.
                            - CC30180: Professional Services: Export documents to
                         .pdf files
                            - CC30309: Professional Services: Moved documents for
                         requested custodians.

       16,815            Blowback:Biowback- Loose no Breaks                                                    0.08       1,345.20T
                           - CC30251: Blowback- Loose no Breaks
                           - CC30389: Blowback - Loose no Breaks

                         Media:Hard Drive                                                                     180.00      180.00T
                          - CC30260: Hard Drive

                         Misc:Federal Express                                                                 55.07        55.07
                           - CC30260: Federal Express
                         California Sales Tax                                                                 9.00%        137.27

Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                                  $86,252.34


                                                                                                                                    $0.00
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                    A – 166
           -
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 436 of 708



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                        Case Name: lata America re Heldt

                        job Number: CC30230, CC30544, CC30550, CC30551,
                        CC30552,CC30559,CC30623,CC30636,CC30638,CC30646,
                        CC30648,CC30653,CC30654,CC30669,CC30675,CC30676,
                        CC30677,CC30682,CC30687,CC30688,CC30689,CC30690,
                        CC30699,CC30716,CC30722,CC30723,CC30734,CC30736,
                        CC30737,CC30744,CC30745,CC30873,CC30895,CC30911,
                        CC30941,CC30994,CC31022,CC31055,CC31144




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                           Hosting:Monthly User Fees
                              - CC31144: Monthly User Fees- Feb 2017
                              - akshah@loeb.com,
                           arsampat@loeb.com,sherman@loeb.com,
                           axparseghian@loeb.com
                           bkwong@loeb.com,blcavanaugh@loeb.com,dbrockman@loe
                           b.com,dykrol@loeb.com
                           ededwards@loeb.com,esmith@loeb.com,gxchen@loeb.com,
                           ixtalleyrand@loeb.com
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                           b.com,jsrosenberg@loeb.com
                           jxporecha@loeb.com,kacalvin@loeb.com,kdwhitfield@loeb.c
                           om,klcrowder@loeb.com
                           lwilliams@loeb.com,mjpowell@loeb.com,mlamar@loeb.com,
                           mloeppert@loeb.com
                           pdownes@loeb.com,pkrieger@loeb.com,ppham@loeb.com,r
                           meshell@loeb.com
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                           ,vbriseno@loeb.com
                           wrichmond@loeb.com,zwrosenberg@loeb.com,zxborjian@lo
                           eb.com

     7,885.205      y...   Hosting:Monthly Hosting Fee                                                      10.00      78,852.05
                            - CC31144: Monthly Hosting Fee- Feb 2017




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                          Hosting:OUT
                            - CC30559: All-Inclusive Pricing (OUT) Per GB: 020117
                          TCSLTD003463396-TCSLTD003463538
                            - CC30646: All-Inclusive Pricing (OUT) Per GB: 020217
                          TCSLTD003463539-TCSLTD003463998
                            - CC30654: All-Inclusive Pricing (OUT) Per GB: 020217
                          TCSLTD003463999-TCSLTD003467378
                            -0 CC30653: All-Inclusive Pricing (OUT) Per GB: 020317
                          TCSLTD003467379-TCSLTD003468232
                            - CC30638: All-Inclusive Pricing (OUT) Per GB: 020317
                          TCSLTD003468233-TCSLTD003718948
                            - CC30676: All-Inclusive Pricing (OUT) Per GB: 020617
                          TCSLTDOOS447590-TCSLTDOOS448618
                            - CC30669: All-Inclusive Pricing (OUT) Per GB: 020717
                          TCSLTD003725888-TCSLTD005447589
                            - CC30723: All-Inclusive Pricing (OUT) Per GB: 020817
                          TCSLTD005448619-TCSLTD005448888
                            - CC30736: All-Inclusive Pricing (OUT) Per GB: 020817
                          TCSLTDOOS448889 - TCSLTDOOS625721
                            - CC30745: All-Inclusive Pricing (OUT) Per GB: 020917
                          TCSLTD005625722-TCSLTD005646989
                            - CC30636: All-Inclusive Pricing (OUT) Per GB: 020317
                          TCSLTD003718949- TCSL TD003725887

       544.44       'f!   Hosting: IN                                                                       200.00    108,888.00
                           - CC30687: All-Inclusive Pricing ( IN ) Per GB:

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                           - CC30688: All-Inclusive Pricing (IN) Per GB:
                           - CC30689: All-Inclusive Pricing ( IN ) Per GB:
                           - CC30690: All-Inclusive Pricing (IN) Per GB:
                           - CC30737: All-Inclusive Pricing ( IN ) Per GB:
                           - CC30623: All-Inclusive Pricing ( IN ) Per GB: Custodian TCS
                        -Volume TATA014
                           - CC30994: All-Inclusive Pricing (IN ) Per GB: No custodian-
                        Volume TATA025
                           - CC30559: All-Inclusive Pricing (IN) Per GB: TATA013
                           - CC30648: All-Inclusive Pricing (IN) Per GB: TATA016
                           - CC30873: All-Inclusive Pricing (IN) Per GB: TATA022
                           - CC30911: All-Inclusive Pricing (IN) Per GB: TATA023
                           - CC30873: All-Inclusive Pricing (IN) Per GB: TATA024
                           - CC30636: All-Inclusive Pricing ( IN ) Per GB: Custodians;
                        Acharya, Namita; Adebiyi, Murliat; Alva, Kavya; Arun, Isaac;
                        Atkinson, jeanette; Bailey, Kisha; Basha, Nazia; Bettini,
                        Paulina; Blandford, Melissa; Bui, jean; Chabungbam,
                        Paramananda; Chachra, Payal; Chawla, Pooja; Chopra,
                        Ratan; Choudhury, Vandana; Dagosta, Dana; Dasgupta,
                        Sunetra; Davis, lmani; Digirolamo, Melissa; Dwivedi, Pooja
                        Prasad; Ellis, Antoinette; Evans, julia; Flanders, Amber;
                        Forest, Mary; Giardina, Jennife; Giardina, Jennifer; Gomez,
                        Donna; Goswami, Pallabita; Gupta, Sakshi; Hada, Gunjan;
                        Harris, Ericka; Healey, Rebecca; Hess, Daniel; JS, Oliver;
                        Jindal, Tanu-Priya; Jindal, Tanupriya; jorges, Trista; Kannan,
                        Vijay; Karnik, Nisha; Katdare, Rati; Kidwai, Anjum; Krenning,

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                         Kimberly; Kumar, Samarjeet; M, Kalaa; Maheshwari, Am it;
                         Majumdar, Sujata; Martens, james; Mathur, Priyanka;
                         Mattaliano, Paul; Melendez, Carlos; Mendoza, Luis; Nishtala,
                        Shrinivas; Panwar, Suchitra; Perez, Monica; Pierce, Nathan;
                         Prakash MP, Lakshman; Prather, Lisa; Praveen,
                         Mathew-John; Rajput, Sumit; Rastogi, Gaurav; Redkar,
                        Sachin; Reeves, Bridget; Rodrigues, Pam; Rodriguez, Luis;
                         Roth, Marc A; Saeger, Casey; Salamon, joanna; Scarborough,
                        james; Seetharaman, Ashok; Sen, Debojyoti; Sharma,
                         Pankhuri; Smalley, Gina; Sperczak, Paulina; Taylor, Myrna;
                        Varghese, Jyoti; Venugopalan, Balaji; Washington, Angela;
                        Wei Xiao, Wen- Volume TATA015




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.



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                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 441 of 708

                                                                                             Please remit to:
                                                                                             iDiscover, LLC
                                                                                             2049 Century Park East
                                                                                             Suite 4370
                                                                                                                                               Invoice
                                                                                             Los Angeles, CA 90067
                                                                                             TaxiD:XX-XXXXXXX

 Electronic Discovery & Litigation Support Services

   Bill To:                                                                                       Ship To:
Tata America lnt'l Corporation                                                                 Loeb & Loeb
TCS America Head office                                                                        101 00 Santa Monica Blvd.
101 Park Avenue, 26th Floor                                                                    Suite 2200
New York, NY 10178                                                                             Los Angeles, CA 90067




Questions? please call: (310) 556-7777, or email ap@idiscoverglobal.com




          5             Hosting:Professional Services                                                                                 50.00          250.00
                           - CC30734: Professional Services: Created Batches
                           - CC30682: Professional Services: Created Priv batches and
                        Privilege Review view within the review batches.
                           - CC30682: Professional Services: Created 'Privilege QC'
                        field and updated reviewed field in Priv batches.
                           - CC30895: Professional Services: documents moved to the
                        "Privilege" folders
                           - CC30716: Professional Services: Purged and created new
                        Priv batches and Privilege Review view within the review
                        batches.
                           - CC30677: Professional Services: Unlocked privileged
                        subfolders under 2nd TCS Custodians folder.
                           - CC30653: Professional Services: Updated production to
                        blank out meta data, remove natives and replace slipsheets
                        for 2 documents.

       135.38           Processing: Native File Processing Per GB (Uncompressed)                                                      200.00        27,076.00
                          - CC30230: Includes metadata fields & text extraction with
                        native links: CV001-CV008




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payments accrue interest at 1.5% per month.                                                                                             Sub Total

                                                                                                                       Payments/Credits
               Thonk you for choosing iDiscover!
          Did you know IDiscovtr 11lso provides torettsic flrrtfl 11nfleDiscovery services'!
     Since 2007, /Discover has provided mission-critical eDiscovery support for all types of complex                    Balance Due
  cases. For a complete list of all /Discover pro duds and services, go to: www.idiscov•fllobol.com
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                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 442 of 708

                                                                                                        Please remit to:
                                                                                                       iDiscover, LLC
                                                                                                       2049 Century Park East
                                                                                                       Suite 4370
                                                                                                                                                       Invoice
                                                                                                       Los Angeles, CA 90067
                                                                                                       TaxiD:XX-XXXXXXX

 Electronic Discovery & Litigation Support Services

   Bill To:                                                                                                   Ship To:
lata America lnt'l Corporation                                                                           Loeb & Loeb
TCS America Head office                                                                                  101 00 Santa Monica Blvd.
101 Park Avenue, 26th Floor                                                                              Suite 2200
New York, NY 10178                                                                                       Los Angeles, CA 90067




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          6              Media:Encrypted Hard Drive                                                                                           350.00      2,100.00T
                          - CC30669: Encrypted Hard Drive
                          - CC30736: Encrypted Hard Drive
                          - CC30745: Encrypted Hard Drive
                          - CC30636: Hard Drive

                         Misc:Federal Express                                                                                                  92.59       92.59
                           - CC30745: Federal Express: Ship Hard Drive to Kotchen &
                         Low, for Saturday delivery.

          3              Misc:Federal Express                                                                                                  76.03       228.09
                           - CC30736: Federal Express
                           - CC30669: Federal Express Ship hard drive to Kotchen &
                         Low
                           - CC30636: Federal Express 1 Hard drive to Kotchen & Low

                         Misc:Federal Express                                                                                                  55.07       55.07
                           - CC30636: Federal Express: 2 Hard Drives to Loeb & Loeb
                         California Sales Tax                                                                                                 9.00%        189.00




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                                                                 $259,036.05


                                                                                                                                                                    $0~00
               Thank you for choosing /Discover!
          Dill you lc11ow lDlstover oiJO provides /ortllslt dotoo11d tDJscovery ~trvltts?
     Since 2007, iDiscover has provided mission-critical eDiscovery support for all types of complex                                                        $259,036.05
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                                          Tal·   r:nm   r:;.r:;.F..7777 I i:::>V'   1~10\   c;c;F,.l!j:;l!j:; I   IAftAJW   irtic:rnuoralnn::>l rnm
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 443 of 708




                    A – 167
            -  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 444 of 708

                                                                                     Please remit to:
                                                                                                                          Invoice
              iDISCOVER      speed, from the ground up.
                                                                                     iDiscover, LLC
                                                                                     2049 Century Park East
                                                                                     Suite 4370
                                                                                     Los Angeles, CA 90067
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New York, NY 10178                                                                     Suite 2200
                                                                                       Los Angeles, CA 90067




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                         Case Name: Tata America re Heldt

                        job Number: CC32332, CC32421, CC32480, CC32502,
                        CC32517,CC32545,CC32561,CC32610,CC32633,CC32664,
                        CC32732,CC32738,CC32747,CC32861,CC32973

         46              Hosting:Monthly User Fees                                                                85.00      3,910.00
                           - CC32973: Monthly User Fees- May 2017
                           - CC32973: Monthly User Fees- May 2017 (TCS- Heldt
                         Plaintiffs Productions)\

                         arsampat@loeb.com,arswain@loeb.com,asherman@loeb.co
                         m
                        axparseghian@loeb.com,blcavanaugh@loeb.com,bwkong@l
                        oeb.com
                        cxtsaganeas@loeb.com,dbrockman@loeb.com,dxjimenez@l
                        oeb.com
                        dykrol@loeb.com,esmith@loeb.com,eybarash@loeb.com,hp
                        acheco@loeb.com
                        jamcclain@loeb.com,jastrauss@loeb.com,jbaird@loeb.com,jj
                        bafohmanin@loeb.com
                        jrjohnson@loeb.com,jscha@loeb.com,jsyin@loeb.com,jxbro
                        wder@loeb.com
                        jxporecha@loeb.com,kacalvin@loeb.com,klcrowder@loeb.co
                        m,ljhall@loeb.com

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payments accrue interest at 1.5% per month.



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                                                                                       Los Angeles, CA 90067




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                        loebjguzman@updatedmmail.com,loeb_mgorman@update
                        dmmail.com
                        loeb_pmahram@updatedmmail.com,loeb_rsteffen@updated
                        mmail.com
                        lwilliams@loeb.com,mjpowell@loeb.com,mlamar@loeb.com,
                        pdownes@loeb.com
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                        meshell@loeb.com
                        ssghafouri@loeb.com,tbutler@loeb.com,tkennedy@loeb.co
                        m,tmadolph@loeb.com
                        vbriseno@loeb.com,wrichmond@loeb.com,zxborjian@loeb.c
                        om

     8,395.15           Hosting:Monthly Hosting Fee                                                           10.00      83,951.50
                          - CC32973: Monthly Hosting Fee - May 2017
                          - CC32973: Monthly Hosting Fee - May 2017 (TCS - Heldt
                        Plaintiffs Productions)

       31.45            Hosting: IN                                                                          200.00      6,290.00
                         - CC32861: All-Inclusive Pricing (IN) Per GB:




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                                                                                     Suite 4370
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New York, NY 10178                                                                     Suite 2200
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          3             Hosting:3rd Party Data Loading (Hourly)                                                   150.00       450.00
                          - CC32332: 3rd Party Data Loading (Hourly): Created a new
                        database and loaded volume 2017 4 28- Witness
                        Productions

       271.64           Hosting:Analytics                                                                         75.00       20,373.00
                         - CC32421: Analytics
                         - CC32480: Analytics
                         - CC32517: Analytics

        5.25            Hosting:Professional Services                                                             50.00        262.50
                           - CC32732: Professional Services: Batches
                           - CC32738: Professional Services: Created batch based on
                        client provided save searches Kumar Legal1 Kumar Legal 2
                        Kumar Resume
                           - CC32561: Professional Services: Created Batches
                           - CC32664: Professional Services: Created Batches
                           - CC32502: Professional Services: Created Batches and
                        new batch view.
                           - CC32747: Professional Services: Created Client
                        Requested Batches
                           - CC32633: Professional Services: Updated Folder Names.
                        Exported PDFs. Copied Prods to hard drive and FTP location.

                         Media:Encrypted Hard Drive                                                               295.00      295.00T
                          - CC32633: Encrypted Hard Drive

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                        CA Sales Tax                                                                              8.75%      25.81




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                                                                                                                                     $0.00
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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 448 of 708




                    A – 168
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 449 of 708



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New York, NY 10178                                                                     Suite 2200
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                        Case Name: Tata America re Heldt

                        Instructions/Description: Loeb           I Tata America I Printing

       1,933            Blowback Slip Sheet per Document                                                      0.11      212.63T
                        CA Sales Tax                                                                         8.75%       18.61




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                                  $231.24


                                                                                                                                  $0.00
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                    A – 169
            -   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 451 of 708

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                                                                                     iDiscover, LLC
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                                                                                     Los Angeles, CA 90067
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New York, NY 10178                                                                        Suite 2200
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                         Case Name: Tata America re Heldt

                         Instructions/Description: Loeb           1   Tata America    1   Printing

        1,576            Blowback Slip Sheet per Document                                                        0.11      173.36T
                         CA Sales Tax                                                                           8.75%       15.17




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                                     $188.53


                                                                                                                                     $0.00
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                    A – 170
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 453 of 708



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                                                                                          Los Angeles, CA 90067




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                        Case Name: Tata America re Heldt

                        Instructions/Description: Loeb           1   Tata America     1   Printing

        460             Blowback Staple/Clip per Document                                                           0.13      59.80T
                        CA Sales Tax                                                                               8.75%       5.23




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payments accrue interest at 1.5% per month.                                                                                            $65.03


                                                                                                                                        $0.00
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                    A – 171
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 455 of 708



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New York, NY 10178                                                                        Suite 2200
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                         Case Name: Tata America re Heldt

                         Instructions/Description: Loeb           1 Tata   America    I   Printing

         683            Blowback- with Assembly                                                                     0.10      68.30T
         156            Tabs- Regular Inserted                                                                      0.25      39.00T
          2             3 Inch Binder Full View                                                                    12.50      25.00T
                        CA Sales Tax                                                                               8.75%       11.58




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                                       $143.88


                                                                                                                                       $0.00
               Thonk you for choosing iDiscover!
           Did you know iDiscover also provides forensic data and eDiscovery services?
     Since 2007, iDiscover has provided mission-critical eDiscovery support for all types of complex                              $143.88
  cases. For a complete list of all iDiscover products and services, go to: www.ldiscoverglobal.com


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                    A – 172
            -  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 457 of 708



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                                                                                      iDiscover, LLC
                                                                                      2049 Century Park East
                                                                                      Suite 4370
                                                                                                                           Invoice
             Built for speed, from the ground up.                                     Los Angeles, CA 90067
                                                                                      TaxiD:XX-XXXXXXX

 Electronic Discovery & Litigation Support Services



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New York, NY 10178                                                                     Suite 2200
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                         Case Name: Tata America re Heldt

         108             Blowback Slip Sheet per Document                                                           0.11      11.88T
         28              Tabs- Regular Inserted                                                                     0.25      7.00T
                         1 Inch Binder Full View                                                                    7.00      7.00T
                         CA Sales Tax                                                                              8.75%       2.26




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                                        $28.14


                                                                                                                                       $0.00
               Thank you for choosing iDiscover!
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                    A – 173
            -  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 459 of 708

                                                                                     Please remit to:
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New York, NY 10178                                                                     Suite 2200
                                                                                       Los Angeles, CA 90067




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                         Case Name: Tata America re Heldt

                        job Number: CC32946, CC33048, CC33054, CC33057,
                        CC33065,CC33069,CC33087,CC33110,CC33115,CC33140,
                        CC33159,CC33160,CC33178,CC33190,CC33191,CC33198,
                        CC33199,CC33210,CC33257,CC33275,CC33490,CC33529

         36        JJ    Hosting: Monthly User Fees                                                               85.00      3,060.00
                           - CC33529: Monthly User Fees- june 2017
                           - CC33529: Monthly User Fees- May 2017 (TCS- Heldt
                         Plaintiffs Productions)

                        arsampat@loeb.com,arswain@loeb.com,asherman@loeb.co
                         m
                        axparseghian@loeb.com,blcavanaugh@loeb.com,bwkong@l
                        oeb.com
                        cxtsaganeas@loeb.com,dbrockman@loeb.com,dxjimenez@l
                        oeb.com
                        dykrol@loeb.com,esmith@loeb.com,eybarash@loeb.com,hp
                        acheco@loeb.com
                        jamcclain@loeb.com,jastrauss@loeb.com,jbaird@loeb.com,jj
                        bafohmanin@loeb.com
                        jrjohnson@loeb.com,jscha@loeb.com,jsyin@loeb.com,jxbro
                        wder@loeb.com
                        jxporecha@loeb.com,kacalvin@loeb.com,klcrowder@loeb.co

Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
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                         m,ljhall@loeb.com
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                         loebjguzman@updatedmmail.com,loeb_mgorman@update
                         dmmail.com
                         loeb_pmahram@updatedmmail.com,loeb_rsteffen@updated
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                         lwilliams@loeb.com,mjpowell@loeb.com,mlamar@loeb.com,
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                         meshell@loeb.com
                         ssghafouri@loeb.com,tbutler@loeb.com,tkennedy@loeb.co
                         m,tmadolph@loeb.com
                         vbriseno@loeb.com,wrichmond@loeb.com,zxborjian@loeb.c
                         om

     8,395.751      f; Hosting:Monthly Hosting Fee                                                           10.00      83,957.51
                           - CC33529: Monthly Hosting Fee- june 2017
                           - CC33529: Monthly Hosting Fee- june 2017 (TCS- Heldt
                         Plaintiffs Productions)

                    'X Hosting:OUT                                                                          250.00       250.00
                          - CC33065: All-Inclusive Pricing (OUT) Per GB: 060517
                        TCSLTD005647564-TCSLTD005647658

        6.75             Hosting:Professional Services                                                      50.00        337.50

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                           - CC3311 0: Professional Services:
                           - CC33115: Professional Services: Batch set created, Batch
                        Set Name: Ambika_Misc
                           - CC3321 0: Professional Services: Batch set: Andrillo
                           - CC33178: Professional Services: Batching: Batch Set
                        Narne:Jindaii_Misc 2
                           - CC3311 0: Professional Services: Create Batch Sets for
                        Kumar Mise 2, Shobitha Mise 2,Jindaii_Misc
                           - CC33160: Professional Services: Created batch based on
                        client provided search Axelrod- Remaining
                           - CC33190: Professional Services: Created batch based on
                        client provided search Chinnari- Remaining
                           - CC33199: Professional Services: Created Batch set:
                        Sharma-Attorney
                           - CC32946: Professional Services: Created Batches
                           - CC33048: Professional Services: Created Batches
                           - CC33087: Professional Services: Created batches and
                        added batch view.
                           - CC33159: Professional Services: Created 'Gomez_Misc'
                        batch set.
                           - CC33057: Professional Services: Created 'PProd' Batches
                        and generated report.
                           - CC33257: Professional Services: Created Requested
                        Searches
                           - CC33191: Professional Services: Search Term Reports
                        were created

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          2             Processing:iDiscover Minimum Charge                                                        50.00      100.00
                          - CC33054: Includes metadata fields, text extraction with
                        native links & image creation: Custodian TCS- Volume
                        TATA033
                          - CC33069: Includes metadata fields, text extraction with
                        native links & image creation: Custodian TCS- Volume
                        TATA034

          2              2 Inch Binder Full View                                                                   10.50      21.00T
                            - CC33275: Binder 2 Inch Full View

         114             Supplies:Tabs- Regular Inserted                                                           0.25       28.50T
                           - CC33275: Tabs- Regular Inserted

         938             Blowback                                                                                  0.10       93.80T
                           - CC33275: Blowback - with Assembly
                         CA Sales Tax                                                                             8.75%       12.54




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payments accrue interest at 1.5% per month.                                                                                     $87,860.85


                                                                                                                                       $0.00
               Thank you for choosing iDiscover!
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                    A – 174
            -   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 464 of 708

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Questions? please call: (310) 556-7777, or email ap@idiscoverglobal.com




                          Case Name: lata America re Heldt

                          job Number: CC33597, CC33623, CC33832, CC34045

          27         'f   Hosting:Monthly User Fees                                                                 85.00      2,295.00
                             - CC34045: Monthly User Fees -july 2017
                             - CC34045: Monthly User Fees -july 2017 (lCS - Heldt
                          Plaintiffs Productions)
                          arswain@loeb.com,asherman@loeb.com,axparseghian@loe
                          b.com
                          blcavanaugh@loeb.com,bwkong@loeb.com,cxtsaganeas@lo
                          eb.com
                          dbrockman@loeb.com,dykrol@loeb.com,esmith@loeb.com,
                          eybarash@loeb.com
                          jjbafohmanin@loeb.com,jrjohnson@loeb.com,jscha@loeb.co
                          m,jxbrowder@loeb.com,klcrowder@loeb.com,loebjguzman
                          @updatedmmail.com
                          loeb_pmahram@updatedmmail.com,loeb_rsteffen@updated
                          mmail.com
                          lwilliams@loeb.com,mlamar@loeb.com,pdownes@loeb.com,
                          ppham@loeb.com
                          rmeshell@loeb.com,ssghafouri@loeb.com,vbriseno@loeb.co
                          m
                          wrichmond@loeb.com,zxborjian@loeb.com



Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.



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     8,395.751      'f.- Hosting:Monthly Hosting Fee                                                               10.00      83,957.51
                           - CC34045: Monthly Hosting Fee -july 2017
                           - CC34045: Monthly Hosting Fee -july 2017 (TCS - Heldt
                         Plaintiffs Productions)

         96              Supplies: File Folder- No Acco                                                            1.00        96.00T
                           - CC33597: File Folder- No Acco

        5,512            Blowback Staple per Document                                                              0.13       716.56T
                           - CC33597: Blowback- Staple/Clip per Document

                         Discount                                                                                -4,356.80    -4,356.80
                         CA Sales Tax                                                                              8.75%        71.10




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest. at 1.5% per month.                                                                                     $82,779.37


                                                                                                                                          $0.00
                Thank you for choosing iDiscover!
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     Since 2007, iDiscover has provided mission-critical eDiscovery support for all types of complex                             $82,779.37
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                    A – 175
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 467 of 708



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                        Case Name: lata America re Heldt

                        job Number: CC36735, CC36908, CC36930, CC36934,
                        CC36954,CC36966,CC36969,CC36979,CC36992,CC37015,
                        CC37033,CC37039,CC37044,CC37047,CC37049,CC37064,
                        CC37070,CC37194

          0             Hosting: Monthly User Fees                                                           85.00        0.00
                          - CC37194: Monthly User Fees- Feb (lCS- Heldt Plaintiffs
                        Productions)

         35             Hosting: Monthly User Fees                                                           65.00      2,275.00
                          - CC37194: Monthly User Fees- Feb

          0              Hosting: Monthly Hosting Fee                                                        10.00        0.00
                           - CC37194: Monthly Hosting Fee - Feb (lCS - Heldt
                         Plaintiffs Productions- 0.188 GB's)

       8,405             Hosting: Monthly Hosting Fee                                                        4.00       33,620.00
                           - CC37194: Monthly Hosting Fee- Feb (9657.173 GB's)




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
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          5              Media: Encrypted Hard Drive                                                         350.00      1,750.00
                           - CC36930: Encrypted Hard            Drive
                           - CC36934: Encrypted Hard            Drive
                           - CC36954: Encrypted Hard            Drive
                           - CC37015: Encrypted Hard            Drive
                           - CC37047: Encrypted Hard            Drive

       13.06            Hosting: OUT                                                                         250.00      3,265.00
                          - CC36930: Document Production Per GB: 021318
                        TCSLTD005703268-TCSLTD005872032

       12.528           Hosting: OUT                                                                         250.00      3,132.00
                          - CC36934: Document Production Per GB: 021618
                        TCSLTD005872033-TCSLTD006050287

       95.213           Hosting: OUT                                                                         250.00      23,803.25
                          - CC36954: Document Production Per GB: 022018
                        TCSLTD006050288-TCSLTD006427052

       15.545           Hosting: OUT                                                                         250.00      3,886.25
                          - CC37015: Document Production Per GB: 022218
                        TCSLTD006427053-TCSLTD006793751

       43.13            Hosting: OUT                                                                         250.00      10,782.50
                         - CC37044: Document Production Per GB: 022618
                        TCSLTD006793752-TCSLTD007246453

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       58.68            Hosting: OUT                                                                              250.00      14,670.00
                          - CC37047: Document Production Per GB: 022718
                        TCSLTD007246454- TCSL TD007515607 (ReDo once MSA
                        documents removed)
                          - CC37047: Document Production Per GB: 022718
                        TCSLTD007246454-TCSLTD007515774

          3             Hosting: Professional Services                                                             50.00       150.00
                           - CC37039: Professional Services:
                           - CC37033: Professional Services: Created               6 New batch
                        Sets and 3 New views
                           - CC36979: Professional Services: Created               batch sets for
                        custodian Brian Andrillo
                           - CC37064: Professional Services: Created               batches
                           - CC37070: Professional Services: Created               Requested
                        batches and view
                           - CC36992: Professional Services: Created               Searches for
                        batches and purged existing batches

          2              Mise: Federal Express                                                                    45.65         91.30
                            - CC36930: Federal Express Tracking: 771485967923
                            - CC36934: Federal Express Tracking: 771497154123




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          2              Mise: Federal Express                                                               45.32       90.64
                            - CC37015: Federal Express
                            - CC36954: Federal Express Tracking: 771537920374

                         Mise: Federal Express                                                               45.11       45.11
                            - CC37047: Federal Express Tracking: 771637962958




       9,390             Blowback Slip Sheet per Document                                                     0.11      1,032.90T
                            - CC36908: Blowback- Slip Sheet per Document
                            - CC37049: Blowback- Slip Sheet per Document
                         CA Sales Tax                                                                        9.50%       98.13




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payments accrue interest at 1.5% per month.                                                                                $98,692.08


                                                                                                                                 $0.00
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                    A – 176
              -
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                         job #: CC37141, CC37223, CC37263, CC37288, CC37325,
                         CC37326,CC37329,CC37336,CC37358,CC37373,CC37378,
                         CC37417,CC37419,CC37425,CC37432,CC37437,CC37497,
                         CC37506,CC37521,CC37523,CC37524,CC37529,CC37530,
                         CC37531,CC37532,CC37536,CC37551,CC37553,CC37567,
                         CC37574,CC37578,CC37586,CC37589,CC37594,CC37595,
                         CC37597,CC37603,CC37604,CC37605,CC37611,CC37612,
                         CC37613,CC37617,CC37624,CC37628,CC37692

                         Case Name: lata America re Heldt

          0         1-    Hosting: Monthly User Fees                                                               85.00      0.00
                           - CC37692: Monthly User Fees- Mar 2018 (lCS- Heldt
                         Plaintiffs Productions)
                           - ADodd@spg-legal.com, asherman@loeb.com,
                         AStashefsky@spg-legal.com, AWoolsey@spglegal.com,
                         cbschmidt@loeb.com, CLy@spg-legal.com,
                         dbrockman@loeb.com, Dlbekwe@spg-legal.com,
                         DPeromsik@spg-legal.com, DShahmirzai@spg-legal.com,
                         dykrol@loeb.com, esmith@loeb.com,
                         FFofana@spg-legal.com, fmckeown@loeb.com,
                         GBennett@spg-legal.com, HAtkinson@spg-legal.com,
                         IVerh u lst@spg-lega l.com, JAfoh-Manin@spg-lega l.com,
                         JCasale@spg-legal.com, JCha@spg-legal.com,
                         JDalton@spg-legal.com, jrjohnson@loeb.com,

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                                                                                      Los Angeles, CA 90067




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                          JShafer@spg-legal.com, JTrejo@spg-legal.com,
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                          lwilliams@loeb.com, MDougherty@spg-legal.com,
                           mlamar@loeb.com, MSchneider@spg-legal.com
                           MStein@spg-legal.com, MTumanyan@spg-legal.com,
                           pdownes@loeb.com, pkrieger@loeb.com,
                          PMahram@spg-legal.com, PMalcom@spg-legal.com,
                          RChung@spg-legal.com, rmeshell@loeb.com,
                          SKim@spg-legal.com, SKoopersmith@spg-legal.com,
                          SMusa@spg-legal.com, ssghafouri@loeb.com,
                          tgarnett@loeb.com, TKneip@spg-legal.com,
                          vbriseno@loeb.com, VChoi@spg-legal.com,
                          zxborjian@loeb.com

         47          -p   Hosting: Monthly User Fees                                                               65.00       3,055.00
                           - CC37692: Monthly User Fees- Mar 2018

          0               Hosting: Monthly Hosting Fee                                                              10.00        0.00
                            - CC37692: Monthly Hosting Fee- Mar 2018 (TCS- Heldt
                          Plaintiffs Productions) (0.188 GBs)


       8,405     p        Hosting: Monthly Hosting Fee                                                              4.00       33,620.00
                           - CC37692: Monthly Hosting Fee- Mar 2018 (9902.381
                          GBs)




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       4.814             Hosting: Analytics                                                                         75.00      361.05
                          - CC37536: Analytics

       43.75            Hosting: Professional Services                                                              50.00      2,187.50
                           - CC37574: Professional Services: Ambika, G Privileged Log
                           - CC37603: Professional Services: Batching, created batch
                        view.
                           - CC37604: Professional Services: Create batches and
                        batch views.
                           - CC37523: Professional Services: Created 11 Batch Sets
                        and two custom view
                           - CC37617: Professional Services: Created 3 Batches
                           - CC37326: Professional Services: Created batch set for
                        Jindal- Header Atty Hits and Jindal- Add. Tagged Privileged
                         · - CC37532: Professional Services: Created batch sets Apple
                        Review and SCE Review and two new views
                           - CC37141: Professional Services: Created Batch Sets
                        Kumar- Header Atty Hits, Kumar- Add. Tagged Privileged,
                        Shobitha - Header Atty Hits, and Shobitha -Add. Tagged
                        Privileged
                           - CC37288: Professional Services: Created batch sets
                        Triapthi - Header Atty Hits and Triapthi- Add. Tagged
                        Privileged
                           - CC37529: Professional Services: Created Client
                        Requested Searches
                           - CC37551: Professional Services: Created custom privilege

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                        logs for 3 custodians
                          - CC37595: Professional Services: Created Devenny Review
                        batches.
                          - CC37329: Professional Services: Created MSA QC batch
                        set and view.
                          - CC37594: Professional Services: Created multiple
                        searches.
                          - CC37624: Professional Services: Created multiple
                        searches.
                          - CC37530: Professional Services: Created new fields,
                        choices and layout for Apple and SCE review.
                          - CC37589: Professional Services: Created Priv log and
                        Batched documents.
                          - CC37373: Professional Services: Created priv logs for 2
                        custodians.
                          - CC37497: Professional Services: Created two Search
                        terms reports
                          - CC37578: Professional Services: Created Updated Priv
                        logs
                          - CC37263: Professional Services: Custodian 'Andrillo,
                        Brian' Priv Log reporting.
                          - CC37595: Professional Services: Field and layout creation.
                          - CC37612: Professional Services: New user group created
                        Tata - Basic w/Mass Tagging
                          - CC37373: Professional Services: Prepare searches and
                        export of privilege logs for nine custodians

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                          - CC37613: Professional Services: Privilege Log Searches
                        were created for 6 custodians
                          - CC37595: Professional Services: Search and reporting.
                          - CC37425: Professional Services: Search creation.
                          - CC37497: Professional Services: Searching and reporting.
                          - CC37223: Professional Services: Searching and reporting;
                        20180303
                          - CC37223: Professional Services: Searching and
                        reporting; 20180304
                          - CC37223: Professional Services: Searching and reporting;
                        20180305
                          - CC37437: Professional Services: Updated and created
                        new Privilege Log Searches
                          - CC37521: Professional Services: Updated privileged log
                        for custodian; Andrillo, Brian.
                          - CC37567: Professional Services: Updated privileged log
                        for custodian; Bhalla, Alok.
                          - CC37611: Professional Services: Updated privileged log
                        for custodian; Chinnari, Shyamsundar.
                          - CC37613: Professional Services: Updated privileged log
                        for custodian; Ganapathy, Balaji.
                          - CC37613: Professional Services: Updated privileged log
                        for custodian; Sharma, jevak.
                          - CC37613: Professional Services: Updated privileged log
                        for custodian; Shobitha, Hannah.
                          - CC37605: Professional Services: Updated privileged logs

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                         for custodians; Galicki, Brian; Axelrod, Heather and Bhalla,
                         Alok.
                           - CC37613: Professional Services: Updated privileged logs
                         for custodians; Kumar, Umesh and Ganapathy, Balaji.

                         Hosting: OUT                                                                       250.00       250.00
                           - CC37586: All-Inclusive Pricing (OUT) Per GB: 032918
                         TCSLTD007515608-TCSLTD007518454

       60.92             Hosting: IN                                                                        100.00      6,092.00
                           - CC37524: All-Inclusive Pricing ( IN ) Per GB:
                           - CC37536: All-Inclusive Pricing (IN) Per GB:

         7.8             Forensics Data Extraction                                                          300.00      2,340.00

       23,918            Blowback: Blowback- Loose no Breaks                                                 0.13       3,1 09.34T
                           - CC37378: Blowback- Loose no Breaks
                           - CC37432: Blowback- Loose no Breaks
                           - CC37553: Blowback- Loose no Breaks
                           - CC37597: Blowback- Loose no Breaks
                           - CC37628: Blowback- Loose no Breaks

         755             Blowback: Blowback- Slip Sheet per Document                                         0.11        83.05T
                           - CC37419: Blowback- Slip Sheet per Document
                         CA Sales Tax                                                                       9.50%        303.28



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                                                                                                                                   $0.00
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                           b #: CC37703, CC37712, CC37718, CC37721' CC37722,
                          CC37723,CC37731,CC37736,CC37744,CC37769,CC37789,
                          CC37797,CC37800,CC37822,CC37823,CC37835,CC37848,
                          CC37850,CC37853,CC37863,CC37871,CC37880,CC37897,
                          CC37899,CC37900,CC37901,CC37907,CC37911,CC37930,
                          CC37938,CC37954,CC37955,CC37959,CC37960,CC37961,
                          CC37971,CC37974,CC37982,CC37983,CC37995,CC37997,
                          CC37998,CC37999,CC38006,CC38009,CC38019,CC38021,
                          CC38029,CC38030,CC38034,CC38037,CC38038,CC38039,
                          CC38052,CC38056,CC38057,CC38063,CC38068,CC38069,
                          CC38070,CC38071,CC38072,CC38098,CC38101,CC38108,
                          CC38109,CC38110,CC38112,CC38120,CC38131,CC38136,
                          CC38145,CC38206

                          Case Name: lata America re Heldt

             0            Hosting: Monthly User Fees                                                              85.00       0.00
                            - CC38206: Monthly User Fees -Apr 2018 (lCS - Heldt
                          Plaintiffs Productions)
                            - bjraboin@loeb.com, ADodd@spg-legal.com,
                          asherman@loeb.com, AStashefsky@spg-legal.com,
                          AWoolsey@spg-legal.com, cbschmidt@loeb.com,
                          CLy@spg-legal.com, dbrockman@loeb.com,
                          Dlbekwe@spg-legal.com, DPeromsik@spg-legal.com,
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                        TKneip@spg-legal.com, vbriseno@loeb.com,
                        VChoi@spg-legal.com, zxborjian@loeb.com

         48              Hosting: Monthly User Fees                                                          65.00      3,120.00
                          - CC38206: Monthly User Fees- Apr 2018




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       8,405            Hosting: Monthly User Fees                                                                 4.00       33,620.00
                          - CC38206: Monthly Hosting Fee -Apr 2018 (1 0,020.296
                        GB's)
                          - CC38206: Monthly Hosting Fee -Apr 2018 (TCS- Heldt
                        Plaintiffs Productions)

          7             Hosting: OUT                                                                              250.00      1,750.00
                          - CC37723: All-Inclusive Pricing (OUT)              Per GB: 040418
                        TCSLTD007518455-TCSLTD007519622
                          - CC37797: All-Inclusive Pricing (OUT)              Per GB: 040918
                        TCSLTD007519623-TCSLTD007519776
                          - CC37959: All-Inclusive Pricing (OUT)              Per GB: 041918
                        TCSLTD007519777-TCSLTD007522661
                          - CC37960: All-Inclusive Pricing (OUT)              Per GB: 042018
                        TCSLTD007522662-TCSLTD007522738
                          - CC38038: All-Inclusive Pricing (OUT)              Per GB: 04242018
                        TCSLTD007522739-TCSLTD007523744
                          - CC381 01: All-Inclusive Pricing (OUT)             Per GB: 04282018
                        TCSLTD007523745-TCSLTD007532074
                          - CC38112: All-Inclusive Pricing (OUT)              Per GB: 04302018
                        TCSLTD007532075-TCSLTD007532098




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         3.5            Hosting:3rd Party Data Loading (Hourly)                                             150.00      525.00
                           - CC38056: 3rd Party Data Loading (Hourly): load volumes:
                        TCS- Deveny 0000001 - 0000068 TCS- Krampen 0000001 -
                        0000010 TCS- Mills 0000001 - 0000047 TCS- Russell
                        0000001 - 0000007 TCS - Russo - 0000001 - 0000248 TCS-
                        Scott 0000001 - 0000148
                           - CC37938: 3rd Party Data Loading (Hourly): TCS- Kottke
                        0000001 - 0000003
                           - CC37871: 3rd Party Data Loading (Hourly): TCS- Plaintiffs
                        - 0002366- 0003118
                           - CC38037: 3rd Party Data Loading (Hourly): Volume: TCS-
                        Scott 0000001 - 0000148

       92.17             Hosting: IN                                                                        100.00      9,217.00
                           - CC37930:     All-Inclusive    Pricing ( IN ) Per GB:
                           - CC37960:     All-Inclusive    Pricing ( IN ) Per GB:
                           - CC37982:     All-Inclusive    Pricing ( IN ) Per GB:
                           - CC37983:     All-Inclusive    Pricing ( IN ) Per GB:
                           - CC37999:     All-Inclusive    Pricing (IN) Per GB:
                           - CC38019:     All-Inclusive    Pricing (IN) Per GB:
                           - CC38030:     All-Inclusive    Pricing ( IN ) Per GB:
                           - CC38034:     All-Inclusive    Pricing ( IN ) Per GB:
                           - CC38069:     All-Inclusive    Pricing ( IN ) Per GB:
                          - CC38072:      All-Inclusive    Pricing ( IN ) Per GB:
                           - CC37723:     All-Inclusive    Pricing (IN) Per GB: TATA037


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       79.501            Hosting: Analytics                                                                       75.00      5,962.58
                          - CC37997: Analytics
                          - CC37703: Analytics: LSI Indexing for categorization.
                          - CC37835: Analytics: LSI Indexing for categorization.

        44.2            Hosting: Professional Services                                                            50.00      2,210.00
                           - CC37850: Professional Services:
                           - CC37997: Professional Services:
                           - CC38039: Professional Services:
                           - CC37736: Professional Services: Jindal 2nd Level Priv Log
                        QC review batches and reporting.
                           - CC38021: Professional Services: Added Background Issue
                        Tags field to My Checked out Batches View.
                           - CC38070: Professional Services: Batch and view creation.
                           - CC38136: Professional Services: Batched requested docs
                           - CC38068: Professional Services: Batching
                           - CC38063: Professional Services: Batching, set batch view
                           - CC38098: Professional Services: Batching, set batching
                        view.
                           - CC37703: Professional Services: Categorization setup.
                           - CC37835: Professional Services: Categorization setup.
                           - CC38145: Professional Services: Create Batches and
                        Batch View.
                           - CC37899: Professional Services: Created 1 custom batch
                        set
                           - CC37899: Professional Services: Created 7 custom batch

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                        sets
                          - CC37900: Professional Services: Created 7 custom batch
                        sets
                          - CC37822: Professional Services: Created a new layout
                        and batching set
                          - CC37721: Professional Services: Created batch set
                        Gomez Review
                          - CC37971: Professional Services: Created client requested
                        searches and updated STR
                          - CC37800: Professional Services: Created Client
                        Requested Searches for 2nd Level Priv docs.
                          - CC38108: Professional Services: Created Privilege Logs
                          - CC38057: Professional Services: Created requested
                        searches for terms
                          - CC37848: Professional Services: Created searches based
                        on STR hits for 13 custodians.
                          - CC37850: Professional Services: Created static searches
                        for two custodians.
                          - CC38006: Professional Services: Migrated docs over to
                        different workspace.
                          - CC38009: Professional Services: ran searches on
                        non-hosted data.
                          - CC37853: Professional Services: Searching and reporting.
                          - CC37897: Professional Services: Searching and reporting.
                          - CC37907: Professional Services: Searching and reporting.
                          - CC37911: Professional Services: Searching and reporting.

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                          - CC37961: Professional Services:             Searching and reporting.
                          - CC38029: Professional Services:             Searching and reporting.
                          - CC38071: Professional Services:             Searching and reporting.
                          - CC38120: Professional Services:             Searching and reporting.
                          - CC37998: Professional Services:             Set up Analytics
                          - CC38052: Professional Services:             Set up batches
                          - CC37848: Professional Services:             STR Creation.
                          - CC37736: Professional Services:             Updated Priv log for
                        custodian; Jindall Am it
                          - CC37736: Professional Services:             Updated privilege log for
                        custodian; Jindall Am it.
                          - CC37736: Professional Services:             Updated privileged log
                        for custodian; Jindal I Am it.
                          - CC3811 0: Professional Services:            User permission update.

          6              2 Inch Binder Full View                                                             10.50       63.00T

         12              Insert Custom Tabs                                                                  0.50         6.00T

        1,986            Heavy Litigation                                                                    0.17       337.62T

       20.424            Blowback Slip Sheet per Document                                                    0.13       2,655.12T
                           - CC37712: Blowback - Slip Sheet per             Document
                           - CC37722: Blowback - Slip Sheet per             Document
                           - CC37731: Blowback- Slip Sheet per              Document
                           - CC37789: Blowback - Slip Sheet per             Document

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       13,327            Blowback - Loose no Breaks                                                                0.13      1,732.51T
                           - CC37744: Blowback- Loose                no   Breaks
                           - CC37863: Blowback - Loose               no   Breaks
                           - CC37974: Blowback- Loose                no   Breaks
                           - CC37995: Blowback- Loose                no   Breaks
                           - CC37769: Blowback- Loose                no   Breaks Russo Documents

       3,415             Blowback- Loose no Breaks                                                                 0.00       O.OOT
                           - CC37718: Blowback- No Charge, Error in prints
                         Non Taxable Wholesale                                                                    0.00%        0.00




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payments accrue interest at 1.5% per month.                                                                                     $61,198.83


                                                                                                                                      $0.00
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                    A – 178
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                        Job#: CC38219, CC38221, CC38224, CC38226, CC38239,
                        CC38253,CC38254,CC38259,CC38263,CC38265,CC38274,
                        CC38279,CC38283,CC38284,CC38285,CC38286,CC38290,
                        CC38295,CC38296,CC38300,CC38301,CC38311,CC38312,
                        CC38319,CC38326,CC38336,CC38338,CC38341,CC38365,
                        CC38370,CC38373,CC38385,CC38391,CC38399,CC38400,
                        CC38402,CC38403,CC38408,CC38409,CC38419,CC38422,
                        CC38425,CC38426,CC38428,CC38430,CC38446,CC38448,
                        CC38449,CC38471,CC38480,CC38482,CC38483,CC38485,
                        CC38498,CC38502,CC38513,CC38521,CC38529,CC38532,
                        CC38536,CC38539,CC38543,CC38549,CC38560,CC38571,
                        CC38580,CC38583,CC38600,CC38602,CC38605,CC38607,
                        CC38608,CC38609,CC38619,CC38625,CC38628,CC38631,
                        CC38633,CC38642,CC38646,CC38648,CC38749,CC38784

                        Case Name: Tata America re Heldt

          0              Hosting: Monthly User Fees                                                          85.00        0.00
                           - CC38749: Monthly User Fees- May 2018 (TCS- Heldt
                         Plaintiffs Productions)

         47             Hosting: Monthly User Fees                                                          65.00       3,055.00
                         - CC38749: Monthly User Fees- May 2018
                         - ADodd@spg-legal.com, asherman@loeb.com,
                        AStashefsky@spg-legal.com, AWoolsey@spglegal.com,

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       8,405            Hosting: Monthly Hosting Fee                                                               4.00       33,620.00
                          - CC38749: Monthly Hosting Fee- May 2018 (Actual
                        11685.857 GBs)
                          - CC38749: Monthly Hosting Fee- May 2018 (TCS- Heldt
                        Plaintiffs Productions)

      72.863             Hosting: OUT                                                                             250.00      18,215.75
                          - CC38219: All-Inclusive Pricing (OUT)              Per GB: -05022018
                        TCSLTD007536443-TCSLTD007536562
                          - CC38263: All-Inclusive Pricing (OUT)              Per GB: 05042018
                        TCSLTD007536563-TCSLTD007536587
                          - CC38285: All-Inclusive Pricing (OUT)              Per GB: 05072018
                        TCSLTD007536588-TCSLTD007536595
                          - CC38319: All-Inclusive Pricing (OUT)              Per GB: 05092018
                        TCSLTD007536694-TCSLTD007682843
                          - CC38422: All-Inclusive Pricing (OUT)              Per GB: 05152018
                        TCSLTD007697928-TCSLTD007719863
                          - CC38428: All-Inclusive Pricing (OUT)              Per GB: 05152018
                        TCSLTD007719864-TCSLTD007784579
                          - CC38471: All-Inclusive Pricing (OUT)              Per GB: 05172018
                        TCSLTD008139750-TCSLTD008172204
                          - CC38480: All-Inclusive Pricing (OUT)              Per GB: 05172018
                        TCSLTD008172205-TCSLTD008172226
                          - CC38536: All-Inclusive Pricing (OUT)              Per GB: 05222018
                        TCSLTD008172227-TCSLTD008178290
                          - CC38400: All-Inclusive Pricing (OUT)              Per GB: Production

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                        volume: 05162018 TCSLTD007784580- TCSLTD008139749
                          - CC38607: All-Inclusive Pricing (OUT) Per GB:
                        ProductionVolume: 05292018 TCSLTD008178291 -
                        TCSLTD008181585
                          - CC38311: All-Inclusive Pricing (OUT) Per GB: Volume
                        05092018 TCSL TD007536596- TCSLTD007536693
                          - CC38399: All-Inclusive Pricing (OUT) Per GB: Volume:
                        05092018 TCSL TD007536596- TCSLTD007536693.rar
                          - CC38419: All-Inclusive Pricing (OUT) Per GB: Volume:
                        05142018 TCSL TD007697642- TCSL TD007697928


          3             Hosting: 3rd Party Data Loading (Hourly)                                                   150.00      450.00
                         - CC38482: 3rd Party Data Loading (Hourly): Load file
                        manipulation and data load
                          - CC38253: 3rd Party Data Loading (Hourly): TCS- Hafez
                        0000001 - 0000282 and TCS- Hafez 0000283- 0000284
                          - CC38336: 3rd Party Data Loading (Hourly): TCS- Plaintiffs
                        0002316- 0005466




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      605.59            Hosting: IN                                                                                100.00     60,559.00
                          - CC38221: All-Inclusive         Pricing (IN) Per GB:
                          - CC38239: All-Inclusive         Pricing ( IN ) Per GB:
                          - CC38365: All-Inclusive         Pricing ( IN ) Per GB:
                          - CC38373: All-Inclusive         Pricing (IN) Per GB:
                          - CC38391: All-Inclusive         Pricing (IN) Per GB:
                          - CC38402: All-Inclusive         Pricing (IN) Per GB:
                          - CC38409: All-Inclusive         Pricing ( IN ) Per GB:
                          - CC38430: All-Inclusive         Pricing (IN) Per GB:
                          - CC38448: All-Inclusive         Pricing (IN) Per GB:
                          - CC38449: All-Inclusive         Pricing (IN) Per GB:
                          - CC38498: All-Inclusive         Pricing (IN) Per GB:
                          - CC38609: All-Inclusive         Pricing (IN) Per GB: Load Natives,
                        Image and OCR
                          - CC38259: All-Inclusive         Pricing (IN) Per GB: TATA051
                          - CC38283: All-Inclusive         Pricing (IN) Per GB: TATA052-
                        Deluca, Denise
                          - CC38295: All-Inclusive         Pricing (IN)     Per   GB:   TATA053
                          - CC38341: All-Inclusive         Pricing (IN)     Per   GB:   TATA054
                          - CC38513: All-Inclusive         Pricing (IN)     Per   GB:   TATA064
                          - CC38529: All-Inclusive         Pricing (IN)     Per   GB:   TATA065

       8.727            Hosting: Analytics                                                                         75.00       654.53
                         - CC38226: Analytics
                         - CC38370: Analytics
                         - CC38425: Analytics: Ran Near Dupe

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       27.95             Processing: Tiff Conversion Per GB                                                       65.00      1,816.75
                           - CC38571: Tiff Conversion

       56.25            Hosting: Professional Services                                                            50.00      2,812.50
                          - CC38312: Professional Services:
                          - CC38265: Professional Services: Batch Set and Batch
                        Review created
                          - CC38560: Professional Services: Batching
                          - CC38296: Professional Services: Batching and reporting
                          - CC38338: Professional Services: Batching and reporting
                          - CC38633: Professional Services: Batching and reporting
                          - CC38648: Professional Services: Batching and reporting
                          - CC38226: Professional Services: Categorization Set 5
                          - CC38370: Professional Services: Categorization Set 6
                          - CC38326: Professional Services: Create Batch view and
                        Batches
                          - CC38403: Professional Services: Create search term
                        report
                          - CC38385: Professional Services: Create static search
                          - CC38224: Professional Services: Created a custom save
                        search
                          - CC38284: Professional Services: Created batch set NP
                        Further Review
                          - CC38580: Professional Services: Created batch set Priv
                        Adds

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                          - CC38426: Professional Services: Created Batch Sets
                          - CC38446: Professional Services: Created custom 201805
                        Privilege Log folder search
                          - CC38549: Professional Services: Created custom Privilege
                        Log Searches and report
                          - CC38605: Professional Services: Created custom Privilege
                        Logs
                          - CC38608: Professional Services: Created custom Privilege
                        Logs
                          - CC38600: Professional Services: Created custom report
                          - CC38279: Professional Services: Created custom save
                        search and created 201805 Privilege Log folder
                          - CC38628: Professional Services: Created custom search
                          - CC38254: Professional Services: Created custom
                        searches
                          - CC38274: Professional Services: Created custom
                        searches
                          - CC38300: Professional Services: Created custom
                        searches
                          - CC38631: Professional Services: Created custom
                        searches
                          - CC38485: Professional Services: Created custom STRand
                        move documents
                          - CC38286: Professional Services: Created New fields
                        Layout and batched out documents per client request
                          - CC38625: Professional Services: Created Non Priv Parent

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                        Export
                          - CC38532: Professional Services: Created Requested
                        Search
                          - CC38543: Professional Services: Created Requested
                        Search
                          - CC38502: Professional Services: Created STRand Moved
                        documents as needed
                          - CC38539: Professional Services: Priv log creation
                          - CC38583: Professional Services: Priv Log search
                          - CC38602: Professional Services: Priv Log Search
                          - CC38625: Professional Services: Priv Log Search
                          - CC38642: Professional Services: Priv Logs
                          - CC38290: Professional Services: Searching and reporting
                          - CC38521: Professional Services: Searching and reporting
                          - CC38646: Professional Services: Searching and reporting
                          - CC38408: Professional Services: Updated Highlight
                        Searches

        13.3            Forensics Data Extraction                                                                  300.00      3,990.00

          2         -   Media: Hard Drive                                                                          160.00      320.00T
                         - CC38319: Hard Drive
                         - CC38400: Hard Drive

                         Mise: Federal Express                                                                     45.97        45.97
                           - CC38400: Federal Express

Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.



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               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 496 of 708



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                            speed, from the ground up.                               Los Angeles, CA 90067
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         18              4 Inch Binder Full View                                                                   19.50      351.00T


          9              3 Inch Binder Full View                                                                   12.50      112.50T

       3,120             Blowback Color 8.5 x 11                                                                    0.95      2,964.00T

       1,958             Blowback Color 8.5 x 11                                                                    0.60      1, 174.80T
                           - CC38483: COLOR LTR/LGL

       2,736             Insert Custom Tabs                                                                         0.50      1,368.00T


         81              Insert Exhibit Tabs                                                                        0.25       20.25T


       6,748         '   Blowback Slip Sheet per Document                                                           0.11      742.28T
                           - CC38483: Blowback- Slip Sheet per Document

       10,614            Blowback - with Assembly                                                                   0.10      1,061.40T
                         CA Sales Tax                                                                              9.50%        770.85




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                                                                                                                                        $0.00
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                    A – 179
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 498 of 708



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                         Case Name: lata America re Heldt

                        job Number: CC38676, CC38771, CC38774, CC38779,
                        CC38796,CC38797,CC38798,CC38803,CC38822,CC38829,
                        CC38830,CC38835,CC38836,CC38842,CC38858,CC38869,
                        CC38875,CC38884,CC38885,CC38887,CC38909,CC38934,
                        CC38945,CC38948,CC38964,CC38966,CC38980,CC38988,
                        CC38991,CC38993,CC38994,CC38998,CC39015,CC39016,
                        CC39021,CC39022,CC39056,CC39064,CC39079,CC39091,
                        CC39098,CC39122,CC39145,CC39157,CC39167,CC39168,
                        CC39263

         47             Hosting: Monthly User Fees                                                           65.00      3,055.00
                          - CC39263: Monthly User Fees- june
                          - CC39263: Monthly User Fees- june (lCS- Heldt Plaintiffs
                        Productions)
                          - ADodd@spg-legal.com,asherman@loeb.com
                        AStashefsky@spg-legal.com,AWoolsey@spg·legal.com
                        cbschmidt@loeb.com,CLy@spg-legal.com
                        dbrockman@loeb.com,Dibekwe@spg-legal.com
                        DPeromsik@spg-legal.com,DShahmirzai@spg-legal.com
                        dykrol@loeb.com,esmith@loeb.com
                        FFofana@spg-legal.com,fmckeown@loeb.com
                        GBennett@spg-legal.com,HAtkinson@spg-legal.com
                        IVerhulst@spg-legal.com,jAfoh-Manin@spg-legal.com

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payments accrue interest at 1.5% per month.



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                        jDalton@spg-legal.com,jrjohnson@loeb.com
                        jShafer@spg-legal.comJTrejo@spg-legal.com
                        jxbrowder@loeb.com,KWhitfield@spg-legal.com
                         lwilliams@loeb.com,MDougherty@spg-legal.com
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                         MStein@spg-legal.com,MTumanyan@spg-legal.com
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                         PMahram@spg-legal.com,PMalcom@spg-legal.com
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                         SKim@spg-legal.com,SKoopersmith@spg-legal.com
                         SMusa@spg-legal.com,ssghafouri@loeb.com
                         tgarnett@loeb.com,TKneip@spg-legal.com
                         vbriseno@loeb.com,VChoi@spg-legal.com
                         zxborjian@loeb.com

       8,405            Hosting:Monthly Hosting Fee                                                                4.00       33,620.00
                          - CC39263: Monthly Hosting Fee- june (12,316.375 GB's of
                        hosting@ $4.00 =$49,265.50 **Fee capped at $33,620.00)
                          - CC39263: Monthly Hosting Fee- june (TCS- Heldt
                        Plaintiffs Productions, Database size is 0.926 GB's)

       4.948            Hosting: OUT                                                                              250.00      1,237.00
                          - CC38779: All-Inclusive Pricing (OUT) Per GB:
                          - CC38869: All-Inclusive Pricing (OUT) Per GB: 06092018
                        TCSLTD008181997-TCSLTD008230939

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      230.83            Hosting: IN                                                                               100.00      23,083.00
                         - CC38774:       All-Inclusive    Pricing    (IN) Per GB:
                         - CC38830:       All-Inclusive    Pricing    (IN) Per GB:
                         - CC38993:       All-Inclusive    Pricing    ( IN ) Per GB:
                         - CC39022:       All-Inclusive    Pricing    ( IN ) Per GB:
                         - CC38909:       All-Inclusive    Pricing    (IN) Per GB: TATA069

      9.9496            Hosting:Analytics                                                                         75.00        746.22
                         - CC38964: Analytics
                         - CC39016: Analytics
                         - CC39056: Analytics

        38.5            Hosting:Professional Services                                                             50.00       1,925.00
                           - CC38964: Professional Services:
                           - CC39056: Professional Services:
                           - CC39079: Professional Services:
                           - CC39145: Professional Services:
                           - CC39168: Professional Services:
                           - CC38980: Professional Services: Audit history searching
                        and reporting.
                           - CC38875: Professional Services: Batch and create Batch
                        views
                           - CC38988: Professional Services: Batch Set Priv
                        QC-Privileged and Batch View Priv QC-Privileged were
                        created

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                          - CC38842: Professional Services: Batching
                          - CC38822: Professional Services: Batching and Create
                        Batch View
                          - CC38771: Professional Services: Batching and reporting.
                          - CC39015: Professional Services: Batching and reporting.
                          · CC39064: Professional Services: Batching and reporting.
                          - CC38829: Professional Services: Create Batches and
                        Batch View
                          - CC38858: Professional Services: Created Batches
                          - CC38798: Professional Services: Created Batches and
                        new layout requested.
                          - CC38948: Professional Services: Created Client requested
                        Search
                          - CC38887: Professional Services: Created Client requested
                        Searches
                          - CC38966: Professional Services: Created Client requested
                        Searches
                          - CC38835: Professional Services: Created Client requested
                        Searches and provided doc counts per client request per
                        tagging.
                          - CC38884: Professional Services: Created custom Privilege
                        Logs
                          - CC39157: Professional Services: Created custom save
                        search and privilege logs
                          - CC39016: Professional Services: Created custom save
                        searches and categorization

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                          - CC39021: Professional Services: Created custom save
                        searches and categorization
                          - CC38803: Professional Services: Created custom search
                        term report and persistent highlighting
                          - CC38797: Professional Services: Created Requested
                        batches and batch view.
                          - CC39098: Professional Services: Created requested
                        Batches and batch view.
                          - CC38998: Professional Services: Created STRand Client
                        Requested Searches
                          - CC38991: Professional Services: Identified duplicates
                        within client provided search.
                          - CC38797: Professional Services: Ran Search to find the
                        amount of docs that have parent emails.
                          - CC38988: Professional Services: re-batch
                          - CC38771: Professional Services: Reporting (20180605)
                          - CC38676: Professional Services: Searching and reporting.
                          - CC38796: Professional Services: Searching and reporting.
                          - CC39021: Professional Services: Searching and reporting.
                          - CC39091: Professional Services: Set up Cat set

         121             Blowback:COLOR LTRILGL                                                                     0.95      114.95T
                           - CC39122: COLOR LTR/LGL

         122             Blowback:COLOR LTR/LGL                                                                     0.60      73.20T
                           - CC39167: COLOR LTR/LGL

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       3,510            Blowback Slip Sheet per Document                                                     0.10      351.00T
                          - CC38934: Blowback- Slip Sheet per Document
                        CA Sales Tax                                                                        9.50%       51.22




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                                                                                                                                 $0.00
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                    A – 180
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 505 of 708

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                                                                                     Los Angeles, CA 90067
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                         Instructions/Description: Blowbacks from FTP. Print x44,
                         color for color, 3 hole paper, insert custom tabs per folder,
                         insert side number tabs per exhibit & place into WHITE view
                         binders.

        880              Blowback -with Assembly                                                                   0.10       88.00T
                         • Blowback- with Assembly 20 x 44
       1,056             Insert Exhibit Tabs                                                                       0.25       264.00T
        176              Insert Custom Tabs                                                                        0.50        88.00T
       3,168             Blowback Color 8.5 x 11                                                                   0.95      3,009.60T
                         • COLOR LTR/LGL 72 x 44
         44              1 Inch Binder Full View                                                                   7.00      308.00T
          2          i   Courier Charge                                                                           150.00      300.00
                         • Courier Charge - 2 separate Weekend Deliveries to Client's
                         Home
                         CA Sales Tax                                                                             9.50%       356.97




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                                                                                                                                       $0.00
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                    A – 181
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                          b Number: CC39190, CC39321, CC39343, CC39390,
                         CC39408,CC39419,CC39420,CC39430,CC39441,CC39443,
                         CC39456,CC39462,CC39475,CC39476,CC39486,CC39493,
                         CC39500,CC39530,CC39532,CC39542,CC39550,CC39559,
                         CC39564,CC39566,CC39570,CC39578,CC39588,
                         CC39689,CC39425

         47             Hosting: Monthly User Fees                                                                65.00      3,055.00
                          - CC39689: Monthly User Fees- july
                          - CC39689: Monthly User Fees- July (TCS- Heldt Plaintiffs
                        Productions)
                          - ADodd@spg-legal.com,asherman@loeb.com
                        AStashefsky@spg-legal.com,AWoolsey@spg-legal.com
                        cbschmidt@loeb.com,CLy@spg-legal.com
                        dbrockman@loeb.com,Dibekwe@spg-legal.com
                        DPeromsik@spg-legal.com,DShahmirzai@spg-legal.com
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                        GBennett@spg-legal.com,HAtkinson@spg-legal.com
                        IVerhulst@spg-legal.comJAfoh-Manin@spg-legal.com
                        JCasale@spg-legal.com,JCha@spg-legal.com
                        JDalton@spg-legal.com,jrjohnson@loeb.com
                        JShafer@spg-legal.comJTrejo@spg-legal.com

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                        vbriseno@loeb.com,VChoi@spg-legal.com
                        zxborjian@loeb.com

       8.405            Hosting:Monthly Hosting Fee                                                                4.00      33,620.00
                          - CC39689: Monthly Hosting Fee- july (12.445.406 GB's of
                        hosting@ $4.00 =$49,781.624 **Fee capped at $33,620.00)
                          - CC39689: Monthly Hosting Fee -july (TCS - Heldt
                        Plaintiffs Productions, Database size is 0.926 GB's)




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               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 509 of 708

                                                                                     Please remit to:
                                                                                     iDiscover, LLC
                                                                                     2049 Century Park East
                                                                                     Suite 4370
                                                                                                                           Invoice
                                                                                     Los Angeles, CA 90067
                                                                                     TaxiD:XX-XXXXXXX

Electronic Discovery & Litigation Support Services



Tata Consultancy Services Limited                                                      Loeb & Loeb
101 Park Avenue, 26th Floor                                                            101 00 Santa Monica Blvd.
New York, NY 10178                                                                     Suite 2200
                                                                                       Los Angeles, CA 90067




Questions? please call: (310) 556-7777, or email ap@idiscoverglobal.com




      25.4378           Hosting:OUT                                                                               250.00      6,359.45
                          - CC39390: All-Inclusive Pricing (OUT) Per GB: 07132018
                        TCSLTD008230940-TCSLTD008329761
                          - CC39408: All-Inclusive Pricing (OUT) Per GB: 07142018
                        TCSLTD008329762-TCSLTD008343757
                          - CC39419: All-Inclusive Pricing (OUT) Per GB: 07152018
                        TCSLTD008343758-TCSLTD008393451
                          - CC39420: All-Inclusive Pricing (OUT) Per GB: 07162018
                        TCSLTD008393452-TCSLTD008403066
                          - CC39430: All-Inclusive Pricing (OUT) Per GB: 07172018
                        TCSLTD008403067 - TCSL TD008436558
                          - CC39443: All-Inclusive Pricing (OUT) Per GB: 07182018
                        TCSLTD008436559-TCSLTD008479844
                          - CC39462: All-Inclusive Pricing (OUT) Per GB: 07192018
                        TCSLTD008479845-TCSLTD008480689
                          - CC39476: All-Inclusive Pricing (OUT) Per GB: 07202018
                        TCSLTD008480690-TCSLTD008513356
                          - CC39532: All-Inclusive Pricing (OUT) Per GB: 07252018
                        TCSLTD008539674-TCSLTD008557834
                          - CC39550: All-Inclusive Pricing (OUT) Per GB: 07252018
                        TCSLTD008557835-TCSLTD008557963
                          - CC39564: All-Inclusive Pricing (OUT) Per GB: 07262018
                        TCSLTD008557964 - TCSLTD008558249
                          - CC39486: All-Inclusive Pricing (OUT) Per GB: Production
                        Volume: 07232018 TCSLTD008513357- TCSLTD008539673



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         3.5            Hosting:Professional Services                                                             100.00      350.00
                          - CC39566: Professional Services:
                          - CC39559: Professional Services: Moving Data from main
                        database to new database.
                          - CC39588: Professional Services: Searching and reporting.
                          - CC39578: Professional Services: Searching outside
                        Relativity

        4.86             Hosting: IN                                                                              100.00      486.00
                          - CC39570: All-Inclusive Pricing ( IN ) Per GB:
                          - CC39493: All-Inclusive Pricing (IN) Per GB: TATA072
                           - CC39500: All-Inclusive Pricing (IN) Per GB: TATA073

          5             Hosting:Professional Services                                                             50.00       250.00
                          - CC39475: Professional Services:
                          - CC39190: Professional Services:              Batching and reporting.
                          - CC39441: Professional Services:              Batching and reporting.
                          - CC39321: Professional Services:              Create Batch and Batch
                        View.
                          - CC39493: Professional Services:              Created batch set and
                        view
                          - CC39530: Professional Services:              Created Redaction Log
                          - CC39542: Professional Services:              Redaction Log
                          - CC39456: Professional Services:              Searching and reporting.
                          - CC39321: Professional Services:              Update Batch and Batch
                        View

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                                                                                     Los Angeles, CA 90067
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New York, NY 10178                                                                     Suite 2200
                                                                                       Los Angeles, CA 90067




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       2,679            Blowback Slip Sheet per Document                                                      0.10      267.90T
                          - CC39343: Blowback- Slip Sheet per Document

       1,097            COLOR LTR/LGL                                                                         0.95      1,042.15T

          2             2 Inch Binder Full View                                                              10.50       21.00T
                        CA Sales Tax                                                                         9.50%       126.45




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payments accrue interest at 1.5% per month.                                                                                $45,577.95


                                                                                                                                  $0.00
               Thank you for choosing iDiscover!
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     Since 2007, iDiscover has provided mission·critical eDiscovery support for all types of complex                       $45,577.95
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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 512 of 708




                    A – 182
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 513 of 708

                                                                                     Please remit to:
                                                                                     iDiscover, LLC
                                                                                                                         Invoice
               iDISCOVER                                                             2049 Century Park East
                                                                                     Suite 4370
                                                                                     Los Angeles, CA 90067
                                                                                     Tax ID: XX-XXXXXXX

Electronic Discovery & Litigation Support Services



Tata Consultancy Services Limited                                                      Loeb & Loeb
101 Park Avenue, 26th Floor                                                            10100 Santa Monica Blvd. Suite 2200
New York, NY 10178                                                                     Los Angeles, CA 90067




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                        Job#: CC39713, CC39765, CC39768, CC39769, CC39782,
                        CC39812,CC39828,CC39833,CC39843,CC39848,CC39849,
                        CC39851,CC39855,CC39866,CC39873,CC39888,CC39891,
                        CC39895,CC39917,CC39921,CC39944,CC39956,CC39973,
                        CC39975,CC39983,CC40002,CC40004,CC40087,CC40103,
                        CC40105,CC40017

                        Case Name: Tata America re Heldt




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               iDISCOVER                                                             2049 Century Park East
                                                                                     Suite 4370
                                                                                     Los Angeles, CA 90067
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New York, NY 10178                                                                     Los Angeles, CA 90067




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         50             Hosting: Monthly User Fees                                                                65.00      3,250.00
                          - Monthly User Fees Aug 2018
                          - CC40087: Monthly User Fees- Aug (TCS- Heldt Plaintiffs
                        Productions)

                        ADodd@spg-legal.com,asherman@loeb.com,AStashefsky@s
                        pg-legal.com,AWoolsey@spg-legal.com,cbschmidt@loeb.com
                        ,CLy@spg-legal.com,dbrockman@loeb.com,Dibekwe@spg-le
                        gal.com,DPeromsik@spg-legal.com,DShahmirzai@spg-legal.c
                        om,dykrol@loeb.com,esmith@loeb.com,FFofana@spg-legal.c
                        om,fmckeown@loeb.com,GBennett@spg-legal.com,HAtkinso
                        n@spg-legal.com,IVerhulst@spg-legal.com,JAfoh-Manin@spg
                        -legal.com,jCasale@spg-legal.com,JCha@spg-legal.comjDalto
                        n@spg-legal.com,jrjohnson@loeb.comJShafer@spg-legal.co
                        m,jTrejo@spg-legal.com,jxbrowder@loeb.com,KWhitfield@s
                        pg-legal.com,lwilliams@loeb.com,MDougherty@spg-legal.co
                        m,mlamar@loeb.com,MSchneider@spg-legal.com,MStein@s
                        pg-legal.com,MTumanyan@spg-legal.com,pdownes@loeb.co
                        m,pkrieger@loeb.com,PMahram@spg-legal.com,PMalcom@s
                        pg-legal.com,RChung@spg-legal.com,rmeshell@loeb.com,SKi
                        m@spg-legal.com,SKoopersmith@spg-legal.com,SMusa@spg
                        -legal.com,ssghafouri@loeb.com,tgarnett@loeb.com,TKneip
                        @spg-legal.com,vbriseno@loeb.com,VChoi@spglegal.com,zx
                        borjian@loeb.com,bjraboin@loeb.com,klyles@loeb.com,mlo
                        ose@loeb.com



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       8,405             Hosting: Monthly Hosting Fee                                                              4.00       33,620.00
                            - Monthly Hosting Fee Aug 2018 (12,445.406 GB's of
                         hosting@ $4.00 = $49,781.624 **Fee capped at $33,620.00)
                            - CC40087: Monthly Hosting Fee- Aug 2018 (TCS- Heldt
                         Plaintiffs Productions, Database size is 0.926 GB's)

       51.024           Hosting: OUT                                                                              250.00      12,756.00
                           - CC39713: All-Inclusive Pricing (OUT)              Per GB: 08032018
                        TCSLTD008558250-TCSLTD008558256
                           - CC39768: All-Inclusive Pricing (OUT)              Per GB: 08082018
                        Clawback Reproduction
                           - CC39769: All-Inclusive Pricing (OUT)              Per GB: 08102018
                        TCSLTD008558257-TCSLTD008988000
                           - CC39866: All-Inclusive Pricing (OUT)              Per GB: 08212018
                        TCSLTD008988001 -TCSLTD009079951
                           - CC39866: All-Inclusive Pricing (OUT)              Per GB: 08222018
                        TCSLTD009079952-TCSLTD009149330
                           - CC39891: All-Inclusive Pricing (OUT)              Per GB: 08232018
                        TCSLTD009149331 -TCSLTD009182364
                           - CC39891: All-Inclusive Pricing (OUT)              Per GB: 08242018
                        TCSLTD009182365-TCSLTD009215317
                           - CC39851: All-Inclusive Pricing (OUT)              Per GB:
                        EEOC-TCS001




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          3             Hosting: 3rd Party Data Loading (Hourly)                                                   150.00      450.00
                           - CC39956: 3rd Party Data Loading (Hourly): .load file
                        manipulation. Load data. Volumes:
                        TCSPROD001_20170209_TCSPROD000000001_TCSPRODOOO
                        000160
                        TCSPROD004_20170216_TCSPROD000001970_TCSPRODOOO
                        001970 TCSPROD005
                        TCSPROD006_20170603_TCSPROD000001987_TCSPRODOOO
                        002417
                        TCSPROD007_20180404_TCSPROD000002419_TCSPRODOOO
                        002427
                        TCSPROD008_20180409_TCSPROD000002428_TCSPRODOOO
                        002429 TCSPROD008_20180419_TCSPROD000002430
                        TCSPROD009_20180505_TCSPROD000002431-TCSPRODOOO
                        002434 TCSPROD01 0_2018051 0_TCSPROD000002435
                        TCSPROD011_20180514_TCSPROD000002436-TCSPRODOOO
                        002440
                        TCSPROD012_20180515_TCSPROD000002442-TCSPRODOOO
                        002511
                          - CC39956: 3rd Party Data Loading (Hourly): Volume




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                                                                                      Please remit to:
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New York, NY 1 0178                                                                    Los Angeles, CA 90067




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       29.75             Hosting: Professional Services                                                           100.00      2,975.00
                            - CC39812: Professional Services:
                            - CC39833: Professional Services:
                            - CC39855: Professional Services:
                            - CC39983: Professional Services:
                            - CC39888: Professional Services: 20180821_Priv log
                            - CC39849: Professional Services: Create Priv log Searches
                         and export excel
                            - CC39975: Professional Services: Created Overlays and
                         loaded per exhibit on all Produced docs
                            - CC39975: Professional Services: Created Overlays and
                         loaded per exhibit on all Produced docs
                            - CC401 05: Professional Services: Custom Re-foldering
                         completed
                            - CC39873: Professional Services: Priv log creation.
                            - CC39765: Professional Services: Redaction Log
                            - CC39782: Professional Services: Redaction Log
                            - CC39895: Professional Services: Re-foldered Based on
                         Client Request
                            - CC39973: Professional Services: Searching and reporting
                            - CC40002: Professional Services: Searching and reporting




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          5              Hosting: IN                                                                              100.00      500.00
                           - CC39828:      All-Inclusive   Pricing ( IN ) Per GB:
                           - CC39917:      All-Inclusive   Pricing ( IN ) Per GB:
                           - CC40004:      All-Inclusive   Pricing ( IN ) Per GB:
                           - CC39843:      All-Inclusive   Pricing (IN) Per GB: TATA076
                           - CC39848:      All-Inclusive   Pricing (IN) Per GB: TATA077

                         Mise: Federal Express                                                                    63.76        63.76
                            - CC39769: Federal Express: #772949127573

       19,813            Blowback Slip Sheet per Document                                                          0.11      2,179.43T
                            - CC39921: Blowback- Slip Sheet              per   Document
                            - CC39944: Blowback - Slip Sheet             per   Document
                            - CC401 03: Blowback - Slip Sheet            per   Document
                            - CC40017: Blowback - Slip Sheet             per   Document
                         CA Sales Tax                                                                             9.50%       207.05




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                                                                                                                                       $0.00
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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 519 of 708




                    A – 183
  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 520 of 708




        WILLIAMS LEA corporate information solutions                            Invoice Number:
                                                                                    1-lsloo333-ot (1)
Remittance Address
  Williams Lea                                                                      Invoice Date:
  14927 Collections Center Dr.                                                          1-0ct-18
  Chicago, ILL 60693
  Telephone:      312-681-6400                                                               Page:
   FederaiiD #    61499292                                                                      14

Customer:                                                                           Customer 10:
   Loeb & Loeb LLP                                                                   LOB-04041
   345 Park Ave
   New York, NY 10154

RE: Cut Job
Requestor: Bradley Raboin
Date: 09107/18
CM # 205625-10015


       Quantity                              Description         Rate                 Cost


         572       Blowbacks Reassembly                    $             0.08   $            45.76


         178       Color Copies 8.5x11                     $             0.60   $         106.80


         138       Tabs                                    $             0.25   $            34.50


          4        3 Ring binder 1 1/2"                    $             4.00   $            16.00


          1        Delivery Fee *"•Hotei***Saturdav*"•     $            47.50   $            47.50




                                                           Document Charges             $152.56
                                                           Binding!Tabs!Cd's    $         98.00
                                                                    Subtotal            $250.56
                                                           NYS Sales Tax                 $22.24
                                                               Invoice Total             $272.80"
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 521 of 708




                    A – 184
  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 522 of 708




        WILLIAMS LEA corporate information solutions                        Invoice Number:
                                                                                1-18100333-01    (ll
Remittance Address
  Williams Lea                                                                  Invoice Date:
   14927 Collections Center Dr.                                                     1-0ct-18
   Chicago, ILL 60693
   Telephone:      312-681-6400                                                          Page:
   FederaiiD #     61499292                                                                 17

Customer:                                                                       Customer 10:
   Loeb & Loeb LLP                                                                LOB-04041
   345 Park Ave
   New York, NY 10154

RE:CutJob
Requestor: Brad Raboin
Date: 09/13118
CM # 205625-10015                        I
      Quantity                           Deacrlotion         Rate                 Cost


        1,063     Blowbacks Reassembly                 $             0.08 $              85.04




         185      Tabs                                 $             0.25   $            46.25


          4       Card stock                           $             0.11   $             0.44


          2       3 Ring Binders 4"                    $            22.50 $              45.00




                                                       Document Charges              $85.04
                                                       Binding!Tabs/Cd's    $         91.69
                                                                Subtotal            $176.73
                                                       NYS Sales Tax                t$15.68
                                                           Invoice Total             $192.41
                                                                                                 •
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 523 of 708




                    A – 185
 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 524 of 708




        WILLIAMS LEA corporate information solutions                                                            Invoice Number:
                                                                                                                    1-181 00333·01 ('?!J
Remittance Address
   Williams Lea                                                                                                      Invoice Date:
   14927 Collections Center Dr.                                                                                          1-0ct-18
   Chicago, ILL 60693
   Telephone:      312-681-6400                                                                                               Page:
   FederaiiD #     61499292                                                                                                     20

Customer:                                                                                                            Customer ID:
   Loeb & Loeb LLP                                                                                                    LOB-04041
   345 Park Ave
   New York NY 10154

RE; Cut Job
Requestor: Brad Raboin u   ••   T...Jl   .~p                                      -·
Date: 09/14/18                                               ,b, '· ·~:. 0.~ ..::;.    -   0
CM # 205265-10015                              I
       Quantity                                Description                                       Rate                  Cost


        3,039      Copies Levei-C                                                          $             0.10   $          303.90


          25       Color Copies 8.5x11                                                     $             0.60   $             15.00


          2        Color Copies 11x17                                                      $             0.98   $              1.96


         227       Tabs                                                                    $             0.25   $             56.75



          2        3 RinQ binder 11/2"                                                     $             4.00   $              8.00


           1       3 Ring Binder 2"                                                        $             6.00   $              6.00



          1        3 Ring Binder 3"                                                        $            12.00   $             12.00



          1        3 Ring Binders 4"                                                       $            22.50   $             22.50


           1       3 Ring Binders 5"                                                       $            25.00   $             25.00




                                                                                           Document Charges     $          320.86
                                                                                           Binding/Tah$/Cd's    $          130.25
                                                                                                    Subtotal             $451.11
                                                                                           NYS Sales Tax                   $40.04
                                                                                               Invoice Total              $491,15     -
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 525 of 708




                    A – 186
 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 526 of 708




        WILLIAMS LEA   corporate information solutions                         Invoice Number:
                                                                                     1-18110180
Remittance Address
  Williams Lea                                                                     Invoice Date:
   14927 Collections Center Dr.                                                       1-Nov-18
  Chicago, ILL 60693
  Telephone:       312-681-6400                                                            Page:
   FederaiiD#      61499292                                                                   19

Customer:                                                                          Customer 10:
   Loeb & Loeb LLP                                                                  LOB-04041
   345 Park Ave
   New York. NY 10154

RE:CutJob
Requestor: B. Raboin
Date: 10/11/18
CM # 205625-10015                          I
       Quantity                            Description          Rate                Cost


         977       BB Reassembly                         I$             0.10   $           97.70


        1,097      Color prints                          $              0.60   $        658.20


          2        Hand Labor!Reolace slio-sheets        $             30.00   $           60.00




                                                          Document Charges            $755.90
                                                         Binding!Tabs!Cd's     $         60.00
                                                                  Subtotal            $815.90
                                                          NYS Sales Tax                 $72.41
                                                              Invoice Total            $888.31
                                                                                                   ,.
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 527 of 708




                    A – 187
           Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 528 of 708



                                                                                                                   Invoice
                                                                                     Date                                   Invoice#            , .,    I
10 Rodgers Street                                                               11/5/2018                              181103009 .. ·1
San Francisco, CA 94103
Phone# 415-355-0100
Fax#     415-913-7311




 Bill To                                               Shi~,!o'~.;:,;·.~ ..      ,,·~::!~~~;,,, ,;                 ,   ,'   ' ·····'       ''
                                ,o•,''                                                                                       ;'
 Loeb&Loeb                                       Oakland City Center
 10100 Santa Monica Blvd. Suite 2200             1300 Clay Street, 6th Floor
 Los Angeles, CA 90067                           Oakland, CA 94612
 Attn: Fiona McKeown                             Attn: Fiona McKeown




                                                                    Reference No.                             .,             Tenns

                                                                  CM# 205625-10015                                           Net 30
                                           f,,   I .                                                        I··             AmoUnt ·,            <f;;':'
                           Description                      Qty                      Rate
                                                        .                                                                              '    ,,    ,;.

 Requested on 11/3/18

 Color Copies                                                        656                             0.65                              426.40T




 Thank you for your business.
 Tax 10:272390179


                                                                              Subtotal                                                 $426.40


                                                                              Sales Tax (8.5%)                                         $36.24
 Please approve and sign invoice.

                                                                              Total                                             $462.64
             Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 529 of 708



Print   I   Close Window

 Subject: RE: TCS
   From: Fiona McKeown <fmcKeown@loeb.com>
    Date: Sat, Nov 03, 2018 7:06 pm
        To: 'Sang Huynh' <sang.huynh@contactesi.net>, "support@contactesi.net" <support@contactesi.net>


 Single color please


 From: Sang Huynh <sang.huynh@contactesi.net>
 Sent: Saturday, November 3, 2018 7:06 PM
 To: Fiona McKeown <fmcKeown@loeb.com>; support@contactesi.net
 Subject: RE: TCS




 Thanks. For these two attachments, should it be single-sided or double-sided? Does it need to be in color?

 Thanks,
 Sang

 Sang Huynh
 415-553-0455

 On November 3, 2018 7:00:18 PM PDT, Fiona McKeown <fmcKeown:{.illoeh.com> wrote:

    Corrected- still working on other project


    From: Sang Huynh <~ang.huynh@contactesi.net>
    Sent: Saturday, November 3, 2018 3:51 PM
    To: Fiona McKeown <fmcKeown@loeb.com>; support@contactesi.net
    Subject: Re: TCS




    Hi Fiona,

    Attachments received.

    Thanks,
    Sang

    Sang Huynh
    415-553-0455

    On November 3, 2018 3:45:33 PM PDT, Fiona McKeown <tincKcownr(DJocb.com> wrote:
        Hi Sang, we are working on a project and will be getting stuff to print in color with delivery to Oakland
        tomorrow at 10 am. Also wanted to ask if you could print these x 4 and three hole punch as I will need to
        update some of our binders. These can be delivered with the other docs we will send later.
    Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 530 of 708



Thanks again for everything!




Fiona McKeown
Paralegal

.BLOEB&
-LOEBLJJ'
10100 Santa Monica Blvd., Suite 22001 Los Angeles, CA 90067
Direct Dial:310.282.20641 Fax:310.510.6751 1E-mail:fmckeown@loeb.com
Los Angeles I New York I Chicago I Nashville 1 Washington, DC 1 San Francisco !Beijing I Hong Kong I www.loeb.com



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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 531 of 708




                    A – 188
           Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 532 of 708



                                                                                       Invoice
                                                                                         Invoice#       '   j
10 Rodgers Street                                                   11/5/2018           181103011           1
San Francisco, CA 94103
Phone# 415-355-0100
Fax#     415-913-7311




 Bill To

 Loeb&Loeb                                   Oakland City Center
 10100 Santa Monica Blvd. Suite 2200         1300 Clay Street, 6th Floor
 Los Angeles, CA 90067                       Oakland, CA 94612
 Attn: Fiona McKeown                         Attn: Fiona McKeown




                                                         R~~No.




                                                                                         Amount

 Requested on 11/4/18

Heavy Litigation Copies                                  351                    0.15              52.65T
Alpha/Numeric Tabs                                        57                    0.25              14.25T
1.5" D-Ring View White Binders                              3                   9.00              27.00T




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Tax 10:272390179


                                                                Subtotal                       $93.90


                                                                Sales Tax (8.5%)               $7.98
Please approve and sign invoice.

                                                                Total                     $101.88
                Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 533 of 708


    Print 1 Close Window

     Subject: 3 binders- three hole punched with side tabs 1 through 19
       From: fmckeown@loeb.com
        Date: Sun, Nov 04, 2018 8:38 am
         To: <sang.huynh@contactesi.net>, <support@contactesi.net>
         Cc: <mloose@loeb.com>




        You have received 2 secure files from fmckeown@loeb.com.
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        Need ASAP Delivery to Oakland thanks

        Secure File Downloads:
        Available until: 04 December 2018
        Click links to download:

               J;_~_blbih>_~jp
               52.52 MB, Fingerprint: adbb7e7060ab221479e792abbd565b20 (What is this?)

               TCS Spine.docx
               43.56 KB, Fingerprint: 755dddaa8eb0cff46299ee6bc24483cd (What is this?)


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        the link(s). To learn how your company can benefit from Accellion Secure File Transfer, please visit http://www.accellion.com



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    Fiona McKeown
    Paralegal

    .II LOEB&
    -LOEBUP
    10100 Santa Monica Blvd .. Suite 22001 Los Angeles, CA 90067
    Direct Dial: 310.282.20641 Fax: 310.510.6751 1 E-mail: fmckeown@loeb.com
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                    A – 189
            Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 535 of 708



~ ENNOVATIVE SOLUTIONS, INC
~                    tnforrnanon :Vlmmgerncnt services
                                                                                                   Invoice
                                                                                   Date·

10 Rodgers Street                                                               11/5/2018           181104012
San Francisco, CA 94103
Phone# 415-355-0100
Fax#     415-913-7311




 BniTo
 Loeb&Loeb                                               Oakland City Center
 10100 Santa Monica Blvd. Suite 2200                     1300 Clay Street, 6th Floor
 Los Angeles, CA 90067                                   Oakland, CA 94612
 Attn: Fiona McKeown                                     Attn: Fiona McKeown




 Requested on 11/4/18

 Color Copies                                                        993                    0.65          645.45T
 Custom Tabs                                                         126                    0.75           94.50T
 1" D-Ring View White Binders                                         39                    8.00          312.00T




Thank you for your business.
Tax 10:272390179


                                                                            Subtotal                    $1,051.95


                                                                            Sales Tax (8.5%)             $89.42
 Please approve and sign invoice.

                                                                            Total                    $1,141.37
                   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 536 of 708


    Print    I   Close Window

     Subject:     Binders for tomorrow delivery at 7:00am
       From:      fmckeown@loeb.com
        Date:     Sun, Nov 04, 2018 7:14pm
          To:     <sang.huynh@contactesi.net>, <support@contactesi.net>
         Cc:      <mlamar@loeb.com>, <bjraboin@loeb.com>, <dbrockman@loeb.com>




            You have received 1 secure file from fmckeown@loeb.com.
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        Sang, can you please bring 6 sets of each of the binders in the attached folders. Need custom side tabs and FYI
        there are some excels that may need to be formatted.

        White view binders - I attached a cover and spine for each set - need color. one sided - color for color. 1300 Clay at
        7:00am

        Fiona

        Secure File Downloads:
        Available until: 04 December 2018

        Click link to download:

                  Exhibits for tomorrow.~
                  18.30 MB, Fingerprint: 79ade08f494d7ff673268e3462ef4c3b (What is this?)


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1   Fiona McKeown
1   Paralegal

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    -LOESUP
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Print   I   Close Window

 Subject: Need three binders White View- with index and color delivery with others tomorrow more to come
   From: Fiona McKeown <fmcKeown@loeb.com>
    Date: Sun, Nov 04, 2018 9:09pm
          "'sang.huynh@contactesi.net'" <sang.huynh@contactesi.net>, "support@contactesi.net"
      To:
          <support@contactesi.net>
  Attach: index 2016.pdf
             2016-01-27 [Heldt]_Kumar, Umesh • Confidential - AEO.pdf
             TCS COVER.docx
             TCS Spine.docx




Fiona McKeown
Paralegal

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    Subject: Same three sets - different year color binders etc. Email if you need me to repeat instructions
      From: Fiona McKeown <fmcKeown@loeb.com>
       Date: Sun, Nov 04, 2018 9:12 pm
         To: "'sang.huynh@contactesi.net"' <sang.huynh@contactesi.net>, "support@contactesi.net"
             <support@contactesi.net>
     Attach: TCS COVER.docx
              TCS Spine.docx
              Index 2017.pdf
              2017-01-25 [Heldt]_Kumar, Umesh.pdf




    Fiona McKeown
    Paralegal

I   ••LOEB&
    -LOEBW'
    10100 Santa Monica Blvd., Suite 2200 1Los Angeles, CA 90067
    Direct Dial: 310.282.20641 Fax: 310.510.6751 I E-mail: fmckeown@loeb.com
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 Subject: Slightly different as this set needs a custom side tab for Depo notice at end of binders
   From: Fiona McKeown <fmcKeown@loeb.com>
    Date: Sun, Nov 04, 2018 9:22pm
      To: 'Sang Huynh' <sang.huynh@contactesi.net>, "support@contactesi.net" <support@contactesi.net>
  Attach: lndex.pdf
          TCS COVER.docx
             TCS Spine.docx
             2016-02-26 Heldt_Jindal Amit- Confidential Highlight. pdf
             Depo Notice.pdf




 Fiona McKeown
 Paralegal

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-LOEBUP
10100 Santa Monica Blvd., Suite 2200 1Los Angeles, CA 90067
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 Subject: Same as last with a custom tab that says deposition notice (doc goes at end) 2 more small after this one
   From: Fiona McKeown <fmcKeown@loeb.com>
    Date: Sun, Nov 04, 2018 9:36pm
     To: 'Sang Huynh' <sang.huynh@contactesi.net>, "support@contactesi.net" <support@contactesi.net>
  Attach: AMENDED DESIGNATIONS -1-28-16 ·Heldt- Sharma.pdf
          TCS COVER.docx
             TCS Spine.docx
             Depo Notice.pdf
             Index Sharma 2016.pdf




 Fiona McKeown
 Paralegal

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 Subject:    Back to original instructions (one more to go after this! and we can start again tomorrow)
   From:     Fiona McKeown <fmcKeown@loeb.com>
    Date:    Sun, Nov 04, 2018 9:41pm
      To:    'Sang Huynh' <sang.huynh@contactesi.net>, "support@contactesi.net" <support@contactesi.net>
  Attach: TCS COVER.docx
          TCS Spine.docx
          Sharma Jan 25 2017 lndex.pdf
             AMENDED DESIGNATIONS· 2017-01-25 Sharma Jeevak.pdf




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 Paralegal

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 Subject: Here is another and then one more and done!!! All to be delivered to 1300 clay at 7:00am
   From: Fiona McKeown <fmcKeown@loeb.com>
    Date: Sun, Nov 04, 2018 9:51pm
     To: 'Sang Huynh' <sang.huynh@contactesi.net>, "support@contactesi.net" <support@contactesi.net>
  Attach: TCS Spine.docx
          TCS COVER.docx
           AMENDED DESIGNATIONS· 8-10·18 Sharma Jeevak.pdf
           Sharma 2018 lndex.pdf




Fiona McKeown
Paralegal

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     Subject: Last one!
       From:  Fiona McKeown <fmcKeown@loeb.com>
        Date: Sun, Nov 04, 2018 9:59pm
          To: 'Sang Huynh' <sang.huynh@contactesi.net>, "support@contactesi.net" <support@contactesi.net>
      Attach: TCS Spine.docx
              TCS COVER.docx
              Sharma Index May 2017.pdf
                AMENDED DESIGNATIONS· 5-15-17. Heldt· Sharma.pdf


    Thank you Sang- and each and every member of SUPPORT- you guys rock!

     Fiona



    Fiona McKeown
    Paralegal

1   ••LOEB&
    -LOE8u.P
    10100 Santa Monica Blvd., Suite 2200 1Los Angeles, CA 90067
    Direct Dial: 310.282.20641 Fax: 310.510.6751 I E-mail: fmckeown@loeb.com
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                    A – 190
            Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 545 of 708



                                                                                         Invoice
                                                                          Date
10 Rodgers Street                                                      11/7/2018          181105015
San Francisco, CA 94103
Phone # 415-355-0100
Fax#     415-913-7311




 Bill To
 Loeb&Loeb                                      Oakland City Center
 10100 Santa Monica Blvd. Suite 2200            1300 Clay Street, 6th Floor
 Los Angeles, CA 90067                          Oakland, CA 94612
 Attn: Fiona McKeown                            Attn: Fiona McKeown




 Requested on 11/5/18

Plaintiff Exhibits
Tech Labor (Formatting Excels and Sort color)                  3                 75.00          225.00T
Heavy Litigation Copies                                   15,480                  0.15        2,322.00T
Color Copies                                               3,791                  0.65        2,464.15T
Alpha/Numeric Tabs                                         1'186                  0.25          296.50T
3" D-Ring View White Binders                                  21                 12.00          252.00T




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Tax 10:272390179


                                                                   Subtotal                   $5,559.65


                                                                   Sales Tax (8.5%)           $472.57
Please approve and sign invoice.

                                                                   Total                  $6,032.22
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 546 of 708


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   From:      rmeshell@loeb.com
    Date:     Mon, Nov 05, 2018 8:36pm
      To:     <sang.huynh@contactesi.net>, <support@contactesi.net>
     Cc:      <fmckeown@loeb.com>




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                                                                                                                                                     7/2018, 9:34AM
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 547 of 708




                    A – 191
            Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 548 of 708



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      To:     <sang.huynh@contactesi.net>, <support@contactesi.net>




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                    A – 192
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    From:      fmckeown@loeb.com
     Date:     Tue, Nov 06,2018 4:35pm
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    From: Fiona McKeown <fmcKeown@loeb.com>
     Date: Tue, Nov 06, 2018 4:45pm
      To: Sang Huynh <sang.huynh@contactesi.net>, "support@contactesi.net" <support@contactesi.net>
   Attach: Trial Ex. No. 3477-7.pdf
               Trial Ex. No. 3477-9.pdf
               TCS COVER.docx
               TCS Spine.docx
               Trial Ex. No. 3477-3.pdf
               Trial Ex. No. 3477-4.pdf



, Hi Sang- color for color, one sided, custom tabs (for both sets of 6). Let me know if you have a problem delivering
  tonight at 8.

  Best,
  F



 Fiona McKeown
 Paralegal

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 Subject: Can I please get 6 binders tabs 1-4 delivered tomorrow morning at 7
   From: Fiona McKeown <fmcKeown@loeb.com>
    Date: Tue, Nov 06, 2018 8:32pm
      To: Sang Huynh <sang.huynh@contactesi.net>, "support@contactesi.net" <support@contactesi.net>
  Attach: Tab 3 Trial Ex. No. 2054.pdf
          Tab 4113 TCSLTD002507700.pdf
          TCS COVER.docx
          TCS Spine.docx
          Tab 1 405 TCSLTD003496554.pdf
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 Color for color white view binders!

 Thanks



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 Paralegal

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                    A – 193
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     Subject: RUSH - 6 Copies
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           Date: Tue, Nov 06, 2018 9:44 pm
            To: "sang.huynh@contactesi.net" <sang.huynh@contactesi.net>
      Attach: TAB 2.pdf
              2018-11-06 Chart re Termination Folders- Special Projectdocx
                 TAB 1.pdf
                 TCS COVER2.docx
                 TCS Spine2.docx


     Hi,

     Please print 6 color copies with side number tabs 1 and 2. The chart should be placed before the tabs. I have also
     attached Word versions of the cover and the spine for the 1/2 inch or 1 inch binder.

     As discussed, please return by 7 a.m. tomorrow to the 1300 Clay Street.

    Thanks.




    Tannette Gates
    Assistant

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    From: Keisha Lyles
    Sent: Tuesday, November 6, 2018 9:29 PM
    To: Tannette Gates <tgates@loeb.com>
    Subject: lATA/Termination Form Project- Binder

    T-
    Piease see attached.

    Keisha


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                    A – 194
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       From:     Tannette Gates <tgates@loeb.com>
        Date:    Wed, Nov 07, 2018 7:52pm
          To:    Sang Huynh <sang.huynh@contactesi.net>


     Please check for color. If color, please print color for color.

    Thanks.


    From: Sang Huynh <sang.huynh@contactesi.net>
    Sent: Wednesday, November 7, 2018 7:51 PM
!   To: Tannette Gates <tgates@loeb.com>
    Subject: Re: Double-sided




    Staple, black&white?

    Thanks,
    Sang

    Sang Huynh
    415-553-0455

    On November 7, 2018 7:49:21 PM PST, Ta.nnette Gates <tgates@Joeb.com> wrote:
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           Date: Wed, Nov 07, 2018 7:50pm
            To: Sang Huynh <sang.huynh@contactesi.net>
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    Thanks.



    Tannette Gates



    Tannette Gates
    Assistant

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    Date:    Wed, Nov 07,2018 9:00pm
      To:    'Sang Huynh' <sang.huynh@contactesi.net>, "support@contactesi.net" <support@contactesi.net>
  Attach:    TCS Spine.docx
             Trial Ex. No. 2053.pdf
             Trial Ex. No. 2059.pdf
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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 567 of 708




                    A – 196
            Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 568 of 708



                                                                                     Invoice
10 Rodgers Street
San Francisco, CA 94103
Phone# 415-355-0100
Fax#     415-913-7311




 Bill·.·.
 Loeb&Loeb                                    Oakland City Center
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 Los Angeles, CA 90067                        Oakland, CA 94612
 Attn: Fiona McKeown                          Attn: Davonna Brockman




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                                                                 Total                $1,288.98
                     Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 569 of 708


        Print   I   Close Window

         Subject: RE: TCSISiaight (205625-1 0015)
           From: Davonna Brockman <dbrockman@loeb.com>
            Date: Thu, Nov 08, 2018 8:59am
                To: "sang.huynh@contactesi.net" <sang.huynh@contactesi.net>, "support@contactesi.net"
                    <support@contactesi.net>
                Cc: Fiona McKeown <fmcKeown@loeb.com>, Keisha Lyles <klyles@loeb.com>


         Hi Sang, please change to 7 copies. Thank you.


        From: sang.huynh@contactesi.net <sang.huynh@contactesi.net>
        Sent: Thursday, November 8, 2018 8:57AM
        To: Davonna Brockman <dbrockman@loeb.com>; support@contactesi.net
        Cc: Fiona McKeown <fmcKeown@loeb.com>; Keisha Lyles <klyles@loeb.com>
        Subject: RE: TCS/Siaight (205625-10015)




        Received.


        Sang Huynh I Account Executive
        10 Rodgers Street I San Francisco, CA 941 03
        Tel: 415-355-0100 1 Mobile: 415-553-0455
        Email: sang.huynh@contactesi.net


           -------- Original Message --------
           Subject: TCS/Siaight (205625-10015)
           From: Davonna Brockman <dbrockman@loeb.com>
           Date: Thu, November 08, 2018 8:50am
           To: Sang Huynh <sang.huynh@contactesi.net>, "support@contactesi.net"
           < su pport@contactesi. net>
           Cc: Fiona McKeown <fmcKeown@loeb.com>, Keisha Lyles <klyles@loeb.com>

           Good morning! Please print two copies of the attached documents and deliver to 1300 Clay Street by
           12pm.

           Finishing
           Color for color
           3 hole punch
           3 ring binder



           Davonna Brockman
           Assistant

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           -LOEBLI.P
           10100 Santa Monica Blvd., Suite 2200 I Los Angeles, CA 90067
           Direct Dial:310.282.20291 Fax:310.282.2200 I E-mail:dbrockman@loeb.com
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I of2
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 570 of 708


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2 of2
                          Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 571 of 708


             Print   I   Close Window

              Subject: RE: Hi Sang, I need the binders reprinted double sided please, super rush, thanks. Call me with any
                       questions!
                From: Davonna Brockman <dbrockman@loeb.com>
                 Date: Thu, Nov 08, 20181:23 pm
                     To: Sang Huynh <sang.huynh@contactesi.net>


              5 please


           From: Sang Huynh <sang.huynh@contactesi.net>
         ' Sent: Thursday, November 8, 2018 1:13 PM
         1 To: Davonna Brockman <dbrockman@loeb.com>
         ! Subject: Re: Hi Sang, I need the binders reprinted double sided please, super rush, thanks. Call me with any
             questions!




             How many sets?

             Thanks,
             Sang

             Sang Huynh
             415-553-0455

             On November 8, 2018 I :09:04PM PST, Davonna Brockman <dbrockman@,loeb.com> wrote:




                Sent from my Sprint Samsung Galaxy S8.



                Davonna Brockman
                Assistant

                ••LOEB&
                -LOEBw>
                10100 Santa Monica Blvd., Suite 2200 1Los Angeles, CA 90067
                Direct Dial:310.282.20291 Fax:310.282.2200 1E-mail:dbrockman@loeb.com
                Los Angeles I New York 1Chicago 1Nashville 1Washington, DC 1San Francisco IBeijing 1Hong Kong 1www.loeb.com




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                    A – 197
            Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 573 of 708



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San Francisco, CA 94103
Phone# 415-355-0100
Fax#     415-913-7311




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 10100 Santa Monica Blvd. Suite 2200         1300 Clay Street, 6th Floor
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 Subject: Binders witness 1
    From: Fiona McKeown <fmcKeown@loeb.com>
    Date: Mon, Nov 12, 2018 9:31 pm
      To: "'sang.huynh@contactesi.net"' <sang.huynh@contactesi.net>, "support@contactesi.net"
          <support@contactesi.net>
  Attach: Trial Ex. No. 2169.pdf
             Trial Ex. No. 2173.pdf
             Trial Ex. No. 2179.pdf
             Trial Ex. No. 2184.pdf
             TCS COVER.docx
             TCS Spine.docx


, Please prepare 5 white view, custom tabs, color for color, one sided.



 Fiona McKeown
 Paralegal

 ••LOEB&
 -LOEBUJ"
 10100 Santa Monica Blvd., Suite 2200 1Los Angeles, CA 90067
 Direct Dial: 310.282.20641 Fax: 310.510.6751 1E-mail: fmckeown@loeb.com
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Print 1 Close Window

  Subject: Witness 1 - impeachment
    From: Fiona McKeown <fmcKeown@loeb.com>
     Date: Mon, Nov 12, 2018 9:35pm
       To: "'sang.huynh@contactesi.net"' <sang.huynh@contactesi.net>, "support@contactesi.net"
           <support@contactesi.net>
   Attach: TCSLTD001421762.pdf
            TCSLTD001421783.pdf
            Trial Ex. No. 2221-5964.pdf
            Trial Ex. No. 3332.pdf
            TCS001499.pdf


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 with pdf name



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 Paralegal

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  Subject: Witness binders 2
    From: Fiona McKeown <fmcKeown@loeb.com>
     Date: Mon, Nov 12, 2018 9:40pm
           "'sang.huynh@contactesi.net"' <sang.huynh@contactesi.net>, "support@contactesi.net"
       To:
           <support@contactesi.net>
   Attach: Trial Ex. No. 2006.pdf
           Trial Ex. No. 2007.pdf
           Trial Ex. No. 2010.pdf
             TCS COVER.docx
             TCS Spine.docx
             Trial Ex. No 2009.pdf
             Trial Ex. No. 2005.pdf


  Binders- white view xS same as others



 Fiona McKeown
 Paralegal

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 Subject: impeachment witness 2-3 cut letter folders
   From: Fiona McKeown <fmcKeown@loeb.com>
    Date: Mon, Nov 12, 2018 9:44pm
          "'sang.huynh@contactesi.net'" <sang.huynh@contactesi.net>, "support@contactesi.net"
      To:
          <support@contactesi.net>
  Attach: 2006 clean.pdf
          2007 clean.pdf
          Trial Ex. No. 2009 full.pdf


 Four copies clipped, color for color, three cut letter folders (uncollated)



 Fiona McKeown
 Paralegal

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     Subject: witness 3 binders
       From: Fiona McKeown <fmcKeown@loeb.com>
        Date: Mon, Nov 12, 2018 9:48pm
          To: "'sang.huynh@contactesi.net"' <sang.huynh@contactesi.net>, "support@contactesi.net"
              <support@contactesi.net>
      Attach: Trial Ex. No. 2200.pdf
              Trial Ex. No. 2201.pdf
              Trial Ex. No. 2206.pdf
                 TCS COVER.docx
                 TCS Spine.docx
                 Trial Ex. No. 2196.pdf
                 Trial Ex. No. 2198.pdf
                 Trial Ex. No. 2199.pdf



     White view x 5, color for color, one sided, custom tabs.



    Fiona McKeown
    Paralegal

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    -LOE8W"
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    Direct Dial: 310.282.20641 Fax: 310.510.6751 1E-mail: fmckeown@loeb.com
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  Subject: one more impeachment for witness 1 (add to folders)
    From: Fiona McKeown <fmcKeown@loeb.com>
     Date: Mon, Nov 12, 2018 9:59pm
           "'sang.huynh@contactesi.net"' <sang.huynh@contactesi.net>, "support@contactesi.net"
       To:
           <support@contactesi.net>
   Attach: 906.pdf




  Fiona McKeown
  Paralegal


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                    A – 198
            Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 581 of 708



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San Francisco, CA 94103
Phone# 415-355-0100
Fax#     415-913-7311




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 Subject: Need 5 white view binders • custom tabs, one sided for 7:00 am delivery tomorrow
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    Date: Tue, Nov 13, 2018 6:24pm
      To: sang.huynh@contactesi.net




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 Subject:     Another set of binders. there will be one more
   From:      fmckeown@loeb.com
    Date:     Tue, Nov 13, 2018 8:39pm
      To:     support@contactesi.net




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 Subject: Last set of five binders -same as usual -color for color, one sided custom tabs
   From:  Fiona McKeown <fmcKeown@loeb.com>
    Date: Tue, Nov 13, 2018 11 :05 pm
      To: "'sang.huynh@contactesi.net"' <sang.huynh@contactesi.net>, "support@contactesi.net"
          <support@contactesi.net>
  Attach: Blandford Witness.zip




 Fiona McKeown
 Paralegal

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                    A – 199
           Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 586 of 708



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      To:     support@contactesi.net




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    Date: Tue, Nov 13, 2018 6:42pm
      To: sang.huynh@contactesi.net




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                    A – 200
            Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 590 of 708



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San Francisco, CA 94103
Phone# 415-355-0100
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      To:     sang.huynh@contactesi.net




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               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 592 of 708


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    Subject: One more small binder - last one for tonight
      From: Fiona McKeown <fmcKeown@loeb.com>
       Date: Wed, Nov 14, 2018 8:12pm
         To: "sang.huynh@contactesi.net" <sang.huynh@contactesi.net>, "support@contactesi.net"
             <support@contactesi.net>
     Attach: TCS COVER.docx
              TCS Spine.docx
              Plaintiffs Ex. 399.pdf




    Fiona McKeown
    Paralegal

i   ••LOEB&
. -LOESW"
    10100 Santa Monica Blvd., Suite 2200 I Los Angeles, CA 90067
    Direct Dial: 310.282.2064 I Fax: 310.510.6751 I E-mail: fmckeown@loeb.com
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                    A – 201
            Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 594 of 708



                                                                                        Invoice
10 Rodgers Street                                                   11/19/2018           181115057       1
San Francisco, CA 94103
Phone# 415-355-0100
Fax#     415-913-7311




 Loeb&Loeb                                    Oakland City Center
 10100 Santa Monica Blvd. Suite 2200          1300 Clay Street, 6th Floor
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 Attn: Fiona McKeown                          Attn: Fiona McKeown




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 Subject: First of three small sets of binders
   From: fmckeown@loeb.com
    Date: Thu, Nov 15, 2018 8:21pm
     To: sang.huynh@contactesi.net




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 Subject:     second set of 5 binders {only one exhibit but all color!
   From:      fmckeown@loeb.com
    Date:     Thu, Nov 15, 2018 8:45 pm
      To:     support@contactesi.net




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 Subject:     Last witness this week (court dark next week) -look out for emails a week from Sunday :)
   From:      fmckeown@loeb.com
    Date:     Thu, Nov 15, 2018 8:59pm
      To:     sang.huynh@contactesi.net




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  Subject: FW: Alphonso Triplett (766186) I (828549)
    From: Fiona McKeown <fmcKeown@loeb.com>
     Date: Thu, Nov 15, 2018 9:10pm
      To: Sang Huynh <sang.huynh@contactesi.net>, "support@contactesi.net" <support@contactesi.net>
   Attach: Rehire of Triplett TCSLTD005097200.pdf
           ATI00001.htm


· Please add this doc at the end of Ashok Seetharaman binders. Custom tab should be- Triplett




 Fiona McKeown
 Paralegal

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                    A – 202
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 Attn: Fiona McKeown                                     San Francisco, CA 94111
                                                         Attn: Keisha Lyles




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   From:    klyles@loeb.com
    Date:   Sun, Nov 18, 2018 6:15pm
      To:   <sang.huynh@contactesi.net>, <support@contactesi.net>
     Cc: <dbrockman@loeb.com>




    You have received 1 secure file from klyles@loeb.com.
    Use the secure link below to download.



    Hi Sang,

    Good Evening!

    We need to have four binders made from the attached with corresponding numbered tabs. Please include the
    "Admitted Exhibits" list at the front of each binder before the exhibits. To try and conserve as much space as possible,
    please print documents double-sided. Also, as a guide, please use the "Exhibit Number" column for the order in which
    the documents should appear in each binder.
    Also, for a binder that you previously created for us, please create the following separate set of documents double-
    sided, with the corresponding tabs and clipped with a binder clip (they are attached as well):

    1226
    1041A
    3404
    385-1
    385-2
    262-1
    262-2
    655-1
    16-1
    16-2
    17
    254-1
    721
    590A

    Please have completed and delivered to our SF offices (Loeb & Loeb LLP) no later than 8:00a.m. Thank you for
    assisting us!!!

    Kind regards,

    Keisha

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    Available until: 18 December 2018

    Click link to download:

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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 605 of 708




                    A – 204
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     Quantity                                            Description                                          Rate                   Amount


                         Case Name: Tata America re Heldt

                         Job Number: CC40117, CC40122, CC40151, CC40157,
                         CC40183, CC40221, CC40298, CC40305, CC40311, CC40322,
                         CC40335, CC40359, CC40407, CC40410, CC40421, CC40429,
                         CC40450, CC40464, CC40467, CC40474,
                         CC40575CC40513,CC40198,CC40491

         51              Hosting:Monthly User Fees                                                            65.00                  3,315.00
                           - CC40575: Monthly User Fees
                           - CC40575: Monthly User Fees - (TCS – Heldt Plaintiffs
                         Productions)
                           - ADodd@spg-legal.com,asherman@loeb.com
                         AStashefsky@spg-legal.com,AWoolsey@spg-legal.com
                         cbschmidt@loeb.com,CLy@spg-legal.com
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     Quantity                                            Description                                          Rate                    Amount

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                         pdownes@loeb.com,pkrieger@loeb.com
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          0              Hosting:Monthly Hosting Fee                                                           4.00                     0.00
                           - CC40513:Monthly Hosting Fee - Buchanan et a. EEOC
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                           - CC40575: Monthly Hosting Fee - (12,731.003 GB’s of
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                           - CC40467: All-Inclusive Pricing ( IN ) Per GB: Volume:
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                            - CC40151: Professional Services: Created PDF Export of 55
                         Docs.
                            - CC40429: Professional Services: Created reviewer stats
                         reports. Created Begdoc lists for 2 users views.
                            - CC40298: Professional Services: Created Search for client
                         requested docs and exported PDFs.
                            - CC40157: Professional Services: Export and folder docs.
                            - CC40311: Professional Services: Export single page
                         tiffs\jpeg for printing
                             - CC40122: Professional Services: Made Client Requested
                         Modifications to all Searches
                            - CC40421: Professional Services: Perform custom
                         searches and merging data
                            - CC40117: Professional Services: Searching and reporting.
                            - CC40183: Professional Services: Searching and reporting.
                            - CC40322: Professional Services: Searching and reporting.
                            - CC40407: Professional Services: Searching and reporting.

       0.705             Hosting:Analytics                                                                    75.00                    52.88
                           - CC40474: Analytics


Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                     Sub Total

                                                                                                       Payments/Credits
               Thank you for choosing iDiscover!
          Did you know iDiscover also provides forensic data and eDiscovery services?
     Since 2007, iDiscover has provided mission-critical eDiscovery support for all types of complex   Balance Due
  cases. For a complete list of all iDiscover products and services, go to: www.idiscoverglobal.com

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                 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 612 of 708
                                                                                      Please remit to:
                                                                                      iDiscover, LLC
                                                                                      2049 Century Park East
                                                                                      Suite 4370
                                                                                                                      Invoice
                                                                                      Los Angeles, CA 90067              Date           Invoice #
                                                                                      Tax ID: XX-XXXXXXX
                                                                                                                       9/30/2018          71758
Electronic Discovery & Litigation Support Services

  Bill To:                                                                                Ship To:
Tata Consultancy Services Limited                                                      Loeb & Loeb
101 Park Avenue, 26th Floor                                                            10100 Santa Monica Blvd. Suite 2200
New York, NY 10178                                                                     Los Angeles, CA 90067




Questions? please call: (310) 556-7777, or email ap@idiscoverglobal.com

   Case Name                        Client Matter #                       Job #             Terms       Rep    Order Date          Client Contact

    See below                   Tata America re Heldt                  See below            Net 30      A&S      9/1/2018       Michelle La Mar

     Quantity                                            Description                                          Rate                    Amount

        542              Blowback- Loose no Breaks                                                             0.13                   70.46T
                           - CC40298: Blowback - Loose no Breaks

       1,425             Blowback Slip Sheet per Document                                                      0.11                   156.75T
                           - CC40151: Blowback - Slip Sheet per Document
                           - CC40407: Blowback - Slip Sheet per Document
                           - CC40450: Blowback - Slip Sheet per Document

       1,045             Blowback – with Assembly                                                              0.10                   104.50T
                           - CC40221: Blowback – with Assembly

          2              4 Inch Binder Full View                                                              19.50                   39.00T
                            - CC40221: Binder 4 Inch Full View

        184              Supplies:Tabs - Regular Inserted                                                      0.25                   46.00T
                           - CC40221: Tabs - Regular Inserted

          1              Hard Drive                                                                           160.00                  160.00T
                           - CC40335: Hard Drive

          1              Misc:Federal Express                                                                 244.13                  244.13
                           - CC40221: Federal Express - First Overnight to NY

        104              Heavy Litigation                                                                      0.17                   17.68T
                           - CC40198:Grade - Heavy Litigation


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payments accrue interest at 1.5% per month.                                                                     Sub Total

                                                                                                       Payments/Credits
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                                                                                      Los Angeles, CA 90067             Date           Invoice #
                                                                                      Tax ID: XX-XXXXXXX
                                                                                                                      9/30/2018          71758
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New York, NY 10178                                                                     Los Angeles, CA 90067




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   Case Name                        Client Matter #                       Job #             Terms       Rep    Order Date         Client Contact

    See below                   Tata America re Heldt                  See below            Net 30      A&S     9/1/2018       Michelle La Mar

     Quantity                                            Description                                          Rate                   Amount

        138              Copying:Grade - Heavy Litigation                                                     0.25                   34.50T
                           - CC40198:Tabs - Regular Inserted

        382              Copying:Color 8.5 x 11                                                               0.95                   362.90T
                           - CC40198:Color 8.5 x 11

          6              Copying:Color 11 x 17                                                                1.50                    9.00T
                           - CC40198: Color 11 x 17

       2,816             Blowback Staple per Document                                                         0.13                   366.08T
                            - CC40491:Blowback - Staple/Clip per Document
                         CA Sales Tax                                                                         9.50%                  129.85




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                     Sub Total               $41,659.73


                                                                                                       Payments/Credits                        $0.00
               Thank you for choosing iDiscover!
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                    A – 206
 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 615 of 708




                                                                                                     Please remit to:
                                                                                                     iDiscaver, LLC
                                                                                                                                    Invoice
                    iDISCOVER                                                                        2049 CentLHy Park t:ast
                                                                                                     Suite 4.~70
                                                                                                     Los Angeles, CA 90067
                                                                                                     Tax ID: 9'0.0727968

   Electronic Discovery & llttgatlon support s~rvlces


 l.oeb&Loeb                                                                                           Loeb&i..oeb
 101<l0 Santa Monica BlVd. Suite 2200                                                                 10100 Santa Monica BlVd. Suite 2200
 Los Angeles, CA 90067                                                                                Los Angel~s. CA 90067




 questions? please wfl: (310} 556·7177, oremalfop®ldfscoverifTobul,corn




                             Case Name: FINAL Trial Termination Compilation

                             lnstr·uctions!Oeso-iptlon: Please prlntru\e ~opy or the:
                             attached spreadsheet. First five pages only .of eaCh
                             spreali!ihli!el,24 X 36, columm;                on'
                                                                one page; add page
                             numbers, color for color &staple.

            30               Btowback Cl}lor o~rslze per sqrt                                                               8,00            Z40.00T
                             CASalesTax                                                                                    9.509&            22.80




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pnyfTit'l'il~ ~"-"'~~ ~o(ur~ •t 1.~ ptru'ionU~                           · ·                                                                    $262.80

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     SI/Jce 2007, !Ofscovw hnJ {JJYII'idGti ml$sJar>·t:rfllr!lf QIJ/st<J~~'J:·$r'/l}Mrtf6t trilljlpfJ otf rootJpk!l                             $262.80
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                                                1 el: f'll 01556-1'7'17 1l:"ax: (310) 556-8686 1 www.idiscovergloblli;COIII
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 616 of 708




                    A – 207
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 617 of 708

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                                                                                     iDiscover, LLC
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               iDISCOVER                                                             2049 Century Park East
                                                                                     Suite 4370
                                                                                     Los Angeles, CA 90067
                                                                                     Tax ID: XX-XXXXXXX

Electronic Discovery & Litigation Support Services



Loeb & Loeb                                                                            Loeb & Loeb
10100 Santa Monica Blvd. Suite 2200                                                    10100 Santa Monica Blvd. Suite 2200
Los Angeles, CA 90067                                                                  Los Angeles, CA 90067




Questions? please call: (310) 556-7777, or email ap@idiscoverglobal.com




                         Instructions/Description: Blowbacks from FTP. Print x3.

       5,058            Blowback -with Assembly                                                                    0.10      505.80T
        118             Blowback Slip Sheet per Document                                                           0.11       12.98T
         12             Insert Custom Tabs                                                                         0.50       6.00T
        645             Blowback Color 8.5 x 11                                                                    0.95      612.75T
          9             3 Inch Binder Full View                                                                   12.50      112.50T
                        CA Sales Tax                                                                              9.50%       118.75




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                                     $1,368.78


                                                                                                                                       $0.00
               Thank you for choosing iDiscover!
          Did you know iDiscover also provides forensic data and eDiscovery services?
     Since 2007, iDiscover has provided mission-critical eDiscovery support for all types of complex                            $1,368.78
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                    A – 208
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 619 of 708

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               iDISCOVER                                                             2049 Century Park East
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101 Park Avenue, 26th Floor                                                            101 00 Santa Monica Blvd. Suite 2200
New York, NY 10178                                                                     Los Angeles, CA 90067




Questions? please call: (310) 556-7777, or email ap@idiscoverg_lobal.com




                         Case Name: Tata America re Heldt

                        Job Number: CC40491, CC40502, CC40530, CC40598,
                        CC40616,CC40629,CC40630,CC40728,CC40741,CC40748,
                        CC40764,CC40801,CC40802,CC40803,CC40804,CC40815,
                        CC40827,CC40836,CC40843,CC40862,CC40881,CC40883,
                        CC40930,CC40939,CC40954,CC41013,CC41105

         54              Hosting:Monthly User Fees                                                                65.00       3,510.00
                          - CC411 OS: Monthly User Fees
                          - CC411 OS: Monthly User Fees - (TCS - Heldt Plaintiffs
                        Productions)
                          - ADodd@spg-legal.com
                        asherman@loeb.com
                        AStashefsky@spg-legal.com
                        AWoolsey@spg-legal.com
                        cbschmidt@loeb.com
                        CLy@spg-legal.com
                        cmbentley@xactdatadiscovery.com
                        dbrockman@loeb.com
                        Dlbekwe@spg-legal.com
                        DPeromsik@spg-legal.com
                        DShahmirzai@spg-legal.com
                        dykrol@loeb.com
                        esmith@loeb.com

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           Did you know iDiscover o/so provides forensic data and eDiscovery services?
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               iDISCOVER                                                             2049 Century Park East
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                                                                                     Los Angeles, CA 90067
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                         FFofana@spg-legal.com
                        fmckeown@loeb.com
                        GBennett@spg-legal.com
                         HAtkinson@spg-legal.com
                         IVerhulst@spg-legal.com
                        JAfoh-Manin@spg-legal.com
                        JCasale@spg-lega l.com
                        JCha@spg-legal.com
                        jDalton@spg-legal.com
                        jrjohnson@loeb.com
                        JShafer@spg-legal.com
                        JTrejo@spg-legal.com
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                         MSchneider@spg-legal.com
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                         MTumanyan@spg-legal.com
                        pdownes@loeb.com
                         pkrieger@loeb.com
                         PMahram@spg-legal.com
                        PMalcom@spg-legal.com
                         RChung@spg-legal.com
                        rmeshell@loeb.com

Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.



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           Did you know iDiscover also provides forensic data and eDiscovery services?
     Since 2007, iDiscover has provided mission-critical eDiscovery support for all types of complex
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                                                                                     Please remit to:
                                                                                     iDiscover, LLC
                                                                                                                    Invoice
               iDISCOVER                                                             2049 Century Park East
                                                                                     Suite 4370
                                                                                     Los Angeles, CA 90067
                                                                                     Tax ID: XX-XXXXXXX

Electronic Discovery & Litigation Support Services



Tata Consultancy Services Limited                                                      Loeb & Loeb
101 Park Avenue, 26th Floor                                                            10100 Santa Monica Blvd. Suite 2200
New York, NY 10178                                                                     Los Angeles, CA 90067




Questions? please call: (310) 556-7777, or email ap@idiscoverglobal.com




                        SKim@spg-legal.com
                        SKoopersmith@spg-legal.com
                        SMusa@spg-legal.com
                        ssghafouri@loeb.com
                        tgarnett@loeb.com
                        TKneip@spg-legal.com
                        vbriseno@loeb.com
                        VChoi@spg-legal.com
                        zxborjian@loeb.com
                        bjraboin@loeb.com
                        bsocolow@loeb.com
                        cmieritz@loeb.com
                        klyles@loeb.com
                        lfeuer@loeb.com
                        mloose@loeb.com
                        sslavin@loeb.com

       8.405             Hosting:Monthly Hosting Fee                                                         4.00            33,620.00
                           - CC411 05: Monthly Hosting Fee- (12,745.544 GB's of
                         hosting@ $4.00 =$50,982.18 **Fee capped at $33,620.00)

      35.833            Hosting:Monthly Hosting Fee                                                          0.00              0.00
                          - CC411 05: Monthly Hosting Fee - (TCS- Heldt Plaintiffs
                        Productions, Database size is 0.926 GB's)
                          - CC411 05: Monthly Hosting Fee (TCS -Trial Exhibits)


Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. late
payments accrue interest at 1.5% per month.



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                        Hosting: OUT                                                                              250.00      250.00
                          - CC40883: All-Inclusive Pricing (OUT) Per GB: 09242018
                        TCSLTD009215318-TCSLTD009215453

        25.7            Hosting:Professional Services                                                             100.00      2,570.00
                           - CC40728: Professional Services:
                           - CC40827: Professional Services:
                           - CC40804: Professional Services: Batch and create Batch
                        view.
                           - CC40843: Professional Services: Create Batches and View
                           - CC40836: Professional Services: Create searches and
                        Batch.
                           - CC40748: Professional Services: Created Batches and
                        Batch View
                           - CC40629: Professional Services: Created Search for
                        Listed Prodbeg docs.
                           - CC40930: Professional Services: Created Searches for
                        Docs on Exhibit List
                           - CC40862: Professional Services: Custom Excel Export
                           - CC40530: Professional Services: Export natives and tiffs
                           - CC41 013: Professional Services: Exported natives for
                        saved search: Natives to export 20181101
                           - CC40741: Professional Services: Field creation; Searching
                        and reporting.
                           - CC40630: Professional Services: Gap check, searching
                        and reporting.

Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.



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Electronic Discovery & Litigation Support Services



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New York, NY 10178                                                                    Los Angeles, CA 90067




Questions? please call: (310) 556-7777, or email ap@idiscoverglobal.com




                           - CC40954: Professional Services: Overlaid values from
                        client provided spreadsheet.
                           - CC40815: Professional Services: Perform custom overlay
                        and excel export
                           - CC40802: Professional Services: Searched for exhibit
                        docs for printing. Exported Exhibit Docs in Exhibit order.
                           - CC40616: Professional Services: Searching and reporting.
                           - CC40764: Professional Services: Searching and reporting.

       23.69            Hosting: IN                                                                                100.00     2,369.00
                          - CC40502: All-Inclusive Pricing ( IN ) Per GB:
                          - CC40803: All-Inclusive Pricing (IN) Per GB: TATA084
                          - CC40881: All-Inclusive Pricing (IN) Per GB: TATA085

         66             Copying:Color 8.5 x 11                                                                      0.95      62.70T
                          - CC40939: Color 8.5 x 11

        290             Blowback:COLOR LTRILGL                                                                      0.95      275.50T
                          - CC40530: COLOR LTR/LGL

       2,276            Heavy Litigation                                                                            0.17      386.92T
                          - CC40939: Grade - Heavy Litigation

       2,816            Blowback - Staple/Clip per Document                                                         0.13      366.08T
                          - CC40491: Blowback- Staple/Clip per Document



Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
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       22,688            Blowback: Blowback- with Assembly                                                         0.13       2,949.44T
                           - CC40802: Blowback- with Assembly (Inserting tabs and
                         placing in binders)

       1,698             Blowback:Biowback- Slip Sheet per Document                                                0.11       186.78T
                           - CC40530: Blowback - Slip Sheet per Document
                           - CC40598: Blowback - Slip Sheet per Document

         28              Supplies: Binder 4 Inch Full View                                                         19.50      546.00T
                           - CC40802: Binder 4 Inch Full View

         12              Supplies:Binding- Velo                                                                    2.50        30.00T
                           - CC40939: Binding- Velo

          4             Supplies:Binding- Rebinding- All Types                                                     1.50        6.00T
                          - CC40939: Binding- Rebinding- All Types

         18             Supplies:Tabs -Custom Inserted                                                             0.50        9.00T
                          - CC40939: Tabs -Custom Inserted

         223            Supplies:Tabs- Regular Inserted                                                            0.35        78.05T
                          - CC40802: Tabs - Regular Inserted Between (1 001-3000)

       1,757            Supplies:Tabs- Regular Inserted                                                            0.25       439.25T
                          - CC40939: Tabs- Regular Inserted
                          - CC40802: Tabs- Regular Inserted (Under 1000)

Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
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                                                                                      Los Angeles, CA 90067
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Electronic Discovery & Litigation Support Services



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101 Park Avenue, 26th Floor                                                            101 00 Santa Monica Blvd. Suite 2200
New York, NY 10178                                                                     Los Angeles, CA 90067




Questions? please call: (310) 556-7777, or email ap@idiscoverglobal.com




          2              Media:Hard Drive                                                                    160.00            320.00T
                          - CC40827: Hard Drive

                         Misc:Federal Express                                                                86.39              86.39
                           - CC40827: Federal Express: 7735 3885 0796

                        job Number: CC40993

      31,248             Blowback -with Assembly                                                              0.12            3,749.76T
                           - Blowback- with Assembly

       1,032             Supplies:Tabs- Regular Inserted                                                      0.25             258.00T
                           -Tabs- Regular Inserted (sub-tabs)

       10,000           Supplies:Tabs- Regular Inserted                                                       0.35            3,500.00T
                          -Tabs- Regular Inserted between 1001-3000
                        (2001-3000)

       5,000            Supplies:Tabs- Regular Inserted                                                       0.45            2,250.00T
                          -Tabs- Regular Inserted between 3001-5000
                        (3001-3500)

       17,954            Copying:Color 8.5 x 11                                                               0.95            17,056.30T
                           - Color 8.5 x 11



Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. late
payments accrue interest at 1.5% per month.



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               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 626 of 708

                                                                                     Please remit to:
                                                                                     iDiscover, LLC
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               iDISCOVER                                                             2049 Century Park East
                                                                                     Suite 4370
                                                                                     Los Angeles, CA 90067
                                                                                     Tax ID: XX-XXXXXXX

Electronic Discovery & Litigation Support Services



Tata Consultancy Services Limited                                                      Loeb & Loeb
101 Park Avenue, 26th Floor                                                            101 00 Santa Monica Blvd. Suite 2200
New York, NY 10178                                                                     Los Angeles, CA 90067




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       1,096            Supplies: Holders- CD Holder                                                               1.50       1,644.00T
                          - Holders - CD Holder

         107            Supplies: Binder 41nch Full View                                                          19.50       2,086.50T
                          - Binder 4 Inch Full View judge set 16 Binder; all
                        others 13

         16              Mise: OTHER                                                                               5.00         80.00
                           - Hard Drive/Flash Drive pockets

       1,056             lmaging:Deliverable- CD Master                                                           25.00       26,400.00T
                           - Deliverable - CD Master

         40              lmaging:Deliverable- DVD Master                                                          35.00       1,400.00T
                           - Deliverable - DVD Master

          8              lmaging:Deliverable- Flash Drive                                                         45.00        360.00T
                           - Deliverable - Flash Drive

         160            Misc:Hand Labor Project                                                                   45.00        7,200.00
                          - Hand Labor Project (Rush Project - Creating
                        Trial Exhibit Binders, with Exhibit Tags, CD, CO-Holders, Tabs,
                        and Color)




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         36             Courier Charge                                                                       100.00           3,600.00
                          -Courier Charge- Same Day Delivery to 1300
                        Clay St Oakland, CA

         13             Media:Hard Drive                                                                     120.00           1,560.00T

          6             Misc:Federal Express                                                                 120.00            720.00
                          - Federal Express- Overnight Shipping to 1300
                        Clay St Oakland, CA for Court Filing by 1PM

                        job Number: CC4081 0

       4,477            Copying:Grade- Medium Litigation                                                      0.14            626.78T

         162            Supplies:Tabs- Regular Inserted                                                       0.25             40.50T

         20             Supplies:Tabs -Custom Inserted                                                        0.50             10.00T

         32             Copying:Color 8.5 x 11                                                                0.95             30.40T

         22             Supplies: Binding- Rebinding- All Types                                               1.50             33.00T

         22             Supplies: Binding- Velo                                                               2.50             55.00T

          2             Hand Labor Project- Cutting, Punching and sorting                                     45.00            90.00


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                        job Number: CC40711

        756             Copying:Grade- Heavy Litigation                                                            0.17       128.52T

         38             Supplies:Tabs- Regular Inserted                                                            0.25        9.50T

          6             Supplies:Tabs- Regular Inserted                                                            0.50        3.00T

          3             Supplies: Binder 1.5 Inch Full View                                                        7.00       21.00T

                        job Number: CC40702

        221             Copying:Grade- Medium Litigation                                                           0.12       26.52T

         37             Supplies:Tabs- Regular Inserted                                                            0.25        9.25T

          2             Supplies:Tabs -Custom Inserted                                                             0.50        1.00T

                        Supplies: Binder 1.5 Inch Full View                                                        9.00        9.00T

                        job Number: CC40681

       7,325            Blowback -with Assembly                                                                    0.10       732.50T

         80             Supplies:Tabs- Regular Inserted                                                            0.25       20.00T


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        480             Blowback:COLOR LTRILGL                                                                0.95            456.00T

         15             Supplies: Binder 4 Inch Full View                                                     19.50           292.50T

                        job Number: CC40675

      23,354            Copying:Grade - Heavy Litigation                                                      0.17            3,970.18T

        916             Supplies:Tabs- Regular Inserted                                                       0.25            229.00T


        148             Supplies:Tabs -Custom Inserted                                                        0.50             74.00T


        200             Copying:Color 8.5 x 11                                                                0.95            190.00T


         72             Supplies:Binding- Rebinding- All Types                                                1.50            108.00T


        144             Velo Binding                                                                          2.50            360.00T

                        job Number: CC40588

       3,510             Blowback - Staple/Clip per Document                                                  0.13            456.30T


                        job Number: CC41 042

          0              Hosting: Monthly User Fees                                                           85.00             0.00
                          - Monthly User Fees

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New York, NY 10178                                                                          Los Angeles, CA 90067




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       0.361            Hosting:Monthly Hosting Fee                                                                     0.00         0.00
                         - Monthly Hosting Fee
                        -------------------------------------------------------------------------------
                        job Number: CC40947

       1,456            Copying:Color 8.5 x 11                                                                          0.95       1,383.20T

          8             Supplies: File Folder- No Acco                                                                  1.00        8.00T
                        -------------------------------------------------------------------------------
                        job Number: CC41128

         1.2            Forensics Data Extraction - Converted NSF Email Data to                                        300.00       360.00
                        Reconstituted PST File
                        CA Sales Tax                                                                                   9.50%       7,144.33




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                                                                                                                                              $0.00
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                    A – 209
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                                                                                                                       Invoice
                                                                                      Los Angeles, CA 90067              Date        Invoice #
                                                                                      Tax ID: XX-XXXXXXX
                                                                                                                       11/30/2018       72594
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  Bill To:                                                                                Ship To:
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New York, NY 10178                                                                     Los Angeles, CA 90067




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   Case Name                        Client Matter #                       Job #             Terms        Rep    Order Date      Client Contact

   Tata Various                         See Below                      See Below            Net 30       A&S     11/1/2018      Michelle La Mar

     Quantity                                            Description                                           Rate                 Amount


                         Case Name: Tata - Webber
                         Client Matter: 205625-10017
                         Job Number: CC41236

          1              iDiscover Minimum Charge - Includes metadata fields, text                             50.00                 50.00
                         extraction with native links and image creation
                         ----------------------------------------------------------------------------
                         Case Name: Tata America re Heldt
                         Client Matter: 205625-10015
                         Job Number: CC41189, CC41242, CC41457

         56              Hosting:Monthly User Fees                                                             65.00                3,640.00
                           - CC41457: Monthly User Fees
                           - CC41457: Monthly User Fees - (TCS – Heldt Plaintiffs
                         Productions)
                           - ADodd@spg-legal.com
                         asherman@loeb.com
                         AStashefsky@spg-legal.com
                         AWoolsey@spg-legal.com
                         cbschmidt@loeb.com
                         CLy@spg-legal.com
                         cmbentley@xactdatadiscovery.com
                         dbrockman@loeb.com
                         DIbekwe@spg-legal.com
                         DPeromsik@spg-legal.com

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                                                                                                        Payments/Credits
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                                                                                      Los Angeles, CA 90067            Date        Invoice #
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   Case Name                        Client Matter #                       Job #             Terms       Rep    Order Date     Client Contact

   Tata Various                         See Below                      See Below            Net 30      A&S    11/1/2018      Michelle La Mar

     Quantity                                            Description                                          Rate                Amount

                         DShahmirzai@spg-legal.com
                         dykrol@loeb.com
                         esmith@loeb.com
                         FFofana@spg-legal.com
                         fmckeown@loeb.com
                         GBennett@spg-legal.com
                         HAtkinson@spg-legal.com
                         IVerhulst@spg-legal.com
                         JAfoh-Manin@spg-legal.com
                         JCasale@spg-legal.com
                         JCha@spg-legal.com
                         JDalton@spg-legal.com
                         jrjohnson@loeb.com
                         JShafer@spg-legal.com
                         JTrejo@spg-legal.com
                         jxbrowder@loeb.com
                         KWhitfield@spg-legal.com
                         lwilliams@loeb.com
                         MDougherty@spg-legal.com
                         mlamar@loeb.com
                         MSchneider@spg-legal.com
                         MStein@spg-legal.com
                         MTumanyan@spg-legal.com
                         pdownes@loeb.com
                         pkrieger@loeb.com
                         PMahram@spg-legal.com

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                                                                                                       Payments/Credits
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   Case Name                        Client Matter #                       Job #             Terms       Rep    Order Date      Client Contact

   Tata Various                         See Below                      See Below            Net 30      A&S     11/1/2018      Michelle La Mar

     Quantity                                            Description                                          Rate                 Amount

                         PMalcom@spg-legal.com
                         RChung@spg-legal.com
                         rmeshell@loeb.com
                         SKim@spg-legal.com
                         SKoopersmith@spg-legal.com
                         SMusa@spg-legal.com
                         ssghafouri@loeb.com
                         tgarnett@loeb.com
                         TKneip@spg-legal.com
                         vbriseno@loeb.com
                         VChoi@spg-legal.com
                         zxborjian@loeb.com
                         bjraboin@loeb.com
                         bsocolow@loeb.com
                         cmieritz@loeb.com
                         klyles@loeb.com
                         lfeuer@loeb.com
                         lrubin@loeb.com
                         mloose@loeb.com
                         sslavin@loeb.com

          0              Hosting:Monthly User Fees                                                            85.00                 0.00
                           - CC41457: Monthly User Fees (TCS - Trial Exhibits)




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   Case Name                        Client Matter #                       Job #             Terms        Rep    Order Date       Client Contact

   Tata Various                         See Below                      See Below            Net 30       A&S     11/1/2018       Michelle La Mar

     Quantity                                            Description                                           Rate                  Amount

       8,405             Hosting:Monthly Hosting Fee                                                            4.00                 33,620.00
                           - CC41457: Monthly Hosting Fee - (12650.427 GB’s of
                         hosting @ $4.00 = $50,601.70 **Fee capped at $33,620.00)

       85.353            Hosting:Monthly Hosting Fee                                                            4.00                  341.41
                           - CC41457: Monthly Hosting Fee - (TCS – Heldt Plaintiffs
                         Productions, Database size is 0.926 GB's)
                           - CC41457: Monthly Hosting Fee (TCS - Trial Exhibits)

          1              Hosting:OUT                                                                           250.00                 250.00
                           - CC41189: All-Inclusive Pricing ( OUT ) Per GB:
                         TCSLTD009215454

        0.75             Hosting:Professional Services                                                         100.00                 75.00
                            - CC41242: Professional Services: Exported produced
                         images to PDF with Native placeholders.
                         ----------------------------------------------------------------------------
                         Case Name: TCS - Trial Exhibits
                         Client Matter: 205625-10015
                         Job Number: CC41021, CC41071, CC41127, CC41141,
                         CC41156, CC41161, CC41196, CC41200, CC41228, CC41295,
                         CC41344, CC41348




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     Quantity                                               Description                                            Rate                  Amount

          3              Hosting:OUT                                                                               250.00                750.00
                           - CC41200: All-Inclusive Pricing ( OUT ) Per GB:
                           - CC41228: All-Inclusive Pricing ( OUT ) Per GB:
                           - CC41348: All-Inclusive Pricing ( OUT ) Per GB: PDF008

        9.25             Hosting:Professional Services                                                             100.00                925.00
                           - CC41196: Professional Services: Adjust field type and
                         overlay.
                           - CC41141: Professional Services: code fields and set view.
                           - CC41156: Professional Services: Custom Overlay
                           - CC41071: Professional Services: Export & Load
                           - CC41344: Professional Services: Export exhibit according
                         to list provided
                           - CC41021: Professional Services: Exporting and importing
                         exhibit documents to supplemental database.
                           - CC41127: Professional Services: PDF/Native export and
                         Rename.
                           - CC41295: Professional Services: Update client exhibit list
                         with bates numbers

          1              Media:Hard Drive                                                                          160.00                160.00T
                          - CC41127: Hard Drive

          1              Misc:Federal Express                                                                      69.29                  69.29
                            - CC41127: Federal Express
                         ----------------------------------------------------------------------------

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                                                                                                           Payments/Credits
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Questions? please call: (310) 556-7777, or email ap@idiscoverglobal.com

   Case Name                        Client Matter #                         Job #             Terms      Rep     Order Date      Client Contact

   Tata Various                         See Below                       See Below             Net 30     A&S     11/1/2018       Michelle La Mar

     Quantity                                             Description                                          Rate                  Amount

                         Case Name: Buchanan et al. EEOC Charges
                         Client Matter: Buchanan
                         Job Number: CC41468

          0              Hosting:Monthly User Fees                                                             85.00                  0.00

       0.361             Hosting:Monthly Hosting Fee                                                            4.00                  1.44
                         ----------------------------------------------------------------------------
                         Case Name: Christopher Slaight, ET AL. v. TATA Consultancy
                         Services LTD.
                         Client Matter: Christopher Slaight, ET AL. v.
                         Job Number: CC41290

        924              Blowback– with Assembly                                                                0.13                 120.12T

        240              Insert Custom Tabs                                                                     0.50                 120.00T

        794              Blowback:COLOR LTR/LGL                                                                 0.95                 754.30T

          2              4 Inch Binder Full View                                                               19.50                 39.00T

          1              Hosting:Professional Services                                                         100.00                100.00
                            - Professional Services: Locate and export exhibits for
                         printing. Keep in order of client provided index
                         ----------------------------------------------------------------------------


Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                      Sub Total

                                                                                                        Payments/Credits
               Thank you for choosing iDiscover!
          Did you know iDiscover also provides forensic data and eDiscovery services?
     Since 2007, iDiscover has provided mission-critical eDiscovery support for all types of complex    Balance Due
  cases. For a complete list of all iDiscover products and services, go to: www.idiscoverglobal.com

                                                                                 Page 6
                                                           © 2018 iDiscover, LLC. All rights reserved.
                                          Tel: (310) 556-7777 | Fax: (310) 556-8686 | www.idiscoverglobal.com
                 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 638 of 708
                                                                                      Please remit to:
                                                                                      iDiscover, LLC
                                                                                      2049 Century Park East
                                                                                      Suite 4370
                                                                                                                     Invoice
                                                                                      Los Angeles, CA 90067             Date        Invoice #
                                                                                      Tax ID: XX-XXXXXXX
                                                                                                                      11/30/2018      72594
Electronic Discovery & Litigation Support Services

  Bill To:                                                                                Ship To:
Tata Consultancy Services Limited                                                      Loeb & Loeb
101 Park Avenue, 26th Floor                                                            10100 Santa Monica Blvd. Suite 2200
New York, NY 10178                                                                     Los Angeles, CA 90067




Questions? please call: (310) 556-7777, or email ap@idiscoverglobal.com

   Case Name                        Client Matter #                       Job #             Terms       Rep    Order Date      Client Contact

   Tata Various                         See Below                      See Below            Net 30      A&S     11/1/2018      Michelle La Mar

     Quantity                                            Description                                          Rate                 Amount

                         Case Name: Christopher Slaight, ET AL. v. TATA Consultancy
                         Services LTD.
                         Client Matter: Christopher Slaight, ET AL. v.
                         Job Number: CC41005

        506              Medium Litigation                                                                    0.12                 60.72T

         22              Supplies:Tabs - Regular Inserted                                                     0.25                  5.50T

          2              Insert Custom Tabs                                                                   0.50                  1.00T

          1              Rebinding - All Types                                                                1.50                  1.50T

          2              Velo Binding                                                                          2.50                 5.00T
                         CA Sales Tax                                                                         9.50%                120.38




Payment Terms: Client agrees to pay all amounts due within the terms indicated on the invoice. Late
payments accrue interest at 1.5% per month.                                                                     Sub Total            $41,209.66


                                                                                                       Payments/Credits                     $0.00
               Thank you for choosing iDiscover!
          Did you know iDiscover also provides forensic data and eDiscovery services?
     Since 2007, iDiscover has provided mission-critical eDiscovery support for all types of complex   Balance Due                   $41,209.66
  cases. For a complete list of all iDiscover products and services, go to: www.idiscoverglobal.com

                                                                               Page 7
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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 639 of 708




                    A – 210
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 640 of 708


                                                                                       Remit Payment To:    Resonant Legal Media, LLC.
                                                                                                            d/b/a RLM 1 TriaiGraphix
                                                                                                            413 S. Washington Street
                     t   ialgraphix                                                                         Alexandria, Virginia 22314
                                                                                                            United States


                                                                                                            Tax ID#: XX-XXXXXXX




      Invoice Number      1811-058                                                            Invoice For   Loeb & Loeb LLP
      PO Number           Invoice bills through November 10th, 2018

      Invoice Date        11/1512018

      Due Date            0111412019 (Net 60)

      Matter              [18-393] Christopher Slaight, et al. v. Tata
                          Consultancy Services, Ltd.




      Item Type          Description                                                               Hours        Hourly Rate                Amount

      Professional       1011712018- Communication Design I Tessa Eckholm                           1.00           $300.00                 $300.00
      Fees


.__   Professional       1012512018- Communication Design I Tessa Eckholm:                          1.00           $300.00                 $300.00
      Fees               Demonstrative Exhibit Numbers


  XProfessional          1012612018- On-site support I Jason Young: Courtroom                       1.25           $300.00                 $375.00
      Fees               preview


      Professional       1012912018 - Communication Design I Tessa Eckholm: Opening                 5.00           $300.00               $1,500.00
      Fees               Slides



---   Professional
      Fees
                         1013012018- Communication Design I Tessa Eckholm                           1.00           $300.00                $300.00




      Professional       1013112018- Communication Design I Tessa Eckholm                           0.25           $300.00                  $75.00
      Fees


'/'- Professional        1013112018- On-site support I Armando Aquino: Meeting at                   4.75           $250.00               $1 '187.50
     Fees                Loeb L.A.; Fion, Gate, and Ryan re video designations,
                         gathering trial material from servers.


      Professional       11/0112018- On-site support I Tessa Eckholm: Opening deck                  8.00           $300.00               $2,400.00
      Fees               and helping Fiona


      Professional       1110212018- On-site support I Tessa Eckholm                                8.00           $300.00               $2,400.00
      Fees



~     Professional       1110212018- On-site support I Armando Aquino: Travel to OAK               11.50           $250.00               $2,875.00
      Fees               from LA for tech test.
                         Meet with court reporter re LiveNote feed. test/tutorial
                         War room support.


                                                                         Page 1 of 3
                   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 641 of 708



        Professional   11/03/2018 - On-site support I Tessa Eckholm                    8.00   $300.00   $2,400.00
        Fees


        Professional   11/03/2018- On-site support I Armando Aquino: Trial Database    8.50   $250.00   $2,125.00


  "'    Fees           build; deposition videos and transcripts.
                       Review Opening outline


 --..   Professional   11/04/2018- On-site support /Tessa Eckholm: Opening and 1st    10.00   $300.00   $3,000.00
        Fees           Day Prep



 t-     Professional
        Fees
                       11104/2018- On-site support I Armando Aquino: Meeting w/
                       Fiona and Mike at Loeb SF.
                       Team meeting in OAK workspace.
                                                                                      13.50   $250.00   $3,375.00



                       Cont. trial database build
                       Opening meeting w/ Barney, Erin, Michelle, Lisa.


        Professional   11/05/2018 - On-site support I Tessa Eckholm                   10.00   $300.00   $3,000.00
        Fees


                       11105/2018 -On-site support I Armando Aquino: First day of
  ~
        Professional                                                                  13.75   $250.00   $3,437.50
        Fees           trial: In court presenting w/ team.
                       Prep for Balaji and Kant cross/direct exams.
                       Begin cutting video clips for Kottke and Krampen


        Professional   11/06/2018 - On-site support I Tessa Eckholm                   10.00   $300.00   $3,000.00
        Fees


        Professional   11/06/2018- On-site support I Armando Aquino: In court         12.75   $250.00   $3,187.50
'!-     Fees           presenting w/ team
                       Prep for Masoudi and Narsi cross exams
                       Add revised exhibits to trial database


        Professional   11/07/2018- On-site support I Tessa Eckholm                     8.00   $300.00   $2,400.00
        Fees


        Professional   11107/2018- On-site support I Armando Aquino: Early AM prep    13.50   $250.00   $3,375.00
        Fees           wl Terry.
                       In court presenting wl team.
                       Prep for cross exams; Cooper; Grietl.


        Professional   11/0812018 - On-site support I Tessa Eckholm: Video             5.00   $300.00   $1,500.00
        Fees


        Professional   1110812018- Trial Technology Consulting I Armando Aquino:       7.00   $250.00   $1,750.00
 X-     Fees           Early AM prep for cross exams.
                       In court presenting w/ team.


 ';( Professional      11/09/2018- On-site support I Tessa Eckholm: War-room           6.00   $300.00   $1,800.00
        Fees           support


 X      Professional   11/10/2018- On-site support I Armando Aquino: Cut and revise   8.75    $250.00   $2,187.50
        Fees           videos clips for:
                       Nahshal (PL & DF); Kottke


                                                                      Page 2 of 3
               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 642 of 708



X   Matter            Armando Aquino: Transportation: $1 ,015.80. Meals: $60.91.   1.00       $1,533.34      $1,533.34
    Expenses          Supplies & Shipping: $456.63



X Matter              Tessa Eckholm: Transportation: $749.91. Meals: $432.28.      1.00       $1,910.87      $1,910.87
    Expenses          Supplies & Shipping: $728.68



                                                                                          Amount Due      $51,694.21




    Notes

    Invoice bills through November 1Oth, 2018




                                                                Page 3 of 3
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 643 of 708




                    A – 211
            Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 644 of 708


                                                                              Remit Payment To:        Resonant Legal Media, LLC.
                                                                                                       d/b/a RLM I TriaiGraphix
                                                                                                       413 S. Washington Street
               trialgraphix                                                                            Alexandria, Virginia 22314
                                                                                                       United States


                                                                                                       Tax 10#: XX-XXXXXXX




Invoice Number   1812-026                                                            Invoice For   1   Loeb & Loeb LLP
Invoice Date     1211012018

Due Date         0210812019 (Net 60)

Matter           (18-393] Christopher Slaight, et al. v. Tala
                 Consultancy Services, Ltd.




Item Type        Description                                                              Hours            Hourly Rate                Amount

Professional     1111112018- On-site support I Tessa Eckholm: Demonstratives              10.00               $300.00               $3,000.00
Fees             for Hannah, Melissa, and flowcharts


Professional     1111112018- On-site support I Armando Aquino: Prep wl
Fees




Professional     1111212018- Communication Design I Tessa Eckholm:                                                                  $3,000.00
Fees             Presentations for Greta and Melissa


Professional
Fees
                 1111212018 - On-site support/
                 wl Geeta.
                                                 Arm:n:d:o~A:q:u:in:o::~M:o:rn:i;ng~p;re~p~---~~:---'$~205~0~.0~0;--~"";0Z:tll!C_
                 Cut and revise video for: Wilson; Kott   ·          o ; Jordan.
                                                ; Bedeiwi, Webber; Waysack.




Professional     1111312018- Communication Design I Tessa Eckholm:                        15.00                $300.00 ;            $4,500.00
Fees             Presentations for Geeta and Melissa


Professional     1111312018- On-site support I Armando Aquino: Morning prep
Fees             wl Barney, Terry.
                 In court presenting wl team.
                 Prep for direct e           a.
                       v1se clips for: Gomez, Scott, Russell.


Professional     1111412018- Communication Design I Tessa Eckholm:                          6.00               $300.00              $1,800.00
Fees             Blandford Presentation, Court Pictures, Warroom Support




                                                                Page 1 of 3
          Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 645 of 708



Professional   11/14/2018 ·On-site support I Armando Aquino: Prep for direct
Fees           exams.
               In court presenting with team.




Professional   11/15/2018 ·On-site support I Tessa Eckholm: War room               6 00----,-- ----$300.00        $'F,80if.Oo



                                                                                                                 ------
Fees           support· presentation ready for   F...r~day-



               11/15/2018 ·On-site support I Armando Aquino: Morning video                       ~
Professional
Fees           prep.
                                                                                   15.50 '
                                                                                             ---  .
                                                                                                             ;
                                                                                                                  $3,875.00..




               Revis


Professional   11/16/2018 ·On-site suggoa Liessa Eckbalro· E'~es9RtatiGR           6 QO                          • $;1 ,BBIUIO
Fees           and War-room Support                                                                                              ------


Professional
Fees           Wilson.
               Revise Lazear PPT graphics
                  ou presenting w/ team.


Professional   11/20/2018 ·Communication Design I Tessa Eckholm: Review             3.00           $300.00           $900.00
Fees           Opening and Gather Demonstratives


Professional   11/21/2018- Communication Design I Tessa Eckholm: Creating           6.00           $300.00         $1,800.00
Fees           Presentation Deck for Closing (Terry) and Hannah Revs


Professional   11/22/2018 ·Communication Design I Tessa Eckholm: Closing            3.75                           $1,125.00
Fees           (Terry)


Professional   11/23/2018 ·Communication Design I Rachel Ducker:                    2.75           $225.00           $618.75
Fees           Developing slides


Professional   11/23/2018 ·Communication Design I Tessa Eckholm: Closing            2.00           $300.00           $600.00
Fees           (Terry) and Hannah


Profes    al                                                                k to
Fees           SF/OAK for Hanna prep an
                                                                                                                       .-----

Professional   11/24/2018- On-site support I Tessa Eckholm: Closing                12.00           $300.00         $3,600.00
Fees



Professional   11/25/2018- On-site support I Tessa Eckholm: Closing                15.25           $300.00         $4,575.00
Fees


Professional   11/25/2018- On-site support/ Ar                                     16.25           $250.00 i     -~
Fees




                                                              Page 2 of 3
         Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 646 of 708
                                                                                                                        s-ttA                                    5w
Professional
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Professional          1112612018- On-site support I Armando Aquino: Morning prep                                                    .00 -                $1,375.00
Fees - ; wl Terry for Closing. ----------====~=;:::::::::===-:_
         In court wl team.
         Add new exhibits to tt_ririgl!:lattibase.-
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Professional          1112712018- On-site support I Armando Aquino: Early AM prep                      8.00 •
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Fees


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                      of trial at OAK war roo .


Professional          1112912018- On-site support I Tessa          Eckholm~\JYa_~IQ_OI!!~~~
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                      1112912018- On-site support I Armando Aquino: Courtroom        5.00'--•r----$:....2_5_o_.o_o__;._ _ ___:$_~:_'
                                                                                                                              _._o_o____
                      equipment tear-down.                        ---...,___ ___,__---


                      Travel back to LA.




Matte\                Armanq o: Transportation: $1,45                                    "1..----Tao-~~                     1,824 go        ,      -~-W,B24.YO

Expens~~~-___.-MI:ial; $1,1 02.73.  ptng: $232.08


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Ex~                   Meals: $~hipping: $48.50                                                 ·


                                                                                                                   Amount Due                        $98,258.04




                                                                          Page 3 of 3
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 647 of 708




                    A – 212
                      Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 648 of 708


• Main Voucher
  Information              Voucher ID:                   J650950                         Batch ID:                  CRINV042318
• Defaults                 Transaction Date:              04/23/2018                     Document T•;pe

                       •Vendor ID:                        40213
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                       'Invoice Number:                  ICK0423180419LA~
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                       l Voucher Amount:                                                                       Check Number:                   119496
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                               2 :205625-10015                               205625-10015                STEVE HELDT -CLASS ACT I~ 10766                                157




                            Costs Required:               51.30                 Costs Distributed:           51.30               Remaining:             0.00
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 649 of 708




                    A – 213
                    Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 650 of 708

• Ham Voucher          I

  Information              Voucher ID:                   1650949                         Batch ID:            :CRINV042318
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• Defaults                 Transaction Date:             l04/23/2018                     Document Type
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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 651 of 708




                    A – 214
                  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 652 of 708


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e Defaults          Transaction Date:           04/23/2018                              Documen~    Type      ~------------------~

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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 653 of 708




                    A – 215
                        Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 654 of 708
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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 655 of 708




                    A – 216
                         Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 656 of 708


• Main Voucher            I
                              Voucher ID:             [650940                 Batch ID:
  Information
• Defaults                    Transaction Date:        04/23/2018             Docurnent Type
                              Vendor ID:               40207                  Currency Code:              US Dollar
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                          ; Invoice r~umber:          jCK0423180419LA~

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                          ! Voucher     Amount:                       48.63                    Check Number:            :119500
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                               Costs Required:         48.63         Costs Distributed:        48.63         Remaining:           0.00
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 657 of 708




                    A – 217
                       Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 658 of 708


• Main Voucher
  Information                   Voucher ID:              j650951                 Batch ID: ·          iCRINV042318

• Defalits                      Transaction Date:                                Document Type

                                Vendor ID:
                                .6.ddress ID.
                                Invoice Number:          fCK04231B0419LA~
                            1   Invoice Date:            :04/23/2018
                            ,Voucher Amount:                             48.17                     Check Number:           •119501
                                                                                                   Check Date:             •04/23/2018
                                                                                                   Bank ID:                'CNBLA
                                                                                                                           i


                                                                                                   Payment Selection:

 Imaging:                                       ·ACCOUNTS PAYABLE VOUCHERS
      View
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       Link
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                        i   '
                        !         •
                                 ~~----------------------------------------------~
                                 GL Distributed: 48.17                     WHTax:                                                0.00

         Unlink       I·         Cost Period: [0418       Cost Batch:                                0.00

                                              . Matter Number                                      Matter DesgiptiQn_     J~m.ekee ....
      B.I:'.F:.c~uRo~te .
                                       1 '1205625-1 0015                                       STEVE HELDT· CLASS ACTI( 10766
                                       2 ; 205625-1 0015
                                      '~ -· - 1
                                                                                               STEVE HELDT ·CLASS ACT I( 10766 ~

                                  Costs Required:         48.17         Costs Distributed:        48.17             Remaining:       0. 00
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 659 of 708




                    A – 218
                         Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 660 of 708

6 Main Voucher
  Information                 Voucher ID:                      ;650945                                          Batch ID:                                        ICRINV042318
6 Defaults                    Transaction Date:                .04/23/2018                                      Dowrnent Type
                              Vendor ID:                        40208                                           Currency Code:
                          !Address ID
                          'invoice Number:                     iCK0423180419LA~

                              Invoice Date:                    i04/23/2018

                          1
                              Voucher Amount:                                             45.87                                                                Check Number:          119502
                                                                                                                                                               Check Date:            i04/23/2018
                                                                                                                                                               Bank ID:               1
                                                                                                                                                                                          CNBLA
                                                                                                                                                               Payment Selection:

-lmaging:
1                                               ACCOUNTS PAYABLE VOUCHERS
I
      View

       Link                           _ 1:GJ~o3oo
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                                                                  11"          000       00000
                                                                                                      ::::J ~ •                D_escription_
                                                                                                                 :TAYLOR RUSSELL
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                               GL Distributed:                45.87                                                                                                       WH    TaK           0.00
         Unlink      jI        Cost Period: i0418               Cost Batch:                        224679 Remaining                                             0.00
                                                    Matter Number                    .      Matter Name                                              tv1.att_e_r DesqriptiQ'l. ~Lmek_ee ....
      B,!,J AccuR cute
                                 L  ··el2=o5:::::':62="=5""'-1o=-=o..,:-:15::-:-="----wl2o5625- i oo15 ·                                         STEVE HELDT· CLASS ACT I( 10766
                                  2 i 205625-10015                                     205625·1 0015                                             STEVE HELDT· CLASS ACTI( 10766 ~

                               Costs Required:                  45.87                   Costs Distributed:                                                    45.87          Remaining:           0.00
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 661 of 708




                    A – 219
                       Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 662 of 708

e Main Vouclter
    Information         Voucher ID:               !650948                    Batch !D:           jCRINV042318
e   Defaults             Transaction Date:        ;04/23/201 8               Doc•Jment Type
                        ·Vendor ID:               140211                     Currency Code:


                        'Invoice   l~umber:       ;cK04231 8041 9LA~
                                                  I , , , ,,,,,,.
                        ·Invoice Date:            !04/23/201 8
                        :Voucher Amount:                            55.07                     Check Number:           119503
                                                                                                                      I ..... , , ...,.
                                                                                              Check Date:             104/23/2018
                                                                                               Bank ID:               :cN8i:A
                                                                                               Payment Selection:

    Imaging:                             i.6.cc0uf.J1TPAYABL.E' voucHERS
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                                                      Account                                    D~sc;ripti9n_ , ,
          Link                                       11 000 00000             THOMAS MILLS




           Unlink          ~   I
                          GL Distributed:        55.07                                                    'w'H Tax:              0.00
        By AccuRoute
                        ' Cost Period: ;041 8      Cost Batch:         ·224679 Remaining:       0.00
                                   1   Matter Number          :      Matter Name             M.atter.. D~~gripti9n Iill'l~keepe!, ___ _(:ost ~o~e., , _.... .Arnl::li:!IJL.. __
                               1 )205625-1 0015               l2o5625:1oo15-             STEVE HELDT -CLASS ACTll 10766           210                                    40.00 (
                                 i 205625-10015                 205625-1 0015            STEVEHELDT-CLASSACTH10766                157                                   15.07(




                          Costs Required:         55.07             Costs Distributed:        55.07         Remaining:              0.00
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 663 of 708




                    A – 220
   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 664 of 708



INVOICE                                                                                                  Invoice ID: 0500-1362-0161


                                    Vendor                 DARRYL STACY
                              ReqUester)~                Michelle La Mar [Partner and Chair, Employment and Labor 110766 1
                          "''; ;,',: : ,:;:,;, ;'~,~;,j; mlamar I 010 I I]
                           'Cri~!f~~~l; June Anderson [Accounts Payable Coordinator 1 1janderson]
  _·;~-~:>~~-:.~.: ·      ,..;;..._t''
                          \.#IDa B,ua~8,,",":'~'~'~;,,,i 04/24/2018
                                                  0



     Invoice Information
                                   Vendor                  DARRYL STACY [40221)
                                  Address                  DARRYL STACY [1]
                                                           USA

                       Invoice Number                      CK0424180116LAMA
                          Invoice Date                     04/24/2018
                       Invoice Amount                      83.58 USD

                            Description                    WITNESS FEES 40.00 PLUS MILEAGE 75.8 MILES

               Approval Attached                           Yes



     Prior Approvers
                           04/24/2018                      Pete Patel [Controller of Finance 110421 1ppatel]


    Special Handling
                        Rush {Today)                       Yes


Allocation Details                                                                                                   Amount (USD)
                                                                                                                             83.58

                       205625-10015     TATA AMERICA INT'L. CORP.
                                        STEVE HELDT- CLASS ACTION
                                   Line 0001
                           Description WITNESS FEES 40.00 PLUS MILEAGE 75.8
                               Name Michelle La Mar [Partner and Chair, Employment and Labor 110766 1
                                        mlamar]
                                Code WITNESS FEES




Allocation Summa!Y__                                                                                                 Amount(USD)
205625-10015                                           TATA AMERICA INT'L. CORP.                                             83.58
                                                       STEVE HELDT- CLASS ACTION




Chrome River 1 www.chromeriver.corn                                                                                  Page 1 of 2
   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 665 of 708



                                                     Invoice ID: 0500-1362-0161


 Expense Summary                     Amount(USD)
            Client Billable                83.58




Chrome River I www.chromeriver.com                               Page 2 of 2
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 666 of 708




                    A – 221
   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 667 of 708



INVOICE                                                                     Invoice ID: 0500-1362-0257


                              HESHAM HAFEZ
                             Michelle La Mar [Partner and Chair, Employment and Labor 1 10766   1
                             mlamar I 010 I 11
                             June Anderson [Accounts Payable Coordinator 1 1janderson]
                             04/24/2018


   Invoice Information
                  Vendor     HESHAM HAFEZ [40220]
                 Address     HESHAM HAFEZ [1]
                             USA

         Invoice Number      CK0424180119LAMA
            Invoice Date     04/24/2018
         Invoice Amount      77.26 USD

               Description   WITNESS FEES 40.00 PLUS MILEAGE 64.8 MILES

       Approval Attached     Yes



   Prior Approvers
               04/24/2018    Pete Patel [Controller of Finance 110421 I ppatel]


   Special Handling
           Rush (Today)      Yes


Allocation Details                                                                      Amount (USD)
                                                                                                    77.26

          20562~10015       TATA AMERICA INT'L. CORP.
                            STEVE HELDT- CLASS ACTION
                       Line 0001
               Description WITNESS FEES 40.00 PLUS MILEAGE 64.8 MILES
                   Name Michelle La Mar [Partner and Chair, Employment and Labor 1 10766        1
                            mlamar]
                    Code WITNESS FEES




Allocation Summary                                                                      Amount(USD)
205625-10015                 TATA AMERICA INT'L. CORP.                                              77.26
                             STEVE HELDT- CLASS ACTION
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Chrome River 1 www.chromeriver.com                                                            1 of 2
   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 668 of 708



                                                     Invoice ID: 0500-1362-0257



 Expense Summary                      Amount(USD)
            Client Billable                 77.26




Chrome River I www.chromeriver.corn                                    2 of 2
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 669 of 708




                    A – 222
   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 670 of 708



INVOICE                                                                  Invoice ID: 0500-1550-1142


                             CHAD COOPER
                             Michelle La Mar [Partner and Chair, Employment and Labor 110766 1
                             mlamar I 010 I 11
                             Davonna Brockman [Assistant 1 1dbrockman]
                             10/09/2018


    Invoice Information
                  Vendor     CHAD COOPER [40777]
                 Address     CHAD COOPER [1]
                             10334 SW PICKS WAY
                             TIGARD, OR 97224
                             USA

          Invoice Number     CK1009181221LAMA
             Invoice Date    10/09/2018
          Invoice Amount     55.30 USD

               Description   Witness Fees

       Approval Attached     Yes



    Prior Approvers
               10/09/2018    Dominic Ruffino [Senior Accountant 111747 I druffino]
               10/09/2018    Cathy Walker [Accounts Payable Coordinator 190934 1cwalker]


   Special Handling
            Rush (Today)     Yes


_Invoice Notes
    C Walker    10/09/2018 7:22 PM
                Pick up by Davonna Brockman
    C Walker    10/09/2018 6:16 PM
                pending new vendor number


Allocation Details                                                                   Amount (USD)
                                                                                             55.30
Client Billable
             205625-10015   TATA AMERICA INT'L. CORP.
                            STEVE HELDT- CLASS ACTION
                       Line 0001
               Description Witness Fees for attendance at deposition
                   Name Michelle La Mar [Partner and Chair, Employment and Labor I 10766 1
                            mlamar]
                    Code WITNESS FEES




Chrome River 1 www.chromeriver.corn                                                        1 of 2
   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 671 of 708



                                                           Invoice ID: 0500-1550-1142



Allocation Summary                                                      Amount(USD)
205625-10015                 TATA AMERICA INT'L. CORP.                          55.30
                             STEVE HELDT- CLASS ACTION




 Expense Summary                            Amount(USD)
           Client Billable                         55.30




Chrome River 1 www.chromeriveLcom                                            2 of 2
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 672 of 708




                    A – 223
   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 673 of 708



INVOICE                                                                                          Invoice ID: 0500-1556-4096


                            Vendor                   JAMES (TIM) JORDAN
                  ':;~equef5ter          Michelle La Mar [Partner and Chair, Employment and Labor 110766 1
                  ·· · .. ,,~:,,,$c~ . , mlamar I 010 I I 1
             'i     ,;" i   t:\ii<':   ,~~~ ~"2t'
             ' Cre$t8c:i''Q:~:r                      Davonna Brockman [Assistant 1 1dbrockman]
               Creatd'~ff                            10/12/2018



    Invoice Information
                       Vendor                       JAMES {TIM) JORDAN [40799]
                      Address                       JAMES {TIM) JORDAN [1]
                                                    200 W. 26TH STREET, APT. 55
                                                    NEW YORK, NY 10001
                                                    USA

          Invoice Number                            CK1015181114LAMA
             Invoice Date                            10/12/2018
          Invoice Amount                            62.18 USD


                  Description                       Witness fees for upcoming deposition


       Approval Attached                            Yes




    Prior Approvers
                  10/15/2018                        June Anderson [Accounts Payable Coordinator 1112981 janderson)


   Special Handling
            Rush (Today)                            Yes


Allocation Details                                                                                           Amount (USD)
                                                                                                                     62.18
Client Billable
             205625-10015                           TATA AMERICA INT'L. CORP.
                                                    STEVE HELDT- CLASS ACTION
                          Line 0001
                  Description Witness fees for upcoming deposition
                      Name Michelle La Mar [Partner and Chair, Employment and Labor 110766 1
                                                    mlamar]
                                Code                WITNESS FEES




                                                                                                             Amount(USD)
Allocation Summary
205625-10015                                        TATA AMERICA INT'L. CORP.                                        62.18
                                                    STEVE HELDT- CLASS ACTION




Chrome River I www.chromeriver.com                                                                           Page 1 of 2
   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 674 of 708



                                                     Invoice ID: 0500-1556-4096



 Expense Summary                     Amount(USD)
            Client Billable                62.18




Chrome River 1 www.chromeriver.com                               Page 2 of 2
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 675 of 708




                    A – 224
    Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 676 of 708



INVOICE                                                                       Invoice ID: 0500-1556-4103


                                 JOHN GOODWIN
                                 Michelle La Mar [Partner and Chair, Employment and Labor 110766 1
                                 mlamar I 010 I I]
                                 Davonna Brockman [Assistant 1 I dbrockman]
                                 10/12/2018


    Invoice Information
                      Vendor     JOHN GOODWIN [40800]
                     Address     JOHN GOODWIN [1]
                                 28 TREVETT DRIVE
                                 NEWARK, DE 19702
                                 USA

            Invoice Number       CK1015181120LAMA
               Invoice Date      10/12/2018
            Invoice Amount       52.42 USD

                  Description    Witness fees for upcoming deposition

         Approval Attached       Yes




    Prior Approvers
                  10/15/2018     June Anderson [Accounts Payable Coordinator 1112981 janderson]


    Special Handling
              Rush (Today)       Yes


Allocation Details                                                                        Amount (USD)
                                                                                                      52.42
Client Billable
             205625-10015         TATA AMERICA INT'L. CORP .
                                . STEVE HELDT- CLASS ACTION
                         Line     0001
                  Description     Witness fees for upcoming deposition
                       Name       Michelle La Mar [Partner and Chair, Employment and Labor 110766 1
                                  mlamar]
                       Code       WITNESS FEES




Allocation Summary                                                                         Amount(USD)
205625-10015                    TATA AMERICA INT'L. CORP.                                             52.42
                                STEVE HELDT- CLASS ACTION




Chrome River 1 www.chromeriver.com                                                              1 of 2
   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 677 of 708



                                                     Invoice ID: 0500-1556-4103



 Expense Summary                     Amount(USD)
           Client Billable                 52.42




Chrome River 1 www.chromeriveLcorn                                     2 of 2
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 678 of 708




                    A – 225
   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 679 of 708


 INVOICE                                                                        Invoice ID: 0500-1556-2018

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                    V~nd~r1' sPEAK wiLLIAMs
                 Requ~ster     Michelle La Mar [Partner and Chair, Employment and Labor 110766 1


               ~o!' ~~~~~~1~:~~k~an               [Assisffintl   I dbrockman[


    Invoice Information
                    Vendor     SPEAK WILLIAMS [40794]
                   Address     SPEAK WILLIAMS [1]
                               USA

           Invoice Number      CK1012180404LAMA
              Invoice Date     10/12/2018
           Invoice Amount      106.00 USD

                Description    Witness fees for upcoming deposition

        Approval Attached     Yes




    Prior Approvers
                10/1512018    June Anderson [Accounts Payable Coordinator 111298 1janderson]


    Special Handling
                  Delivery    Yes, Send to Davonna Brockman
             Rush {Today}     Yes


Allocation Details                                                                          Amount (USD)
                                                                                ----
                                                                                                   106.00
Client
- - -Billable
       ------
        205625-10015 TATA AMERICA INT'L. CORP.
--------------~S~T~EVEHELDT-CLASSAC~T~IO~N~----------­
                   Line 0001
           Description Witness fees for upcoming deposition
               Name Michelle La Mar [Partner and Chair, Employment and Labor 1 10766 1
                        mlamar]
                Code WITNESS FEES



                                                                                            Amount(USD)
_t\llocation Summary                                        ----------
205625-10015                  TATA AMERICA INT'L. CORP.                                            106.00
                              STEVE HELDT- CLASS ACTION




Chrorne River i ·vvww chrcm,"lrivercorn                                                     Page 1 of 2
  Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 680 of 708



                                                    Invoice ID: 0500-1556-2018



 Expense Summary                     Amount(USD)
           Client Billable                106.00




Chrome River 1 www.chromeriver.com                                    2 of 2
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 681 of 708




                    A – 226
   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 682 of 708



INVOICE                                                                   Invoice ID: 0500-1561-4678


                              FRANCES GREITL
                              Michelle La Mar [Partner and Chair, Employment and Labor 110766 1
                              mlamar I 010 I 11
                              Davonna Brockman [Assistant 1 1dbrockman]
                              10/17/2018


    Invoice Information
                  Vendor     FRANCES GREITL [40812]
                 Address     FRANCES GREITL [1]
                             9426 WALNUT STREET
                             BELLFLOWER, CA 90706
                             USA

          Invoice Number     CK1018180925LAMA
             Invoice Date     10/17/2018
          Invoice Amount     76.44 USD


               Description   Witness fees for upcoming deposition


       Approval Attached     Yes




    Prior Approvers
               10/18/2018    June Anderson [Accounts Payable Coordinator 111298 1janderson]


   Special Handling
                 Delivery    Yes, Pick-up by Davonna Brockman
            Rush (Today)     Yes


Allocation Details                                                                    Amount (USD)
                                                                                              76.44
Client Billable
             205625-10015    TATAAMERICA INT'L. CORP.
                             STEVE HELDT- CLASS ACTION
                       Line 0001
               Description Witness fees for upcoming deposition
                   Name Michelle La Mar [Partner and Chair, Employment and Labor 110766 1
                             mlamar]
                    Code     WITNESS FEES




Allocation Summary                                                                    Amount(USD)
205625-10015                 TATA AMERICA INT'L. CORP.                                        76.44
                             STEVE HELDT- CLASS ACTION




Chrome River 1 www.chromeriver.corn                                                         1 of 2
   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 683 of 708



                                                     Invoice ID: 0500-1561-4678




 Expense Summary                     Amount(USD)
           Client Billable                 76.44




Chrome River j www.chromeriver.com                                Page 2 of 2
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 684 of 708




                    A – 227
   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 685 of 708



INVOICE                                                                      Invoice ID: 0500-1562-9405


                                 KIM WAYSACK
                            r    Michelle La Mar [Partner and Chair, Employment and Labor 110766 1
                                 mlamar I 010 I 11
                                 Davonna Brockman [Assistant 1 1dbrockman]
                                 10/18/2018


    Invoice Information
                     Vendor     KIM WAYSACK [40813]
                    Address     KIM WAYSACK [1]
                                USA

            Invoice Number      CK1019180153LAMA
               Invoice Date     10/18/2018
            Invoice Amount      11 0.61 USD

                  Description   Witness Fees for Upcoming Deposition

         Approval Attached      Yes




    Prior Approvers
                  10/19/2018    June Anderson [Accounts Payable Coordinator 1112981 janderson]


    Special Handling
                   Delivery     Yes, Send to Davonna Brockman
              Rush (Today)      Yes


Allocation Details                                                                       Amount (USD)
                                                                                                 110.61
Client Billable
             205625-10015      TATA AMERICA INT'L. CORP.
                               STEVE HELDT- CLASS ACTION
                          Line 0002
                  Description Witness Fees for Upcoming Deposition
                      Name Michelle La Mar [Partner and Chair, Employment and Labor 110766 1
                               mlamar]
                       Code WITNESS FEES




Allocation Summary                                                                       Amount(USD)
205625-10015                    TATA AMERICA INT'L. CORP.                                        110.61
                                STEVE HELDT- CLASS ACTION




Chrome River 1 www.chromeriver.com                                                             1 of 2
   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 686 of 708



                                                     Invoice ID: 0500-1562-9405



 Expense Summary                     Amount(USD)
            Client Billable               110.61




Chrome River 1 www.chromeriver.com                               Page 2 of 2
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 687 of 708




                    A – 228
   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 688 of 708



INVOICE                                                                      Invoice ID: 0500-1556-4093


                                 GEORGE BUGOSLAW
                            f    Michelle La Mar [Partner and Chair, Employment and Labor 110766 1
                                 mlamar I 010 I II
                                 Davonna Brockman [Assistant 1 1dbrockman)




    Invoice Information
                     Vendor      GEORGE BUGOSLAW [40820]
                    Address      GEORGE BUGOSLAW [1)
                                 107 CANTERBURY ROAD
                                 FORT MONTGOMERY, NY 10922
                                 USA

            Invoice Number      CK1022180909LAMA
               Invoice Date     10/12/2018
            Invoice Amount      95.78 USD

                  Description   Witness fees for upcoming deposition

         Approval Attached      Yes




    Prior Approvers
                  10/22/2018    June Anderson [Accounts Payable Coordinator 111298 1janderson]


    Special Handling
              Rush {Today}      Yes


Allocation Details                                                                       Amount (USD)
                                                                                                 95.78
Client Billable
             205625-10015      TATA AMERICA INT'L. CORP.
                               STEVE HELDT- CLASS ACTION
                          Line 0001
                  Description Witness fees for upcoming deposition
                      Name Michelle La Mar [Partner and Chair, Employment and Labor 110766 1
                               mlamar]
                       Code WITNESS FEES




Allocation Summary                                                                       Amount(USD)
205625-10015                    TATA AMERICA INT'L. CORP.                                        95.78
                                STEVE HELDT- CLASS ACTION




Chrome River 1 www.chromeriver.com                                                             1 of 2
   Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 689 of 708



                                                     Invoice ID: 0500-1556-4093


 Expense Summary                    Amount(USD)
           Client Billable                95.78




Chrome River 1 www.chromeriveLcom                                Page 2 of 2
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 690 of 708




                    A – 229
                    Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 691 of 708
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                                                                                                                                              11 OJ Embarcadero • Ollklamd, CA 94606
                                                                                                                                             Phone (510) 663-2700 • Fax (SJO) 663·2701
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            Name & Address                                                                                                                 www.horncwood·suitcs.com or 1-800-CALL-HOME

GANAPATHY. BALAJI                                                                                    RoOm                     241/QSDN
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WHITEHOUSE STATION NJ 08889                                                                          Aduit/Chlld              1/0·
UNITED STATES OF AMERICA                                                                             Room Rate                189.00
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 Confirmation Number: 86745185                                                                                                                                                            II
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 12/1912018


     DATE           REFERENCE                                                DESCRlPTION                                             AMOUNf                             W.t.I.DORF
                                                                                                                                                                         ASTORIA·

 11/1/2018          1419355     ~UESTROOM                                                                                               $189.00
 11/1/2018          1419355     I AXES                                                                                                   $27.96                    CONRAD
 1112/2018          1419658       GUEST ROOM                                                                                        ' . $189.00
 1112/2018          1419658       TAXES                                                                                                  $27.96
 1113/2018          1419906       GUEST ROOM                                                                                            $189.00
 1V3/2018           1419906       TAXES.                                                                                                 $27.96
 11/412018          1420137       GUEST.ROOM                                                                                            $189.00                         ®.
 11/412018          1420137      !TAXES                                                                                                  $27.96                        Hilton
                                                                                                                                                                       ,..._ls•IIOOiff

 11/S/2018          1420427       GUEST ROOM                                                                                            $189.00
 11/512018          1420427      TAXES                                                                                                   $27.96
 11/6/2018          1420857      GUEST ROOM                                                                                             $189.00
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 11/6/2018          1420657     ·If'AXES                                                                                                 $27.$6
 11/7/2018          1420917      GUEST ROOM                                                                                             $189.00
 11/7/2018          1420917      TAXES                                                                                                   $27.98 .'
 11/8/2018          1421241      GUEST ROOM                                                                                             $189.00
 11/812018          1421241      TAXES                                                                                                   $27.96
 11/912018          1421460      ~UESTROOM                                                                                              $189.00
 11/9/2018          1421460      TAXES                                                                                              '
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 11/1012018         1421694      GUEST ROOM                                                                                             $189.00
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 11/1112018         1421983      TAXES                                                                                                                                    ---JIM'


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 11/12/2018         1422291      TAXES                                                                                                     $27.98                  •        lmr
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ACCOUNT NO.

    vs *4511
CARD MEMBER. NAME
    GANAPATHY, BAl.AJI
ESTABLISHMEm'NO. & UlCATION     IITA'aUimt•H'I" AORIUII10 TRAHIMIT'l'Oi:.U:DtfOLOD NJR.J'AYMEH'f

""THANK YOU FOR STAYING WITH US**,
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BERRIS, GM, WITH ANY COMMENTS OR CENCERTS.                                                            TIPS&: MISC.                                                    Hilton
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CARD M'EMBeR'S SIGNATURE
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                      Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 692 of 708
                                                                               HOMEWOOD
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                                                                                                                                           1103 Bmblii'C1adoro • Oakland, CA 94606
                                                                                                                                         Phone (SlO) 663·2700 • Fax (SlO) 663·2701
                                                                              ...                                                                         Reservations .
              Name & Address                                                                                                           www.homewood-suites.com or 1-800-CALL-HOME

GANAPATHY, BALAJI                                                                                    Room                    241/QSDN
                                                                                                     Arrival Date            1111t;Z018 8:04:00 PM
2 SWACKHAMER RO                                                                                      DepllrtUre Date         11/16/2018 7:01:00AM
WHITEHOUSE STATION NJ 08889                                                                         Adult/Child
UNITED STATES OF AII£RICA                                                                                                    1/G
                                                                                                    Room Rate                189.00
                                                                                                   Rate Plan:                LOE      ·
                                                                                                   HH#      .                232194353 BLUE
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 Confirmation Number: 86745185

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  11113/2018          1422589      GUE~TROOM                                                                                          $189.00
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                      1422589       TAXES                                                                                              $27.96                   HOI.UIIIUI~,.,     ...

  11/14/2018          1422892      ~UES!ROOM                                                                                          $189.00
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  11/15/2016          1423168      iGUESTROOM                                                                                         $189.00


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  11/1512018          1423168      JAXES
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    VS *4511                                                                                         11/16/2018                322220A
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CARDMIIMIII!R. NAME                                                                                   AUTHOlllZATJON
    GANAPATHY, ~LAJJ                                                                                 0248~9                               loonAL               HOMEWffl ·

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**THANK YOU FOR STAYING WITH us-.
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STAY.. PLEASE DO NOT HESITATE TO CONTACT DENNIS
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BERRIS, GM. WITH ANY COMMENTS OR CENCERTS.                                                            TIPS&MISC.                                                  Hilton
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CARD MBMBI!ll'S SIONAIIJRE

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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 693 of 708




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                                 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 694 of 708
                                                                                                                                                                        1103 Embarcadero • Oakland, CA 94606
                                                                                                                                                                      Phone (510) 663-2700 • Fax(510) 663-2701
                                                                                                                                                                                     Reservations
                  Name & Address                                                                                                                                    www.homewood-suites.com or 1-800-CALL-HOME

   KANT, SURYA                                                                                                            Room                       225/QMDN
                                                                                                                          Arrival Date               11/5/2018 10:57:00AM
   101 PARKAVE FL26                                                                                                       Departure Date             11/6/2018 6:38:00 AM
   NEWYORKNY 10178                                                                                                        Adult/Child
   UNITED STATES OF AMERICA                                                                                                                          1/0 '
                                                                                                                          Room Rate                  189.00
                                                                                                                        Rate Plan:                   LOE
                                                                                                                        HH#                          934813597 SILVER
                                                                                                                        AL:
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    Confirmation Number: 81259713


    12/19/2018                                                                                                                                                                       !Hilton I
          DATE               REFERENCE                                                          DESCRIPTION                                                  AMOUNT                           WALDORF
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     11/512018               1420416             GUEST ROOM                                                                                                       $189.00
     11/5/2018               1420416            !TAXES                                                                                                             $27.96                  CON R.AD
     11/6/2018               1420500            lAX *2078                                                                                                       ($216.96)
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  ACCOUNT NO.

        AX *2078
  CARD MEMBER NAME
       KANT, SURYA
  ESTABUSHMENT NO. & LOCATION
   **THANK YOU FOR STAYING WITH us-.
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   BERRIS, GM, WITH ANY COMMENTS OR CENCERTS.                                                                              TIPS&MISC.                                                         Hilton
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  CARD MEMBER'S SIGNATURE

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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 695 of 708




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                       Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 696 of 708

                                                                                                                                                         1103 Embarcadero • Oakland, CA 94606
                                                                                                                                                       Phonc(510) 663-2700 •-Pax(Sl_O) 663·2701
                                                                                                                                                                     Reservations
              Name & Address                                                                                                                       www.bomowood-suitcs.com or 1-BOO.CALL·HOME

 SRINIVASAN, NARASIMAHAN .                                                                                Room                       217/QSDN
                                                                                                          Arrival Date               11/31201 B 7:00:00 PM
 101 PARK AVENUE, 26Tli FLOOR                                                                             Departure Date             11/1612018 6:54:00 PM
NEWYORKNY 10178                                                                                          Adult/Chlld
UNITED STATES OF AMERICA                                                                                                             1/0
                                                                                                          Room Rate                  189.00
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 Confirmation Number: 851 82785

 12/19/2018



      DATE             RBPERBNCB                                                DESCRIPTlON                                                 AMOUNT-                              WALDORF
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  11/312018            1419890       QUEST ROOM                                                                                                  $189.00.
  11/3/2018            1419890       TAXES                                                                                                        $27.96                      CON P.AD
  11/4/2018            1420124       QUEST ROOM                                                                                                  $189.00

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 11/412018             1420124       TAXES                                                                                                       -$27.96
 11/5/2018             1420410       GUEST ROOM                                                                                             '    $189.00
 11/5/2018             1420410       TAXES                                                                                                        $27.98
 11/8/2018             1420639       GUEST ROOM                                                                                                  $tas·.-oo                      ®.
 111612018             1420639     .!TAXES                                                                                                      . $27.96.                      Hilton
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 11/7/2018             1420898      QU~STROOM                                                                                                  $189.00                                                 .!
 111712018             1420898      TAXES                                                                                                         $27.96
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 11/8/2018             1421229      QUEST ROOM
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                       1421229
                       1421446      GUEST ROOM                                                                                                 $189.00                                                  '
 11/912018             142_1446     TAXES                                                                                                         $27.96
 11/10/2018            1421678      GUEST ROOM                                                                                                 $189.00                                                 fI
 11/1012018            1421678      TAXES                                                                                     ·-                  $27.96
 11/1112018            1421967      GUEST ROOM                                                                                                 $189:00
 11/1112018            1421967      TAXES                                                                                                       ..RZ,96
 11/1212018            1422120     tvs  •4s11                                                                                           ('" ($1,952.64) . /
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 11/1312018            1422572     ~AXES                                                                                                          $27.96.

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 11/1412018            1422874     GUEST ROOM                                                                                                  $189.00
 11(14/2018            1422874     [TAXES                                                                                                         $27.96                      11!111rnrr
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ACCOUNT NO.                                                                                                DATI!OP CHARGE              101.10 NOJCHECK NO.

    vs .4511                                                                                              1111612018 .                   322222A

CARD MllMliE!R NAMI!
    SRINIVASAN, NARASIMAHAN
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-rHANK YOU FOR STAVING WITH US**.
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STAY.. PlEASE Dp NOT HESITATE TO CONTACT DENNIS
BERRIS, GM, WITH ANY COMMENTS OR CENCERTS.                                                                                                                                        'il&
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CARD MliMBER'S SKlMATIJRB

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                      Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 697 of 708
                                                                                HOMEWOOD
                                                                                   ~SUITES                                                            1103 Embarcadero • Oskland, CA 94606 .
                                                                                                                                                     Phone (510) 663-2700 • Fax (510) 663-2701
             Name & Address                                                     ~BY                             HILTON'                                             Reservations
                                                                                                                                                   www.homewood-suites.com or 1-BOO..CALL-HOME

 SRINIVASAN, NARASIMAHAN                                                                                   Room                      217/QSON
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 101 PARKAVENUE,26TH FLOOR                                                                                 Departuro Date            11/1612018 6:54:00 PM
NEW YORK NY 10178                                                                                          Adult/Child·
UNITED STATES OF AMERICA                                                                                                             1/0
                                                                                                           Room Rate                 189.00
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 Confirmation Number: 85182785

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      DATE            RBPERBNCE                                                DESCRIPTION                                                   AMOUNT                          WALDORF


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    vs•4511                                                                                                11/16/2018                    322222A

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 **THANK YOU FOR STAYING WITH US**.
 ~Jffie~~RJR~£B!I~O'@I.lHrH EACH                                                                            TAXBS
 STAY•• PLEASE DO NOT HESITATE TO CONTACT DENNIS
 BERRIS, GM, WITH ANY COMMENTS OR CENCERTS.                                                                                                                                     fciD.
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CARD MI!MBI!Il'S SIGNAlUlU!

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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 698 of 708




                    A – 232
                          Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 699 of 708
                                                                           HOMEWOOD
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                                                                                                                                          1103 Embaroadero • Oakland, CA 94606
                                                                                                                                         Phone (510) 663·2700 • Fax (SID) 663-2701
                                                                                                                                                        ResCJYatlons
               Name·& Address                I                                                                                         www.homcwood·sultcs.com or 1·80!J.CALL·HOME

 GWALANI, GEETA                                                                               Room                      215/QSDN
                                                                                              Arri\raiDiitc             11/1112018 9:07:CO PM
 10 SANDPIPER LANE                                                                            Departure Date·           11/14/2018 3:21:00 PM
 SEETHARAMAN
 DAYTON NJ 08810        .                                                                     Adult/Child
 UNITED STAlES OF AMERICA                                                                     RoomRJ!te                 ~Ws.oo
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  Confirmation Number: 87563809

 12/19/2018


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  11/11/2018             1421965      TAXES.                                                                                          $27.96                   CONRAD
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  11/1212018             1422274      GUEST ROOM                                                                                     $189.00
  11/12/2018             1422274     TAXES                                                                                            $27.96
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  11/13/2018             1422569      GUEST ROOM                                                                                     $189.00                                                     i
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ACCOUNT NO.

     vs .4511
CAJU> MEMBI!IlNAME
     GWALANI, GEETA
ESTABLISIIMBNTNO. lt LOCATION
 *•THANK YOU FOR STAYING WITH US"*.
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 BERRIS, GM, WITH ANY COMMENTS OR CENCER)S.                                                                                                                             ®..
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CAJU> MllMllllR.'S SIGNATIJitll
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Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 700 of 708




                    A – 233
                                 Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 701 of 708
                                                                                               HOMEWOOD
                                                                                               ... ~y~~!r~~
                                                                                                                                                                     1103 Embarcadero • Oakland, CA 94606
                                                                                                                                                                   Phone (510) 663-2700 • Fax (SIO) 663-2701
                                                                                                                                                                                  Reservations
                  Name & Address                                                                                                                                 www.homewood-suites.com or 1-SOO.CALL-HOME

  BLANDFORD, MELISSA                                                                                                 Room                        101/QSDN
                                                                                                                     Arrival Date                11/12/2018 7:13:00 PM
  101 PARK AVENUE, 26TH FLOOR                                                                                        Departure Date              11/15/2018 7:00:00 AM
  NEW YORK NY 10178                                                                                                  AduiVChild                  1/0
  UNITED STATES OF AMERICA                                                                                           Room Rate                   189.00
                                                                                                                   Rate Plan:                    LOE
                                                                                                                   HH#
                                                                                                                   AL:
                                                                                                                   Car:


   Confirmation Number: 80218593


   12/1912018
                                                                                                                                                                                   !Hilton!
          DATE               REFERENCE                                                         DESCRIPTION                                               AMOUNT                            WALDORF
                                                                                                                                                                                            ASTORIA'

    11/1212018               1422235            GUEST ROOM                                                                                                    $189.00
    11/1212018               1422235            TAXES                                                                                                           $27.96                   CONRAD
    11/1312018               1422520            GUEST ROOM                                                                                                     $189.00
    11/13/2018               1422520            ~AXES                                                                                                           $27.96
    11/14/2018               1422821            ~UESTROOM                                                                                                      $189.00
    11/1412018               1422821            TAXES                                                                                                           $27.96
    11/15/2018               1423004            vs *4511                                                                                                     ($650.88)                     ®.
                                                **BALANCE""                                                                                                      $0.00                    Hilton

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  ACCOUNT NO.

       vs *4511

  CARD MEMBER NAME
        BLANDFORD, MELISSA

  ESTABLISHMENT NO. & LOCATION
   *"THANK YOU FOR STAYING WITH US**.
                                                 !STABUSHMP.NT AORI:U 101'RANSt.IITTO CARD HOL!>£R fOR PA't~fENT
                                                                                                                      DATE OP CHARGE

                                                                                                                      11/15/2018

                                                                                                                      AUTHORIZATION
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                                                                                                                      PURCHASES lit. SI!RVICES
                                                                                                                                                    FOLIO NOJCHECK NO.

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   ~Alfteili~tJ>p~J~a·i~iEPAT~~QR~~O'ElWITH EACH                                                                      TAXES
   STAY .. PLEASE DO NOT HESITATE TO CONTACT DENNIS
   BERRIS, GM, WITH ANY COMMENTS OR CENCERTS.                                                                                                                                                   ®
                                                                                                                      TIPS&MISC.                                                            Hilton
                                                                                                                                                                                        Grand Vacations

  CARD MEMBI!R'S SIGNATURE
                                                                                                                                                               -650.88
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                                                                                                                      TOTAL AMOUNT
  X
MERCHANDISE AN!l.'OR SERVICES PIJRCI!ASED ON liDS CAR!> SHIILL NOT Bl! RESOLD OR RE1URNEO FOR A CAS!llUlFI.IND.        PAYMBNT DUB UPON R.EC!JPT • l.S% PER MONTH tN'I'BRBn'               HONORS
                                                                                                                        CHA.RCE WILL BE AI'PlJID TO AIJ, PAst J)UJ,IfiVOJCES.
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 702 of 708




                    A – 234
                                                                                       HOMEWOOD
                               Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 703 of 708


                 Name & Address
                                                                                      ... ~y~~!r~~                                                         1103 Embarcadero • Oakland, CA 94606
                                                                                                                                                          Phone (SIO) 663-2700 • Fax (510) 663-2701
                                                                                                                                                                         Reservations
                                                                                                                                                        www.homewood-suites.com or 1-800-CALL-HOME

  SMALLEY, GINA                                                                                                Room                      103/QSDN
                                                                                                               Arrival Date              11/15/2018 6:13:00PM
  10100 SANTA MONICA BLVD.,                                                                                    Departure Date            11/16/201812:38:00 PM
  SUITE 2200
  LOS ANGELES CA 90067                                                                                         Adult/Child
  UNITED STATES OF AMERICA                                                                                                               1/0
                                                                                                               Room Rate                 189.00
                                                                                                             Rate Plan:                  L02
                                                                                                             HH#
                                                                                                             AL:
                                                                                                             Car:




                                                                                                                                                                         IHilton I
   Confirmation Number: 84929621


   12/20/2018



         DATE               REFERENCE                                                 DESCRIPTION                                                AMOUNT                          WALDORF
                                                                                                                                                                                  ASTORIA"

    11/15/2018              1423115           GUEST ROOM                                                                                              $189.00
    11/15/2018              1423115           TAXES                                                                                                     $~                      CON R.AD
    11/16/2018              1423523           vs *4511                                                                                      .~1~
                                              **BALANCE*"'                                                                                     --=-       ~u.OO
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  ACCOUNT NO.

       vs *4511
  CARD MEMBER NAME
       SMALLEY, GINA
  ESTABLISHMENT NO.&. LOCATION
   **THANK YOU FOR STAYING WITH US"*.
                                               g]'APUIHMENJ" AOREiBSTO~SMITTOCARDIIOLD&ll FOR PAYMENT
                                                                                                                DATE OF CHARGE

                                                                                                                11/16/2018

                                                                                                                AUTHORIZATION
                                                                                                               061729
                                                                                                                PURCHASES & SERVICES
                                                                                                                                            FOLIO NOJCHECK NO.

                                                                                                                                             322947A

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   @X·Ifi\:.@f'AiftejJj~tfi~JiiG>ATQ)..q.l§qij~~O'ElWA"H EACH                                                   TAXES
   STAY.. PLEASE DO NOT HESITATE TO CONTACT DENNIS
   BERRIS, GM, WITH ANY COMMENTS OR CENCERTS.                                                                                                                                         ®.
                                                                                                                TIPS/I(. MISC.                                                     Hilton
                                                                                                                                                                              Grand Vacations

  CAAD MEMBER'S SIGNATIJRE

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                                                                                                                TOTAL AMOUNT                          -216.96
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MERCHANJ>lSE ANDIOR. SERVICES PURCHASED ON' 11iJS CARD SHALL NOT BB R6SOLD OR REIURNJ:D FOR A CASH REFUND.       I"AYMENT DUE UPON RECEIPT" 1.5%fBR. MONTH JNI'!RBST
                                                                                                                  OIARCJ< WILL BE APPLIED TO ALL PASr DUE INVOICES.
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 704 of 708




                    A – 235
                                Case 4:15-cv-01696-YGRHOMEWOOD
                                                       Document 691-2 Filed 01/02/19 Page 705 of 708
                                                                                              ·~SUITES                                                               ll03 Embarcadero • Oakland, CA 94606
                                                                                                                                                                    Phone (510) 663-2700 • Fax (510) 663-2701
                 Name & Address
                                                                                                ~BY                          HILTON"                                               Reservations
                                                                                                                                                                  www.homewood-suites.com or 1·800-CALL-HOME

  SEETHARAMAN,ASHOK                                                                                                     Room                       137/QSDN
                                                                                                                        Arrival Date               11/14/2018 6:23:00 PM
  33 SHEPHERD WAY                                                                                                       Departure Date             1111612018 7:45:00 AM
  KENDALL PARK NJ 08824                                                                                                 Adult/Child
  UNITED STATES OF AMERICA                                                                                                                         1/0
                                                                                                                        Room Rate                  189.00
                                                                                                                      Rate Plan:                   L02
                                                                                                                      HH#       .                  631795051 BLUE
                                                                                                                      AL:
                                                                                                                      Car:




                                                                                                                                                                                   IHilton I
    Confirmation Number: 85560497


   12/20/2018



         DATE               REFERENCE                                                          DESCRIPTION                                                 AMOUNT                          WAlDORF
                                                                                                                                                                                           ASTORIA"

    11/14/2018              1422840              GUEST ROOM                                                                                                     $189.00
    11/14/2018              1422840             !TAXES                                                                                                           $27:96                  CONRAD
    11/15/2018              1423128              GUEST ROOM                                                                                                     $189.00.
    11/15/2018
    11/16/2018
                            1423128
                            1423278
                                                TAXES
                                                !Vs*4511
                                                **BALANCE-*
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  ACCOUNT NO.

       VS *4511

  CARD MEMBER NAME
       SEETHARAMAN,ASHOK

  ESTABLISHMENT NO. & LOCATION
   **THANK YOU FOR STAYING WITH US**.
                                                 ESTA.bLISHYENT A-'<mEES TO TRANiit.fiTTOC4RDJIOLD!k FOR. rAYP.l£NT
                                                                                                                         DATE OF CHARGE

                                                                                                                         11/16/2018

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                                                                                                                         PURCHASES & SERVICES
                                                                                                                                                      FOLIO NO.ICHECK NO.

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   ~Jilfte~tfl~WJATQ).fij~QRISf!#Vi<)'@WfrH EACH                                                                         TAXES
   STAY.. PLEASE DO NOT HESITATE TO CONTACT DENNIS
   BERRJS, GM, WITH ANY COMMENTS OR CENCERTS.                                                                                                                                                 <®.
                                                                                                                         TIPS&MISC.                                                         Hilton
                                                                                                                                                                                        Grand Vacations

  CARD MEMBER'S SJGNATURE

  X
ME!:RCHANDJSE AND/OR SFRVJCES PURCHASED ON   nos CARD SHALL NOl' BE R.ES0tD OR RBTURNED fOR A CASH REFUND.
                                                                                                                         TOTAL AMOUNT                           -433.92
                                                                                                                          PAYMENT DUE UPON RBCEII'T • L5'% PER MONnf INTERI'.ST
                                                                                                                                                                                  ·- [fnitoliJ -
                                                                                                                                                                                           HONORS
                                                                                                                           CHARGE WILL BE Ati'LlED TO ALL PAST OU.E INVOICES.
                     Case 4:15-cv-01696-YGRHOMEWOOD
                                            Document 691-2 Filed 01/02/19 Page 706 of 708

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                                                                                                                                     1103 Emban:adcro • Oakland, CA 94606
                                                                                                                                    Phone (S I 0) 663-2700 • Fax (S I0) 663-270 I
                                                                                                                                                 Resc:JVatioos
              Nam~ & Address                                                                                                    www.homewood-suites.QQR\ or I-800.CALL-HOME

 SEETHARAMAN,ASHOK                                                                            Room                   . 335/QSDN
                                                                                              Arrival Date            11/2412018 4:33:00 PM
 33 SHEPHERD WAY                                                                              Departure Date          11/2612018 11 :51 :00 AM
SEETHARAMAN.
KENDALL PARK NJ 08824                                                                         Adult/Cbild
UNITED STATES OF AMERICA                                                                                              1/0
                                                                                              Room Rate               189.00
                                                                                            Raitt Plan:               LOE
                                                                                            HH#                       631795051 BLUE
                                                                                            AL:
                                                                                            Car:




                                                                                                                                                      IHilton I
 Confirmation Number: 82082785

 12/1912018


      DATE          REFERENCE                                           DESCRJPTION                                          AMOUNT                             WALDORF
                                                                                                                                                                 ASIORI.\'
                                                                                                                                                                o'Ollu"WJIII

  1112412018        1425068      !GuesT ROOM                                                                                   $189.00
  11/24/2018        1425068      !TAXES                                                                                         $27.96                       CONRAD
                                                                                                                                                               lni'Ui,••UMU'J•
  11/2512018        1425233       GUEST ROOM                                                                                   $189.00
  1112512018        1425233      TAXES                                                                                          !1127.RA.
  11126/2018        1426405     ·vs *4511                                                                                ~($433.92)~
                                 **BALANCe••                                                                             -        ~u.uo
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                                                                                                                                                              Hilton
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  . vs ..4511                                                                                 1112612018                322238A
CARD MllMBiiRNAME                                                                                 AUniORJZATION
    SEETHARAMAN,ASHOK                                                                         076179                               lnamL
ESTABLISHMI!NT NO•.t LOCAnON    IITAIU1H!tiiNTAOIEIIITDTRAN&Nif'n)OAJtDHOl.OIRFOiht.YWDit      ~BSA SBRV!CI!S
..THANK YOU FOR STAYING WITH US**.
~Jiffie~~ii;PAJ"fb~<}N~()'@Wffil EACH                                                          TAXES
STAY.. PLEASE DO NOT HESITATE.TO CONTACT DENNIS
BERRIS, GM, WITH ANY COMMENTS OR CENCERTS.                                                                                                                        ®.
                                                                                               'liPS II: MISC.                                                  Hilton
                                                                                                                                                            Grand Vacations

CARD MliMBER'S SKJNAnJRB
X                                                                                              TOTAL AMOUNT                    ~433.92
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                                                                                                                                                               KONORS
Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 707 of 708




                    A – 236
          Case 4:15-cv-01696-YGR Document 691-2 Filed 01/02/19 Page 708 of 708


TAG
GESS Request Number     (All)

Sum of Total Cost In local
Currency                                                         Relation
Traveller's Employee
Number                     Employee Name        Departure Date Self               Grand Total
                    50342 Surya Kant
                                                      5-Nov-18          4,769           4,769
                  72001 Narasimhan Srinivasan
                                                      3-Nov-18          1,126           1,126
                                                     12-Nov-18            838             838
                106698 Ashok Seetharaman
                                                     13-Nov-18          1,480           1,480
                                                     16-Nov-18            398             398
                                                     24-Nov-18            788             788
                149708 Balaji Ganapathy
                                                      4-Nov-18            573             573
                                                      8-Nov-18          1,508           1,508
                                                     12-Nov-18            790             790
                691421 Gina Smalley
                                                     14-Nov-18          1,661           1,661
                868461 Geeta Gwalani
                                                     11-Nov-18          1,248           1,248
               1072174 Melissa Blandford
                                                     12-Nov-18              590          590
                                                     15-Nov-18              200          200
                                                     16-Nov-18              590          590
